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                        UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TEXAS


  TIM DOYLE, Individually and on Behalf of   Case No. 4:21-cv-00987-ALM
  All Others Similarly Situated,             LEAD

                            Plaintiff,       CLASS ACTION

               v.                            CONSOLIDATED AMENDED CLASS
                                             ACTION COMPLAINT FOR
  REATA PHARMACEUTICALS, INC., J.            VIOLATIONS OF THE FEDERAL
  WARREN HUFF, MANMEET S. SONI,              SECURITIES LAWS
  and COLIN J. MEYER,

                            Defendants.      JURY TRIAL DEMANDED
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                             TABLE OF DEFINED TERMS

            Term                                          Meaning
10-14 Day Washout            Representations that bardoxolone (“Bard”) and/or its
Representations              pharmacodynamic (“PD”) effects on estimated glomerular
                             filtration rate (“eGFR”) were fully washed out within fourteen
                             (14) days after stopping treatment
2019 Offering                November 14, 2019 secondary public offering of 2.76 million
                             shares (following underwriters’ full exercise of the over-allotment
                             option) of Reata common stock at $183.00 per share
2019 Offering Documents      Shelf Registration Statement, 2019 Offering ProSupp, and 2019
                             Offering Incorporated Documents
2019 Offering Incorporated   2018 10-K, Q1 2019 10-Q, Q2 2019 10-Q, Q3 2019 10-Q, and
Documents                    Form 8-K filed with the SEC on November 12, 2019
2019 Offering ProSupp        Prospectus supplement filed with the U.S. Securities Exchange
                             Commission (“SEC”) on Form 424B5, dated November 13, 2019
2019 Offering Underwriter    Defendants Citigroup, Jefferies, Leerink, Stifel, Baird, Cantor,
Defendants                   and LT&Co
2020 Offering                December 1, 2020 secondary public offering of 2.0 million shares
                             of Reata common stock at $140.85 per share
2020 Offering Documents      Shelf Registration Statement, 2020 Offering ProSupp, and 2020
                             Offering Incorporated Documents
2020 Offering Incorporated   2019 10-K, Q1 2020 10-Q, Q2 2020 10-Q, Q3 2020 10-Q, and
Documents                    two Forms 8-K filed with the SEC on November 9, 2020
2020 Offering ProSupp        Prospectus supplement filed with the SEC on Form 424B5, dated
                             December 1, 2020
2020 Offering Underwriter    Defendants Barclays and Goldman
Defendants
AdCom                        U.S. Food and Drug Administration (“FDA”) Cardiovascular and
                             Renal Drugs Advisory Committee
AdCom Meeting                December 8, 2021 AdCom meeting to consider the Bard NDA
Albuminuria                  The presence of albumin in the urine, often understood as a sign
                             of kidney disease
Alport                       Alport syndrome
Baird                        Robert W. Baird & Co., Inc.
Barclays                     Barclays Capital Inc.
Bard                         Bardoxolone methyl




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Bard NDA                    New Drug Application (“NDA”) submitted by Reata to the FDA
                            on or about February 25, 2021 for approval of Bard as treatment
                            for Alport, based on efficacy and safety data from CARDINAL

Bard NDA Representations    Representations concerning the intended filing, filing and
                            progress of the Bard NDA


Bard NDA Release            March 1, 2021 Reata press release titled “Reata Pharmaceuticals,
                            Inc. Submits NDA for Company’s Lead Program: Bardoxolone in
                            Alport Syndrome”

Bard Pathway Conference    November 14, 2016 conference call
Call
Bard Pathway Press Release November 14, 2016 Reata press release titled “Reata Announces
                           Plan for Global Phase 2/3 Trial in Chronic Kidney Disease
                           Caused by Alport Syndrome”

Bass                        James E. Bass, Reata director from July 2004 until August 26,
                            2020
BEACON                      Reata phase III trial of Bard as treatment for Stage 4 chronic
                            kidney disease (“CKD”) and type 2 diabetes, conducted in 2011-
                            2012 and discontinued after indication that Bard caused elevated
                            risk of heart failure
Board                       Board of Directors
Cantor                      Cantor Fitzgerald & Co.
CARDINAL                    Reata pivotal phase 2/3 trial to evaluate Bard’s efficacy and
                            safety as a treatment for Alport CKD, first announced in
                            November 2016 and conducted between 2017 and 2020, with on-
                            treatment eGFR at 1 and 2 years as its primary endpoint and
                            retained eGFR, measured after a four (4)-week washout period at
                            the end of years 1 and 2, as its key secondary endpoint

CARDINAL Design             Representations that CARDINAL was designed to measure, and
Representations             was measuring, retained eGFR

CARDINAL Phase 2 Initial    Reata July 24, 2017 conference call
Results Conference Call
CARDINAL Phase 2 Initial    July 24, 2017 Reata press release titled “Reata’s Bardoxolone
Results Release             Methyl Demonstrated Improved Kidney Function in Patients with
                            Alport Syndrome in Ongoing Phase 2 Portion of Phase 2/3
                            CARDINAL Study”




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CARDINAL Phase 2 Results July 23, 2018 Reata press release titled “Reata Announces
Release                  Positive Phase 2 Data for Bardoxolone Methyl in CKD Caused by
                         Alport Syndrome and Autosomal Dominant Polycystic Kidney
                         Disease”

CARDINAL Phase 2 Results Reata July 23, 2018 conference call
Conference Call
CARDINAL Phase 3 Results Reata November 12, 2019 conference call
Conference Call
CARDINAL Phase 3 Results November 11, 2019, Reata press release titled “Reata Announces
Release                  Positive Topline Year One Results from Pivotal Phase 3 Cardinal
                         Study of Bardoxolone Methyl in Patients with Alport Syndrome”
CARDINAL Retained eGFR Representations that CARDINAL results had demonstrated a
Representations        statistically significant retained eGFR benefit following 1 or 2
                       years of treatment

CARDINAL Year 2 Results     November 9, 2020 Reata press release titled “Reata Announces
Release                     Positive Results from Year 2 of the Pivotal Phase 3 CARDINAL
                            Study of Bardoxolone Methyl in Patients with Alport Syndrome”

CEO                         Chief Executive Officer
CFO                         Chief Financial Officer
Citigroup                   Citigroup Global Markets Inc.
CKD                         Chronic kidney disease
Class Period                November 14, 2016 through December 6, 2021, inclusive
Company                     Reata Pharmaceuticals, Inc.
COO                         Chief Operating Officer
CRL                         Complete Response Letter, provided by FDA to NDA sponsor,
                            rejecting sponsor’s NDA and identifying its deficiencies and
                            information required for any later reconsideration
December 2016 Advice Letter December 2016 letter from FDA to Reata containing “extensive
                            written feedback” on CARDINAL’s design
Defendants                  Reata Defendants and Underwriter Defendants
Director Defendants         Defendants McGaughy, Nielsen, Rose, McClellan, and Bass
eGFR                        Estimated glomerular filtration rate
EOP                         End of Phase
ESKD                        End stage kidney disease
Exchange Act                Securities Exchange Act of 1934
FDA                         U.S. Food and Drug Administration



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FDA AdCom Slides           Presentation slides prepared by the FDA for the AdCom Meeting
                           and published on December 6, 2021
FDA Briefing Book          Report on the Bard NDA, prepared by the FDA for the AdCom
                           Meeting and published on December 6, 2021
FDA Guidance               Representations concerning Reata’s receipt of “guidance” from
Representations            the FDA concerning (i) how CARDINAL should be designed
                           (including, specifically, measurement of retained eGFR after one-
                           year and two-year treatment periods followed by a four (4)-week
                           washout period), and (ii) what CARDINAL results could serve as
                           a basis for FDA approval (specifically, that such retained eGFR
                           measurements, if showing a retained benefit after one year of
                           treatment and a four (4)-week washout, could support accelerated
                           FDA approval, while a retained eGFR benefit after two years of
                           treatment and a four (4)-week washout could support full FDA
                           approval)
GFR                        Glomerular filtration rate
Goldman                    Goldman Sachs & Co. LLC
Huff                       J. Warren Huff, founder of Reata in 2002 and Reata’s sole CEO
                           and Chairman from 2002 onwards
Hyperfiltration            Short-term eGFR boost caused by increase in intra-kidney blood
                           pressure, with potentially negative longer-term effects on kidney
                           function and eGFR

IND                        Investigational New Drug
Individual Defendants      Officer Defendants and Director Defendants
January 2020 FDA Meeting   Reata meeting with the FDA in January 2020, described in the
                           FDA Briefing Book (at p. 39) and omitted/misdescribed in
                           Reata’s public statements, in which the FDA “did not agree” with
                           Reata’s proposal to submit an NDA under the accelerated
                           approval pathway, and voiced “concerns about the interpretability
                           of the eGFR findings given the available information on the time
                           course for resolution of bardoxolone’s pharmacodynamic effect,
                           as well as the amount of missing data in the bardoxolone arm and
                           lack of clarity on how patients with missing data were handled in
                           key analyses intended to disentangle the drug’s
                           pharmacodynamic effect on kidney function from its effect on the
                           irreversible loss of kidney function”

Jefferies                  Jefferies LLC
July 2017 Offering         July 26, 2017 secondary public offering of 3,737,500 shares
                           (following underwriters’ full exercise of the over-allotment
                           option) of Reata common stock at $31.00 per share
July 2017 Offering         July 2017 Offering Registration Statement and July 2017
Documents                  Offering Prospectus

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July 2017 Offering Prospectus July 26, 2017 prospectus supplement
July 2017 Offering            Reata registration statement on Form S-3 filed with the SEC on
Registration Statement        June 23, 2017, as amended on July 10, 2017 and declared
                              effective on July 14, 2017

July 2018 Offering            July 25, 2018 secondary public offering of 3.45 million shares
                              (following underwriters’ full exercise of the over-allotment
                              option) of Reata common stock at $72.00 per share
July 2018 Offering            Shelf Registration Statement and July 2017 Offering Prospectus
Documents
July 2018 Offering Prospectus July 24, 2018 prospectus supplement
Kyowa Kirin                   Kyowa Kirin Co., Ltd. (f/k/a Kyowa Hakko Kirin Co., Ltd.), a
                              large, global pharmaceutical company organized and
                              headquartered in Japan, which in 2009 agreed to pay Reata as
                              much as $272 million to obtain the right to develop and
                              commercialize Bard in certain regions in Asia

Lead Plaintiff                Court-appointed Lead Plaintiff UMC Benefit Board, Inc., US
                              Equity Fund-P Series, a series of the Wespath Funds Trust, US
                              Equity Index Fund-P Series, a series of the Wespath Funds Trust,
                              Wespath Institutional Investments LLC, US Equity Fund-I Series,
                              a series of the Wespath Funds Trust, and US Equity Index Fund-I
                              Series, a series of the Wespath Funds Trust
Leerink                       SVB Securities LLC, f/k/a SVB Leerink LLC
Leerink Partners              Leerink Partners LLC
LT&Co                         Ladenburg Thalmann & Co., Inc.
McClellan                     William D. McClellan, Jr., Reata director from March 2017
                              onwards
McGaughy                      R. Kent McGaughy, Jr., Reata director from December 2004
                              onwards
Meyer                         Colin J. Meyer, who joined Reata in 2003 as one of its first
                              employees, and served as Reata’s Chief Medical Officer from
                              2013 until July 7, 2020; Chief R&D Officer from July 7, 2020
                              until February 7, 2022; and Chief Innovation Officer from
                              February 7, 2022 onwards

NDA                           New Drug Application
Nielsen                       Jack B. Nielsen, Reata director from June 2006 onwards
Officer Defendants            Defendants Huff, Meyer, and Soni
Offerings Subclass            Persons or entities who purchased or otherwise acquired Reata
                              common stock pursuant and/or traceable to Reata’s 2019 Offering
                              and/or 2020 Offering, and were damaged thereby
Omav                          Omaveloxolone

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PD                             Pharmacodynamic: biochemical, physiologic, and molecular
                               effects of drugs on the body
PDUFA Date                     Typically 10 months from the date of an NDA submission, once
                               the submission is accepted, the FDA informs the applicant of the
                               specific date by which the FDA intends to complete its review,
                               which is the PDUFA Date
PK                             Pharmacokinetic: a drug’s absorption, distribution, metabolism,
                               and excretion by the body
Pre-IND meetings               Type B meetings used to ensure sponsor/FDA alignment prior to
                               IND applications

Pre-NDA meetings               Type B meetings used to ensure sponsor/FDA alignment prior to
                               NDAs
Prior Study Retained eGFR      Representations that results from Reata’s older BEAM and
Representations                BEACON studies also demonstrated sizable, statistically
                               significant retained eGFR benefits for Bard

Reata                          Reata Pharmaceuticals, Inc.
Reata AdCom Slides             Presentation slides prepared by Reata for the AdCom Meeting on
                               December 8, 2021
Reata Defendants               Reata, Officer Defendants, and Director Defendants
REMS                           Risk Evaluation and Mitigation Strategy
Retained eGFR                  eGFR change over baseline eGFR, if any, following: (i) cessation
                               of further drug treatment, and (ii) an adequate washout period that
                               allows PD effects to extinguish, which, if present, indicates that
                               treatment had not only PD effects, but also disease-modifying
                               effects
Risk Factor Disclosures        Various “risk factors” contained in the 2016 10-K purporting to
                               disclose the material risks Reata faced
Rose                           William E. Rose, Reata director from February 2016 onwards
R&D                            Research and Development
SEC                            U.S. Securities and Exchange Commission
Secondary Public Offerings     2019 Offering and 2020 Offering
Securities Act                 Securities Act of 1933
Shelf Registration Statement   Reata registration statement filed with the SEC on Form S-3 on
                               July 23, 2018 and used for 2019 Offering and 2020 Offering
Soni                           Manmeet Soni, Reata’s Chief Financial Officer since August 28,
                               2019, Chief Operating Officer since June 2020, and President
                               since February 27, 2022

Stifel                         Stifel, Nicolaus & Company, Incorporated



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TSUBAKI                    Kyowa Kirin Phase 2 study of Bard as a treatment for type 2
                           diabetes CKD, conducted between 2014-2016, with results
                           reported September 2017, where GFR was directly measured by
                           inulin clearance, and where serial measures of GFR were
                           obtained after cessation of treatment
Underwriter Defendants     the 2020 Offering Underwriter Defendants and the 2019 Offering
                           Underwriter Defendants: Jeffries, Leerink, Stifel, Baird, LT&Co,
                           Cantor, Citigroup, Barclays, and Goldman
U.S.                       United States
Washout / Washout Period   The length of time necessary for a drug’s PD effects to extinguish
                           following discontinuation of drug treatment
Wespath                    Court-appointed Lead Plaintiff UMC Benefit Board, Inc., US
                           Equity Fund-P Series, a series of the Wespath Funds Trust, US
                           Equity Index Fund-P Series, a series of the Wespath Funds Trust,
                           Wespath Institutional Investments LLC, US Equity Fund-I Series,
                           a series of the Wespath Funds Trust, and US Equity Index Fund-I
                           Series, a series of the Wespath Funds Trust




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       Court-appointed Lead Plaintiff UMC Benefit Board, Inc., US Equity Fund-P Series, a

series of the Wespath Funds Trust, US Equity Index Fund-P Series, a series of the Wespath Funds

Trust, Wespath Institutional Investments LLC, US Equity Fund-I Series, a series of the Wespath

Funds Trust, and US Equity Index Fund-I Series, a series of the Wespath Funds Trust (collectively,

“Wespath” or “Lead Plaintiff”), individually and on behalf of all others similarly situated, by and

through Lead Plaintiff’s attorneys, alleges the following upon information and belief, except as to

those allegations concerning Lead Plaintiff, which are alleged upon personal knowledge. Lead

Plaintiff’s information and belief is based upon, among other things, Lead Plaintiff’s counsel’s

investigation, which includes, without limitation: (a) review and analysis of regulatory filings

made by Reata Pharmaceuticals, Inc. (“Reata” or the “Company”) with the United States (“U.S.”)

Securities and Exchange Commission (“SEC”); (b) review and analysis of press releases and media

reports issued by and disseminated by Reata; (c) review of reports issued by industry and securities

analysts; and (d) review of other publicly available information concerning Reata, including

information from the U.S Food and Drug Administration (“FDA”).

I.     NATURE OF THE ACTION AND OVERVIEW

       1.      This is a class action on behalf of the following class (the “Class”): all persons or

entities who purchased or otherwise acquired the publicly traded common stock of Reata between

November 14, 2016 and December 8, 2021, inclusive (the “Class Period”), and were damaged

thereby, including all persons or entities who purchased or otherwise acquired Reata common

stock pursuant and/or traceable to Reata’s 2019 Offering and/or 2020 Offering, and were damaged

thereby (the “Offerings Subclass”).

       2.      This action is brought on behalf of the Class for violations of Sections 10(b) and

20(a) of the Securities Exchange Act of 1934 (“Exchange Act”), 15 U.S.C. §§ 78j(b) and 78t(a)

and Rule 10b-5 promulgated thereunder by the SEC, 17 C.F.R. § 240.10b-5, and Sections 11,


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12(a)(2), and 15 and the Securities Act of 1933 (“Securities Act”), 15 U.S.C. §§ 77k, 77l(a)(2),

and 77o.

       3.      Reata is a clinical-stage biopharmaceutical company headquartered in Plano,

Texas. During the Class Period, Reata sought to develop its most important drug candidate,

bardoxolone methyl (“Bard”), as a treatment for Alport syndrome (“Alport”), a form of chronic

kidney disease (“CKD”). To market Bard for Alport, Reata needed FDA approval, which required

a clinical study demonstrating Bard’s efficacy and safety in treating Alport.

       4.      A key measure of efficacy for CKD is “retained eGFR.” Estimated glomerular

filtration rate (“eGFR”) measures kidney function. Drugs may generate a short-term boost to eGFR

so long as the drug continues to be given and active in the patient’s body. These are known as the

drug’s “pharmacodynamic” effects. However, such short-term effects may not indicate that the

drug has any long-term effect on treating the disease. Evidence of such long-term, disease-

modifying effects can be provided by measuring retained eGFR – a patient’s eGFR measured after

the patient stops taking the drug for a sufficient amount of time to allow the pharmacodynamic

effects to wash out (known as the “washout period”). Valid measurement of retained eGFR is

predicated on an adequate washout period.

       5.      The Class Period began on November 14, 2016, when Reata announced that it had

received FDA “guidance” on how such a study should be designed and what results the FDA would

deem to support approval. Per Defendants’ account of the FDA’s guidance: (i) to approve Bard,

the FDA needed evidence of success on retained eGFR; and (ii) to generate such evidence, the

study should be designed to measure eGFR levels following extended treatment with Bard (one

(1) and two (2) years) and a four (4)-week washout period. For example, as stated in Reata’s

Form 10-K for 2017:




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          The U.S. Food and Drug Administration (FDA) has provided us with guidance that,
          in patients with CKD caused by Alport syndrome, an analysis of retained eGFR,
          which is the eGFR change after a four week withdrawal of drug, demonstrating an
          improvement versus placebo after one year of bardoxolone methyl treatment may
          support accelerated approval [and] . . . after two years of treatment may support full
          approval.

See Reata 2017 10-K at 3 (March 2, 2018); see also id. at 6, 11, 80 (same).

          6.      Reata commenced that clinical study, named CARDINAL, in early 2017 and

completed it in late 2020, with retained eGFR measurements taken following a four (4)-week

washout period designated as CARDINAL’s “key secondary endpoint,” and FDA approval

requiring success on that endpoint. Throughout, Defendants represented that CARDINAL was

based on and faithfully reflected FDA guidance. Indeed, Defendants affirmatively insisted that

they had been “transparent” with investors concerning Reata’s communications with the FDA:

          I think that we’ve been transparent with our discussions with the agency dating
          back to our pre-IND meeting with Alport syndrome, which we had in 2016. They
          gave us the design for the Alport syndrome trial, which we’ve executed. . .

          And so from our perspective, the design is what they told us to do. We’ve executed
          it. We don’t believe there is any discrepancies between what they told us to do and
          what we’ve executed . . .

Q1 2021 Conference Call, Bloomberg transcript at 17. 1

          7.      Put simply, Defendants represented throughout the Class Period they had placed

CARDINAL’s goalposts exactly where the FDA said they needed to be for FDA approval.

          8.      Thereafter, each set of CARDINAL results that Defendants announced – including,

most crucially, purported “retained” eGFR – suggested that Reata had kicked the ball straight

through the FDA’s goalposts.

          9.      Further Defendants’ representations indicated that Reata’s goals were: (i) scored




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    In quotations, bold and italics are present in the original; underlining is added for emphasis.


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from fair play rather than an offsides position (for example, repeated representations that Bard’s

“washout” required no more than ten to fourteen (10-14) days, which made CARDINAL’s four

(4)-week washout period appear conservative); and (ii) consistent with historical precedent (for

example, representations that prior Bard studies had also purportedly evidenced “retained eGFR”

benefits).

       10.     As CARDINAL’s results appeared time after time to demonstrate successfully and

consistently what the FDA needed for Bard’s approval, Reata’s share price more than sextupled,

rising from below $30 per share to above $200 per share. Taking advantage of Reata’s share

price inflation, Defendants conducted four secondary public offerings during the Class Period, in

which they sold more than 11.9 million Reata shares for total proceeds exceeding $1.1 billion.

Certain Individual Defendants, together with other Reata officers, realized a further $50 million

from selling personal Reata shareholdings as Reata shares neared their peak prices.

       11.     Shortly after (i) announcing successful CARDINAL retained eGFR results

following two years of treatment on November 9, 2020, which caused Reata shares to leap 32.4%

that day, from $131.89 to $174.66, and (ii) completing its fourth and last secondary public offering

on December 1, 2020 (in which Reata sold 2.0 million shares for net proceeds of approximately

$277.8 million), Reata submitted a New Drug Application (“NDA”) with the FDA in February

2021, with the CARDINAL results as its centerpiece (the “Bard NDA”).

       12.     The FDA scheduled a public Advisory Committee (“AdCom”) meeting to consider

the Bard NDA (the “AdCom Meeting”) for December 8, 2021. On December 6, 2021, in

connection with and three (3) days prior to the AdCom Meeting, the FDA released a 96-page report

concerning the Bard NDA (the “FDA Briefing Book”).

       13.     The FDA Briefing Book revealed, to considerable market shock, that Reata had not




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been “transparent” with investors concerning its interactions with the FDA.

       14.     First, the FDA Briefing Book explained that Reata had not obtained FDA

concurrence on CARDINAL’s design – most specifically, on CARDINAL’s four-week washout

period. Throughout the Class Period, the FDA had in fact “repeatedly voiced concerns” to Reata

– in December 2016, September 2018, February 2019, January 2020, and September 2020 –

concerning the basis for and adequacy of CARDINAL’s four-week washout period, and the

validity of retained eGFR measurements premised on it. Although the FDA had repeatedly advised

and invited Reata to address these issues and/or meet to discuss them, Reata had consistently

declined to do so. Likewise, although the FDA had recommended that Reata either pause

CARDINAL to determine an adequate washout period or amend CARDINAL’s design to include

additional measurements of retained eGFR (for example, not just at four weeks after cessation of

treatment, but also at six weeks, eight weeks, etc.), Reata had declined and/or ignored these

recommendations. While the FDA’s “repeated[] . . . concerns” were raised privately with Reata,

Defendants did not disclose those concerns to investors during the Class Period, and instead

continued to assert, misleadingly, that CARDINAL’s design and conduct reflected FDA guidance.

       15.     Second, the FDA Briefing Book revealed that CARDINAL’s retained eGFR

results, which Defendants had previously represented to be successful (demonstrating a retained

eGFR benefit) and legitimate (premised on a purported FDA-approved washout period of four

weeks, which was significantly longer than the 10-14 days that Reata represented was needed for

washout), were neither. In fact, as the FDA Briefing Book explained, Bard required eight (8) weeks

for washout. CARDINAL’s purported retained eGFR data, measured only four weeks into the

necessary eight-week washout period, was therefore not retained eGFR at all, but instead was

contaminated and inflated by the very pharmacodynamic effects it purported, and needed, to




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exclude. Notwithstanding their facial success in meeting CARDINAL’s key secondary endpoint,

these results did not actually measure truly retained eGFR and thus provided no basis for FDA

approval.

       16.     Put simply, the FDA Briefing Book revealed that Defendants’ claims to have

conducted CARDINAL in accord with FDA guidance, and that CARDINAL’s results had

successfully met the FDA’s threshold for approval, had been a mirage.

       17.     Consequently, following the FDA Briefing Book’s publication on December 6,

2021, Reata’s shares lost 37.8% of their value that same day, falling from $78.69 to $48.92 per

share, on trading volume of 5.5 million shares (more than 19 times Reata’s daily average) – the

second most active trading day in Reata’s existence. Three days later, on December 9, 2021, Reata

shares fell further still, declining by $25.31 per share, or 46.5%, to close at $29.11 per share, on

even heavier trading volume (9.8 million shares, Reata’s most active trading day ever), after the

AdCom Meeting showed the Advisory Committee to credit the FDA Briefing Book and vote

unanimously against Bard approval.

       18.     Throughout the Class Period and as detailed herein, Defendants made materially

false and/or misleading statements – including in connection with Reata’s secondary public stock

offerings – concerning, inter alia, the FDA guidance, CARDINAL’s design, CARDINAL’s

results, Bard’s washout period, and the Bard NDA. As a result, Lead Plaintiff and other Class

members have suffered significant losses and damages.

II.    JURISDICTION AND VENUE

       19.     The claims asserted herein arise under Sections 10(b) and 20(a) of the Exchange

Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the SEC (17

C.F.R. § 240.10b-5), as well as under Sections 11, 12(a)(2) and 15 of the Securities Act, 15 U.S.C.

§§ 77k, 77l(a)(2), and 77o.


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         20.     This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331, Section 27 of the Exchange Act (15 U.S.C. § 78aa), and Section 22 of the Securities

Act (15 U.S.C. § 77v).

         21.     Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391(b), Section

27 of the Exchange Act (15 U.S.C. § 78aa(c)) and Section 22 of the Securities Act (15 U.S.C. §

77v). Substantial acts in furtherance of the alleged violations of the securities laws or their effects

have occurred in this Judicial District. Many of the acts charged herein, including the

dissemination of materially false and/or misleading information, occurred in substantial part in this

Judicial District. In addition, the Company’s principal executive offices are located in this District.

         22.     In connection with the acts, transactions, and conduct alleged herein, Defendants,

directly and indirectly, used the means and instrumentalities of interstate commerce, including the

U.S. mail, interstate telephone communications, and the facilities of a national securities exchange.

III.     PARTIES

         A.      Lead Plaintiff

         23.     Lead Plaintiff supervises and administers retirement plans, investment funds, and

health and welfare benefit plans for active and retired clergy and lay employees of the United

Methodist Church. As set forth in the certification previously filed with the Court (ECF No. 20-

2) 2, incorporated by reference herein, Lead Plaintiff purchased a significant number of shares of

Reata common stock during the Class Period and suffered damages resulting from the federal

securities law violations, false and/or misleading statements, and/or material omissions alleged

herein. Lead Plaintiff purchased Reata common stock pursuant and traceable to the Shelf

Registration Statement, including 4,300 shares purchased in the 2019 Offering from Defendant


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    All references to “ECF No. __” refer to documents filed in the above-captioned action.


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Citigroup and 2,177 shares purchased in the 2020 Offering from Defendant Barclays.

       B.     Corporate Defendant

       24.    Defendant Reata is incorporated under the laws of Delaware with its principal

executive offices located at 5320 Legacy Drive, Plano, Texas 75024. Reata’s common stock trades

on the NASDAQ exchange under the symbol “RETA.” Reata, the Officer Defendants and the

Director Defendants are referred to herein as the “Reata Defendants.”

       C.     Officer Defendants

       25.    Defendant J. Warren Huff (“Huff”) founded Reata in 2002 and has served as

Reata’s Chief Executive Officer (“CEO”) and as Chairman of Reata’s Board of Directors (the

“Board”) ever since. Until February 7, 2022, Huff served as Reata’s President. Defendant Huff

signed or authorized the signing of the Shelf Registration Statement for the Secondary Public

Offerings.

       26.    Defendant Colin J. Meyer, M.D. (“Meyer”) joined Reata in 2003 as one of its first

employees. Defendant Meyer served as Reata’s Chief Medical Officer (“CMO”) from 2013 to July

7, 2020, and thereafter as Reata’s Chief Research and Development (“R&D”) Officer from July 7,

2020 to February 7, 2022. Defendant Meyer received a B.S. in chemistry with a specialization in

biochemistry and a B.A. in biology from the University of Virginia, an M.D. from the University

of Texas Southwestern Medical School, and an M.B.A. from Southern Methodist University Cox’s

School of Business.

       27.    Defendant Manmeet Soni (“Soni”) joined Reata in August 2019 and has served as

Reata’s Chief Financial Officer (“CFO”) since August 28, 2019. In June 2020, Soni also became

Reata’s Chief Operating Officer (“COO”). In those roles, Defendant Soni oversaw and, continues

to oversee, Reata’s manufacturing, quality assurance, global alliances, business development,

corporate strategy, finance, accounting, treasury, tax, corporate communications, investor


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relations, and information technology. On February 27, 2022, Defendant Soni succeeded

Defendant Huff as Reata’s President and gained additional responsibilities for Reata’s operational

excellence initiatives, program management, and quality assurance.

       28.     Defendants Huff, Meyer, and Soni are referred to as the “Officer Defendants.”

       29.     The Officer Defendants, because of their positions with the Company, possessed

the power and authority to control the contents of the Company’s reports to the SEC, press releases,

and presentations to securities analysts, money and portfolio managers, and institutional investors,

i.e., the market. The Officer Defendants were provided with copies of the Company’s reports and

press releases alleged herein to be misleading prior to, or shortly after, their issuance and had the

ability and opportunity to prevent their issuance or cause them to be corrected. Because of their

positions and access to material non-public information, the Officer Defendants knew, or were

reckless in disregarding, that the adverse facts specified herein had not been disclosed to, and were

being concealed from, the public, and that the positive representations which were being made

were then materially false and/or misleading. The Officer Defendants are liable for the false

statements and omissions of fact pleaded herein, as well as others that may be revealed as such

with the benefit of further investigation and discovery.

       D.      Director Defendants

       30.     Defendant R. Kent McGaughy, Jr. (“McGaughy”) has served since December 2004

as a director on Reata’s Board. Defendant McGaughy signed or authorized the signing of the Shelf

Registration Statement for the Secondary Public Offerings.

       31.     Defendant Jack B. Nielsen (“Nielsen”) has served since June 2006 as a director on

Reata’s Board. Following the Class Period, Reata announced that Defendant Nielsen would retire

from Reata’s Board in June 2022. Defendant Nielsen signed or authorized the signing of the Shelf

Registration Statement for the Secondary Public Offerings.


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       32.     Defendant William E. Rose (“Rose”) has served since February 2016 as a director

on Reata’s Board. Defendant Rose signed or authorized the signing of the Shelf Registration

Statement for the Secondary Public Offerings.

       33.     Defendant William D. McClellan, Jr. (“McClellan”) has served since March 2017

as a director on Reata’s Board. Defendant McClellan signed or authorized the signing of the Shelf

Registration Statement for the Secondary Public Offerings.

       34.     Defendant James E. Bass (“Bass”) served, between July 2004 and his August 26,

2020 resignation, as a director on Reata’s Board. Defendant Bass signed or authorized the signing

of the Shelf Registration Statement for the Secondary Public Offerings.

       35.     Defendants McGaughy, Nielsen, Rose, McClellan, and Bass are herein referred to

as the Director Defendants. The Officer Defendants and the Director Defendants are herein

referred to as the “Individual Defendants.”

       E.      Underwriter Defendants

       36.     Defendant Jefferies LLC (“Jefferies”) is a limited liability company incorporated

under the laws of Delaware, with principal executive offices located at 520 Madison Avenue, 10th

Floor, New York, New York 10022. Jefferies acted as an underwriter for the 2019 Offering,

helping to draft and disseminate the 2019 Offering Documents and solicit investors to purchase

the Reata shares issued and sold pursuant thereto.

       37.     Defendant SVB Securities LLC, f/k/a SVB Leerink LLC (“Leerink”) is a limited

liability company incorporated under the laws of Delaware, with principal executive offices

located at 53 State Street, 40th Floor, Boston, Massachusetts 02109. Leerink is the successor to

Leerink Partners LLC (“Leerink Partners”), following the November 2018 acquisition of Leerink

Partners’ parent holding company, Leerink Holdings LLC, by SVB Financial Group. Leerink acted

as an underwriter for the 2019 Offering, helping to draft and disseminate the 2019 Offering


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Documents and solicit investors to purchase the Reata shares issued and sold pursuant thereto.

       38.     Defendant Stifel, Nicolaus & Company, Incorporated (“Stifel”) is a company

incorporated under the laws of Missouri, with principal executive offices located at 501 North

Broadway, Saint Louis, Missouri 63102. Stifel acted as an underwriter for the 2019 Offering,

helping to draft and disseminate the 2019 Offering Documents and solicit investors to purchase

the Reata shares issued and sold pursuant thereto.

       39.     Defendant Robert W. Baird & Co., Inc. (“Baird”) is a company incorporated under

the laws of Wisconsin, with principal executive offices located at 777 East Wisconsin Avenue,

Milwaukee, Wisconsin 53201. Baird acted as an underwriter for the 2019 Offering, helping to draft

and disseminate the 2019 Offering Documents and solicit investors to purchase the Reata shares

issued and sold pursuant thereto.

       40.     Defendant Ladenburg Thalmann & Co., Inc. (“LT&Co”) is a company incorporated

under the laws of Delaware, with principal executive offices located at 640 Fifth Avenue, 4th

Floor, New York, New York 10019. LT&Co acted as an underwriter for the 2019 Offering, helping

to draft and disseminate the 2019 Offering Documents and solicit investors to purchase the Reata

shares issued and sold pursuant thereto.

       41.     Defendant Cantor Fitzgerald & Co. (“Cantor”) is a company incorporated under the

laws of New York, with principal executive offices located at 110 East 59th Street, New York,

New York 10022. Cantor acted as an underwriter for the 2019 Offering, helping to draft and

disseminate the 2019 Offering Documents and solicit investors to purchase the Reata shares issued

and sold pursuant thereto.

       42.     Defendant Citigroup Global Markets Inc. (“Citigroup”) is a company incorporated

under the laws of New York, with principal executive offices located at 388 Greenwich Street,




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New York, New York 10013. Citigroup acted as an underwriter for the 2019 Offering, helping to

draft and disseminate the 2019 Offering Documents and solicit investors to purchase the Reata

shares issued and sold pursuant thereto.

       43.     Defendant Barclays Capital Inc. (“Barclays”) is a company incorporated under the

laws of Connecticut, with principal executive offices located at 745 7th Avenue, New York, New

York 10019. Barclays acted as an underwriter for the 2020 Offering, helping to draft and

disseminate the 2020 Offering Documents and solicit investors to purchase the Reata shares issued

and sold pursuant thereto.

       44.     Defendant Goldman Sachs & Co. LLC (“Goldman”) is a limited liability company

incorporated under the laws of New York, with principal executive offices located at 200 West

Street, New York, New York 10282. Goldman acted as an underwriter for the 2020 Offering,

helping to draft and disseminate the 2020 Offering Documents and solicit investors to purchase

the Reata shares issued and sold pursuant thereto.

       45.     Defendants Jeffries, Leerink, Stifel, Baird, LT&Co, Cantor, and Citigroup are

referred to herein as the “2019 Offering Underwriter Defendants.” Defendants Barclays and

Goldman are referred to herein as the “2020 Offering Underwriter Defendants” and, together with

the 2019 Offering Underwriter Defendants, are referred to herein as the “Underwriter Defendants.”

Defendants Reata, the Officer Defendants, the Director Defendants, and the Underwriter

Defendants are referred to collectively herein as “Defendants.”

       F.      Relevant Nonparty

       46.     Kyowa Kirin Co., Ltd., f/ka Kyowa Hakko Kirin Co., Ltd. (“Kyowa Kirin”) is a

global pharmaceutical company organized and headquartered in Japan. In 2009, Kyowa Kirin

entered into an agreement with Reata in which Kyowa Kirin obtained rights to develop and

commercialize Bard in certain regions of Asia in exchange for payments of up to $272 million to


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Reata. Thereafter, Kyowa Kirin collaborated with Reata in Bard’s development and conducted

clinical studies on Bard, including TSUBAKI.

IV.       FACTUAL BACKGROUND

          A.     The FDA’s Drug Review and Approval Process

          47.    In the U.S., the FDA regulates drugs under the Federal Food, Drug, and Cosmetic

Act. To approve a drug for sale in the U.S., the FDA first requires:

      •   Preclinical laboratory tests and animal tests conducted under good laboratory practice;

      •   The submission to the FDA of an investigational new drug (“IND”) application for human
          clinical testing, which must become effective before any human clinical trial commences;

      •   Adequate and well-controlled human clinical trials to establish the safety and efficacy of
          the product, and conducted in accordance with good clinical practices;

      •   The submission to the FDA of an NDA for the applicable small molecule drug product;

      •   FDA acceptance, review, and approval of the NDA (including the product labeling and
          package insert); and

      •   Satisfactory completion of an FDA inspection of the manufacturing facilities at which the
          product is made to assess compliance with current good manufacturing practice.

          48.    Preclinical studies include laboratory evaluations and animal studies to assess the

potential safety and efficacy of the drug candidate, conducted in compliance with FDA regulations

regarding good laboratory practices.

          49.    The results of the preclinical studies, together with manufacturing information and

analytical data, are submitted to the FDA as part of the IND application. The IND includes a

protocol detailing, among other things, the objectives of the clinical trial, the parameters to be used

in monitoring safety, and the efficacy criteria. The IND becomes automatically effective

automatically 30 days after receipt by the FDA, unless the FDA raises concerns or questions about

the conduct of the studies. In this event, the IND sponsor must resolve any FDA concerns for the

IND to become effective and clinical trials to begin.


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       50.     Clinical trials involve the administration of the drug candidate to healthy human

volunteers or patients with the disease to be treated, under supervision by qualified principal

investigators, and in accordance with good clinical practices and applicable pre-defined protocols

(e.g., detailing the objectives of the applicable phase of the trial, dosing procedures, research

subject selection and exclusion criteria, and the safety and effectiveness criteria to be evaluated).

       51.     Clinical trials are typically conducted in three sequential phases prior to approval,

but in certain cases the phases may overlap or be combined. These phases include:

       A. Phase 1. Phase 1 clinical trials represent the initial introduction of a product candidate
          into human subjects, frequently healthy volunteers. In Phase 1, the product candidate
          is usually tested for pharmacodynamic (“PD”) and pharmacokinetic (“PK”) properties
          such as safety (including adverse events), dosage tolerability, absorption, distribution,
          metabolism, and excretion.

       B. Phase 2. Phase 2 clinical trials involve a limited number of patients with the disease
          for which the drug candidate is being developed, to (i) preliminarily evaluate the
          efficacy of the drug candidate for specific indications, (ii) determine dosage tolerability
          and optimal dosage, and (iii) identify possible adverse effects and safety risks.

       C. Phase 3. If a drug candidate is found to be potentially effective and to have an
          acceptable safety profile in Phase 2 trials, the clinical trial program may be expanded
          to Phase 3 clinical trials to further evaluate clinical efficacy, optimal dosage, and safety
          within an expanded patient population.

       52.     Clinical trial results, together with preclinical study results and detailed information

on the manufacture, composition, and quality of the drug candidate, are submitted to the FDA in

the form of an NDA requesting approval to market the drug.

       53.     Once the NDA submission is accepted, the FDA informs the applicant of the

specific date by which the FDA intends to complete its review (the “PDUFA Date”), which is

typically 10 months from the date of submission. The FDA reviews NDAs to determine, among

other things, whether the proposed drug is safe and effective for its intended use, and whether a

risk evaluation and mitigation strategy (“REMS”) is necessary to assure safe use of the drug. The

FDA can also convene an advisory committee of external experts to provide input on certain


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review issues relating to risks, benefits, and the interpretation of clinical trial data. The FDA will

either issue an approval of the NDA or a Complete Response Letter (“CRL”) detailing the

deficiencies and information required for reconsideration of the application.

        54.     Throughout the approval process, the FDA provides drug sponsors with particular

opportunities to meet with the FDA and obtain the FDA’s advice relating to the development and

review of INDs and NDAs. The FDA subdivides its meeting opportunities into four types: (i) Type

A Meetings; (ii) Type B Meetings; (iii) Type B – End-of-Phase (“EOP”) Meetings; and (iv)Type

C Meetings, as summarized below.

        A. Type A Meetings. Type A Meetings are, in essence, emergency meetings: meetings
           described by the FDA as necessary for an otherwise stalled drug development. Type A
           Meetings are used, for example, to discuss “clinical holds,” where the FDA has
           required suspension of clinical trials.

        B. Type B Meetings. Type B Meetings, often referred to as “milestone” meetings, are
           principally used to ensure sponsor/FDA alignment prior to major sponsor submissions
           or endeavors, such as IND applications (“pre-IND meetings”), NDAs (“pre-NDA
           meetings”), or emergency use authorization applications. Type B Meetings also include
           meetings regarding REMS or other post-marketing requirements that occur outside the
           context of the review of a marketing application and meetings for drugs granted
           breakthrough therapy designation. One central subset of Type B meetings – Type B
           (EOP) Meetings – primarily comprises meetings scheduled to follow the end of Phase
           2 trials and/or precede Phase 3 trials.

        C. Type C Meetings. Type C Meetings include any meetings other than Type A, B, or B
           (EOP) Meetings. Common Type C Meetings include discussions of so-called CMC
           issues (issues relating to chemistry, manufacturing, and controls).

        B.      CKD, GFR and eGFR

        55.     CKD is characterized by a progressive worsening in the glomerular filtration rate

(“GFR”) – the rate at which the kidneys filter waste products from the blood. CKD can progress

to end-stage kidney failure, which is fatal absent artificial blood filtering (i.e., dialysis) or a kidney

transplant.

        56.     Because GFR is burdensome to measure directly, clinicians have developed and



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rely on a simpler measure: estimated GFR. eGFR can be determined from a blood test, known as

a serum creatinine blood test, that measures the levels of creatinine in the bloodstream. 3 eGFR is

expressed in milliliters of cleansed blood per minute per body surface area (units that read as __

mL/min/1.72m2).

       57.      CKD is typically broken down into five stages defined by eGFR levels:

       A. Stage 1 CKD (eGFR of 90+): mild kidney damage, but kidneys are still working well.

       B. Stage 2 CKD (eGFR of 60-89): still mild kidney damage, kidneys are still working

             well.

       C. Stage 3 CKD (eGFR of 30-59): decreased kidney function; onset of symptoms.

       D. Stage 4 CKD (eGFR of 15-29): poor kidney function; moderate/severe kidney damage.

       E. Stage 5 CKD (eGFR below 15): kidney failure – life-threatening absent dialysis or a

             kidney transplant. Also referred to as end-stage kidney disease (“ESKD”).

       58.      Alport is a rare genetic form of CKD caused by mutations in genes encoding a

structural component of the kidney’s glomerular base membrane. The kidneys of patients with

Alport progressively lose filtering capacity (average annual eGFR declines of 3-4 mL/min/1.73

m2), which can lead to ESKD and the need for chronic dialysis or a kidney transplant. In patients

with the most severe forms of Alport, approximately 50% progress to dialysis by age 25, 90% by

age 40, and nearly 100% by age 60. Alport affects 30,000 to 60,000 people in the U.S.




3
  The body makes and uses creatine to provide energy to muscles. When muscles use this energy
they release creatinine, a toxin, into the blood, which the kidneys then filter and excrete. Kidney
function and eGFR can be determined by measured creatinine levels in conjunction with several
other data points (e.g., age, sex, height, weight, race/ethnicity, etc.).


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       C.      Bard Was Reata’s Most Important Product Candidate and the Largest
               Determinant of Reata’s Value

       59.     Shortly after its 2003 inception, Reata acquired exclusive worldwide licenses for

Bard and omaveloxolone (“Omav”). Thereafter and at all times during the Class Period, Reata’s

operations have focused primarily on researching, developing, and commercializing Bard and

Omav, Reata’s self-described “two lead product candidates.”

       60.     At all relevant times, Bard was Reata’s most important product. Reata was

developing Bard for more indications and larger patient populations than Omav, and clinical trials

were more advanced for Bard than Omav. In recognition of these and other relevant facts, analysts’

models and valuations of Reata ascribed the single largest part of Reata’s value to Bard. 4

       D.      Reata’s Relevant Pre-Class Period Efforts to Develop Bard

               1.      Bard’s First Phase III Trial Was Discontinued Due to Safety
                       Concerns

       61.     In June 2011, Reata launched a Phase 3 clinical trial, named BEACON, to study

whether Bard slowed progression to ESKD in 2,185 patients with Stage 4 CKD (patients with

eGFR between 15 and 30) and type 2 diabetes. BEACON’s primary endpoint measured the time

taken by patients to reach ESKD (i.e., need for chronic dialysis or renal transplant) or

cardiovascular death; multiple secondary endpoints included, inter alia, the rate of change in

patients’ eGFR. BEACON was originally planned to last for approximately two years, by which

time it was expected that significant numbers of patients would reach the primary endpoints.

       62.     However, safety concerns caused BEACON to be terminated early, in October



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  Reata did not generate any revenue from product sales during the Class Period, as no Reata
products have yet received FDA approval for sale to the public. Examination of Reata’s reported
R&D expenses, which Reata detailed throughout the Class Period by product category, illustrates
the centrality of Bard and Omav to Reata’s operations and shows that Bard alone accounted for
approximately 37% of Reata’s total R&D expenses (with Omav at 15%).


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2012, after its independent data and safety monitoring committee noticed a statistically significant

increase in heart failure events and recommended that BEACON be discontinued.

               2.      Reata Salvaged and Repositioned Bard for Development via Re-
                       analysis of the BEACON Data

       63.     Bard’s development then stalled due to BEACON’s safety issues. Reata, however,

endeavored to restart it by: (i) re-analyzing the BEACON data to focus narrowly on the precise

nature and causes of the elevated heart failure events occasioned there; and (ii) re-positioning

Bard’s development and indications (i.e., the proposed diseases and patient populations for which

Bard treatment was sought), to avoid or mitigate the risks uncovered in BEACON.

       64.     Between 2012 and 2014, Reata conducted a series of post hoc analyses of the

BEACON data and found that a small subset of patients with effective or prior heart failure, who

experienced fluid overload in the first four weeks of Bard treatment, were responsible for the

entirety of the increased risk.

       65.     Reata thereafter sought to restart Bard’s development in a manner designed to avoid

and/or mitigate these risks.

       66.     First, Reata repositioned the indications for which it sought to develop Bard. As

late-stage CKD patients (CKD Stage 4 and end-stage CKD patients) are at greater risk of fluid

overload, Reata ceased targeting these indications, and instead shifted to focus primarily on earlier-

stage CKD patient populations (in whom such elevated risks were absent). Throughout the Class

Period, Reata focused on genetically inherited forms of CKD, like Alport, 5 that cause progressive

deterioration of kidney function and can be treated prior to late-stage CKD.



5
 While Reata sought to develop Bard as a treatment for indications other than Alport, this case
concerns only misrepresentations made by Defendants concerning Reata’s efforts to obtain FDA
approval for Bard for treatment of Alport.


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       67.     Second, Reata also modified its trial protocols to avoid and/or mitigate these risks

by: (i) excluding from new Bard trials patients at elevated risk – those with prior heart failure or

biomarkers of heart failure; (ii) requiring closer monitoring of fluid levels during the first four

weeks of treatment; and (iii) introducing a modified dosing schedule, where patients would start

treatment with fractional doses and gradually escalate to full daily dosage.

       68.     After Reata presented such risk avoidance and mitigation strategies to the FDA

beginning in late 2013, the FDA allowed Reata to resume IND studies of Bard. The Class Period

Bard trials appeared to have avoided reproducing the kinds of serious adverse cardiac events, such

as fluid overload, seen in BEACON mostly by excluding from such trials any patients at elevated

risk of such events.

       E.       Facts and Concepts Relevant to Evaluation of Bard’s Efficacy and Safety

               1.      Pharmacodynamic Effects versus Disease-Modifying Effects

       69.     Pharmacology, which studies the interaction between drugs and humans, has two

broad arms: (i) PD, which studies the biochemical, physiologic, and molecular effects of drugs on

the body (i.e., what the drug does to the body), and (ii) PK, which studies a drug’s absorption,

distribution, metabolism, and excretion (i.e., what the body does to the drug).

       70.     In Bard’s case, a relevant PD effect of treatment with Bard, as clinical trials

indicated, is a boost in patients’ eGFR. The exact mechanism that produces this effect is complex,

and, as Reata explained in its Class Period SEC filings, involves intervention in biochemical

pathways that regulate gene activity. Chemically, Bard binds to a protein known as Keap1, which

in turn governs the activity of another very important protein, Nrf2, which operates as a

“transcription factor” (a protein that controls gene activity and turns certain genes “on” or “off”)

for an array of detoxifying, anti-inflammatory, and antioxidant defense genes.

       71.     In CKD and its associated gradual decline in kidney function, treatment efficacy is


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generally viewed through the prism of slowing the decline in kidney function: i.e., altering the

course of the disease (a “disease-modifying” effect). A drug’s disease-modifying effects are often

evaluated through time-based studies that measure the time taken to progress to a relevant clinical

endpoint (e.g., ESKD). If patients treated with the drug take longer to progress ESKD than patients

treated with a placebo, it is evident that the drug has altered the course of the disease and produces

a disease-modifying effect.

       72.     Where the disease/decline is long-term, and the relevant clinical endpoints may

require very long time periods to reach, such studies are not always feasible or practical.

Alternatively, studies in certain instances can utilize alternative, “surrogate” endpoints – such as

eGFR here – where traditional clinical endpoints may be sufficiently difficult or impractical.

       73.     However, the use of eGFR as a surrogate endpoint for a clinical outcome generates

ambiguity with respect to whether a drug produces disease-modifying effects. While a PD effect

is evident – a boost to eGFR following treatment with Bard – it provides no evidence of a disease-

modifying effect. The solution to this problem adopted by the FDA and industry members is to

measure and evaluate retained eGFR.

               2.      The Retained eGFR Test Is Designed to Distinguish PD Effects and
                       Reveal Disease-Modifying Effects

       74.     Retained eGFR is the measurement of eGFR following (i) cessation of further

treatment with the drug, and (ii) an additional period of time sufficient to allow the drug and

its PD effects to become effectively extinguished. Consequently, in the first instance, a retained

eGFR measure strips away the drug’s PD effects on eGFR. In the second instance, this allows the

determination of whether there is any eGFR benefit that remains after PD effects have been

reversed (a “retained benefit”). If the measurement of retained eGFR reveals a retained benefit,

this is an indication or evidence that the drug has some disease-modifying effect.



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                       a.      Ceasing Drug Treatment, and Measuring eGFR After
                               “Washout” of the Drug’s PD Effects

       75.     The concept and accurate measure of retained eGFR are premised on removing PD

effects to render visible any additional disease-modifying effects. Removal of PD effects requires

not only cessation of treatment with the drug, but an additional period of time, following drug

discontinuation, for the drug to exit the body and for the drug’s PD effects to cease, or “resolve.”

This additional period of time is termed the “washout period,” and its goal – cessation of further

PD effects – is referred to as “washout.”

       76.     Washout is a function of both PK (how the body metabolizes the drug) and PD

(how the drug works in and affects the body). One drug’s washout can and usually does differ

from another’s. Likewise, longer and larger doses of a drug may require longer washout periods

than shorter and smaller treatments of the same drug.

                       b.      Relevance for Efficacy

       77.     The primary relevance of retained eGFR concerns efficacy: specifically, indication

of a drug’s disease-modifying effects.

       78.     The two charts presented on the following pages illustrate why and how. Both show

illustrative eGFR measurements for two patient groups – one group treated with the drug (the

“treatment group”) and the other with a placebo (the “placebo group”) – throughout a trial featuring

(i) three years of treatment, followed by (ii) a washout period after year three.

       79.     The first chart illustrates a scenario where eGFR measurements following the

washout period show that no retained benefit exists. Looking from bottom to top, the grey line at

the bottom, showing the eGFR measures of the placebo group, illustrates, as expected in CKD,

continuous kidney function decline, starting at eGFR of 60, declining to approximately 52.5 at

year three, and continuing to decline thereafter. Above the grey line, the blue line, by contrast,



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shows eGFR levels for patients in the treatment group. As the blue line shows, the treatment

produces an initial boost to eGFR, which rises from 60 to approximately 63. Thereafter, during the

three-year treatment period, the eGFR of patients in the treatment group (blue line) declines in

parallel with the eGFR of placebo patients (grey line) but retains at all times the initial eGFR boost

from treatment relative to the placebo group (three eGFR points higher than the placebo group at

all on-treatment times). However, following year three, drug treatment is discontinued. During the

ensuing washout period following year three (defined by the red box), eGFR levels in the treatment

group fall sharply, and by the end of the washout period, to levels indistinguishable from the

placebo group.




See FDA AdCom Slides at 7; see also FDA Briefing Book at 19.

       80.       In the above scenario, the drug has only a reversible PD effect, but no disease-

modifying effect. The effect on eGFR disappears in the off-treatment period after the PD effect

has fully reversed, after which eGFR is the same as it would have been had no drug been given.

       81.       The second chart below illustrates a different scenario: where post-washout eGFR

measurements indicate that a retained benefit exists.




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See FDA AdCom Slides at 8; see also FDA Briefing Book at 19.

       82.     In this second scenario, the treatment patient group (orange line) displays a reaction

to the drug visibly different in two respects. First, following the same initial boost to eGFR at the

commencement of treatment (rising three eGFR points above the placebo group), patients in the

treatment group, during the three-year treatment period, do not feature parallel chronic eGFR loss

to patients in the placebo group. Instead, during the three-year treatment course, the treatment

group’s eGFR declines less, or more slowly, than in the placebo group, which indicates there is a

disease-modifying effect. Second, after the three-year treatment period is completed, and drug

treatment ceases, eGFR levels in the treatment group fall – as the drug’s PD effects “wash out” –

but post-washout eGFR levels remain higher than eGFR in the placebo group.

       83.     This (illustrative) retained eGFR result indicates that the drug’s effects are not

limited to PD effects present only during, and because of, continuing treatment. Instead, there is

an indication that the drug has produced a more enduring and fundamental benefit – one indicating

that somehow, bodily functioning has improved to alter disease course/progression.




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                       c.     Relevance for Safety

       84.     Over and above its central, normal relevance for safety, retained eGFR, for Bard

particularly, also had important safety implications.

       85.     Although Reata asserted that Bard improved eGFR by expanding glomerular

surface area, thereby increasing kidney filtering capacity, the FDA was concerned that Bard’s

boost to eGFR was produced by increasing blood pressure within the kidney, referred to as

“hyperfiltration.” While hyperfiltration could boost eGFR in the short term, the increased pressure

could damage the kidneys in the longer term. Retained eGFR measurement was of additional

significance for Bard because it could provide further evidence as to whether Bard did, or did not,

operate through hyperfiltration. If eGFR levels following long-term Bard treatment and washout

were worse in the treatment group than in the placebo group, that could indicate that Bard caused

hyperfiltration. Conversely, post-washout eGFR showing a retained benefit might indicate that

Bard was not working through a mechanism that caused longer-term kidney damage.

               3.      Retained eGFR’s Validity and Relevance Rest on and Require an
                       Adequate Washout Period

       86.     Retained eGFR was a crucial metric for evaluating Bard’s efficacy and safety – and

for that reason, was incorporated as a “key secondary endpoint” into the CARDINAL trial that

was intended to and did support the Bard NDA.

       87.     For a retained eGFR measurement to be valid or relevant, it is necessary that

the washout period that precedes it be long enough to allow the drug’s PD effects to

extinguish. If the washout period is insufficient for their removal, the purported retained eGFR is

not truly a retained eGFR at all because it includes the very thing it claims to exclude: the drug’s

PD effects.

       88.     A retained eGFR measurement taken within the washout period, while the drug’s



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PD effects are still active, will present two related and fundamental problems.

       A. First, it will be materially inflated, because it will include some portion of the drug’s
          PD effects over and above any retained benefit.

       B. Second, it will not be what it claims to be: eGFR that is retained following the
          extinction of PD effects, thus erasing the measure’s validity and relevance.

       F.      The CARDINAL Trial Used to Evidence Bard’s Efficacy and Safety

       89.     The Class Period begins with Reata’s announcement that it had a pre-IND meeting

with the FDA on or about October 5, 2016, where it had obtained FDA “guidance” concerning

how to design a protocol that could form the basis for FDA evaluation and possible approval of

Bard as a treatment for Alport CKD and that, based on this guidance, Reata would initiate a

combined, pivotal phase 2/3 trial (the CARDINAL trial).

       90.     The CARDINAL trial’s design is displayed in the chart below:




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See Reata AdCom Slides, 6 at 18.

       91.     With respect to the Phase 3 portion of CARDINAL, which was intended and used

as the evidentiary basis for the Bard NDA, the most relevant aspects of the design included:

       A. A two-year treatment course consisting of:

               a)     treatment with Bard for 48 weeks, at which year-one eGFR would be
                      measured;

               b)     a four-week washout period, from weeks 48-52, after which year-one
                      “retained” eGFR would be measured;

               c)     resumption of treatment for another 48 weeks after year one (i.e., from
                      weeks 53-100), at which year-two eGFR would be measured; and

               d)     a four-week washout period, from weeks 100-104, after which year-two
                      “retained” eGFR would be measured;

       B. On-treatment eGFR change, measured at weeks 48 and 100 versus baseline eGFR, as
          a primary endpoint (with change from baseline in the Bard treatment group to be
          measured against change in the placebo group);

       C. Retained eGFR change, measured at weeks 52 and 104 following four-week washouts,
          versus baseline eGFR (with change from baseline in the Bard treatment group to be
          measured against change in the placebo group) as a “key secondary endpoint”;

       D. Purported FDA accord with the foregoing; and

       E. The FDA’s “guidance” to Reata that success with respect to year-one retained eGFR
          data could support accelerated FDA approval, and success with respect to year-two
          retained eGFR data could support full approval.

       92.     As Defendants explained, FDA approval would require a successful showing of

retained eGFR: CARDINAL had to reach not just its primary endpoint but also its “key

secondary endpoint,” retained eGFR.

       93.     During the Class Period, Reata announced: (i) Phase 2 year-one results (and




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  U.S. FOOD & DRUG ADMIN., REATA PHARMACEUTICALS PRESENTATIONS FOR THE DECEMBER 8,
2021 MEETING OF THE CARDIOVASCULAR AND RENAL DRUGS ADVISORY COMMITTEE (2021)
(hereinafter, the “Reata AdCom Slides”).


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retained eGFR) on July 23, 2018; (ii) Phase 3 year-one results (and retained eGFR) on November

11-12, 2019; and (iii) Phase 2 year-two results (and retained eGFR) on November 9, 2020. On

each occasion, Reata reported that Bard generated a material, statistically significant retained

eGFR benefit, purportedly indicating Bard’s disease-modifying effects. On or about February 25,

2021, Reata filed the Bard NDA based on this and further CARDINAL data.

       G.       Undisclosed Adverse Facts Known to Defendants During the Class Period

                1.     The FDA Spent Most of the Class Period Repeatedly and Privately
                       Warning Reata that CARDINAL’s Four-Week Washout Period Was
                       Inadequate

       94.      Throughout the Class Period, Defendants consistently represented that: (i)

CARDINAL’s design, including, specifically, its measurement of retained eGFR following a four-

week washout period, was the product of and in accord with “guidance” that the FDA provided to

Reata; and (ii) per the same FDA guidance, success on CARDINAL’s year-one retained eGFR key

secondary endpoint, so designed, could support accelerated FDA approval, and on year-two

retained eGFR, so designed, full approval. See Section V.A.1.a, infra.

       95.      The truth, however, was almost exactly the opposite. As the FDA revealed on

December 6-8, 2021, in connection with the AdCom Meeting:

       A. Reata had lost contact with, and failed to secure, FDA guidance throughout the Class

             Period;

       B. The FDA repeatedly warned Reata that FDA concurrence with respect to

             CARDINAL’s protocol had not been obtained, and repeatedly advised Reata to obtain

             it before proceeding with CARDINAL Phase 3; and

       C. Most specifically, CARDINAL’s four-week washout period had an inadequate basis,

             was insufficient for extinguishment of Bard’s PD effects, therefore did not measure

             truly retained eGFR, and thus was not capable of (i) demonstrating disease-modifying


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             effects, or (ii) providing requisite evidence of the same necessary for FDA approval.

       96.      In its initial October 5, 2016 pre-IND meeting with Reata, the FDA informed Reata

that CARDINAL would need to evaluate retained eGFR, rather than merely on-treatment eGFR,

to distinguish Bard’s PD effects from disease-modifying effects, if any. See, e.g., FDA Briefing

Book at 39 (“At a pre[-]IND meeting held in October 2016, the Division indicated that because of

bardoxolone’s pharmacodynamic effect on kidney function, on-treatment assessments of kidney

function would be difficult to interpret as a drug effect on disease progression. As such, a post-

treatment assessment of creatinine should be used to assess bardoxolone’s efficacy in treating the

disease.”); see also FDA AdCom Slides at 9.

       97.      However, as the FDA would later reveal on December 6-8, 2021, it “repeatedly

voiced concerns” about the evaluation of the retained eGFR:

       Following submission of the IND in 2016, the Agency repeatedly voiced concerns
       about the time-course for resolution of bardoxolone’s pharmacodynamic effect on
       creatinine/eGFR following discontinuation of treatment and whether the off-
       treatment values collected in CARDINAL Phase 3 were in fact capturing an effect
       on disease progression. The Agency ultimately recommended that the Applicant
       conduct a separate study to characterize the time course for resolution of
       bardoxolone’s pharmacodynamic effect or modify CARDINAL Phase 3 to obtain
       the information (i.e., revise the protocol to include additional off-treatment eGFR
       measurements).

See FDA Briefing Book at 39; see also FDA AdCom Slides at 9 (“During the course of

development, FDA grew concerned about the timing of the Applicant’s post‐treatment assessment

and whether it was adequate to differentiate the pharmacodynamic effect on kidney function from

its effect on disease progression and voiced this concern to the Applicant.”).

       98.      While the FDA’s “repeated[] . . . concerns” were raised privately with Reata,

Defendants did not disclose those concerns to investors during the Class Period.

       99.      The FDA raised its concerns with CARDINAL in December 2016, when the FDA

provided Reata with an “advice letter” containing “extensive written feedback” on CARDINAL’s


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design (the “December 2016 Advice Letter”). See FDA Briefing Book at 39 n.2. Notably, the FDA

issued its December 2016 Advice Letter to Reata just a few short weeks after Reata’s November

14, 2016 public announcement of CARDINAL and its design – which Defendants purported to be

in accord with FDA guidance.

        100.   Reata did not modify CARDINAL’s washout period following the FDA’s

December 2016 Advice Letter. The Company instead launched CARDINAL’s exploratory Phase

2 trial, which measured retained eGFR at one year, after 48 weeks of treatment and a four-week

washout period. Reata announced one-year retained eGFR from CARDINAL Phase 2 on July 23,

2018.

        101.   Following Reata’s completion of Phase 2, and before the decisive Phase 3 portion

of CARDINAL approached the time for its critical retained eGFR measurements, the FDA

contacted Reata in September 2018 to encourage Reata to request, as is typical, an “End-of-Phase

2 meeting.” See FDA Briefing Book at 39 n.2. End-of-Phase 2 meetings occupy an especially

important role in the FDA’s regulatory scheme, as they are the principal and last opportunity to

ensure alignment between the FDA and a drug sponsor on Phase 3 plans, protocols, and adequacy,

and to identify any additional, as-yet missing information that might be needed to support an

eventual NDA, prior to actual initiation of Phase 3. See 21 C.F.R. § 312.47(b).

        102.   Here, in September 2018, the FDA encouraged Reata to request an End-of-Phase 2

meeting to “discuss the development program” (i.e., CARDINAL Phase 3) and “ensure

alignment.” See FDA Briefing Book at 39 n.2.

        103.   Reata declined to request or have an End-of-Phase 2 meeting and explained to the

FDA that Reata was “not seeking input from the Division on the program at this time.” Id. Instead,

Reata continued CARDINAL Phase 3, keeping the four-week washout period for the retained




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eGFR measurements, and continued to issue a stream of public statements extolling CARDINAL’s

purported accordance with FDA guidance without ever disclosing that Reata ignored the FDA’s

requests for an End-of-Phase 2 meeting.

       104.   Remarkably, after Reata declined the FDA’s suggested End-of-Phase 2 meeting

and proceeded to Phase 3 without further discussion, the FDA wrote back to Reata in February

2019 with a three (3)-part message:

       A. First, the FDA re-emphasized to Reata “the importance of obtaining FDA concurrence

           that a study intended to support a marketing application was adequate and acceptable

           for this purpose[,]” and “encouraged [Reata] to obtain Agency concurrence on the

           adequacy and acceptability of the study to support a marketing application.” See FDA

           Briefing Book at 39 & 39 n.2. These reminders communicated to Reata that the FDA

           had not signed off on CARDINAL Phase 3’s design or adequacy – that its

           “concurrence” was still yet to be obtained.

       B. Second, the FDA “also encouraged [Reata] to submit a written response to the

           comments in the FDA’s December 2016 advice letter . . . .” Id. at 39 n.2. This indicated

           that the “extensive written feedback” that the FDA originally provided to Reata in

           December 2016 (i) had, ever since, been effectively ignored by Reata, and (ii) was still

           relevant for CARDINAL Phase 3 adequacy and acceptability. Id.

       C. Third, the FDA “reiterated its offer to meet with [Reata] to discuss the development

           program and a path forward.” See id.

       105.   Just as with the December 2016 Advice Letter, there is no indication that Reata

provided any substantive response to the FDA’s February 2019 communication, or to the issues

the FDA first communicated in December 2016 and reiterated in February 2019, to “obtain Agency




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concurrence” on those issues and/or on CARDINAL’s adequacy and acceptability. See id. at 39.

Reata continued with the first year of CARDINAL Phase 3, without any modifications to obtain

FDA concurrence, and reported year-one results from CARDINAL Phase 3, including retained

eGFR figures following a four-week washout period, on November 11-12, 2019. Reata continued

to publicly represent that CARDINAL operated pursuant to FDA guidance, but Defendants did

not disclose that Reata had declined the FDA’s invitation to meet and to obtain agency

concurrence.

       106.    In January 2020, Reata met with the FDA concerning CARDINAL (the “January

2020 FDA Meeting”). Reata’s intent in the January 2020 FDA Meeting was to propose a quick

NDA filing for FDA accelerated approval, based on the CARDINAL year-one eGFR data. See,

e.g., id. at 39. However, the FDA refused to accept such an NDA filing and expressed concerns

about the adequacy of the CARDINAL Phase 3 efficacy and safety data. Id.

       107.    Specifically, the FDA expressed concerns with CARDINAL’s four-week washout

period, which the FDA indicated was unsupported and/or inadequate. See id. at 39 (“concerns

about the interpretability of the eGFR findings given the available information on the time course

for resolution of bardoxolone’s pharmacodynamic effect”). Because retained eGFR validity rests

on washout period adequacy, the FDA’s concerns went straight to the validity of the retained eGFR

measurements based on that washout period. Id.; see also FDA AdCom Slides at 17 (“The key

secondary endpoint in CARDINAL was intended to assess whether bardoxolone slows the loss of

kidney function in patients with Alport syndrome. Interpretation of this endpoint depends on the

adequacy of the washout period used in the trial.”) .

       108.    The FDA also expressed concerns over the relatively high number of patients who

discontinued Bard treatment in the first year (“the amount of missing data in the bardoxolone arm”)




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and what it deemed a “lack of clarity” with respect to “how patients with missing data” would be

accounted for statistically “in key analyses intended to disentangle the drug’s pharmacodynamic

effect on kidney function from its effect on the irreversible loss of kidney function.” See FDA

Briefing Book at 39.

       109.    Additionally, the FDA expressed two safety concerns. First, whether Bard boosted

eGFR in the short term by increasing blood pressure within the kidney, which could, in turn,

produce long-term kidney damage – i.e., the above-mentioned hyperfiltration issue. One marker

of such long-term kidney damage is albuminuria (the presence of the protein albumin in the urine).

A healthy kidney does not let albumin pass from the blood into the urine. A damaged kidney allows

some albumin to pass into the urine. Albuminuria is, therefore, a sign of kidney disease. Bard

treatment appeared to increase albuminuria. Second, due to the way CARDINAL’s blood pressure

data was collected, the FDA found the data insufficiently precise, making adequate safety

evaluation impossible. See id. at 39.

       110.    Immediately following the January 2020 FDA Meeting, the tone and content of the

Reata Defendants’ public disclosures concerning FDA matters shifted notably. During their two

(2) quarterly conference calls immediately following the January 2020 meeting, in February 2020

and May 2020, the Reata Defendants suddenly refused to make any comments or answer any

analyst questions concerning Reata’s interactions with the FDA. And in August 2020, when the

Reata Defendants resumed commentary on FDA-related matters, they still omitted to disclose any

of the sharp substantive differences between Reata and the FDA that had surfaced in the January

2020 FDA Meeting, and instead mischaracterized FDA-Reata debates as primarily procedural

ones, concerning merely the timing rather than the substance of a Bard NDA filing. See Sections

V.A.16-18 and V.C.6, infra. Moreover, Reata’s February-August 2020 disclosures continued to




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represent that CARDINAL, with its four-week washout period, was proceeding in accordance with

FDA guidance.

          111.   In September 2020, when CARDINAL’s year-two data was nearing release, the

FDA again met with Reata and again reiterated all the concerns expressed in the January 2020

meeting. See FDA Briefing Book at 39. On November 9, 2020, Reata announced CARDINAL

Phase 3 year-two results, including retained eGFR at two years following a four-week washout

period.

          112.   The FDA’s recommendation that Reata either “conduct a separate study to

characterize the time course for resolution of bardoxolone’s pharmacodynamic effect or modify

CARDINAL Phase 3 to obtain the information (i.e., revise the protocol to include additional off-

treatment eGFR measurements)[]” could not have been made at the September 2020 meeting. At

that time, CARDINAL Phase 3 was already over (and hence could not be “revise[d]”). See id. at

39. Therefore, this particular FDA communication concerning CARDINAL’s design and washout

period adequacy must have been made no later than in the January 2020 FDA Meeting. Most

likely, it was made earlier still, when CARDINAL Phase 3 had either not yet begun (the FDA’s

December 2016 and September 2018 communications) or had only recently begun (the FDA’s

February 2019 communication), because these were the only times that CARDINAL Phase 3 could

still be “modif[ied] . . . to obtain the information . . . .” See id.

          113.   The history of the FDA’s interactions with Reata concerning CARDINAL makes

it clear that Defendants’ public descriptions of the same matter throughout the Class Period were

materially misleading. Defendants consistently represented that CARDINAL’s design, which

incorporated retained eGFR as a key secondary endpoint and purported to measure it after a four-

week washout period, accorded with FDA guidance and had the FDA’s blessing, at all times. Yet




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in fact, and for virtually that entire time, the FDA had repeatedly communicated to Reata – in

December 2016, September 2018, February 2019, and January and September 2020 – that this was

not the case, and that Reata did not have – and was repeatedly advised to obtain – FDA

concurrence with respect to CARDINAL. A particular focus of these FDA communications to

Reata was the appropriate washout period for retained eGFR measurement. No later than January

2020, the FDA informed Reata that CARDINAL’s four-week washout period was insufficient,

and advised Reata to either obtain a valid empirical foundation for an appropriate washout period

or utilize in CARDINAL alternative washout periods longer than four weeks.

               2.     Bard Did Not Wash Out Within Two or Four Weeks, but Rather
                      Required Eight Weeks for Washout

       114.    Throughout the Class Period, Defendants repeatedly represented that Bard washout

took only 10-14 days. This indicated that CARDINAL’s four-week washout period was more than

adequate to allow Bard’s PD effects to extinguish, and thus that CARDINAL’s retained eGFR

measurements were valid.

       115.    The truth, however, was far different. As the FDA explained and revealed on

December 6-8, 2021, after two (2) years of Bard treatment, the Alport patients in CARDINAL

required a far longer washout period of approximately eight weeks, or 60 days – four times longer

than represented by Defendants, and twice as long as the four-week period utilized in

CARDINAL. See FDA Briefing Book at 22-23, 59-61; FDA AdCom Slides at 10-17.

       116.    As the FDA also revealed on December 6-8, 2021, Reata’s claims for purported

Bard washout within 10-14 days, and/or for the adequacy of CARDINAL’s four-week washout

period, were without adequate basis and were contradicted by available data. See FDA Briefing

Book at 44-49. Reata provided five bases for a 10-14 day washout, all of which the FDA found

lacking. Id.



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       117.    First, Reata had ignored the single most relevant prior study, named TSUBAKI,

which was the only prior study of Bard that included serial off-treatment collection of eGFR.

TSUBAKI took, as an exploratory endpoint, serial measures of eGFR in patients, following

cessation of treatment with Bard, for up to 12 weeks. These TSUBAKI measurements indicated

that Bard washout took approximately eight weeks. See FDA Briefing Book at 44; see also FDA

AdCom Slides at 13.

       118.    Contemporaneous, published accounts of TSUBAKI did not report any of its post-

treatment, retained eGFR measurements or findings, and instead focused on TSUBAKI’s results

relating to its primary and secondary endpoints: on-treatment effects of Bard on GFR (directly

measured) and eGFR. 7      Thus, nothing in the published TSUBAKI materials could have alerted

the investing public to the results indicating that Bard washout took approximately eight weeks.

However, the Reata Defendants had access to that data and were very familiar with TSUBAKI,

which had been conducted by Reata’s Japanese partner in Bard’s development, Kyowa Kirin.

Reata mentioned or discussed TSUBAKI in virtually all its quarterly and annual SEC filings during

the Class Period (postdating TSUBAKI’s completion in late 2017) and in multiple conference

calls. Indeed, on November 6, 2017, Reata had even (i) issued a press release hailing TSUBAKI’s

results, and (ii) held a conference call with analysts and investors “to review the Phase 2 results of

TSUBAKI and CARDINAL.” 8

       119.    Instead of looking to TSUBAKI, Reata had scoured other Bard studies for


7
  See e.g., Reata November 6, 2017 presentation titled “Program Update of Bardoxolone Methyl
in CKD,” at pp. 13-1; Masaomi Nangaku, Hironori Kanda et al., “Randomized Clinical Trial on
the Effect of Bardoxolone Methyl on GFR in Diabetic Kidney Disease Patients (TSUBAKI
Study),”     Kidney    Int     Rep.    2020      Jun;     5(6):  879–890,     available   at:
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7271944/.
8
  See Press Release, Reata Pharmaceuticals, Inc., Reata Provides Update on Bardoxolone Methyl
from the American Society of Nephrology Kidney Week Meeting (Nov. 6, 2017).


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purportedly probative data, and had extracted, from five different studies, none of which were

designed to provide for systematic or indeed any serial measurement of off-treatment eGFR,

limited serial eGFR data accidentally available for 15 different patients. See FDA Briefing Book

at 44. Each of these 15 accidental instances had eGFR measurements collected in three different

periods: (i) one to six (1-6) days post-treatment cessation; (ii) seven to thirteen (7-13) days post-

treatment cessation; and (iii) fourteen to forty-two (14-42) days post-treatment cessation. Id. Based

on the observation that eGFR values, on average, in these 15 cases, did not exhibit further declines

between the second and third periods – i.e., after 14 days – Reata purportedly concluded that Bard

washed out within 14 days. However, as the FDA observed, this sample set was too small, too

heterogeneous (e.g., drawn from studies that featured different dosing durations, daily dose

amounts, and different patient populations/diseases), and too accidental “to draw any meaningful

conclusion concerning the off-treatment time-course for patients with [Alport],” let alone to

overrule the only study, TSUBAKI, actually designed to evaluate off-treatment time course via

systematic, serial measurement. Id.

       120.    Second and similarly, Reata amalgamated retained eGFR results from seven prior

Bard studies to claim that there was no association between (i) the magnitude of off-treatment

changes in eGFR, and (ii) the number of days post-drug discontinuation at which the off-treatment

measure of eGFR was taken, for all values fourteen (14) days or more after the last dose. See id.

However, these seven studies pooled sharply heterogeneous data with respect to dosing (different

durations and daily doses) and patient populations (at least four different diseases). Moreover, for

half of the patients in this analysis, there were no serial eGFR measurements at all. Id. The FDA

concluded that it was “unclear how the findings of the analysis based on this heterogeneous data

set, with sparse sampling, supports the adequacy of four weeks for patients with [Alport].” Id.




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       121.    Third, although Reata cited multiple studies demonstrating that on-treatment eGFR

boosts had reversed four weeks after treatment cessation, by which time eGFR had returned to pre-

study baseline levels, all these studies involved a much shorter treatment duration (no more

than eight weeks, versus nearly two years in CARDINAL) and none involved patients with Alport.

See id. As such, these studies did not indicate an appropriate washout period for CARDINAL,

where Alport patients had been treated with Bard for approximately two years. Id.

       122.    Fourth, Reata argued that (i) in-vitro lab results showed Bard to exert effects at

concentrations as low as 0.8 ng/mL, and (ii) according to Reata’s PK model, Bard concentrations

would fall to that threshold level 16 days after the last dose. See FDA Briefing Book at 45-46.

However, as the FDA pointed out, this argument improperly assumed, contrary to direct evidence

from CARDINAL itself and TSUBAKI, and contrary to the mechanism of action theorized for

Bard by Reata, that changes in eGFR (i) were directly proportional to Bard concentration, and (ii)

occurred without any delay between Bard’s PK effects (the drug’s metabolization by the body)

and its PD effects (the drug’s effects on the body). Id. Yet TSUBAKI and CARDINAL both

directly evidenced a substantial delay between PK states (drug concentration) and PD states

(eGFR). For example, TSUBAKI showed that after treatment cessation, Bard levels had subsided

to zero after four weeks, but eGFR took eight weeks to return to baseline. Id. Similar delays

were evident in CARDINAL. For example, maximum Bard concentrations were reached at weeks

six to eight (6-8) of treatment, but maximum eGFR levels were not reached until four to six (4-6)

weeks later, around week twelve (12). Id. Moreover, these delays are exactly what would be

expected given the mechanism of action Reata described for Bard – effects on gene expression,

which require extended time periods to initiate and extinguish. Id.

       123.    Fifth and relatedly, Reata proffered a similar argument that suffered from the same




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flaw: the assumption that eGFR increase was directly proportional to Bard concentration. See FDA

Briefing Book at 47-48. However, as discussed immediately above and as the FDA concluded,

“[t]he assumption of the proportional increase in eGFR relative to bardoxolone concentration,

without delay, is inconsistent with the observed data across multiple studies.” Id. at 48.

        124.    Finally, Reata observed that other biomarkers in CARDINAL, following treatment

cessation, had returned to baseline levels four weeks after discontinuation of Bard. See id.

However, as the FDA point out, there was no reason to “expect[] that the time-course of other PD

markers will be the same as eGFR.” Id. Moreover, as the FDA also observed and as is discussed

above, Bard’s “mechanism of action is more consistent with a delay in the change in eGFR relative

to bardoxolone concentration rather than a change in eGFR that is directly proportional to and

immediately follows changes in measured bardoxolone concentration . . . .” Id. (emphasis added).

        125.    In sum, the FDA concluded that the “justification provided by [Reata] for the

adequacy of the 4-week washout in patients with [Alport] is not compelling . . . .” FDA Briefing

Book at 49; see also id. at 19 (“[Reata] has justified the 4-week washout in CARDINAL Phase 3

based on: various pooled analyses of patients across studies with eGFR measurements collected

up to 42 days off-treatment; off-treatment eGFR measurements from studies in patients with CKD

with treatment duration ≤8 weeks; the pharmacokinetic (PK) profile of bardoxolone; exposure-

response modeling; and time to return to baseline of other PD markers, such as liver enzymes. The

FDA has not found these justifications compelling to support the adequacy of a 4-week washout

in patients with [Alport] . . . .”).

        126.    To determine an adequate washout period for CARDINAL, the FDA developed a

model that incorporated: (i) standard PK and PD considerations (including, as discussed above, a

delay in the onset/offset of eGFR relative to Bard concentration) to describe the disease




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progression and drug effects of Bard in patients with Alport; and (ii) available empirical data from

the TSUBAKI Bard trial (“because TSUBAKI was the only trial in the development program with

serial off-treatment collection of eGFR for up to 12 weeks post-dose”). See FDA Briefing Book at

22-23 and 49-59; FDA AdCom Slides at 14. The FDA then validated the model against actual data

observations from CARDINAL phases 2 and 3. See FDA Briefing Book at 49-59. The FDA’s

model accurately predicted the eGFR values observed in CARDINAL. Id. at 22-23, 58-59.

       127.    Using standard techniques and available data, the FDA model indicated that Bard’s

PD effects required a washout period of approximately 60 days, or eight weeks. See FDA Briefing

Book at 22-23, 60-62. At the end of the four-week washout period utilized in CARDINAL,

approximately 28% of Bard’s PD effects were still present. Id. at 22-23. Therefore, CARDINAL’s

four-week washout period was “insufficient to resolve the reversible PD effect of [Bard].” Id.

               3.      CARDINAL’s Retained eGFR Results Were Inaccurate, Invalid, and
                       Incapable of Supporting FDA Approval

       128.    From July 23, 2018 onwards, Defendants reported retained eGFR results from

CARDINAL that appeared to successfully meet CARDINAL’s stated key secondary endpoint and

to provide legitimate evidence that Bard produced significant retained eGFR benefits.

       129.    Given Defendants’ concurrent representations that CARDINAL had been designed

based on FDA guidance, and that success on CARDINAL’s retained eGFR endpoints could form

the basis for FDA approval, the retained eGFR results from CARDINAL that Defendants

announced appeared to constitute evidence supporting FDA approval.

       130.    However, underneath these appearances was an opposite reality. Because

CARDINAL utilized an insufficient washout period of only four weeks, CARDINAL’s retained

eGFR results were materially inflated. They included a significant contribution from Bard’s PD

effects, which were still present four weeks after Bard treatment had ceased, when retained eGFR



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was measured. For this reason, CARDNAL’s retained eGFR results were not retained eGFR at

all. Consequently, even if the eGFR results appeared to meet CARDINAL’s key secondary

endpoint, they still could not serve as a basis for FDA approval.

       H.      Following the FDA’s December 6-8, 2021 Corrective Disclosures, Reata Shares
               Plummet

       131.    The FDA’s publication of the FDA Briefing Book on December 6, 2021, three days

in advance of the AdCom Meeting, together with the December 8, 2021 AdCom Meeting itself,

disclosed the above-detailed adverse facts. See Section V.B.3, infra. In so doing, they corrected

Defendants’ prior, Class Period statements, whose omission of these facts made them materially

misleading. Id. For example, the FDA Briefing Book revealed the multiple occasions – beginning

in December 2016, and including further communications in September 2018, February 2019, and

January and September 2020 – when the FDA had communicated to Reata (i) that Reata had not

secured FDA accordance with respect to CARDINAL’s design, and/or (ii) the FDA’s particular

concerns with CARDINAL’s four-week washout period, and hence with the validity and adequacy

of any “retained” eGFR data premised on it. Id. Likewise, the FDA Briefing Book revealed that

CARDINAL’s four-week washout period was inadequate, that Bard required eight weeks to wash

out, and thus that CARDINAL’s purported “retained” eGFR data provided neither indication of

truly retained eGFR nor support for FDA approval. Id. The corrective disclosures in the FDA

Briefing Book caused Reata shares to plunge 37.8% on December 6, 2021, from $78.69 to $48.92

per share. Id. Then, three days later, after the AdCom Meeting ended with a unanimous vote

against Bard approval, based on and crediting the shortcomings with CARDINAL’s retained eGFR

data identified in the FDA Briefing Book, Reata share price plunged another 45.1% on December

9, 2021, to $29.11 per share. Id.




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V.      DEFENDANTS’ VIOLATIONS OF THE EXCHANGE ACT

        A.     Defendants’ Material Misstatements and Omissions in Violation of the
               Exchange Act

               1.      Overview of Alleged False and/or Misleading Statements

        132.   Defendants made several kinds of false and/or misleading statements, summarized

here, which they repeated during and throughout the Class Period, as detailed in Sections V.A.2-

25, infra.

                       a.     The FDA Guidance Representations

        133.   The Class Period begins on November 14, 2016, when the Reata Defendants first

announced that the FDA had provided them with “guidance” for a study of Bard’s efficacy and

safety as a treatment for Alport – i.e., CARDINAL.

        134.   According to Defendants’ representations, the purported FDA “guidance”

concerned (i) how CARDINAL should be designed and (ii) what CARDINAL results could serve

as a basis for FDA approval. With respect to CARDINAL’s design, Defendants represented that

FDA guidance called for measurement of retained eGFR after one- and two-year treatment periods

followed by a four-week washout period. 9 With respect to CARDINAL’s results and FDA

approval, Defendants represented that FDA guidance stated that such retained eGFR

measurements, if showing a retained benefit after one year of treatment and a four-week washout

period, could support accelerated FDA approval, while a retained eGFR benefit after two years of

treatment and a four-week washout period could support full FDA approval.



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  Specifically, CARDINAL’s design comprised a two-year Phase 3 trial where retained eGFR
would be measured at the end of year one and again at the end of year two. Per this design, patients
would be treated with Bard during weeks one to forty-eight (1-48), then withdrawn for four weeks
through week 52 (at which point the first such retained eGFR measure would be made), then
restarted on Bard again for another 48 weeks between weeks 53 and 100, and finally withdrawn
again during weeks 101-104, after which a second such retained eGFR measure would be made.


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       135.   The above-identified representations are referred to as the “FDA Guidance

Representations.” Essentially, in and through the FDA Guidance Representations, Defendants

represented (i) that CARDINAL, including its four-week washout period for retained eGFR, had

been designed pursuant to and in accordance with FDA guidance, and (ii) that successful retained

eGFR results from CARDINAL would support FDA approval. For example, as the Reata

Defendants represented in Reata’s March 2, 2018 Form 10-K:

       The U.S. Food and Drug Administration (FDA) has provided us with guidance that,
       in patients with CKD caused by Alport syndrome, an analysis of retained eGFR,
       which is the eGFR change after a four week withdrawal of drug, demonstrating an
       improvement versus placebo after one year of bardoxolone methyl treatment may
       support accelerated approval. In addition, data demonstrating an improvement
       versus placebo in retained eGFR after two years of treatment may support full
       approval.

See Reata 2017 Form 10-K at 3 (Mar. 2, 2018).

       136.   Defendants repeated the FDA Guidance Representations in nearly all subsequent

Class Period statements concerning CARDINAL, as detailed in Sections V.A.2-23, infra.

       137.   The FDA Guidance Representations were materially false and/or misleading.

Unbeknownst to Lead Plaintiff and the Class, the FDA repeatedly warned Reata between

December 2016 and September 2020 that it did not concur with CARDINAL’s design, that the

four-week washout period was inadequate and/or without basis, and that retained eGFR data

predicated on such a washout period would be invalid and incapable of supporting FDA approval.

                      b.     The CARDINAL Design Representations

       138.   Throughout the Class Period, Defendants represented that CARDINAL had been

designed to measure and was measuring retained eGFR. Indeed, measurement of retained eGFR

after one/two years treatment and a four-week washout period was designated as CARDINAL’s

“key secondary endpoint,” and FDA approval was predicated on those retained eGFR results.

       139.   Defendants’ representations that CARDINAL was designed to measure, and was


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measuring, retained eGFR are referred to herein as the “CARDINAL Design Representations.”

Defendants repeated the CARDINAL Design Representations in nearly all Class Period statements

concerning CARDINAL until the trial had been completed, as detailed in Sections V.A.2-14, infra.

       140.   The CARDINAL Design Representations were materially false and/or misleading.

The CARDINAL measurements and data that Defendants represented to be retained eGFR were

not retained eGFR. Because Bard required eight weeks to wash out, as indicated inter alia by the

TSUBAKI study, CARDINAL’s measurement of eGFR only four weeks after Bard

discontinuation would and did measure a substantial portion of Bard’s PD effects that still

remained after four weeks (the FDA estimated that 23-38% of the full PD effects still remained

four weeks after cessation), rather than, as Defendants represented, purported eGFR benefits

retained after Bard’s PD effects had fully resolved.

                      c.     The 10-14 Day Washout Representations

       141.   During the Class Period, Defendants repeatedly asserted that after Bard treatment

was discontinued, no more than 10-14 days were required for Bard to wash out.

       142.   These assertions are referred to as the “10-14 Day Washout Representations.”

Defendants repeated such 10-14 Day Washout Representations throughout the Class Period.

       143.   Were the 10-14 Day Washout Representations true, then: (i) eGFR measured 14

days after Bard treatment ceased would capture the benefit, if any, produced by Bard that was

retained after Bard and its PD effects had washed out (i.e., retained eGFR); and (ii) CARDINAL’s

four-week washout period was adequate for producing valid retained eGFR data.

       144.   The 10-14 Day Washout Representations were false. Bard did not wash out within

14 days but instead, as indicated inter alia by the TSUBAKI study, remained present and/or

continued to exert PD effects for approximately eight weeks, or 60 days.

       145.   Defendants’ 10-14 Day Washout Representations were a requisite predicate for the


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Cardinal Design Representations, the CARDINAL Retained eGFR Representations and the Prior

Study Retained eGFR Representations – and hence were material. All these misrepresentations

shared a common claim: namely, that by measuring eGFR four weeks after withdrawing patients

from Bard, Reata’s clinical studies were measuring – and generating data concerning – retained

eGFR. This claim, however, was not true. Because Bard did not wash out until eight weeks after

treatment cessation, Reata’s studies measuring eGFR after only four weeks – halfway through the

eight-week period required for full washout – were not actually measuring retained eGFR, but

were instead capturing Bard’s lingering PD effects and mislabeling them as retained eGFR.

                      d.      The CARDINAL Retained eGFR Representations

       146.    During the Class Period, Defendants repeatedly represented that CARDINAL’s

results demonstrated a sizable, statistically significant retained eGFR benefit for Bard (the

“CARDINAL Retained eGFR Representations”).

       147.    These representations were materially false and/or misleading. Bard treatment

required eight weeks to wash out, as indicated inter alia by the TSUBAKI study, before a true,

accurate, and/or valid retained eGFR measure could be made. However, CARDINAL’s retained

eGFR measurements were made only four weeks after cessation of treatment with Bard: i.e., only

halfway through, rather than following the end of, the requisite washout period. Consequently, the

purported retained eGFR benefits purportedly evidenced in CARDINAL’s results were no such

thing, but rather were contaminated and elevated by the very thing Defendants represented them

to be free of – Bard’s PD effects. This contamination made CARDINAL’s results not only

inaccurate, but fundamentally invalid: they were not retained eGFR at all.

       148.    Defendants first made CARDINAL Retained eGFR Representations on July 23,

2018, when they first announced year-one results from CARDINAL Phase 2. Defendants updated

such representations following (i) the announcement of year-one results from CARDINAL Phase


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3 on November 11, 2019, and (ii) the announcement of year-two results from CARDINAL on

November 9, 2020. CARDINAL Retained eGFR Representations featured in effectively all of

Defendants’ Class Period disclosures from July 23, 2018 onwards.

                       e.     The Prior Study Retained eGFR Representations

       149.    During the Class Period, Defendants repeatedly represented that the results from

Reata’s older BEAM and BEACON studies also demonstrated sizable, statistically significant

retained eGFR benefits for Bard (the “Prior Study Retained eGFR Representations”).

       150.    These representations were materially false and/or misleading, for the same reasons

that the CARDINAL Retained eGFR Representations were. BEAM’s and BEACON’s retained

eGFR measurements, just like CARDINAL’s, were made only four weeks after Bard treatment

had ceased – i.e., only halfway through, rather than following the end of, the requisite eight-week

washout period indicated by TSUBAKI. Consequently, the retained eGFR benefits purportedly

evidenced in BEAM and BEACON were no such thing, but rather were contaminated by the very

thing Defendants represented them to be free of – Bard’s PD effects.

       151.    Defendants made Prior Study Retained eGFR Representations on the first day of

the Class Period and repeated them throughout the entirety of the Class Period.

                       f.     The Bard NDA Representations

       152.    During the last part of the Class Period, from approximately November 9, 2020

onwards, Defendants made a series of representations concerning the intended filing, filing, and

status/progress of the Bard NDA (the “Bard NDA Representations”).

       153.    The Bard NDA Representations were materially misleading because they omitted

to disclose numerous facts then known by Defendants that were highly material to evaluation of

the Bard NDA, and that indicated far greater risks to its approval than publicly understood in light

of Defendants’ other accumulated misstatements, including:


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       A. that Bard’s PD effects did not wash out quickly (per the 10-14 Day Washout

           Representations), but instead required eight weeks for washout;

       B. that as a result, the purported retained eGFR results from CARDINAL, BEAM, and

           BEACON (constantly repeated via CARDINAL Retained eGFR Representations and

           Prior Study Retained eGFR Representations) neither measured nor evidenced truly

           retained eGFR, and thus could not and did not support FDA approval; and

       C. that the FDA had repeatedly warned Reata between December 2016 and September

           2020 that it did not concur with CARDINAL’s design, that the four-week washout

           period was inadequate and/or without basis, and that retained eGFR data predicated on

           such a washout period would be invalid and incapable of supporting FDA approval.

       154.    These omissions meant that the Reata Defendants, on the one hand, and Lead

Plaintiff and other Class members, on the other hand, had substantially different sets of information

for understanding the Bard NDA’s merits and the likelihood of FDA approval. The Reata

Defendants were privy to the FDA’s concerns that CARDINAL’s washout period was too short to

measure true retained eGFR, that the purported retained eGFR data from CARDINAL might not

constitute or evidence retained eGFR at all, and hence that key efficacy data supporting the Bard

NDA’s approvability, and purporting to indicate that Bard evidenced disease-modifying effects

rather than simply PD effects, was a hollow simulacrum.

       155.    On the other hand, and as a result of Defendants’ above-summarized material

misrepresentations and omissions, Lead Plaintiff and Class members were aware of none of this.

In the world created by Defendants’ disclosures:

       A. Bard washed out quickly (per the 10-14 Day Washout Representations), which

           supported the apparent validity of the retained eGFR results from CARDINAL, BEAM,




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           and BEACON (as constantly repeated via the CARDINAL Retained eGFR

           Representations and Prior Study Retained eGFR Representations), and

       B. the FDA had always fully supported – rather than long questioned – the validity of

           retained eGFR data produced and adduced by Reata (per the FDA Guidance

           Representations).

       156.    Lead Plaintiff and Class members were thereby led to a far more sanguine – and

materially incomplete and inaccurate – view of Reata’s prospects and the prospects for FDA

approval of the Bard NDA.

                      g.       Other Misrepresentations

       157.    The six categories of misstatements and omissions summarized above account for

the lion’s share of the Class Period statements alleged to have been false and misleading. However,

on rare occasions, Defendants made additional sui generis misstatements not subsumed by the

above categories and whose alleged falsity is detailed below in ad hoc fashion.

               2.     The November 14, 2016 Statements

       158.    Before the market opened on November 14, 2016, Reata: (i) issued a press release

titled “Reata Announces Plan for Global Phase 2/3 Trial in Chronic Kidney Disease Caused by

Alport Syndrome,” announcing what it termed a “clinical development pathway” for Bard as a

treatment for Alport, purportedly based on and in accord with FDA “guidance” (the “Bard Pathway

Press Release”); (ii) issued a press release announcing third-quarter 2016 results (the “Q3 2016

Results Release”); (iii) filed with the SEC a Form 10-Q, signed by Defendant Huff, for the third

quarter of 2016 (the “Q3 2016 10-Q”); and (iv) at noon Eastern Standard Time (“EST”), hosted a

conference call with analysts and investors to further discuss, specifically, the “clinical

development pathway for [Bard] in Alport syndrome” (the “Bard Pathway Conference Call”).

       159.    The central news in the November 14, 2016 disclosures was the development path


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for Bard as a treatment for Alport, purportedly based on – and in accord with – FDA guidance.

This was the sole focus of the Bard Pathway Press Release and the Bard Pathway Conference Call

and a central focus in the Q3 2016 Results Release and the Q3 2016 10-Q.

       160.   The Bard Pathway Press Release contained FDA Guidance Representations and

CARDINAL Design Representations, stating in relevant part:

       Reata Announces Plan for Global Phase 2/3 Trial in Chronic Kidney Disease
       Caused by Alport Syndrome

       – Conference call and webcast November 14 at 12:00 p.m. EST –

       Received Guidance from the FDA on Key Design Aspects of a Single, Pivotal
       Trial in Alport Syndrome with an eGFR-Based Endpoint

                                                ***

       In a Type B meeting on October 5th, 2016, the U.S. Food and Drug Administration
       (“FDA”) provided guidance that a single, pivotal trial utilizing a retained estimated
       glomerular filtration rate (“eGFR”) endpoint could serve as the basis for approval
       in this life-threatening, orphan disease.

                                                ***

       The Phase 3 portion will be designed to support registration . . . and the key
       secondary endpoints will be the change from baseline in eGFR after withdrawal of
       drug for four weeks (off treatment) after one and two years. After the initial
       withdrawal, patients will be restarted on study drug with their original treatment
       assignments and will continue on study drug for a second year. Based on FDA
       guidance, if the trial is positive, the year one off treatment data could support
       accelerated approval under subpart H of the Food, Drug, and Cosmetic Act, and the
       year two off treatment data could support full approval.

                                                ***

       During October 2016, Reata met with the Division to discuss submitting an
       Investigational New Drug application for the use of bardoxolone methyl in slowing,
       halting, or reversing renal decline in patients with Alport syndrome. Reata sought
       FDA guidance on the design of a randomized, placebo-controlled Phase 2 trial with
       eGFR-based endpoints in patients with Alport syndrome. Reata asked the Division
       to comment on eligibility criteria, age range of patients (including children as young
       as 12 years), risk mitigation features, proposed dose, endpoints, and other elements.
       The meeting was collaborative, and the Division recommended a more efficient
       pathway to registration utilizing a single pivotal study. They acknowledged that it
       would not be feasible to conduct a Phase 3 study in Alport syndrome patients with


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       a primary endpoint of time to ESRD. The Division indicated that data on change in
       eGFR could serve as the basis for approval if increases in eGFR are at least partially
       retained after withdrawal of drug, which would indicate that the drug affects
       progression of the disease. The Division stated that it would consider accelerated
       approval of bardoxolone methyl for Alport syndrome based on eGFR data through
       one year (with a four week withdrawal period). Longer-term data could serve as the
       basis for full approval.

Bard Pathway Press Release.

       161.   The Q3 2016 Results Release offered similar FDA Guidance Representations and

CARDINAL Design Representations:

       Bardoxolone Methyl in Chronic Kidney Disease Caused by Alport Syndrome

       During a meeting with the U.S. Food and Drug Administration (“the FDA”) in
       October 2016, Reata received guidance from the FDA on key elements of a single,
       pivotal trial that would study the safety and efficacy of bardoxolone methyl in
       patients with CKD caused by Alport syndrome. . . .

       The Phase 3 primary efficacy endpoint will be the change from baseline in eGFR
       in bardoxolone methyl-treated patients relative to placebo after one year. The eGFR
       change after one year will be measured while the patients are on treatment, and the
       key secondary endpoints will be the change from baseline in eGFR after withdrawal
       of drug for four weeks (off treatment) after one and two years. After the initial
       withdrawal, patients will be restarted on study drug with their original treatment
       assignments and will continue on study drug for a second year. Based on FDA
       guidance, if the trial is positive, the year one off treatment data could support
       accelerated approval under subpart H of the Federal Food, Drug, and Cosmetic Act,
       and the year two off treatment data could support full approval.

       162.   The Bard Pathway Press Release also contained (i) 10-14 Day Washout

Representations (“Sub-therapeutic concentrations of drug are achieved within approximately 10

days after drug withdrawal”), and (ii) Prior Study Retained eGFR representations (data/findings

from BEAM and BEACON purportedly demonstrating retained eGFR benefits, based on four-

week washout periods, and purportedly indicating Bard’s potential disease-modifying effect):

       Most importantly, in both BEAM and BEACON, bardoxolone methyl treatment
       increased eGFR relative to both baseline and placebo after cessation of drug for
       four weeks (Table 4). Sub-therapeutic concentrations of drug are achieved within
       approximately 10 days after drug withdrawal. The sustained increase in eGFR
       through one year of treatment and the presence of a sustained eGFR improvement


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       after withdrawal of drug suggest that the maladaptive structural deficits that
       contribute to declining kidney function may be improved over the course of longer-
       term treatment with bardoxolone methyl.

       163.   The Q3 2016 10-Q contained FDA Guidance Representations, CARDINAL Design

Representations, and Prior Study Retained eGFR Representations:

       In addition, we recently met with the FDA and received guidance on endpoints and
       general design characteristics of a single, pivotal Phase 2/3 trial in CKD caused by
       Alport syndrome and are in the process of designing that trial.

                                               ***

       Regulatory Interaction on Alport Syndrome

       During a meeting with the FDA in October 2016, the FDA provided us with
       guidance on key elements of a single, pivotal clinical trial that would study the
       safety and efficacy of bardoxolone methyl in patients with CKD caused by Alport
       syndrome. We initially proposed a Phase 2 trial in Alport patients; however, the
       FDA suggested a potentially more efficient path to registration utilizing a single
       trial with estimated GFR, or eGFR, based endpoints.

       We are in the process of designing the Phase 2/3 pivotal trial. Based on the guidance
       from the FDA . . . [t]he eGFR change at one year will be measured after 48 weeks
       while the patient is on treatment, and after withdrawal of drug for four weeks
       (retained eGFR). After withdrawal, patients will be restarted on study drug with
       their original treatment assignments and will continue on study drug for a second
       year. The change from baseline in eGFR in bardoxolone methyl-treated patients
       relative to placebo will be measured again after two years. The eGFR change at two
       years will also be measured after 100 weeks while the patient is on treatment and
       after withdrawal of drug for four weeks (retained eGFR). If the trial is successful,
       the year one retained eGFR data could support accelerated approval under subpart
       H of the Federal Food, Drug, and Cosmetic Act, or the FD&C Act, and the year
       two retained eGFR data could support full approval under the FD&C Act.

       Clinical Experience with Bardoxolone Methyl in CKD caused by Type 2 Diabetes

       In addition to preclinical models of chronic renal disease, bardoxolone methyl has
       been studied in seven studies of patients with CKD from type 2 diabetes that
       enrolled approximately 2,600 patients. Reata conducted six Phase 2 studies that
       demonstrated significant improvements in renal function evidenced by increases in
       eGFR. . . . These studies included the BEAM study . . . . BEAM enrolled primarily
       moderate or Stage 3 CKD patients and demonstrated that eGFR improvements were
       sustained for 52 weeks on treatment and that eGFR at week 56, four weeks after
       withdrawal of drug, was greater than both baseline and placebo eGFR values. The
       BEAM data demonstrated that a portion of the on treatment eGFR improvement


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       was retained after withdrawal of drug and suggested that bardoxolone methyl had
       disease-modifying activity in CKD from type 2 diabetes.

2016 Q3 10-Q at 7, 13, 14, 19-20.

       164.   During the Bard Pathway Conference Call, Defendants Huff and Meyer reiterated

the (i) FDA Guidance Representations, (ii) CARDINAL Design Representations, (iii) 10-14 Day

Washout Representations, and (iv) Prior Study Retained eGFR Representations:

       HUFF: Today, we announced that we’re initiating a development program in a rare
       form of severe chronic kidney disease that’s caused by Alport Syndrome. . . .

       We initially approached the FDA in August of this year seeking guidance on the
       design of a Phase 2 program in Alport Syndrome. We had a very collaborative
       interaction with the agency, and during our Type B meeting, the FDA suggested
       that a single pivotal Phase 2/3 trial that demonstrates that bardoxolone methyl
       produces a retained estimated GFR treatment benefit versus placebo could be
       sufficient to register the drug for approval in Alport Syndrome.

       The agency stated that a significant retained improvement in estimated GFR after
       48 weeks of treatment and four weeks off-drug could support accelerated approval.
       They added that full approval could be supported by similar data at the end of two
       years of treatment.

       Based on the guidance from the FDA, we decided to initiate a Phase 2/3 study in
       Alport Syndrome . . . .

                                              ***

       MEYER: We have investigated bardoxolone methyl’s potential to demonstrate
       disease-modifying activity in both BEAM and BEACON. Sub-therapeutic
       concentrations of drug are achieved within approximately 10 days after drug
       withdrawal and there are no active metabolites.

       In these studies, we assess kidney function four weeks after drug withdrawal, which
       was approximately three weeks after all pharmacologic activity of bardoxolone
       methyl was gone. We observed a significant improvement relative to placebo at the
       mid and high dose in BEAM as well as in BEACON. The sustained increase in
       kidney function through one year of treatment and the presence of a sustained
       kidney function improvement after withdrawal of drug suggests that remodeling
       and fibrosis that contribute to decline in kidney function may be improved over the
       course of longer-term treatment with bardoxolone methyl.

       As Warren mentioned earlier, we have received clear guidance from FDA about
       requirements for approval of bardoxolone methyl in Alport Syndrome, which will
       require only a single pivotal trial. . . .


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       The estimated GFR change will be measured while the patients are on treatment,
       and the key secondary endpoint will be the change from baseline in estimated GFR
       after withdrawal of drugs for four weeks later, at week 52. After the initial
       withdrawal, patients will be restarted on study drug with their original treatment
       assignments and will continue on study drug for a second year. Based on FDA
       guidance, if the trial is positive, the year one off-treatment data could support
       accelerated approval and the year two off-treatment data could support full
       approval. . . .

       We have designed the Alport Syndrome trial to be able to replicate the findings of
       the BEAM trial, which showed a clinically meaningful and statistically significant
       placebo-corrected improvement in kidney function four weeks after withdrawal
       after one year of treatment. . . .

       Based on bardoxolone’s extensive development history that has shown
       improvements in renal function across many studies in a range of patients including
       diabetic CKD, the similarity of the pathophysiology of Alport Syndrome to diabetic
       CKD and the retained treatment benefit demonstrated by bardoxolone in two
       independent studies, we have confidence in the design of our study and that
       bardoxolone may be the first therapy approved for patients with Alport Syndrome.

Bard Pathway Conference Call, Bloomberg transcript at 2, 6-7.

       165.    The FDA Guidance Representations contained in the November 14, 2016 Bard

Pathway Press Release, Q3 2016 Results Release, Q3 2016 Form 10-Q, and Bard Pathway

Conference Call were materially false and misleading. Specifically, the claims of acting in accord

with FDA “guidance” purportedly supporting (i) use of a four-week washout period and (ii) the

resulting retained eGFR as a basis for FDA approval, were misleading for failure to disclose that

Reata had not obtained FDA concurrence on these matters. See Section IV.G.1, supra.

       166.    The CARDINAL Design Representations contained in the November 14, 2016

Bard Pathway Press Release, Q3 2016 Results Release, Q3 2016 Form 10-Q, and Bard Pathway

Conference Call were materially false and misleading. Because PD effects remained for eight

weeks after extended Bard treatment, utilization of an inadequate four-week washout period for

retained eGFR measurement meant that CARDINAL would not actually measure what was

claimed (i.e., retained eGFR) at all – and hence, that any ensuing retained eGFR results would



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provide neither evidence of any truly retained eGFR benefit nor basis for FDA approval. See

Sections IV.G.2-3, supra.

       167.      The 10-14 Day Washout Representations contained in the November 14, 2016 Bard

Pathway Press Release and Bard Pathway Conference Call were materially false and misleading.

In truth, extended Bard treatment, such as in CARDINAL, BEAM, and BEACON, required eight

weeks to wash out: a period at least four times longer than the represented 10-14 days. See Section

IV.G.2, supra.

       168.      The Prior Study Retained eGFR Representations contained in the November 14,

2016 Bard Pathway Press Release, Q3 2016 Form 10-Q, and Bard Pathway Conference Call were

materially false and misleading. In truth, because BEAM and BEACON measured retained eGFR

after an inadequate four-week washout period, they neither measured nor evidenced any retained

eGFR benefit or disease-modifying effects for Bard. See Sections IV.G.2-3, supra.

                 3.     The March 3, 2017 Statements

       169.      Shortly following Reata’s November 14, 2016 statements, the FDA provided Reata

with its December 2016 Advice Letter, containing “extensive written feedback” on CARDINAL’s

design, including the basis and adequacy of the four-week washout period upon which the validity

of CARDINAL’s purported retained eGFR data and results would be based. See Section IV.G.1,

supra; see also FDA Briefing Book at 39 n.2

       170.      On March 3, 2017, Reata: (i) issued a press release announcing results for the fourth

quarter and year of 2016 (the “Q4 2016 Results Release”); and (ii) filed with the SEC a Form 10-

K, signed by Defendant Huff and the Director Defendants, for 2016 (the “2016 10-K”).

       171.      The Q4 2016 Results Release contained FDA Guidance Representations and

CARDINAL Design Representations:




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       Bardoxolone Methyl in Chronic Kidney Disease Caused by Alport Syndrome

       Bardoxolone methyl is also currently being studied in a single, pivotal Phase 2/3
       trial, known as CARDINAL, for the treatment of chronic kidney disease, or CKD,
       caused by Alport syndrome. . . . [B]ased on the guidance from the FDA, we have
       designed the trial as an international, multi-center, double-blind, randomized,
       placebo-controlled trial that studies the safety, tolerability, and efficacy of
       bardoxolone methyl in qualified patients with Alport syndrome . . . . The Phase 3
       portion is designed to support registration and patients will be randomized 1:1 to
       either bardoxolone methyl or placebo. The eGFR change at one year will be
       measured after 48 weeks while the patient is on treatment, and after withdrawal of
       drug for four weeks (retained eGFR). . . . The eGFR change at two years will also
       be measured after 100 weeks while the patient is on treatment and after withdrawal
       of drug for four weeks (retained eGFR). If the trial is successful, the year one
       retained eGFR data could support accelerated approval under subpart H of the
       Federal Food, Drug, and Cosmetic Act, or the FD&C Act, and the year two retained
       eGFR data could support full approval under the FD&C Act. Reata expects to have
       Phase 2 data by the end of 2017 and to have the one year withdrawal data that could
       support accelerated approval in the first half of 2019.

       172.   The 2016 10-K repeated FDA Guidance Representations and CARDINAL Design

Representations:

       Clinical Development for Bardoxolone Methyl in Chronic Kidney Disease Caused
       by Alport Syndrome

       During a meeting with the FDA in October 2016, the FDA provided us with
       guidance on key elements of a single, pivotal clinical trial that would study the
       safety and efficacy of bardoxolone methyl in patients with CKD caused by Alport
       syndrome. We initially proposed a Phase 2 trial in Alport syndrome patients;
       however, the FDA provided guidance that a single pivotal trial with an eGFR
       endpoint could support both accelerated and full approval.

       We have initiated the Phase 2 portion of CARDINAL, a single, pivotal Phase 2/3
       clinical trial and dosed the first patient on March 2, 2017. With the aid of
       international key opinion leaders and the Alport Syndrome Foundation and based
       on the guidance from the FDA, we have designed the trial as an international, multi-
       center, double-blind, randomized, placebo-controlled trial that studies the safety,
       tolerability, and efficacy of bardoxolone methyl in qualified patients with Alport
       syndrome . . . .

       . . . The Phase 3 portion is designed to support registration . . . . The eGFR change
       at one year will be measured after 48 weeks while the patient is on treatment, and
       after withdrawal of drug for four weeks (retained eGFR). . . . The eGFR change at
       two years will also be measured after 100 weeks while the patient is on treatment
       and after withdrawal of drug for four weeks (retained eGFR). If the trial is


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       successful, the year one retained eGFR data could support accelerated approval
       under subpart H of the Federal Food, Drug, and Cosmetic Act, or the FD&C Act,
       and the year two retained eGFR data could support full approval under the FD&C
       Act.

2016 10-K at 3-4, 19-20.

       173.   In a subsection titled “Previous Renal Findings in Clinical Trials of Bardoxolone

Methyl,” the 2016 10-K asserted Prior Study Retained eGFR Representations:

       Previous Renal Findings in Clinical Trials of Bardoxolone Methyl

       Prior to initiating the current clinical development programs in PH and CKD caused
       by Alport syndrome, bardoxolone methyl was evaluated in multiple trials . . . .

       We conducted six Phase 1 and 2 studies that demonstrated significant
       improvements in renal function evidenced by increases in eGFR . . . . These trials
       included the BEAM trial, [which] . . . demonstrated that eGFR improvements were
       sustained for 52 weeks on treatment and that eGFR at week 56, four weeks after
       withdrawal of drug, was greater than both baseline and placebo eGFR values. The
       BEAM data demonstrated that a portion of the on treatment eGFR improvement
       was retained after withdrawal of drug and suggested that bardoxolone methyl had
       disease-modifying activity in CKD caused by diabetes.

                                               ***

       [In BEAM and BEACON,] [a]fter one year of treatment, a residual eGFR increase
       from baseline was observed in bardoxolone methyl patients after cessation of drug
       for four weeks, while an eGFR decline from baseline was observed in placebo
       patients. These data suggest that the maladaptive structural deficits that contribute
       to declining kidney function may be improved over the course of longer-term
       treatment with bardoxolone methyl.

2016 10-K at 16-19.

       174.   The FDA Guidance Representations in the Q4 2016 Results Release and 2016 10-

K were materially false and misleading. Specifically, the claims of acting in accord with FDA

“guidance” purportedly supporting (i) use of a four-week washout period and (ii) the resulting

retained eGFR as a basis for FDA approval, were misleading for failure to disclose that Reata had

not obtained FDA concurrence on these matters. See Section IV.G.1, supra. Defendants failed to

disclose that the FDA had repeatedly warned Reata, beginning with the FDA’s December 2016


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Advice Letter, that it did not concur with CARDINAL’s design, that the four-week washout period

was inadequate and/or without basis, and that retained eGFR data predicated on such a washout

period would be invalid and incapable of supporting FDA approval. Id.

       175.    The CARDINAL Design Representations in the Q4 2016 Results Release and 2016

10-K were materially false and misleading. Because PD effects remained for eight weeks after

extended Bard treatment, the use of an inadequate four-week washout period for retained eGFR

measurement meant that CARDINAL would not actually measure what was claimed (i.e., retained

eGFR) at all – and hence, that any ensuing retained eGFR results would provide neither evidence

of any truly retained eGFR benefit nor basis for FDA approval. See Sections IV.G.2-3, supra.

       176.    The Prior Study Retained eGFR Representations in the 2016 10-K were materially

false and misleading. In truth, because BEAM and BEACON measured retained eGFR after an

inadequate four-week washout period, they neither measured nor evidenced any retained eGFR

benefit or disease-modifying effects for Bard. See Sections IV.G.2-3, supra.

       177.    Additionally, the 2016 10-K contained various “risk factors” purporting to disclose

the material risks Reata faced (the “Risk Factor Disclosures”). See 2016 10-K at 44-74. In relevant

part – risks relating to Reata’s development and commercialization of product candidates, and to

government regulation – the Risk Factor Disclosures stated:

       The clinical and commercial success of bardoxolone methyl and omaveloxolone
       will depend on a number of factors, many of which are beyond our control.

       The clinical and commercial success of bardoxolone methyl and omaveloxolone
       will depend on a number of factors, including the following, many of which are
       beyond our control:

               •   the timely initiation, continuation, and completion of our Phase 2 and
                   Phase 3 clinical trials for bardoxolone methyl and omaveloxolone,
                   which will depend substantially upon requirements for such trials
                   imposed by the U.S. Food and Drug Administration, or FDA, and other
                   regulatory agencies and bodies;



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             •   our ability to demonstrate the safety and efficacy of our product
                 candidates to the satisfaction of the relevant regulatory authorities; [and]

             •   whether we are required by the FDA or other regulatory authorities to
                 conduct additional clinical trials, and the scope and nature of such
                 clinical trials, prior to approval to market our products[.] . . .

      If we or our collaborators are not successful in obtaining approval for and
      commercializing our product candidates, or are delayed in completing those efforts,
      our business and operations would be adversely affected.

                                              ***

      The regulatory approval process is highly uncertain, and we may not obtain
      regulatory approval for the commercialization of our product candidates. . . .

      We have not obtained regulatory approval for any product candidate, and it is
      possible that none of bardoxolone methyl, omaveloxolone, or any future product
      candidates we may discover, in-license, or acquire and seek to develop in the future
      will ever obtain regulatory approval.

      Our product candidates could fail to receive regulatory approval from the FDA or
      other regulatory authorities for many reasons, including:

             •   inadequate design or implementation of our clinical trials;

             •   failure to demonstrate to the satisfaction of regulatory authorities that a
                 product candidate is safe and effective for its proposed indication;

             •   failure of clinical trials to meet the level of statistical or clinical
                 significance required for approval;

             •   failure to demonstrate that a product candidate’s clinical and other
                 benefits outweigh its safety risks;

             •   FDA refusal to accept efficacy results from clinical trial sites outside the
                 United States where the standard of care is potentially different from
                 that in the United States; [and]

             •   the insufficiency of data collected from preclinical studies and clinical
                 trials of our present or future product candidates to support the
                 submission and filing of an NDA or other submission or to obtain
                 regulatory approval[.] . . .

      The FDA or other regulatory authorities may require more information, including
      additional preclinical or clinical data to support approval, which may delay or
      prevent approval and our commercialization plans . . . .



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       . . . Even if we believe our current or planned clinical trials are successful,
       regulatory authorities may not agree that our completed clinical trials provide
       adequate data on safety or efficacy.

   2016 10-K at 45-46, 63-64.

       178.    The above-identified Risk Factor Disclosures were inadequate and were themselves

materially misleading. They inaccurately described certain risks – specifically, that the FDA might

not approve Bard due to “inadequate design or implementation of our clinical trials[,]” failure to

demonstrate Bard’s “safety and efficacy . . .[] to the satisfaction of the relevant regulatory

authorities,” and FDA disagreement “that our completed clinical trials provide adequate data on

safety or efficacy[]” – as potential risks, stated in a generalized and hypothetical manner, while

omitting to disclose material, then-existing facts – such as the FDA’s December 2016 Advice

Letter – indicating that these risks were actually materializing.

               4.      The July 24, 2017 Statements

       179.    On July 24, 2017, Reata: (i) issued a press release presenting initial data from

CARDINAL Phase 2 indicating that Bard had improved patient eGFR and announcing that in light

of such positive data, CARDINAL Phase 3 was commencing (the “CARDINAL Phase 2 Initial

Results Release”); and (ii) at 8:30 a.m. EST, hosted a conference call with analysts and investors

to discuss further the CARDINAL Phase 2 initial data and the plans and design for CARDINAL

Phase 3 (the “CARDINAL Phase 2 Initial Results Conference Call”).

       180.    The CARDINAL Phase 2 Initial Results Release repeated FDA Guidance

Representations and CARDINAL Design Representations:

       About the CARDINAL Clinical Study Design . . .

       The Phase 3 portion of CARDINAL is designed to support regulatory approval of
       bardoxolone for the treatment of Alport syndrome. It will be double-blind, placebo-
       controlled, and will randomize approximately 150 patients on a 1:1 basis to once-
       daily, oral bardoxolone or placebo. The eGFR change will be measured after 48
       weeks while the patient is on treatment (“on-treatment eGFR”) and again after 52


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       weeks after the patient has stopped taking the study drug for a four-week
       withdrawal period (“retained eGFR”). Based on guidance from the United States
       Food and Drug Administration (the “FDA”), the year one retained eGFR benefit
       data may support accelerated approval under subpart H. . . . The second year on-
       treatment eGFR change will be measured after 100 weeks and the retained eGFR
       benefit will be measured after withdrawal of drug for four weeks at week 104.
       Based upon guidance from the FDA, the year two retained eGFR benefit data may
       support full approval. . . .

       The key secondary endpoint of the Phase 3 portion of the trial is the change from
       baseline in retained eGFR benefit after one year of treatment. The retained eGFR
       analysis is designed to demonstrate that bardoxolone has disease-modifying
       activity in Alport syndrome patients.

       181.   During the CARDINAL Phase 2 Initial Results Conference Call, Defendants Huff

and Meyer, in responding to analysts’ questions, emphasized the sufficiency of the four-week

washout period for removal of Bard’s PD effects, the purported ability of retained eGFR following

a four-week washout period to demonstrate efficacy and disease-modifying effects, and the FDA’s

purported accord with the foregoing. In so doing, they repeated FDA Guidance Representations,

CARDINAL Design Representations, 10-14 Day Washout Representations, and Prior Study

Retained eGFR Representations:

       A - Warren Huff

       With respect to your comment about the two years, this was the request of the FDA
       -- was they stated specifically that the retained eGFR benefit at week 52, after one
       year, could potentially support accelerated approval if it’s statistically separated
       from placebo. And to come back -- bring that data back to them.

                                               ***

       A - Colin Meyer

       . . . And as far as the clinical meaningfulness, we think the on treatment effect is
       the full renal benefit of the drug. Importantly, FDA wants us to show the off
       treatment retained benefit, which would be evidence of the disease modifying
       activity. It also rules out harm. And so, that’s why we’re measuring those two end
       points, the primary endpoint we’ve (Inaudible; microphone inaccessible) the on
       treatment effect. And the key secondary is retained benefit.

CARDINAL Phase 2 Initial Results Conference Call, Bloomberg transcript at 7-9.



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       Q – [Nina] [Robert W. Baird analyst]

       This actually (Nina) on for Brian. So regarding proteinuria, how do you think about
       that as a marker of renal damage and a potential benefit from treatment in contrast
       to measuring eGFR?

                                                ***

       A - Warren Huff

       I’d just add too that it’s the actual endocytosis of the protein in the proximal tubules
       is one of the main drivers of the chronic inflammation fibrosis and remodeling in
       the renal interstitium. And we actually -- the key secondary endpoint of the study
       is -- we put the patients on drug or placebo for 48 weeks and then we remove the
       drug for four weeks. And we know that there is no active drug or metabolites
       present. Then we compare the estimated GFR back to both baseline and placebo.

       And in our two longer term diabetic CKD studies, we showed unequivocally that
       after patients had been on for a year. And then they were taken off drug, their kidney
       -- their estimated GFR, which we now know is real GFR, was significantly higher
       than their baseline value, leading strongly to the conclusion that there’s been a
       structural improvement in the kidney. And I think that would trump any secondary
       marker like protein status.

CARDINAL Phase 2 Initial Results Conference Call, Bloomberg transcript at 15-16.

       182.   The FDA Guidance Representations in the CARDINAL Phase 2 Initial Results

Release, and Defendants Huff's and Meyer’s assertions of FDA Guidance Representations during

the CARDINAL Phase 2 Initial Results Conference Call, were materially false and/or misleading.

Specifically, the claims of acting in accord with FDA “guidance” purportedly supporting (i) use

of a four-week washout period and (ii) the resulting retained eGFR as a basis for FDA approval,

were misleading for failure to disclose that Reata had not obtained FDA concurrence on these

matters. See Section IV.G.1, supra. Defendants failed to disclose that the FDA had repeatedly

warned Reata, beginning with the FDA’s December 2016 Advice Letter, that it did not concur

with CARDINAL’s design, that the four-week washout period was inadequate and/or without

basis, and that retained eGFR data predicated on such a washout would be invalid and incapable

of supporting FDA approval. Id.


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       183.    The CARDINAL Design Representations in the CARDINAL Phase 2 Initial

Results Release, and Defendants Huff’s and Meyer’s assertions of CARDINAL Design

Representations during the CARDINAL Phase 2 Initial Results Conference Call, were materially

false and/or misleading. Because PD effects remained for eight weeks after extended Bard

treatment, use of an inadequate four-week washout period for retained eGFR measurement meant

that CARDINAL would not actually measure what was claimed (i.e., retained eGFR) – and hence,

that any ensuing retained eGFR results would provide neither evidence of any truly retained eGFR

benefit nor basis for FDA approval. See Sections IV.G.2-3, supra.

       184.    Defendant Huff’s assertion of Prior Study Retained eGFR Representations in the

CARDINAL Phase 2 Initial Results Conference Call was materially false and/or misleading. In

truth, because BEAM and BEACON measured retained eGFR after an inadequate four-week

washout period, they neither measured nor evidenced any retained eGFR benefit or disease-

modifying effects for Bard. See Sections IV.G.2-3, supra.

       185.    Defendant Huff’s assertion of 10-14 Day Washout Representations in the

CARDINAL Phase 2 Initial Results Conference Call (“we remove the drug for four weeks. And

we know that there is no active drug or metabolites present[]”) was materially false and/or

misleading. In truth, extended Bard treatment, such as in CARDINAL, BEAM, and BEACON,

required eight weeks to wash out: a period at least four times longer than the represented 10-14

days. See Section IV.G.2, supra.

       186.    The market reacted favorably to the Reata Defendants’ July 24, 2017 disclosures

of CARDINAL’s progress. Reata’s share price rose $4.37 per share on July 24, 2017 (from the

prior closing price of $31.10 per share) to close trading at $35.47 per share, a one-day increase of

14.1%. More than 1.1 million Reata shares traded that day – the first time daily trading exceeded




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1 million shares since Reata’s May 26, 2016 initial public offering.

               5.      Statements Made in Connection with Reata’s
                       July 26, 2017 Secondary Public Offering

       187.    On July 26, 2017, taking advantage of the jump in Reata’s share price occasioned

by Reata’s July 24, 2017 disclosures, Reata issued and sold 3,737,500 shares of Class A common

stock at $31.00 per share through a secondary stock offering underwritten by Defendants Jefferies,

Leerink, Stifel, Baird, and LT&Co. (the “July 2017 Offering”). Gross proceeds to Reata from the

July 2017 Offering totaled $115.9 million; net proceeds, after payment of $7.0 million to the July

2017 Offering underwriters, totaled $108.9 million.

       188.    The July 2017 Offering Documents 10 contained disclosures concerning Reata’s

“Clinical Pipeline” that gave pride of place and first mention to the development of Bard for Alport

and included FDA Guidance Representations and CARDINAL Design Representations:

       Bardoxolone Methyl for the Treatment of Chronic Kidney Disease Caused by
       Alport Syndrome . . .

       The Phase 3 portion of CARDINAL . . . eGFR change will be measured after 48
       weeks while the patient is on treatment, or on-treatment eGFR, and again after 52
       weeks after the patient has stopped taking the study drug for a four-week
       withdrawal period, or retained eGFR. Based on guidance from the United States
       Food and Drug Administration, or the FDA, the year one retained eGFR benefit
       data may support accelerated approval under subpart H. . . . The second year on-
       treatment eGFR change will be measured after 100 weeks and the retained eGFR
       benefit will be measured after withdrawal of drug for four weeks at week 104.
       Based upon guidance from the FDA, the year two retained eGFR benefit data may
       support full approval.

July 2017 Offering Prospectus at S-2 – S-3.

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   The shares sold in the July 2017 Offering were registered, issued, and sold pursuant to (i) a
registration statement on Form S-3 filed by Reata with the SEC on June 23, 2017, as amended on
July 10, 2017, declared effective on July 14, 2017, and signed by Defendants Huff, Bass,
McClellan, McGaughy, Nielsen, and Rose (the “July 2017 Offering Registration Statement”); and
(ii) a prospectus supplement, which formed part of the July 2017 Offering Registration Statement,
dated July 26, 2017 (the “July 2017 Offering Prospectus,” and together with the July 2017 Offering
Registration Statement, the “July 2017 Offering Documents”).


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       189.    The FDA Guidance Representations in the July 2017 Offering Prospectus were

materially false and misleading. Specifically, the claims of acting in accord with FDA “guidance”

purportedly supporting (i) use of a four-week washout period and (ii) the resulting retained eGFR

as a basis for FDA approval, were misleading for failure to disclose that Reata had not obtained

FDA concurrence on these matters. See Section IV.G.1, supra. Defendants failed to disclose that

the FDA had repeatedly warned Reata, beginning with the FDA’s December 2016 Advice Letter,

that it did not concur with CARDINAL’s design, that the four-week washout period was

inadequate and/or without basis, and that retained eGFR data predicated on such a washout would

be invalid and incapable of supporting FDA approval. Id.

       190.    The CARDINAL Design Representations in the July 2017 Offering Prospectus

were materially false and misleading. Because PD effects remained for eight weeks after extended

Bard treatment, use of an inadequate four-week washout period for retained eGFR measurement

meant that CARDINAL would not actually measure what was claimed (i.e., retained eGFR), and

hence, that any ensuing retained eGFR results would provide neither evidence of any truly retained

eGFR benefit nor basis for FDA approval. See Sections IV.G.2-3, supra.

               6.     The November 13, 2017 Statements

       191.    The first patient for CARDINAL Phase 3 was enrolled on August 7, 2017.

       192.    On November 13, 2017, Reata: (i) issued a press release announcing third quarter

2017 results (the “Q3 2017 Results Release”); and (ii) filed with the SEC a Form 10-Q, signed by

Defendant Huff, for the third-quarter of 2017 (the “Q3 2017 10-Q”).

       193.    The Q3 2017 Results Release repeated FDA Guidance Representations and

CARDINAL Design Representations:

       In August, 2017, Reata began enrolling patients in the Phase 3 portion of
       CARDINAL . . . .


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       . . . The primary endpoint of the trial will be the change from baseline in estimated
       glomerular filtration rate (eGFR) at 48 weeks while the patient is on treatment, or
       on-treatment eGFR, and again at 52 weeks after the patient has stopped taking the
       study drug for a four-week withdrawal period, or retained eGFR. Based upon
       guidance from the United States Food and Drug Administration (FDA), the year
       one retained eGFR benefit data may support accelerated approval under subpart H.
       After withdrawal, patients will be restarted on study drug with their original
       treatment assignments and will continue on study for a second year, with on-
       treatment eGFR change measured at 100 weeks, and the retained eGFR benefit after
       withdrawal of drug for four weeks at week 104. Based upon guidance from the
       FDA, the year two retained eGFR benefit data may support full approval.

       194.   The Q3 2017 10-Q likewise contained FDA Guidance Representations and

CARDINAL Design Representations:

       In August 2017, after having announced preliminary results from the CARDINAL
       Phase 2 trial, we began enrolling patients in the Phase 3 portion of CARDINAL . .
       ..

       . . . The eGFR change will be measured after 48 weeks while the patient is on
       treatment, or on-treatment eGFR, and again after 52 weeks after the patient has
       stopped taking study drug for a four-week withdrawal period, or retained eGFR.
       Based on guidance from the FDA, the year one retained eGFR benefit data may
       support accelerated approval under subpart H. Data from year one of CARDINAL
       are expected to be available in the second half of 2019. . . . The second year on-
       treatment eGFR change will be measured after 100 weeks and the retained eGFR
       benefit will be measured after withdrawal of drug for four weeks at week 104.
       Based upon guidance from the FDA, the year two retained eGFR benefit data may
       support full approval. In July 2017, we received orphan drug designation for
       bardoxolone methyl for the treatment of Alport syndrome.

Q3 2017 10-Q at 16-19.

       195.   The FDA Guidance Representations in the Q3 2017 Results Release and the Q3

2017 10-Q were materially false and/or misleading. Specifically, the claims of acting in accord

with FDA “guidance” purportedly supporting (i) use of a four-week washout period and (ii) the

resulting retained eGFR as a basis for FDA approval, were misleading for failure to disclose that

Reata had not obtained FDA concurrence on these matters. See Section IV.G.1, supra. Defendants

failed to disclose that the FDA had repeatedly warned Reata, beginning with the FDA’s

December 2016 Advice Letter, that it did not concur with CARDINAL’s design, that the four-


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week washout period was inadequate and/or without basis, and that retained eGFR data predicated

on such a washout period would be invalid and incapable of supporting FDA approval. Id.

       196.   The CARDINAL Design Representations in the Q3 2017 Results Release and Q3

2017 10-Q were materially false and/or misleading. Because PD effects remained for eight weeks

after extended Bard treatment, use of an inadequate four-week washout period for retained eGFR

measurement meant that CARDINAL would not actually measure what was claimed (i.e., retained

eGFR) – and hence, that any ensuing retained eGFR results would provide neither evidence of any

truly retained eGFR benefit nor basis for FDA approval. See Sections IV.G.2-3, supra.

              7.      The Reata Defendants’ November 2017 Statements Concerning
                      TSUBAKI

       197.   On November 6, 2017, Reata: (i) issued a press release reporting in near real-time

the release of TSUBAKI results on November 4, 2017; (ii) hosted a November 6, 2017 conference

call to discuss TSUBAKI and CARDINAL with analysts and investors; and (iii) published to its

website a presentation titled “Program Update of Bardoxolone Methyl in CKD,” 11 used by

Defendant Meyer during the November 6, 2017 conference call, which reviewed TSUBAKI’s

findings (slides 13-19) and noted that TSUBAKI included serial eGFR measurements during a 12-

week period following cessation of Bard treatment for measurement of retained eGFR (slide 14).

       198.   The Q3 2017 Results Release and Q3 2017 10-Q both hailed the TSUBAKI study:

       On November 4, 2017, Reata’s partner, Kyowa Hakko Kirin, presented results of
       the TSUBAKI study at ASN. In TSUBAKI, bardoxolone demonstrated statistically
       significant and clinically meaningful increases in directly-measured glomerular
       filtration rate (GFR) in patients with type 2 diabetes and CKD using the “gold
       standard” inulin clearance method. The observed increase in GFR demonstrates
       that historical increases in eGFR produced by bardoxolone in various forms of

11
   See Events & Presentations Archive, Program Update of Bardoxolone Methyl in CKD, REATA
PHARMACEUTICALS,           INC.        (Nov.      6,        2017),         available       at:
https://www.reatapharma.com/investors/events-and-presentations/event-details/2017/Program-
Update-of-Bardoxolone-Methyl-in-CKD/default.aspx.


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       CKD, including Alport syndrome, reflect a true increase in kidney function.
       Bardoxolone demonstrated a favorable safety profile with no effect on blood
       pressure, urinary volume or sodium retention, and no evidence of overt fluid
       overload or cardiac toxicity.

Q3 2017 Results Release; Q3 2017 10-Q at 19.

       199.   Thus, the Reata Defendants were clearly familiar with the TSUBAKI study, which

indicated that Bard’s washout took approximately eight weeks. Yet Defendants continued to

misleadingly maintain that CARDINAL’s four-week washout period was adequate and

appropriate in all their subsequent CARDINAL Design Representations, 10-14 Day Washout

Representations, and CARDINAL Retained eGFR Representations.

              8.      The March 2, 2018 Statements

       200.   On March 2, 2018, Reata: (i) issued a press release announcing fourth-quarter and

full-year 2017 results (the “Q4 2017 Results Release”); and (ii) filed with the SEC a Form 10-K,

signed by Defendant Huff and the Director Defendants, for 2017 (the “2017 10-K”).

       201.   The Q4 2017 Results Release contained FDA Guidance Representations and

CARDINAL Design Representations:

       Pipeline Highlights . . .

       In the Phase 2 clinical trial, bardoxolone methyl demonstrated a statistically
       significant, mean increase from baseline in kidney function, as assessed by eGFR,
       at the 12 week endpoint. On the basis of the Phase 2 results, we initiated the Phase
       3 portion of the CARDINAL trial, which will enroll approximately 150 patients
       with Alport syndrome. The United States Food and Drug Administration (FDA)
       has provided guidance that one year data from the ongoing Phase 3 portion of the
       trial demonstrating an improvement in retained eGFR, which is the increase in
       eGFR versus placebo after the patients have been taken off drug for four weeks,
       may support accelerated approval for bardoxolone methyl.

       202.   The 2017 10-K likewise contained FDA Guidance Representations and

CARDINAL Design Representations:

       We are conducting a Phase 2/3 trial called CARDINAL . . . that studies the safety
       and efficacy of bardoxolone methyl in patients with CKD caused by Alport


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       syndrome. . . .

        [W]e began enrolling the Phase 3 portion of CARDINAL last year. . . . The U.S.
       Food and Drug Administration (FDA) has provided us with guidance that, in
       patients with CKD caused by Alport syndrome, an analysis of retained eGFR,
       which is the eGFR change after a four week withdrawal of drug, demonstrating an
       improvement versus placebo after one year of bardoxolone methyl treatment may
       support accelerated approval. In addition, data demonstrating an improvement
       versus placebo in retained eGFR after two years of treatment may support full
       approval.

                                              ***

       The FDA has provided us with guidance that, in patients with CKD caused by
       Alport syndrome, data demonstrating an improvement versus placebo in retained
       eGFR after one year of bardoxolone methyl treatment may support accelerated
       approval, and data demonstrating an improvement versus placebo in retained eGFR
       after two years of treatment may support full approval. Based on this guidance, we
       are conducting a Phase 2/3 trial called CARDINAL in patients with a severe,
       genetic form of CKD caused by Alport syndrome, and we expect data from the
       study to be available during the second half of 2019.

2017 10-K at 3, 6-7.

       203.   The FDA Guidance Representations in the Q4 2017 Results Release and 2017 10-

K were materially false and/or misleading. Specifically, the claims of acting in accord with FDA

“guidance” purportedly supporting (i) use of a four-week washout period and (ii) the resulting

retained eGFR as a basis for FDA approval, were misleading for failure to disclose that Reata had

not obtained FDA concurrence on these matters. See Section IV.G.1, supra. Defendants failed to

disclose that the FDA had repeatedly warned Reata, beginning with the FDA’s December 2016

Advice Letter, that it did not concur with CARDINAL’s design, that the four-week washout period

was inadequate and/or without basis, and that retained eGFR data predicated on such a washout

period would be invalid and incapable of supporting FDA approval. Id.

       204.   The CARDINAL Design Representations in the Q4 2017 Results Release and 2017

10-K were materially false and/or misleading. Because PD effects remained for eight weeks after

extended Bard treatment, the use of an inadequate four-week washout period for retained eGFR


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measurement meant that CARDINAL would not actually measure what was claimed (i.e., retained

eGFR) – and hence, that any ensuing retained eGFR results would provide neither evidence of any

truly retained eGFR benefit nor basis for FDA approval. See Sections IV.G.2-3, supra.

       205.   The 2017 10-K also contained forceful and extended assertions of Prior Study

Retained eGFR Representations and 10-14 Day Washout Representations:

       Bardoxolone Methyl for the Treatment of Rare Chronic Kidney Diseases

       Overview

       We are developing bardoxolone methyl for the treatment of patients with CKD
       caused by Alport syndrome . . . .

       . . . Importantly, in BEAM and BEACON, bardoxolone methyl treatment for one
       year produced a retained eGFR benefit after the drug was withdrawn. This retained
       eGFR benefit provides additional evidence that bardoxolone methyl treatment may
       protect the structure of the kidney and may prevent or delay the need for dialysis or
       a transplant.

                                               ***

       Bardoxolone Methyl Produces a Retained eGFR Benefit after Withdrawal of Drug

       To further assess whether increases in eGFR from bardoxolone methyl treatment
       have the potential to delay or prevent ESRD and the need for dialysis or a transplant
       over the long term, we conducted a retained benefit analysis in the BEAM and
       BEACON clinical trials. In those trials, after patients had been treated with
       bardoxolone methyl or placebo for approximately one year, the drug was
       withdrawn for four weeks, and the post-withdrawal eGFR was compared to the
       patient’s baseline eGFR. Bardoxolone methyl and any active metabolites are
       eliminated from the body within approximately 10 days after withdrawal, so we
       believe the post-withdrawal eGFR change is a measure of the effect of long term
       bardoxolone methyl treatment on the structure of the kidney and its disease-
       modifying potential.




       Importantly, in both BEAM and BEACON, bardoxolone methyl treatment


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        produced a statistically significant improvement in retained eGFR versus placebo
        after withdrawal of drug. Also, the acute increase in eGFR from bardoxolone
        methyl treatment observed at 12 weeks was predictive of both the on-treatment and
        retained eGFR benefit after one year of treatment. This finding is important because
        it indicates that increases in eGFR from a relatively short, 12 week, treatment
        periods with bardoxolone methyl may be predictive of a long term clinical benefit.

2017 10-K at 6-7, 8-11.

        206.    The Prior Study Retained eGFR Representations in the 2017 10-K were materially

false and/or misleading. In truth, because BEAM and BEACON measured retained eGFR after an

inadequate four-week washout period, they neither measured nor evidenced any retained eGFR

benefit or disease-modifying effects for Bard. See Sections IV.G.2-3, supra.

        207.    The 10-14 Day Washout Representations in the 2017 10-K (“Bardoxolone methyl

and any active metabolites are eliminated from the body within approximately 10 days after

withdrawal, so we believe the post-withdrawal eGFR change is a measure of the effect of long

term bardoxolone methyl treatment on the structure of the kidney and its disease-modifying

potential.”) were materially false and/or misleading. In truth, extended Bard treatment, such as in

CARDINAL, BEAM, and BEACON, required eight weeks to wash out: a period at least four times

longer than the represented 10-14 days. See Section IV.G.2, supra.

        208.    The 2017 10-K contained Risk Factor Disclosures that were: (i) substantively

identical, in relevant part, to those in the 2016 10-K (see ¶177, supra), and (ii) inadequate and

materially misleading. See 2017 10-K at 39-40, 56-67. They inaccurately described certain risks –

specifically, that the FDA might not approve Bard due to “inadequate design or implementation

of our clinical trials[,]” failure to demonstrate Bard’s “safety and efficacy . . .[] to the satisfaction

of the relevant regulatory authorities[,]” and FDA disagreement “that our completed clinical trials

provide adequate data on safety or efficacy[]” – as potential risks, stated in a generalized and

hypothetical manner, while omitting to disclose material, then-existing facts – such as the FDA’s



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December 2016 Advice Letter – indicating that these risks were actually materializing.

               9.      The May 25, 2018 Statements

       209.    On May 25, 2018, Reata hosted a conference call to discuss Bard’s clinical study

results. In response to analyst questions that sought clarification between Bard’s PD effects and its

potential disease-modifying effects, Defendant Meyer emphasized the importance of retained

eGFR results and reiterated Prior Study Retained eGFR Representations to claim that evidence

indicated that Bard was indeed disease-modifying:

       A - Colin Meyer

       . . . And so, we believe that that would obviously be disease modifying.
       Mechanistically, I think the off-treatment data are the most relevant clinical data
       we have to date that suggests that the drug does have disease-modifying activity
       because in the BEAM and BEACON trials, when we withdrew patients from the
       drug, let the drug wash out, let the acute effect wash out, and there was no more
       drug present, kidney function was improved relative to placebo in both trials. Not
       only was it improved, it was actually above baseline and this is an important
       distinction amongst other trials with other agents that have been recently reported,
       where there may have been an increase versus placebo. The kidney function was
       still below baseline.

       And so, we think that is the best evidence of disease-modifying activity. We’re
       obviously generating those data in our Alport syndrome patients.

May 25, 2018 Conference Call, Bloomberg transcript at 11-12.

       210.    Defendant Meyer’s above-identified statements, repeating Prior Study Retained

eGFR Representations and asserting that Bard had fully washed out within four weeks, were

materially false and/or misleading. In truth, because BEAM and BEACON measured retained

eGFR after an inadequate four-week washout period (i.e., when PD effects were still present), they

neither measured nor evidenced any retained eGFR benefit or disease-modifying effects for Bard.

See Sections IV.G.2-3, supra.




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              10.    The July 23, 2018 Statements

       211.   On July 23, 2018, Reata: (i) issued a press release titled “Reata Announces Positive

Phase 2 Data for Bardoxolone Methyl in CKD Caused by Alport Syndrome and Autosomal

Dominant Polycystic Kidney Disease,” announcing inter alia “positive one-year results for the

Phase 2 portion of CARDINAL” that demonstrated a “[s]ignificant [r]etained [b]enefit” (the

“CARDINAL Phase 2 Results Release”); and (ii) held a conference call at 8:00 a.m. EST with

analysts and investors (the “CARDINAL Phase 2 Results Conference Call”).

       212.   The CARDINAL Phase 2 Results Release featured the first Class Period assertion

of CARDINAL Retained eGFR Representations (i.e., that CARDINAL data demonstrated a

retained eGFR benefit after treatment and a four-week washout period), and contained FDA

Guidance Representations and CARDINAL Design Representations (to pointedly represent that

under purported FDA guidance, such results could serve as a basis for FDA approval):

       Statistically Significant Retained Benefit of 4.1 mL/min in Alport Syndrome
       Patients Following 48 Weeks of Treatment and 4 Weeks of Drug Withdrawal . . .

       In the Phase 2 portion of CARDINAL, significantly increased estimated glomerular
       filtration rate (eGFR) at Week 48 from baseline (n=25) of 10.4 mL/min/1.73 m2
       (p<0.0001) was observed in patients treated with bardoxolone. . . .

       Significantly increased eGFR from baseline at Week 52 after withdrawal of active
       drug for four weeks (the retained eGFR benefit) by a mean of 4.1 mL/min/1.73 m2
       (p<0.05) was also observed with bardoxolone treated patients. These results
       provide evidence that bardoxolone may delay or prevent kidney failure. The U.S.
       Food and Drug Administration (FDA) has provided Reata with guidance that, in
       Alport syndrome patients, a significant improvement in placebo-corrected retained
       eGFR after one year of bardoxolone treatment may support accelerated approval
       and, after two years of bardoxolone treatment, may support full approval.

       With respect to safety in the Phase 2 portion of CARDINAL, no treatment-related
       serious adverse events have been reported, and the reported adverse events have
       generally been mild to moderate in intensity. Twenty-five patients were available
       for the analysis, and no discontinuations were due to bardoxolone treatment.

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       “The results announced today add to the large body of clinical evidence that
       bardoxolone treatment has the potential to prevent or delay kidney failure in rare
       forms of chronic kidney disease” said Warren Huff, Reata’s President and Chief
       Executive Officer. . . . “[T]he magnitude of the observed retained eGFR benefit
       after withdrawal of drug versus the historical rate of eGFR loss suggests that the
       Phase 3 portion of CARDINAL is conservatively powered with respect to the key
       secondary endpoint of retained eGFR benefit.

                                               ***

       About the CARDINAL Clinical Study . . .

       The key secondary endpoint of the Phase 3 portion of the trial is the change from
       baseline in retained eGFR benefit after 48 weeks on-treatment and four weeks off-
       treatment relative to placebo and is designed to demonstrate that bardoxolone has
       disease-modifying activity in Alport syndrome patients. Based upon guidance from
       the FDA, the 52-week retained eGFR benefit data may support accelerated approval
       under subpart H. . . . The second-year on-treatment eGFR change will be measured
       after 100 weeks and the retained eGFR benefit will be measured after withdrawal
       of drug for four weeks at Week 104. Based upon guidance from the FDA, the year-
       two retained eGFR benefit data may support full approval.

       213.   During the CARDINAL Phase 2 Results Conference Call, Defendants Huff and

Meyer focused their introductory remarks on extended assertion of the CARDINAL Retained

eGFR Representations, and also repeated FDA Guidance Representations and CARDINAL

Design Representations:

       J. Warren Huff . . .

       In November of last year, we reported data on the primary endpoint of the Phase 2
       open-label portion of CARDINAL demonstrating that bardoxolone produced large
       significant improvements in estimated GFR after 12 weeks of treatment in Alport
       syndrome patients. Based on those results, we initiated a Phase 3 study, that if
       (00:03:58) successful, we believe will support registration in Alport syndrome. . . .
       Today, we’ll provide a detailed update on the full one-year data from the Phase 2
       portion of CARDINAL . . . .

       . . . Next slide. With respect to the CARDINAL Phase 2 study, the key data being
       discussed today are the effect on estimated GFR of bardoxolone after one year of
       treatment for (00:04:44) the on-treatment effect, as well as the retained eGFR of
       bardoxolone after one year of treatment and withdrawal of drug for four weeks.
       What we call the retained eGFR benefit.

       Of course, the on-treatment effect on eGFR is important because it represents the



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      full clinical benefit to the patient while taking active drug. The retained eGFR
      benefit is important because it provides data on the long-term effect of the drug on
      the risk of kidney failure and the need for dialysis or transplant. If you treat patients
      for a long-term and then completely withdraw the drug so that no active drug is
      present and then compare the post-treatment kidney function to placebo, you can
      assess whether the treatment protected or harmed the kidney. If the post withdrawal
      eGFR is greater than placebo, it’s evidence that the drug may delay kidney failure.

      It also demonstrates that the on-treatment kidney function increase was not due to
      a damaging mechanism. If the treatment temporarily increased GFR through a
      mechanism that damaged the kidney such as pressure-mediated hyperfiltration.
      When the drug was removed, the eGFR of the damaged kidney would be lower than
      both baseline and placebo. If kidney function is functioning better than placebo
      after withdrawal, it showed that the treatment benefited the organ.

      We believe this is why the FDA has accepted the placebo-corrected retained eGFR
      benefit is the standard registrational endpoint in rare forms of CKD. FDA provided
      us with guidance in 2016 that they would take this endpoint for approval in Alport
      syndrome. And it’s the key secondary endpoint in the Phase 3 study. . . .

      Colin Meyer:

      Thanks Warren. . . .

      The FDA has provided written guidance that is statistically significant placebo-
      corrected retained benefit at one year may support accelerated approval in Alport
      syndrome and that full approval may be granted based on retained benefit after two
      years. We expect to announce one-year data from the pivotal portion of
      CARDINAL in the second half of 2019.

                                                ***

      The eGFR data at Week 52 after a four weeks withdrawal, also known as retained
      eGFR benefit analysis, are shown on this slide. The mean improvement in eGFR at
      Week 52 was 4.1 mL per minute, which was statistically significant.

      To our knowledge, bardoxolone is the first therapy to produce a retained eGFR
      benefit that is above baseline in a long-term CKD trial. Since we observed that
      bardoxolone treatment produce a positive retained eGFR benefit after withdrawal
      of drug, these data suggest that bardoxolone protected kidney function during
      treatment and may delay or prevent end-stage kidney disease.

                                                ***

      Next slide. In summary, we observed a large statistically and clinically significant
      improvement in kidney function at Week 48 that translated to a statistically
      significant retained eGFR benefit after drug withdrawal that was substantially
      above baseline in patients who are progressing on average 4.2 mL per minute prior


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       to study entry. These efficacy results are consistent with the results from our studies
       of bardoxolone in diabetic CKD and are indicative of structural improvements in
       the kidney that may result in a delay in patients progressing to end-stage kidney
       disease.

                                                ***

       J. Warren Huff:

       Thanks, Colin. Next slide. As I mentioned earlier, in 11 clinical trials involving
       more than 2,800 patients, bardoxolone treated patients experienced increased
       estimated GFR versus both baseline and placebo. The data presented today add
       meaningfully to this body of work. The on-treatment improvement in estimated
       GFR observed in Alport syndrome patients represents the recovery of
       approximately two years of kidney function loss in these patients.

       Further, bardoxolone produced a retained eGFR benefit that is significantly above
       baseline and one of the most challenging forms of CKD to treat. The positive
       retained eGFR benefit shows that bardoxolone treatment for one year benefited the
       organ and suggests that long-term treatment with bardoxolone may delay or prevent
       kidney failure in these patients who respond to treatment.

       It also demonstrates that the increases in kidney function were not due to a
       damaging mechanism. If bardoxolone treatment temporarily increased GFR
       through a mechanism that damage the kidney, when the drug was removed the
       eGFR of treated patients would have been lower than both baseline and their
       expected annual decline rate of approximately 4 mL per minute to 5 mL per minute.

CARDINAL Phase 2 Results Conference Call, Bloomberg transcript at 2-8.

       214.    In response to analyst questions in the CARDINAL Phase 2 Results Conference

Call concerning retained eGFR, the FDA’s views on retained eGFR, and Bard’s safety, Defendants

Huff and Meyer again repeated FDA Guidance Representations, CARDINAL Retained eGFR

Representations, and CARDINAL Design Representations, stating that (i) CARDINAL produced

a significant retained eGFR benefit, (ii) the FDA supported the retained eGFR standard for

approval, and (iii) the purported retained eGFR results were a further indication that Bard produced

its eGFR benefit without damaging the kidneys:

       Q - Yigal Dov Nochomovitz [Citigroup analyst]

       Thank you for taking the question and congrats on a very, very nice result.



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       Regarding the retained eGFR at two years to get the full approval, what are your
       expectations there and what has the FDA said about that? Is that something where
       you sort of need to show something similar to what you’ve shown here assuming
       this is reproduced in the first year of the Phase 3 CARDINAL?

       A - Colin Meyer

       Hi, Yigal. Yes. So FDA has provided guidance that once again for accelerated
       approval, they would take a statistically significant separation at one year and they
       would take for full approval statistically significant separation at two years. . . .

       And as you know, we’ve powered our Alport syndrome trial to show a difference
       of at least 2.2 mL per minute (00:25:08). And so, for the trial to be successful and
       show significant difference, it has to be above that threshold. And so, we feel very
       comfortable with that.

                                                ***

       A - J. Warren Huff

       I actually would just add one thing and that is that there’s a very good reason why
       the FDA accepts the retained GFR (00:37:33) benefit for approval and it is very
       strong evidence that the drug treatment benefited the organ directly. I mean, just
       think about it. It’s a brute force, very tough endpoint to hit. These patients were on
       the drug for a year. If the drug was increasing pressure and damaging the kidney
       when the drug was completely removed after a year, the damaged organ would
       certainly be functioning worse than placebo and of course worse than baseline.

       But what do we observe? There’s no drug present, but their kidney is functioning 4
       mL per minute better than it was prior to (00:38:16) entry into the study. And this
       is actually in patients that were declining 4 mL per minute annually from treatment.
       How could the drug be damaging with that clinical data?

CARDINAL Phase 2 Results Conference Call, Bloomberg transcript at 8-9, 12-13.

       215.   The CARDINAL Retained eGFR Representations in the CARDINAL Phase 2

Results Release, and Defendants Huff’s and Meyer’s extended assertions of the CARDINAL

Retained eGFR Representations during the CARDINAL Phase 2 Results Conference Call, were

materially false and/or misleading. Because PD effects remained for eight weeks after extended

Bard treatment, the use of an inadequate four-week washout period for retained eGFR

measurement meant that: (i) CARDINAL had not actually measured what was claimed (i.e.,

retained eGFR), and instead had measured PD effects; (ii) CARDINAL’s purported retained eGFR


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results neither constituted nor measured truly retained eGFR and thus provided no indication of

disease-modifying effects; and (iii) CARDINAL’s retained eGFR results therefore would not and

could not provide a basis for FDA approval. See Section IV.G.3, supra.

       216.   The FDA Guidance Representations in the CARDINAL Phase 2 Results Release,

and Defendants Huff’s and Meyer’s assertions of the FDA Guidance Representations during the

CARDINAL Phase 2 Results Conference Call, were materially false and/or misleading.

Specifically, the claims of acting in accord with FDA “guidance” purportedly supporting (i) use

of a four-week washout period and (ii) the resulting retained eGFR as a basis for FDA approval,

were misleading for failure to disclose that Reata had not obtained FDA concurrence on these

matters. See Section IV.G.1, supra. Defendants failed to disclose that the FDA had repeatedly

warned Reata, beginning with the FDA’s December 2016 Advice Letter, that it did not concur

with CARDINAL’s design, that the four-week washout period was inadequate and/or without

basis, and that retained eGFR data predicated on such a washout period would be invalid and

incapable of supporting FDA approval. Id.

       217.   The CARDINAL Design Representations in the CARDINAL Phase 2 Results

Release, and Defendants Huff’s and Meyer’s assertions of the CARDINAL Design

Representations during the CARDINAL Phase 2 Results Conference Call, were materially false

and/or misleading. Because PD effects remained for eight weeks after extended Bard treatment,

the use of an inadequate four-week washout period for retained eGFR measurement meant that

CARDINAL would not actually measure what was claimed (i.e., retained eGFR) – and hence, that

any ensuing retained eGFR results would provide neither evidence of any truly retained eGFR

benefit nor basis for FDA approval. See Sections IV.G.2-3, supra.

       218.   Reata’s July 23, 2018 disclosures – essentially, that CARDINAL Phase 2 results




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showed a significant retained eGFR benefit from Bard at one year of treatment – provided the

market with indication of two critical matters: (i) that Bard had a disease-modifying effect; and

(ii) that Bard was likely to surpass the FDA’s retained eGFR approval threshold in CARDINAL

Phase 3. Analysts following Reata took away exactly these messages from the July 23, 2018

disclosures, sharing the conclusion that the Phase 2 results disclosed on July 23, 2018 had “de-

risked” the pivotal CARDINAL Phase 3 results – i.e., the results indicated that CARDINAL Phase

3 endpoints would be successfully met. For example, in July 23, 2018 analyst reports, Leerink

analyst Joseph Schwartz and Jefferies analyst Maury Raycroft wrote:

       • Bottom Line: This morning RETA reported positive ‘retained benefit’ data
       from the Alport syndrome patients enrolled in the Ph.2 portion of the
       CARDINAL study, which was better than we expected . . . , and which we
       believe derisks Ph.3 results expected in 2H19. . . .

       • Bardoxolone retained much more benefit (4.1 ml/min) after 4 weeks of
       discontinuation in the Ph.2 portion of the study reported today than the 2.2
       ml/min threshold which the Ph.3 is powered for and the FDA will require for
       accelerated approval based on the patients enrolled in the Ph.3. portion of the
       study. Importantly, the Phase 2 portion of the study does not include a placebo arm
       whereas the Ph.3 does. Since estimated glomerular filtration rate (eGFR) is
       expected to decline by around 4.2 ml/min per year for patients in the placebo arm,
       we believe these results are highly derisking since the implied placebo- corrected
       difference of 8.3 is almost four times the threshold for success.

Joseph P. Schwartz, Better than Exp Retained Benefit and PKD Data Derisks Ph3 & Expands

Opportunity, SVB SECURITIES LLC, F/K/A SVB LEERINK LLC, 1 (July 23, 2018).

       RETA succeeded in the unconventional ph.II retained benefit analysis in
       Alport syndrome -- after drug withdrawal for four wks, pts maintained +4.1
       ml/ min eGFR improvement, implying a +8.3 mL/min benefit vs expected
       decline of ~-4.2. . . . We believe the new data de-risked the ph.III’s potential
       for success . . . .

       RETA succeeded in the retained benefit analysis for ph.II CARDINAL in
       Alport syndrome. After 48 wks of treatment eGFR was +10.4mL/min; pts were
       withdrawn from bard for 4 wks and retained a stat sig benefit of +4.1mL/min -- this
       type of analysis is risky, particularly in a disease like Alport caused by mutations
       that impair the structure of kidney glomeruli. . . .



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       Based on the collective efficacy and safety de-risking, we increased our
       probability of success for . . . Alport (now 65% vs 40% prior) . . . . Importantly,
       we believe the new results de-risked the ongoing Alport ph.III, given that the ph.III
       retained benefit analysis (also at 1 yr) is powered to detect placebo-corrected
       benefit of 2.2 mL/min (n=150) vs today’s update showing 8.3mL/min. We assume
       RETA succeeds at the 1-yr analysis and gets approved for Alport by 2020.

       For safety, the retained benefit demonstrated that bard is not damaging the
       kidney . . . .

Maury Raycroft, Retained Benefit Analysis De-Risked Ongoing Alport Ph.III And ADPKD

Opportunity, JEFFERIES LLC, 1 (July 23, 2018).

       219.    For these reasons, the July 23, 2018 disclosures caused investors to immediately

and significantly re-value Reata. On July 23, 2018, as more than 4.1 million Reata shares traded,

Reata’s share price rose 65% in a single day, gaining $30.15 per share from its prior closing

price ($46.40 per share on July 20, 2018) to close July 23, 2018 trading at $76.55 per share.

               11.     Statements Made in Connection with Reata’s
                       July 25, 2018 Secondary Public Offering

       220.    Taking advantage of the dramatic appreciation in Reata’s share price occasioned

by Reata’s July 23, 2018 disclosures that CARDINAL Phase 2 demonstrated a significant retained

eGFR benefit after one year of treatment, Reata announced, the same day, a proposed secondary

stock offering of 3.0 million shares (with an overallotment option of an additional 450,000 shares).

       221.    On July 25, 2018, Reata issued and sold 3.45 million shares of Class A common

stock at $72.00 per share through a secondary stock offering underwritten by Defendants Jefferies,

Leerink, Stifel, Cantor, and LT&Co. (the “July 2018 Offering”). Gross proceeds to Reata from the

July 2018 Offering totaled $248.4 million, and net proceeds, after payment of $14.9 million to the

July 2018 Offering underwriters, totaled $233.5 million.




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       222.    The July 2018 Offering Documents 12 contained FDA Guidance Representations,

CARDINAL Design Representations, CARDINAL Retained eGFR Representations, and 10-14

Day Washout Representations:

       CARDINAL, a Study in Patients with CKD Caused by Alport Syndrome . . .

       In July 2018, we announced positive interim safety and efficacy data for the
       ongoing open-label Phase 2 portion of CARDINAL. . . . Data demonstrate that
       bardoxolone methyl significantly improved kidney function in Alport syndrome
       patients as measured by eGFR. In the Phase 2 portion of CARDINAL, we observed
       the following: . . .

               •   A statistically significant mean increase from baseline in retained eGFR,
                   which is the eGFR change after a four-week withdrawal of drug, at
                   Week 52 of 4.1 mL/min/1.73 m 2 (p<0.05) in 25 patients was observed.

                       o Bardoxolone methyl and any active metabolites are eliminated
                         from the body within approximately 10 days after withdrawal,
                         so we believe this retained eGFR benefit is a measure of the
                         effect of long term treatment on the structure of the kidney and
                         its disease-modifying potential. . . .

                       o We believe this retained eGFR benefit provides evidence that
                         increases in eGFR observed with bardoxolone methyl therapy
                         may be durable and may prevent or delay kidney failure.

                                                ***

       In the second half of 2017, we began enrolling the Phase 3 portion of CARDINAL
       . . . . The FDA has provided us with guidance that an analysis of retained eGFR,
       demonstrating an improvement versus placebo after one year of bardoxolone
       methyl treatment, may support a New Drug Application (NDA) submission for
       accelerated approval of bardoxolone methyl for the treatment of CKD caused by
       Alport syndrome, and data demonstrating an improvement versus placebo in
       retained eGFR after two years of treatment may support full approval. Enrollment
       in the Phase 3 portion of CARDINAL is proceeding as planned, and we expect to
       have one year top-line results available in the second half of 2019. Based on
       retained eGFR benefit observed in CARDINAL Phase 2 patients at Week 52, we

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  The shares sold in the July 2018 Offering were registered, issued, and sold pursuant to (i) a shelf
registration statement on Form S-3 filed by Reata with the SEC on July 23, 2018, signed by
Defendants Huff, Bass, McClellan, McGaughy, Nielsen, and Rose (the “Shelf Registration
Statement”); and (ii) a prospectus supplement, which formed part of the Shelf Registration
Statement, dated July 23, 2018 (the “July 2018 Offering Prospectus,” and together with the Shelf
Registration Statement, the “July 2018 Offering Documents”).


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         believe the Phase 3 portion of CARDINAL is conservatively powered. No safety
         concerns have been reported by the DMC.

July 2018 Offering Prospectus at S-1 – S-2.

         223.   The FDA Guidance Representations contained in the July 2018 Offering Prospectus

were materially false and/or misleading. Specifically, the claims of acting in accord with FDA

“guidance” purportedly supporting (i) use of a four-week washout period, and (ii) the resulting

retained eGFR as a basis for FDA approval, were misleading for failure to disclose that Reata had

not obtained FDA concurrence on these matters. See Section IV.G.1, supra. Defendants failed to

disclose that the FDA had repeatedly warned Reata, beginning with the FDA’s December 2016

Advice Letter, that it did not concur with CARDINAL’s design, that the four-week washout period

was inadequate and/or without basis, and that retained eGFR data predicated on such a washout

period would be invalid and incapable of supporting FDA approval. Id.

         224.   The CARDINAL Design Representations contained in the July 2018 Offering

Prospectus were materially false and/or misleading. Because PD effects remained for eight weeks

after extended Bard treatment, the use of an inadequate four-week washout period for retained

eGFR measurement meant that CARDINAL would not actually measure what was claimed (i.e.,

retained eGFR) – and hence, that any ensuing retained eGFR results would provide neither

evidence of any truly retained eGFR benefit nor basis for FDA approval. See Sections IV.G.2-3,

supra.

         225.   The CARDINAL Retained eGFR Representations in the July 2018 Offering

Prospectus (i.e., the one-year retained eGFR benefit from CARDINAL Phase 2) were materially

false and/or misleading. Because PD effects remained for eight weeks after extended Bard

treatment, the use of an inadequate four-week washout period for retained eGFR measurement

meant that: (i) CARDINAL had not actually measured what was claimed (i.e., retained eGFR) and



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instead had measured PD effects; (ii) CARDINAL’s purported retained eGFR results neither

constituted nor measured truly retained eGFR and thus provided no indication of disease-

modifying effects; and (iii) CARDINAL’s retained eGFR results therefore would not and could

not provide basis for FDA approval. See Section IV.G.3, supra.

       226.   The 10-14 Day Washout Representations in the July 2018 Offering Prospectus were

materially false and/or misleading. In truth, extended Bard treatment, such as in CARDINAL,

BEAM, and BEACON, required eight weeks to wash out: a period at least four times longer than

the represented 10-14 days. See Section IV.G.2, supra.

              12.     The November 7, 2018 Statements

       227.   In September 2018, the FDA reached out to Reata, following the completion of

CARDINAL Phase 2, to encourage Reata to request an End-of-Phase 2 meeting intended to

“ensure alignment” between the FDA and Reata with respect to CARDINAL’s adequacy prior to

commencing the CARDINAL Phase 3 trial – i.e., before it would be too late to modify

CARDINAL’s design to respond to FDA concerns (for example, by including additional off-

treatment eGFR measurements more than four weeks after treatment end). See Section IV.G.1,

supra. Reata declined the FDA’s invitation and did not have an End-of-Phase-2 meeting with the

FDA.

       228.   On November 7, 2018, Reata: (i) issued a press release announcing third-quarter

2018 results (the “Q3 2018 Results Release”); (ii) filed with the SEC a Form 10-Q, signed by

Defendant Huff, for the third quarter of 2018 (the “Q3 2018 10-Q”); and (iii) at 8:00 a.m. EST,

hosted a conference call with analysts and investors (the “Q3 2018 Conference Call”).

       229.   The Q3 2018 Results Release contained CARDINAL Retained eGFR

Representations:




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       Product Development Updates

       Phase 2/3 CARDINAL Trial of Bardoxolone Methyl in Alport Syndrome

       In July, we reported positive data from the Phase 2 portion of the CARDINAL
       study, which demonstrated a significant improvement in estimated glomerular
       filtration rate (eGFR) after 48 weeks of treatment with bardoxolone methyl
       (bardoxolone), and a statistically significant retained eGFR benefit following 4
       weeks of drug withdrawal. To our knowledge, bardoxolone is the first therapy to
       produce a retained eGFR benefit that is above baseline in a long-term chronic
       kidney disease (CKD) trial, and we believe this retained eGFR benefit provides
       evidence that increases in eGFR observed with bardoxolone therapy may prevent
       or delay kidney failure. Enrollment in the pivotal Phase 3 portion of the
       CARDINAL trial of bardoxolone in Alport syndrome is complete at 157 patients,
       and top-line data are expected in the second half of 2019.

       230.   The Q3 2018 10-Q contained (i) CARDINAL Retained eGFR Representations, (ii)

Prior Study Retained eGFR Representations, (iii) FDA Guidance Representations, and (iv) 10-14

Day Washout Representations:

       Bardoxolone Methyl in CKD Caused by Alport Syndrome and Additional
       Rare Forms of CKD

       The clinical trial data for bardoxolone methyl demonstrate consistent, clinically
       meaningful improvement in kidney function . . . . Specifically, we have observed .
       . . increases in retained eGFR, which is the eGFR change after a four-week
       withdrawal of drug, that was evaluated following 48 weeks of treatment in two
       patient populations. We believe these data support the potential for bardoxolone
       methyl to delay or prevent dialysis, kidney transplant, and death in patients with
       Alport syndrome and other rare forms of CKD. Further details on the clinical trials
       of bardoxolone methyl include the following: . . .

                      o In BEAM and BEACON, bardoxolone methyl treatment for one
                        year showed statistically significant, mean increases in retained
                        eGFR that potentially indicates disease modifying benefits.

                                              ***

       In July 2018, we announced positive interim safety and efficacy data for the
       ongoing open-label Phase 2 portion of CARDINAL. . . . Data demonstrate that
       bardoxolone methyl significantly improved kidney function in Alport syndrome
       patients as measured by eGFR. In the Phase 2 portion of CARDINAL, we achieved
       the following: . . .

              •   A statistically significant, mean increase from baseline in retained eGFR
                  at Week 52 of 4.1 mL/min/1.73 m2 (p<0.05) in 25 patients was


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                   observed.

                      o Bardoxolone methyl and any active metabolites are eliminated
                        from the body within approximately 10 days after withdrawal,
                        so we believe this retained eGFR benefit is a measure of the
                        effect of long-term treatment on the structure of the kidney and
                        its disease-modifying potential.

                      o To our knowledge, bardoxolone methyl is the first therapy to
                        produce a retained eGFR benefit that is above baseline in a long-
                        term CKD trial.

                      o We believe this retained eGFR benefit provides evidence that
                        increases in eGFR observed with bardoxolone methyl therapy
                        may prevent or delay kidney failure.

                                               ***

        The Phase 3 portion of CARDINAL is an international, multi-center, randomized,
        double-blind, placebo-controlled trial that is studying the safety and efficacy of
        bardoxolone methyl in patients with CKD caused by Alport syndrome. We are
        currently conducting the Phase 3 portion of CARDINAL. . . . The FDA has
        provided us with guidance that an analysis of retained eGFR, demonstrating an
        improvement versus placebo after one year of bardoxolone methyl treatment, may
        support a New Drug Application (NDA) submission for accelerated approval of
        bardoxolone methyl for the treatment of CKD caused by Alport syndrome, and data
        demonstrating an improvement versus placebo in retained eGFR after two years of
        treatment may support full approval. We expect to have one year top-line results
        available in the second half of 2019. Based on retained eGFR benefit observed in
        CARDINAL Phase 2 patients at Week 52, we believe the Phase 3 portion of
        CARDINAL is conservatively powered. No safety concerns have been reported by
        the DMC.

Q3 2018 10-Q at 13-15.

        231.   During the Q3 2018 Conference Call, in response to analyst questions regarding

whether Bard operated through hyperfiltration, Defendant Meyer asserted that the retained eGFR

results seen in CARDINAL, BEAM, and BEACON (i.e., the CARDINAL Retained eGFR

Representations and the Prior Study Retained eGFR Representations) indicated no long-term

kidney function damage consistent with hyperfiltration, and instead indicated disease-modifying

activity:




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       A - Colin Meyer . . .

       As far as some of your specific questions about proteinuria, and then eGFR, there
       has been a question if the increase in GFR is due to something called hyperfiltration
       which importantly is a very specific effect of increased pressure in the kidney that
       may transiently increase GFR that it ultimately within the period of just a few
       months cause injury and loss of GFR.

       We’ve shown very carefully in animal models that does not occur. The drug
       restores surface area that’s constricted in the setting of inflammation, basically
       restoring increasing GFR to a non-damaging pattern. We’re now shown in several
       trials, including Alport syndrome and CARDINAL and diabetic CKD in the BEAM
       and BEACON trials that the effect is durable for at least one year and so, and the
       magnitude is quite large. This is very distinct once again from a pattern of
       hyperfiltration. And importantly, we’ve shown retained benefit now in three
       different trials, including the CARDINAL Phase 2 trial. That rules out harm to
       kidney and demonstrates disease modifying activity.

Q3 2018 Conference Call, Bloomberg transcript at 7-8.

       232.   The November 7, 2018 assertions of CARDINAL Retained eGFR Representations

in the Q3 2018 Results Release, Q3 2018 10-Q, and the Q3 2018 Conference Call were materially

false and/or misleading. Because PD effects remained for eight weeks after extended Bard

treatment, the use of an inadequate four-week washout period for retained eGFR measurement

meant that: (i) CARDINAL had not actually measured what was claimed (i.e., retained eGFR),

and instead had measured PD effects; (ii) CARDINAL’s purported retained eGFR results neither

constituted nor measured truly retained eGFR and thus provided no indication of disease-

modifying effects; and (iii) CARDINAL’s retained eGFR results therefore would not and could

not provide basis for FDA approval. See Section IV.G.3, supra.

       233.   The November 7, 2018 assertions of Prior Study Retained eGFR Representations

in the Q3 2018 10-Q and in the Q3 2018 Conference Call were materially false and/or misleading.

In truth, because BEAM and BEACON measured retained eGFR after an inadequate four-week

washout period, they neither measured nor evidenced any retained eGFR benefit or disease-

modifying effects for Bard. See Sections IV.G.2-3, supra.


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       234.   The FDA Guidance Representations contained in the Q3 2018 10-Q were materially

false and/or misleading. Specifically, the claims of acting in accord with FDA “guidance”

purportedly supporting (i) use of a four-week washout period and (ii) the resulting retained eGFR

as a basis for FDA approval, were misleading for failure to disclose that Reata had not obtained

FDA concurrence on these matters. See Section IV.G.1, supra. Defendants failed to disclose that

the FDA had repeatedly warned Reata, beginning with the FDA’s December 2016 Advice Letter,

that it did not concur with CARDINAL’s design, that the four-week washout period was

inadequate and/or without basis, and that retained eGFR data predicated on such a washout period

would be invalid and incapable of supporting FDA approval. Id. Additionally, these

representations failed to disclose that in September 2018, the FDA asked Reata for an End-of-

Phase 2 meeting, and stressed the importance of such a meeting, and Reata declined.

       235.   The 10-14 Day Washout Representations contained in the Q3 2018 10-Q were

materially false and/or misleading. In truth, extended Bard treatment, such as in CARDINAL,

BEAM, and BEACON, required eight weeks to wash out: a period at least four times longer than

the represented 10-14 days. See Section IV.G.2, supra.

              13.     The February 28, 2019 Statements

       236.   In February 2019, the FDA: (i) again reached out to Reata; (ii) once again

communicated to Reata its previously-expressed concerns with the adequacy of CARDINAL’s

washout period, and hence with the validity of CARDINAL’s retained eGFR data; and (iii) once

again urged Reata to meet with the FDA and obtain FDA concurrence on these matters, and

respond to the issues raised by the FDA in its December 2016 Advice Letter, before proceeding

with CARDINAL Phase 3 and before it would be too late to modify CARDINAL’s design (for

example, by including additional off-treatment eGFR measurements more than four weeks after

treatment had ended). See Section IV.G.1, supra. Reata effectively ignored the FDA’s February


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2019 communication and proceeded with CARDINAL Phase 3.

          237.   On February 28, 2019, Reata: (i) issued a press release announcing fourth-quarter

and full-year 2018 results (the “Q4 2018 Results Release”); (ii) filed with the SEC a Form 10-K,

signed by Defendant Huff and the Director Defendants, for 2018 (the “2018 10-K”); and (iii) at

8:00 a.m. EST, hosted a conference call with analysts and investors (the “Q4 2018 Conference

Call”).

          238.   The Q4 2018 Results Release contained FDA Guidance Representations and

CARDINAL Retained eGFR Representations:

          Pipeline Highlights

          Phase 3 Portion of the CARDINAL Trial of Bardoxolone in Alport Syndrome

          In the second half of 2018, we completed enrollment in the pivotal Phase 3
          CARDINAL study of bardoxolone in patients with CKD caused by Alport
          syndrome. A total of 157 patients were enrolled. The FDA has provided us with
          written guidance that, in patients with CKD caused by Alport syndrome, an analysis
          of retained eGFR demonstrating an improvement versus placebo after one year of
          bardoxolone treatment may support accelerated approval. In July, we reported one-
          year retained eGFR data from the open-label Phase 2 portion of CARDINAL,
          which demonstrated a statistically significant increase from baseline in mean eGFR
          of 4.1 mL/min/1.73 m2 (p<0.05) after 48 weeks of treatment and four weeks off-
          treatment in 25 patients. . . . We expect to report top-line, one-year data from the
          pivotal Phase 3 portion of CARDINAL in the second half of this year.

          239.   The 2018 10-K contained repeated assertions of FDA Guidance Representations

and CARDINAL Retained eGFR Representations:

          Overview . . .

          We have fully enrolled two registrational clinical trials: CARDINAL, studying
          Bard in chronic kidney disease (CKD) caused by Alport syndrome, and MOXIe,
          studying Omav in Friedreich’s ataxia (FA). . . . We designed CARDINAL and
          MOXIe based on the results of earlier clinical studies and guidance from the FDA
          on a potential path to approval.

                                                  ***

          We are conducting a Phase 2/3 clinical trial studying Bard in patients with CKD


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        caused by Alport syndrome called CARDINAL. . . . In the Phase 2 portion of
        CARDINAL, Bard demonstrated . . . a statistically significant increase from
        baseline in mean eGFR at Week 52 after withdrawal of drug for four weeks. This
        retained eGFR benefit is important because it provides compelling evidence that
        drug treatment may delay or prevent the need for dialysis or transplant. The FDA
        has provided us with written guidance that, in patients with CKD caused by Alport
        syndrome, an analysis of retained eGFR demonstrating an improvement versus
        placebo after one year of Bard treatment may support accelerated approval, and an
        improvement versus placebo after two years of treatment may support full approval.
        . . . If the trial results are positive, we believe the results, together with other data
        from our development program, will be sufficient to form the basis of an NDA
        submission to the FDA seeking approval of Bard for the treatment of CKD caused
        by Alport syndrome.

                                                  ***

        [W]e believe measuring eGFR after withdrawal of active drug isolates, and allows
        the measure of, the functional improvement associated with the effect of the drug
        on the underlying structure of the kidney. We believe the retained eGFR benefit
        observed in the Phase 2 portion of CARDINAL provides evidence that Bard
        treatment improved the structure of the kidney, modified the course of the disease,
        and may prevent or delay kidney failure and the need for dialysis or a kidney
        transplant. . . .

        The FDA has provided us with written guidance that, in patients with CKD caused
        by Alport syndrome, an analysis of retained eGFR demonstrating an improvement
        versus placebo after one year of Bard treatment may support accelerated approval
        and an improvement versus placebo after two years of treatment may support full
        approval. If the results of the Phase 3 portion of CARDINAL are positive, we
        believe the results, together with other data from our development program, will be
        sufficient to form the basis of an NDA submission to the FDA seeking approval of
        Bard for the treatment of CKD caused by Alport syndrome. We have received
        orphan drug designation from the FDA for Bard for the treatment of Alport
        syndrome.

 2018 10-K at 5, 9-10, 14-15, 94-95.

        240.    The 2018 10-K subsection titled “Overview of Clinical Trials of Bard in CKD”

 contained FDA Guidance Representations, Prior Study Retained eGFR Representations,

 CARDINAL Retained eGFR Representations, and 10-14 Day Washout Representations:

        Overview of Clinical Trials of Bard in CKD

        Bard has been evaluated in multiple clinical trials enrolling over 2,000 patients
        exposed to active drug . . . . . . .Key findings from clinical trials of Bard’s effects


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        on kidney function are summarized below.

                                                ***

        Bard Treatment Produced a Retained eGFR Benefit after Withdrawal of Drug
        Suggesting Bard Modified the Course of CKD

        The FDA has provided guidance to us and other sponsors that clinical trials with a
        retained eGFR benefit analysis may support approval in certain rare forms of CKD.
        The retained eGFR benefit is the patient’s eGFR change compared to baseline after
        long-term treatment of approximately one year and withdrawal of active drug. We
        believe measuring eGFR after withdrawal of active drug isolates, and allows the
        measurement of, the functional improvement associated with the effect of the drug
        on the underlying structure of the kidney. If the drug produces an improvement in
        retained eGFR versus placebo, it is strong evidence that the drug has modified the
        course of the disease and may delay or prevent the need for dialysis or a transplant.

        The duration of withdrawal varies by drug and is based on the drug’s
        pharmacokinetic (PK)/pharmacodynamics (PD) profile, including the time it takes
        for a drug to reach sub-therapeutic concentrations and the reversal of PD markers.
        Bard is eliminated from the system within 10 days after cessation of drug treatment,
        and the FDA has indicated that a four-week withdrawal period, which represents
        approximately 17 half-lives of the drug, is appropriate for Bard in the Phase 3
        CARDINAL and FALCON studies.

        We assessed retained eGFR benefit in three clinical trials: BEAM, BEACON, and
        the Phase 2 portion of CARDINAL. In each of those trials, after patients had been
        treated with Bard for approximately one year, the drug was withdrawn for four
        weeks, and the post-withdrawal eGFR was compared to the patient’s baseline
        eGFR. In each of these trials, Bard treatment produced a statistically significant
        improvement in retained eGFR versus baseline after withdrawal of drug. To our
        knowledge, Bard is the first therapy to produce a retained eGFR benefit that is
        above baseline in a long-term CKD trial. We believe the retained eGFR benefit
        observed in these clinical trials demonstrates that Bard treatment improved the
        structure of the kidney, modified the course of the disease, and may prevent or delay
        kidney failure and the need for dialysis or a kidney transplant. The FDA has
        provided us with written guidance that, in patients with CKD caused by Alport
        syndrome or ADPKD, an analysis of retained eGFR demonstrating an improvement
        versus placebo after one year of Bard treatment may support accelerated approval
        and an improvement versus placebo after two years of treatment may support full
        approval.

 2018 10-K at 11, 13.

        241.   During the Q4 2018 Conference Call, Defendant Huff’s introductory remarks

 asserted CARDINAL Retained eGFR Representations and FDA Guidance Representations:


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        Regarding our Alport syndrome program in 2018, we reported long-term results
        from the phase 2 portion of CARDINAL demonstrating that patients treated with
        bardoxolone experienced a significant improvement in eGFR after 48 weeks of
        treatment, and a significant retained eGFR benefit, following four weeks of drug
        withdrawal. The retained eGFR benefit suggested long-term treatment with
        bardoxolone may safely delay or prevent kidney failure in patients with Alport
        syndrome.

        The FDA has provided us with written guidance that a statistically significant
        placebo-corrected retained eGFR benefit after one year of treatment may support
        accelerated approval and a retained eGFR benefit after two years of treatment may
        support full approval . . . .

 Q4 2018 Conference Call, Bloomberg transcript at 2.

        242.    The February 28, 2019 assertions of FDA Guidance Representations in the Q4 2018

 Results Release, 2018 10-K, and Q4 2018 Conference Call were materially false and/or

 misleading. Specifically, the claims of acting in accord with FDA “guidance” purportedly

 supporting (i) use of a four-week washout period, and (ii) the resulting retained eGFR as a basis

 for FDA approval were misleading for failure to disclose that Reata had not obtained FDA

 concurrence on these matters. See Section IV.G.1, supra. Defendants failed to disclose that the

 FDA had repeatedly warned Reata, beginning with the FDA’s December 2016 Advice Letter and

 again in February 2019, that it did not concur with CARDINAL’s design, that the four-week

 washout period was inadequate and/or without basis, and that retained eGFR data predicated on

 such a washout period would be invalid and incapable of supporting FDA approval. Id. The

 representations were further misleading for failing to disclose that in September 2018 and February

 2019, the FDA had requested an End-of-Phase 2 meeting, stressed the importance of such a

 meeting and of obtaining FDA concurrence on CARDINAL, but Reata ignored those requests.

        243.    The February 28, 2019 assertions of CARDINAL Retained eGFR Representations

 in the Q4 2018 Results Release, 2018 10-K, and Q4 2018 Conference Call were materially false

 and/or misleading. Because PD effects remained for eight weeks after extended Bard treatment,



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 the use of an inadequate four-week washout period for retained eGFR measurement meant that:

 (i) CARDINAL had not actually measured what was claimed (i.e., retained eGFR), and instead

 had measured PD effects; (ii) CARDINAL’s purported retained eGFR results neither constituted

 nor measured truly retained eGFR and thus provided no indication of disease-modifying effects;

 and (iii) CARDINAL’s retained eGFR results therefore would not and could not provide basis for

 FDA approval. See Sections IV.G.3, supra.

         244.    The Prior Study Retained eGFR Representations contained in the 2018 10-K were

 materially false and/or misleading. In truth, because BEAM and BEACON measured retained

 eGFR after an inadequate four-week washout period, they neither measured nor evidenced any

 retained eGFR benefit or disease-modifying effects for Bard. See Sections IV.G.2-3, supra.

         245.    The 10-14 Day Washout Representations contained in the 2018 10-K were

 materially false and/or misleading. In truth, extended Bard treatment, such as in CARDINAL,

 BEAM, and BEACON, required eight weeks to wash out: a period at least four times longer than

 the represented 10-14 days. See Section IV.G.2, supra.

         246.    The 2018 10-K contained Risk Factor Disclosures that were: (i) substantively

 identical, in relevant part, to those in the 2016 10-K (see ¶ 177, supra), and (ii) inadequate and

 materially misleading. See 2018 10-K at 52-53, 73-74. They inaccurately described certain risks –

 specifically, that the FDA might not approve Bard due to “inadequate design or implementation

 of our clinical trials[,]” failure to demonstrate Bard’s “safety and efficacy . . .[] to the satisfaction

 of the relevant regulatory authorities[,]” and FDA disagreement “that our completed clinical trials

 provide adequate data on safety or efficacy[]” – as potential risks, stated in a generalized and

 hypothetical manner while omitting to disclose material, then-existing facts – such as the FDA’s

 December 2016 Advice Letter, and the FDA’s September 2018 and February 2019




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 communications – indicating that these risks were actually materializing.

                14.    The November 11-12, 2019 Statements

        247.    On November 11, 2019, Reata issued a press release announcing positive one-year

 data from CARDINAL Phase 3, including a statistically significant retained eGFR benefit at one

 year (48 weeks treatment and a four-week washout period) (the “CARDINAL Phase 3 Results

 Release”).

        248.    On November 12, 2019, Reata: (i) issued a press release announcing third-quarter

 2019 results (the “Q3 2019 Results Release”); (ii) filed with the SEC a Form 10-Q, signed by

 Defendants Huff and Soni, for the third quarter of 2019 (the “Q3 2019 10-Q”); and (iii) at 8:00

 a.m. EST, hosted a conference call with analysts and investors to discuss further the CARDINAL

 Phase 3 year-one results (the “CARDINAL Phase 3 Results Conference Call”).

        249.    The CARDINAL Phase 3 Results Release asserted FDA Guidance Representations,

 CARDINAL Retained eGFR Representations, and CARDINAL Design Representations:

        Reata Announces Positive Topline Year One Results From Pivotal Phase 3
        Cardinal Study of Bardoxolone Methyl in Patients With Alport Syndrome

        ACHIEVED PRIMARY ENDPOINT OF STATISTICALLY SIGNIFICANT
        IMPROVEMENT IN EGFR COMPARED TO PLACEBO AFTER 48 WEEKS OF
        TREATMENT

        ACHIEVED KEY SECONDARY ENDPOINT OF STATISTICALLY SIGNIFICANT
        IMPROVEMENT IN RETAINED EGFR COMPARED TO PLACEBO AFTER 48
        WEEKS OF TREATMENT AND WITHDRAWAL OF DRUG FOR 4 WEEKS

        Reata Pharmaceuticals, Inc. (Nasdaq:RETA) (“Reata” or the “Company”), a
        clinical-stage biopharmaceutical company, announced today that the Phase 3
        portion of the CARDINAL study of bardoxolone methyl (bardoxolone) in patients
        with chronic kidney disease (CKD) caused by Alport syndrome met its primary and
        key secondary endpoints. . . . After 48 weeks of treatment and a four-week
        withdrawal period, patients treated with bardoxolone had a statistically significant
        improvement compared to placebo in mean retained eGFR of 5.14 mL/min/1.73
        m2 (p=0.0012).

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       Trial Overview and Results . . .

       The primary endpoint for the study was the change in eGFR, an important measure
       of the ability of the kidney to filter waste products out of the blood, after 48 weeks
       of treatment. The key secondary endpoint for the study was the change in the
       retained eGFR after 48 weeks of treatment and four weeks of drug withdrawal. . . .
       The second-year on-treatment eGFR will be measured after 100 weeks of treatment
       and the retained eGFR will be measured at Week 104 after withdrawal of drug for
       four weeks. The FDA has provided the Company with written guidance that, in
       patients with CKD caused by Alport syndrome, an analysis of retained eGFR
       demonstrating an improvement versus placebo after one year of bardoxolone
       treatment may support accelerated approval and an improvement versus placebo
       after two years of treatment may support full approval. . . .

       At Week 52, patients treated with bardoxolone had a statistically significant
       improvement compared to placebo in mean retained eGFR of 5.14 mL/min/1.73
       m2 (p=0.0012).

                                                ***

       About the Retained eGFR Analysis . . .

       The FDA has accepted for approval in rare forms of CKD the placebo-corrected
       “retained eGFR” after withdrawal of drug. Withdrawal of drug after long-term
       treatment provides evidence whether a drug either protected or harmed the kidney
       during treatment. If retained eGFR is higher than placebo, this is evidence that the
       drug protected the kidney during treatment, and, if retained eGFR is lower than
       placebo, this is evidence that the drug harmed the kidney during treatment. A
       positive retained eGFR benefit provides evidence that drug treatment may delay
       kidney failure.

       250.   The Q3 2019 10-Q likewise featured the CARDINAL Phase 3 results and contained

 FDA Guidance Representations and CARDINAL Retained eGFR Representations:

       Overview . . .

       On November 11, 2019, we announced that the Phase 3 portion of the CARDINAL
       study of bardoxolone in patients with CKD caused by Alport syndrome met its
       primary and key secondary Year 1 endpoints. . . . After 48 weeks of treatment and
       a four-week withdrawal period, patients treated with bardoxolone had a statistically
       significant improvement compared to placebo in mean retained eGFR of 5.14
       mL/min/1.73 m2 (p=0.0012).

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        Bardoxolone in CKD Caused by Alport Syndrome . . .

        On November 11, 2019, we announced the topline, Year 1 results from the Phase 3
        portion of CARDINAL studying bardoxolone in Alport syndrome patients. . . . The
        FDA has provided us with written guidance that, in patients with CKD caused by
        Alport syndrome, an analysis of retained eGFR demonstrating an improvement
        versus placebo after one year of bardoxolone treatment may support a NDA
        submission for accelerated approval and an improvement versus placebo after two
        years of treatment may support full approval. . . .

        At Week 52, patients treated with bardoxolone had a statistically significant
        improvement compared to placebo in mean retained eGFR of 5.14 mL/min/1.73
        m2 (p=0.0012).

 Q3 2019 10-Q at 16-18.

        251.   Additionally, a discrete subsection of the Q3 2019 10-Q titled “Historical

 Development of Bardoxolone” contained Prior Study Retained eGFR Representations, as well as

 CARDINAL Retained eGFR Representations and FDA Guidance Representations:

        Historical Development of Bardoxolone

        Prior to our CARDINAL Phase 3 trial, bardoxolone has been evaluated in multiple
        clinical trials enrolling over 2,000 patients exposed to active drug and has
        demonstrated consistent, clinically meaningful improvement in kidney function . .
        ..

        . . . We believe these data, in addition to the CARDINAL Phase 3 data, support the
        potential for bardoxolone to delay or prevent dialysis, kidney transplant, and death
        in patients with Alport syndrome and other rare forms of CKD. Additional
        observations from the prior clinical trials of bardoxolone include the following:

               •   . . . Statistically significant improvement in retained eGFR, which is the
                   eGFR change after a four-week withdrawal of drug, above baseline in
                   BEAM, BEACON, and the Phase 2 portion of CARDINAL. To our
                   knowledge, bardoxolone is the first therapy to produce a retained eGFR
                   benefit that is above baseline in a long-term CKD trial.

                       o The FDA has provided guidance to us and other sponsors that
                         clinical trials with a retained eGFR benefit versus placebo may
                         support approval in certain rare forms of CKD. The FDA has
                         provided guidance to us that, in patients with CKD caused by
                         Alport syndrome or ADPKD, a retained eGFR benefit versus
                         placebo after one year of bardoxolone treatment may support
                         accelerated approval and after two years of bardoxolone



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                           treatment may support full approval.

                      o We believe the retained eGFR benefit observed in these clinical
                        trials demonstrates that bardoxolone treatment improved the
                        structure of the kidney, modified the course of the disease, and
                        may prevent or delay kidney failure and the need for dialysis or
                        a kidney transplant.

 Q3 2019 10-Q at 19-20.

       252.   In the CARDINAL Phase 3 Results Conference Call, Defendant Huff reiterated

 FDA Guidance Representations and CARDINAL Retained eGFR Representations:

       Warren Huff . . .

       The FDA has provided us with written guidance that in patients with CKD caused
       by Alport syndrome, an analysis of off-treatment eGFR demonstrating an
       improvement versus placebo after one year of treatment may support accelerated
       approval and an improvement versus placebo after two years of treatment may
       support full approval. . . .

       Following the FDA guidance, the primary endpoint for the Phase III CARDINAL
       Study is the change in estimated GFR from baseline and compared to placebo, after
       48 weeks of treatment in the key secondary endpoint is the change in estimated
       GFR from baseline and compared to placebo after 48 weeks of treatment and four
       weeks of drug withdrawal. . . . Measuring estimated GFR after withdrawal of active
       drug isolates the effect of the drug on the underlying structure of the kidney. If the
       effect of the drug were harmful due to any mechanism known or unknown, after
       one year of treatment in a four-week withdrawal, kidney function would be
       worsened relative to placebo. However, an improvement in retained eGFR versus
       placebo was strong evidence that the drug has been official has the potential to
       modify the course of the disease and may delay or prevent the need for dialysis or
       a kidney transplant.

 CARDINAL Phase 3 Results Conference Call, Bloomberg transcript at 2, 4.

       253.   After Defendant Huff’s remarks, Defendant Meyer then presented the CARDINAL

 Phase 3 one-year results, reiterating CARDINAL Retained eGFR Representations:

       Colin Meyer . . .

       Bardoxolone also met its key secondary endpoint of off-treatment change in eGFR
       compared to placebo.

       In the off-treatment analysis, patients treated with bardoxolone demonstrated a



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        statistically significant placebo-corrected 5.1 mL per minute improvement in mean
        retained eGFR compared to placebo with a p-value of 0.0012. These results suggest
        that disease progression for patients on bardoxolone was essentially halted during
        the study even when measured after four weeks of drug withdrawal.

 CARDINAL Phase 3 Results Conference Call, Bloomberg transcript at 4, 6-7.

        254.    The November 11-12, 2019 assertions of FDA Guidance Representations in the

 CARDINAL Phase 3 Results Release, CARDINAL Phase 3 Results Conference Call, and Q3 2019

 10-Q were materially false and/or misleading. Specifically, the claims of acting in accord with

 FDA “guidance” purportedly supporting (i) use of a four-week washout period and (ii) the

 resulting retained eGFR as a basis for FDA approval, were misleading for failure to disclose that

 Reata had not obtained FDA concurrence on these matters. See Section IV.G.1, supra. Defendants

 failed to disclose that the FDA had repeatedly warned Reata, beginning with the FDA’s

 December 2016 Advice Letter and again in February 2019, that it did not concur with

 CARDINAL’s design, that the four-week washout period was inadequate and/or without basis,

 and that retained eGFR data predicated on such a washout period would be invalid and incapable

 of supporting FDA approval. Id. The representations were further misleading for failing to disclose

 that in September 2018 and February 2019, the FDA had requested an End-of-Phase 2 meeting

 and stressed the importance of such a meeting, but Reata ignored those requests.

        255.    The November 11-12, 2019 assertions of CARDINAL Retained eGFR

 Representations in the CARDINAL Phase 3 Results Release, CARDINAL Phase 3 Results

 Conference Call, and Q3 2019 10-Q were materially false and/or misleading. Because PD effects

 remained for eight weeks after extended Bard treatment, the use of an inadequate four-week

 washout period for retained eGFR measurement meant that: (i) CARDINAL had not actually

 measured what was claimed (i.e., retained eGFR) and instead had measured PD effects; (ii)

 CARDINAL’s purported retained eGFR results neither constituted nor measured truly retained



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 eGFR and thus provided no indication of disease-modifying effects; and (iii) CARDINAL’s

 retained eGFR results therefore would not and could not provide basis for FDA approval. See

 Section IV.G.3, supra.

          256.   The Prior Study Retained eGFR Representations in the Q3 2019 10-Q were

 materially false and/or misleading. In truth, because BEAM and BEACON measured retained

 eGFR after an inadequate four-week washout period, they neither measured nor evidenced any

 retained eGFR benefit or disease-modifying effects for Bard. See Sections IV.G.2-3, supra.

          257.   The CARDINAL Design Representations in the CARDINAL Phase 3 Results

 Release were materially false and/or misleading. Because PD effects remained for eight weeks

 after extended Bard treatment, the use of an inadequate four-week washout period for retained

 eGFR measurement meant that CARDINAL would not actually measure what was claimed (i.e.,

 retained eGFR) – and hence, that any ensuing retained eGFR results would provide neither

 evidence of any truly retained eGFR benefit nor basis for FDA approval. See Sections IV.G.2-3,

 supra.

          258.   Analysts following Reata viewed the November 11-12, 2019 disclosures of

 CARDINAL Phase 3 results as extremely positive news and issued uniformly glowing reports. For

 example, in his November 12, 2019 report, Leerink analyst Joseph Schwartz wrote:

          Strong Retained Benefit Brings Bard One Step Closer to [Accelerated
          Approval]; PT to $328

          • Bottom Line: We see the positive Ph.3 CARDINAL data as paving the way to a
          substantial opp’ty in Alport syndrome . . . . Recall, bardoxolone (bard) hit on both
          its primary and key secondary endpoint of the CARDINAL trial, which combined
          with a favorable safety profile, has a high chance of receiving regulatory approval,
          in our view. . . .

          • CARDINAL hit on primary and secondary endpoints; de-risking from a
          regulatory standpoint. . . . [T]he FDA has provided RETA with written guidance
          that the analysis of retained eGFR demonstrating an improvement vs. pbo. after 1
          yr. of treatment may support accelerated approval (AA) while similar data after 2


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        yrs. may support full approval. Since the topline results capture the first yr., the
        robust data suggests to us that bard is one step closer to gaining regulatory approval
        ahead of the 2nd yr. data. . . .

        • Retained benefit profile appears more robust than Jynarque (Otsuka);
        hyperfiltration issue is also not a concern. In the REPRISE trial (ADPKD),
        tolvaptan/Jynarque demonstrated a pbo.-adjusted eGFR benefit of 1.27 mL/min . .
        . . In contrast, CARDINAL showed a robust pbo.-adjusted retained eGFR benefit
        of 5.14 mL/min . . . . With a magnitude of benefit >4x higher than tolvaptan, we
        think bard has a very compelling efficacy profile in Alport syndrome. Additionally,
        off-treatment eGFR being higher in the bard arm (vs. pbo. arm) once again disputes
        the notion of bard driving hyperfiltration.

 Joseph P. Schwartz, Strong Retained Benefit Brings Bard One Step Closer to AA; PT to $328, SVB

 SECURITIES LLC, F/K/A SVB LEERINK LLC, 1-2 (Nov. 12, 2019).

                15.    Statements Made in Connection with Reata’s
                       November 14, 2019 Secondary Public Offering

        259.    Taking advantage of the recent substantial appreciation in Reata’s share price,

 Reata announced, on November 12, 2019 – i.e., immediately following disclosure of the

 CARDINAL Phase 3 one-year results – a proposed secondary stock offering of 2.0 million shares

 (with an overallotment option of an additional 300,000 shares). On November 14, 2019, Reata

 announced (i) that it had upsized the proposed offering by 20%, from 2.0 million to 2.4 million

 shares (along with a proportional 20% increase to the overallotment option, from 300,000 to

 360,000 shares), and (ii) that the shares would be sold for $183.00 per share.

        260.    On November 14, 2019, following the full exercise of the overallotment option,

 Reata issued and sold 2.76 million shares of Class A common stock at $183.00 per share through

 a secondary stock offering underwritten by Defendants Citigroup, Jefferies, Leerink, Stifel, Baird,

 Cantor, and LT&Co. (the “2019 Offering”). After payment of $12.6 million to the 2019 Offering

 Underwriter Defendants, Reata’s net proceeds totaled $492.5 million.

        261.    The shares sold in the 2019 Offering were registered, issued, and sold pursuant to:

 (i) Reata’s July 23, 2018 Shelf Registration Statement on Form S-3, signed by Defendant Huff and


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 the Director Defendants; and (ii) a prospectus supplement, which formed part of the Shelf

 Registration Statement, dated November 13, 2019 (the “2019 Offering ProSupp”).

        262.    The 2019 Offering ProSupp contained FDA Guidance Representations and

 CARDINAL Retained eGFR Representations:

        Company Overview . . .

        On November 11, 2019, we announced that the Phase 3 portion of the CARDINAL
        study of bardoxolone in patients with CKD caused by Alport syndrome met its
        primary and key secondary Year 1 endpoints. . . . After 48 weeks of treatment and
        a four-week withdrawal period, patients treated with bardoxolone had a statistically
        significant improvement compared to placebo in mean retained eGFR of 5.14
        mL/min/1.73 m2 (p=0.0012). Bardoxolone treatment was generally reported to be
        well-tolerated and showed a similar safety profile to the Phase 2 portion of the
        CARDINAL study. Based on these positive results, and subject to discussions with
        regulatory authorities, we plan to proceed with the submission of regulatory filings
        for marketing approval in the United States and internationally.

                                                ***

        Bardoxolone in CKD Caused by Alport Syndrome . . .

        On November 11, 2019, we announced the topline, Year 1 results from the Phase 3
        portion of CARDINAL studying bardoxolone in Alport syndrome patients. . . . The
        FDA has provided us with written guidance that, in patients with CKD caused by
        Alport syndrome, an analysis of retained eGFR demonstrating an improvement
        versus placebo after one year of bardoxolone treatment may support a New Drug
        Application (NDA) submission for accelerated approval and an improvement
        versus placebo after two years of treatment may support full approval. . . .

        At Week 52, patients treated with bardoxolone had a statistically significant
        improvement compared to placebo in mean retained eGFR of 5.14 mL/min/1.73
        m2 (p=0.0012). Patients treated with bardoxolone experienced a nonsignificant
        decline from baseline in mean retained eGFR of -0.96 mL/min/1.73 m2 (p=0.45),
        while patients treated with placebo experienced a statistically significant decline
        from baseline in mean retained eGFR of -6.11 mL/min/1.73 m2 (p<0.0001).

 2019 Offering ProSupp at S-1 – S-3.

        263.    The FDA Guidance Representations in the 2019 Offering ProSupp were materially

 false and misleading. Specifically, the claims of acting in accord with FDA “guidance” purportedly

 supporting (i) use of a four-week washout period and (ii) the resulting retained eGFR as a basis


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 for FDA approval, were misleading for failure to disclose that Reata had not obtained FDA

 concurrence on these matters. See Section IV.G.1, supra. Defendants failed to disclose that the

 FDA had repeatedly warned Reata, beginning with the FDA’s December 2016 Advice Letter and

 again in February 2019, that it did not concur with CARDINAL’s design, that the four-week

 washout period was inadequate and/or without basis, and that retained eGFR data predicated on

 such a washout period would be invalid and incapable of supporting FDA approval. Id. The

 representations were further misleading for failing to disclose that in September 2018 and February

 2019, the FDA had requested an End-of-Phase 2 meeting and stressed the importance of such a

 meeting and that Reata obtain FDA concurrence on CARDINAL, but Reata ignored those requests.

        264.    The CARDINAL Retained eGFR Representations in the 2019 Offering ProSupp

 were materially false and misleading. Because PD effects remained for eight weeks after extended

 Bard treatment, the use of an inadequate four-week washout period for retained eGFR

 measurement meant that: (i) CARDINAL had not actually measured what was claimed (i.e.,

 retained eGFR), and instead had measured PD effects; (ii) CARDINAL’s purported retained eGFR

 results neither constituted nor measured truly retained eGFR and thus provided no indication of

 disease-modifying effects; and (iii) CARDINAL’s retained eGFR results therefore would not and

 could not provide a basis for FDA approval. See Section IV.G.3, supra.

                16.    The February 19, 2020 Statements

        265.    In January 2020, Reata met with the FDA, and the FDA once again communicated

 to Reata its previously expressed concerns with the adequacy of CARDINAL’s washout period,

 and hence with the validity of CARDINAL’s retained eGFR data. See ¶¶ 106-09, supra.

 Additionally, the FDA expressed further concern with the high level of Bard-treated patients in

 CARDINAL who discontinued treatment within the first year and with Bard’s effects on blood

 pressure and albuminuria. Id.


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        266.    The January 2020 FDA Meeting was sufficiently troubling to the Reata Defendants

 that, as detailed in Section V.C.6, infra, it led Defendants Huff and Meyer to refuse to make any

 public comments during Reata’s quarterly conference calls regarding Reata’s interactions with the

 FDA, or to answer any analyst questions on those calls concerning Reata’s FDA interactions, for

 the ensuing six months. However, even as Defendants Huff and Meyer refrained from all such

 commentary during February 2020 and May 2020 conference calls (i.e., the Q4 2019 Conference

 Call and Q1 2020 Conference Call), the Reata Defendants’ misstatements continued unabated in

 Reata’s press releases and SEC filings.

        267.    On February 19, 2020, Reata: (i) issued a press release announcing fourth-quarter

 and full-year 2019 Results (the “Q4 2019 Results Release”); (ii) filed with the SEC a Form 10-K,

 signed by Defendants Huff, Soni, and the Director Defendants, for 2019 (the “2019 10-K”); and

 (iii) at 4:30 p.m. EST, hosted a conference call with analysts and investors (the “Q4 2019

 Conference Call”).

        268.    The 2019 10-K contained FDA Guidance Representations, CARDINAL Retained

 eGFR Presentations, and Prior Study Retained eGFR Representations:

        In November 2019, we announced that the Phase 3 portion of the CARDINAL
        study of bardoxolone in patients with CKD caused by Alport syndrome met its
        primary and key secondary Year 1 endpoints. . . . At Week 52, patients treated with
        bardoxolone had a statistically significant improvement compared to placebo in
        mean retained eGFR, which is the eGFR change after a four-week withdrawal of
        drug, of 5.14 mL/min/1.73 m2 (p=0.0012). After 52 weeks, patients in the placebo
        arm of CARDINAL lost an average of 6.1 mL/min/1.73 m2. Based on these
        positive results, and subject to discussions with regulatory authorities, we plan to
        proceed with the submission of regulatory filings this year for marketing approval
        in the United States.

                                                ***

        Overview of Clinical Evidence of Bardoxolone’s Effect on Kidney Function in
        CKD

        Prior to our CARDINAL Phase 3 trial, clinical trials enrolling over 2,000 patients


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       exposed to bardoxolone have demonstrated consistent, clinically meaningful
       improvement in kidney function . . . .

        . . . We believe these data, in addition to the CARDINAL Phase 3 data, support the
       potential for bardoxolone to delay or prevent dialysis, kidney transplant, and death
       in patients with Alport syndrome and other forms of CKD.

       Additional observations from the prior clinical trials of bardoxolone include the
       following: . . .

              •   Statistically significant improvement in retained eGFR above baseline
                  in BEAM, BEACON, the Phase 2 portion of CARDINAL at one year,
                  and the Phase 3 portion of CARDINAL at one year.

                      o The FDA has provided guidance to us and other sponsors that
                        clinical trials with a retained eGFR benefit versus placebo may
                        support approval in certain rare forms of CKD. The FDA has
                        provided guidance to us that, in patients with CKD caused by
                        Alport syndrome or ADPKD, a retained eGFR benefit versus
                        placebo after one year of bardoxolone treatment may support
                        accelerated approval and after two years of bardoxolone
                        treatment may support full approval.

                      o We believe the retained eGFR benefit observed in these clinical
                        trials demonstrates that bardoxolone treatment improved the
                        structure of the kidney, modified the course of the disease, and
                        may prevent or delay kidney failure and the need for dialysis or
                        a kidney transplant.

       Bardoxolone Development Program for the Treatment of CKD Caused by Alport
       Syndrome . . .

       In November 2019, we announced positive topline, Year 1 results from the Phase
       3 portion of CARDINAL studying bardoxolone in patients with Alport syndrome.

                                               ***

       The key secondary endpoint for the study was the change in retained eGFR at 52
       weeks. At Week 52, patients treated with bardoxolone had a statistically significant
       improvement compared to placebo in mean retained eGFR of 5.14 mL/min/1.73
       m2 (p=0.0012). . . .

       The FDA has provided us with written guidance that, in patients with CKD caused
       by Alport syndrome, an analysis of retained eGFR demonstrating an improvement
       versus placebo after one year of bardoxolone treatment may support an NDA
       submission for accelerated approval and an improvement versus placebo after two
       years of treatment may support full approval.



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 2019 10-K at 5, 13-15, 93.

        269.    The FDA Guidance Representations in the 2019 10-K were materially false and/or

 misleading. Specifically, the claims of acting in accord with FDA “guidance” purportedly

 supporting (i) use of a four-week washout period, and (ii) the resulting retained eGFR as a basis

 for FDA approval, were misleading for failure to disclose that Reata had not obtained FDA

 concurrence on these matters. See Section IV.G.1, supra. Defendants failed to disclose that the

 FDA had repeatedly warned Reata – beginning with the FDA’s December 2016 Advice Letter,

 again in February 2019, and yet again in the January 2020 FDA Meeting – that it did not concur

 with CARDINAL’s design, that the four-week washout period was inadequate and/or without

 basis, and that retained eGFR data predicated on such a washout period would be invalid and

 incapable of supporting FDA approval. Id. The representations were further misleading for failing

 to disclose that: (i) in September 2018 and February 2019, the FDA had requested an End-of-Phase

 2 meeting and stressed the importance of such a meeting and of obtaining FDA concurrence on

 CARDINAL, but Reata ignored those requests; and (ii) in the January 2020 FDA Meeting, the

 FDA expressed additional concerns with the high level of Bard-treated patients in CARDINAL

 who discontinued treatment within the first year, and with Bard’s effects on blood pressure and

 albuminuria.

        270.    The CARDINAL Retained eGFR Representations in the 2019 10-K were materially

 false and/or misleading. Because PD effects remained for eight weeks after extended Bard

 treatment, the use of an inadequate four-week washout period for retained eGFR measurement

 meant that: (i) CARDINAL had not actually measured what was claimed (i.e., retained eGFR),

 and instead had measured PD effects; (ii) CARDINAL’s purported retained eGFR results neither

 constituted nor measured truly retained eGFR and thus provided no indication of disease-




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 modifying effects; and (iii) CARDINAL’s retained eGFR results therefore would not and could

 not provide basis for FDA approval. See Section IV.G.3, supra.

         271.    The Prior Study Retained eGFR Representations in the 2019 10-K were materially

 false and/or misleading. In truth, because BEAM and BEACON measured retained eGFR after an

 inadequate four-week washout period, they neither measured nor evidenced any retained eGFR

 benefit or disease-modifying effects for Bard at all. See Sections IV.G.2-3, supra.

         272.    The 2019 10-K contained Risk Factor Disclosures that were: (i) substantively

 identical, in relevant part, to those in the 2016 10-K (see ¶ 177, supra); and (ii) inadequate and

 materially misleading. See 2019 10-K at 51-52, 73-74. They inaccurately described certain risks –

 specifically, that the FDA might not approve Bard due to “inadequate design or implementation

 of our clinical trials[,]” failure to demonstrate Bard’s “safety and efficacy . . .[] to the satisfaction

 of the relevant regulatory authorities[,]” and FDA disagreement “that our completed clinical trials

 provide adequate data on safety or efficacy[]” – as potential risks, stated in a generalized and

 hypothetical manner, while omitting to disclose material, then-existing facts – such as the FDA’s

 December 2016 Advice Letter, the FDA’s September 2018 and February 2019 communications,

 and the January 2020 FDA Meeting – indicating that these risks were actually materializing.

                 17.     The May 11, 2020 Statements

         273.    On May 11, 2020, Reata: (i) issued a press release announcing first-quarter 2020

 results (the “Q1 2020 Results Release”); (ii) filed with the SEC a Form 10-Q, signed by Defendants

 Huff and Soni, for the first quarter of 2020 (the “Q1 2020 10-Q”); and (iii) at 4:30 p.m. EST,

 hosted a conference call with analysts and investors (the “Q1 2020 Conference Call”).

         274.    While Defendants Huff and Meyer continued to refrain from making any

 commentary during the Q1 2020 Conference Call regarding Reata’s interactions with the FDA

 (just as they had during the February 2020 Q4 2019 Conference Call), the Reata Defendants’


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 misstatements continued unabated in Reata’s press releases and SEC filings.

        275.    The Q1 2020 10-Q contained FDA Guidance Representations, CARDINAL

 Retained eGFR Representations, and Prior Study Retained eGFR Representations, see Q1 2020

 10-Q at 16-18, that were effectively identical to those contained in the 2019 10-K and materially

 misleading for the same reasons, set forth at ¶¶ 268-71, supra.

                18.    The August 10, 2020 Statements

        276.    On August 10, 2020, Reata: (i) issued a press release announcing second-quarter

 2020 results (the “Q2 2020 Results Release”); (ii) filed with the SEC a Form 10-Q, signed by

 Defendants Huff and Soni, for the second quarter of 2020 (the “Q2 2020 10-Q”); and (iii) at 4:30

 p.m. EST, hosted a conference call with analysts and investors (the “Q2 2020 Conference Call”).

        277.    In the latter two of the August 10, 2020 disclosures – the Q2 2020 10-Q and the Q2

 2020 Conference Call – Reata and its executives exhibited yet another change in disclosure content

 and tone. Specifically, they abandoned the refusal to comment on FDA-related matters that they

 had adopted for their two prior rounds of quarterly disclosures following the January 2020 FDA

 Meeting, and once again started speaking about their interactions with the FDA concerning

 CARDINAL, Bard for treatment of Alport, and a possible Bard NDA.

        278.    However, while Reata and its executives resumed speaking about the FDA

 beginning August 10, 2020, their statements were neither accurate nor complete. While the August

 10, 2020 disclosures revealed that there was some dispute between Reata and the FDA concerning

 an NDA for Bard for Alport, these disclosures were materially misleading because: (i) they

 characterized the disputes as procedural, concerning merely the timing of an NDA (specifically,

 whether Reata should file an NDA immediately, for accelerated approval, based on the one-year

 retained eGFR data from CARDINAL, or whether the FDA would recommend waiting for the

 second-year CARDINAL data and then filing an NDA for full approval); when (ii) in fact, the


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 FDA-Reata disputes were fundamentally substantive, and cast substantial doubt on FDA approval

 of any NDA, no matter its timing, based on CARDINAL data.

        279.    The Q2 2020 10-Q literally marked the change in disclosure strategy up front, in a

 new first subsection, titled “Regulatory Update,” which stated, in relevant part:

        Regulatory Update

        Bardoxolone for CKD Caused by Alport Syndrome

        Following the announcement of positive, year one data from the Phase 3
        CARDINAL study of bardoxolone in patients with CKD caused by Alport
        syndrome in November 2019, we have been engaged in discussions with the U.S.
        Food and Drug Administration (FDA) regarding the Year 1 efficacy and safety
        results. We have had a Type C meeting where the FDA expressed concerns with
        basing an NDA for accelerated approval on the Year 1 data and recommended that
        we consider submitting the NDA with Year 2 data based, in part, on the assumption
        that there would not be much delay in NDA submission. Following the Type C
        meeting, we provided written responses, and engaged in follow up informal
        meetings, that we believe addressed the FDA comments regarding the Year 1
        results. Accordingly, we recently requested and were granted a pre-NDA meeting
        by the FDA to discuss the NDA submission content and plans.

        Our plan has been, and continues to be, to submit the NDA for bardoxolone in
        Alport syndrome during fourth quarter of 2020 for accelerated approval based on
        the one-year data from the Phase 3 portion of CARDINAL. If the second-year
        results are available during an acceptable time frame, we may be able to submit the
        second-year data to the NDA during the review process and before the FDA makes
        a determination about accelerated approval. This may extend the PDUFA date, but
        could also result in consideration of full approval, rather than accelerated approval.
        Alternatively, the FDA could recommend that we wait for the second-year data
        from CARDINAL to file the NDA. This would permit us to file for full approval
        but would delay the filing until the first quarter of 2021 compared to our current
        guidance of filing by the end of this year.

 Q2 2020 10-Q at 16.

        280.    Likewise, during the Q2 2020 Conference Call, Defendant Huff’s introductory

 remarks centered, from his first words, on the same regulatory update disclosed in the Q2 2020

 10-Q. Again, in Defendant Huff’s telling, the differences of opinion between the FDA and Reata

 were merely timing matters concerning when exactly the NDA should be filed:



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                  J. Warren Huff . . .

                  On today’s call, I’ll provide an update on our regulatory path for our
                  lead products bardoxolone . . . .

                   . . . I’ll begin with an update on the status of our regulatory interactions
                  with the FDA, with respect to the potential approval of bardoxolone for
                  the treatment of patients with Alport syndrome on Slide 5.

                  So following the announcement of year one data from the Phase III
                  CARDINAL study in November of 2019, we’ve been engaged with the
                  FDA to discuss the year one efficacy and safety results. We’ve had a
                  Type C meeting where the FDA expressed concern with basing an NDA
                  for accelerated approval on the year one data alone and recommended
                  that we consider submitting the NDA with the year two data. We believe
                  that their recommendation was based in part on their assumption that
                  there would not be much delay in NDA submission by waiting for the
                  year two data. The FDA invited us to address their questions and has
                  provided suggestions for additional analyses of the year one data.

                  Following the Type C meeting, we’ve had a series of interactions
                  including informal meetings and written submissions to the IND to
                  address the FDA’s questions and requested analyses raised at the
                  meeting. We delayed requesting a pre-NDA meeting while we address
                  the FDA’s review questions. We recently requested and were granted a
                  pre-NDA meeting by the FDA to discuss the NDA submission, content
                  and plans. One of the key questions to be resolved in the pre-NDA
                  meeting is how the year two data should be handled during the NDA
                  review process. Our plan has been and continues to be to submit the
                  NDA for bardoxolone in Alport syndrome during the fourth quarter of
                  this year for accelerated approval based on the one year data from the
                  Phase III portion of CARDINAL.

                  If the second year results are available during an acceptable time frame,
                  we may be able to submit the second year data during the review process
                  and before the FDA makes a determination about accelerated approval.
                  This may extend the PDUFA date, but could also result in consideration
                  of full approval rather than accelerated approval.

                  The FDA could recommend that we wait for the second year data from
                  CARDINAL to file the NDA. This would permit us to file for full
                  approval but would delay the filing until the first quarter of 2021
                  compared to our current guidance of filing by the end of this year.

 Q2 2020 Conference Call at 2-3.

        281.   The above-stated representations in the Q2 2020 10-Q and Q2 2020 Conference



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 Call were materially misleading because: (i) they characterized the matters discussed with the FDA

 during the January 2020 FDA Meeting (the “Type C meeting” referenced in the Q2 2020 10-Q

 and Q2 2020 Conference Call) as procedural, concerning merely the timing of an NDA

 (specifically, whether Reata should file an NDA immediately, for accelerated approval, based on

 the one-year retained eGFR data from CARDINAL, or whether the FDA would recommend

 waiting for the second-year CARDINAL data and then filing an NDA for full approval); when (ii)

 in fact, the matters discussed with the FDA during the January 2020 FDA Meeting were also

 substantive, and cast substantial doubt on FDA approval of any NDA, no matter its timing, based

 on CARDINAL data. The “concerns” expressed by the FDA in the January 2020 FDA Meeting

 included fundamentally substantive concerns with the adequacy of CARDINAL’s four-week

 washout period and the validity of the retained eGFR data predicated on that washout period –

 indicating that NDA approval was at mortal risk no matter the timing.

        282.    The Q2 2020 10-Q also contained FDA Guidance Representations, CARDINAL

 Retained eGFR Representations, and Prior Study Retained eGFR Representations that were

 virtually identical to those contained in the 2019 10-K and Q1 2020 10-Q:

        Bardoxolone in CKD Caused by Alport Syndrome

        We are developing bardoxolone for the treatment of patients with CKD caused by
        Alport syndrome . . . .

        . . . In November 2019, we announced that the Phase 3 portion of the CARDINAL
        study of bardoxolone in patients with CKD caused by Alport syndrome met its
        primary and key secondary Year 1 endpoints. . . . At Week 52, after 48 weeks of
        treatment and four weeks of off-treatment period, patients treated with bardoxolone
        had a statistically significant improvement compared to placebo in mean eGFR of
        5.14 mL/min/1.73 m2 (p=0.0012) . . . . . . . Based on these positive results, and
        subject to discussions with regulatory authorities, we plan to proceed with the
        submission of regulatory filings this year for marketing approval in the United
        States.

                                                ***



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        Historical Development of Bardoxolone

        Prior to our CARDINAL Phase 3 trial, clinical trials enrolling over 2,000 patients
        exposed to bardoxolone have demonstrated consistent, clinically meaningful
        improvement in kidney function . . . .

         . . . We believe these data, in addition to the CARDINAL Phase 3 one-year data,
        support the potential for bardoxolone to delay or prevent dialysis, kidney transplant,
        and death in patients with Alport syndrome and other forms of CKD.

        Additional observations from the prior clinical trials of bardoxolone include the
        following: . . .

                  •   Statistically significant improvement in eGFR during the off-treatment
                      period in BEAM, BEACON, the Phase 2 portion of CARDINAL at one
                      year, and the Phase 3 portion of CARDINAL at one year.

                         o The FDA has provided guidance to us and other sponsors that
                           clinical trials with an eGFR benefit versus placebo during the
                           off-treatment period may support approval in certain rare forms
                           of CKD. The FDA has provided guidance to us that, in patients
                           with CKD caused by Alport syndrome or ADPKD, an eGFR
                           benefit versus placebo during the off-treatment period after one
                           year of bardoxolone treatment may support accelerated approval
                           and after two years of bardoxolone treatment may support full
                           approval.

                         o We believe the eGFR benefit during the off-treatment period
                           observed in these clinical trials demonstrates that bardoxolone
                           treatment improved the structure of the kidney, modified the
                           course of the disease, and may prevent or delay kidney failure
                           and the need for dialysis or a kidney transplant.

 Q2 2020 10-Q at 20-21.

        283.      The    FDA     Guidance     Representations,    CARDINAL        Retained       eGFR

 Representations, and Prior Study Retained eGFR Representations contained in the Q2 2020 10-Q

 were materially false and/or misleading for the same reasons that the nearly identical

 representations in the 2019 10-K and Q1 2020 10-Q were false and/or misleading, set forth in ¶¶

 268-71, supra.

        284.      However, because Defendants also disclosed a modicum of negative information




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 from the Company’s January 2020 FDA Meeting (which had occurred seven months earlier),

 namely a possible delay in filing a Bard NDA, Reata’s stock price declined 33.2% on August 10,

 2020, from $156.20 per share to $104.41 per share. See Section V.B.2, infra.

         285.    The Q2 2020 10-Q also included one small disclosure change that, though all but

 imperceptible at the time, now appears striking (and is further discussed in Section V.C.7, infra

 concerning scienter). In the Q2 2020 10-Q, all references to the term “retained eGFR” – heretofore

 an absolutely critical and oft-used term in Reata’s SEC filings and other public disclosures – were

 removed, and replaced instead with the alternative terminology of “eGFR during the off-treatment

 period” or “eGFR benefit during the off-treatment period.” At the time, these alternative

 terminologies appeared effectively synonymous: “eGFR during the off-treatment period” was,

 simply, and for all the public knew, retained eGFR. However, no later than the January 2020 FDA

 Meeting, the Reata Defendants knew that a meaningful gap had opened between the two

 terminologies: eGFR at the end of CARDINAL’s four-week off-treatment period was not actually

 retained eGFR, because CARDINAL’s four-week off-treatment period was not long enough to

 allow Bard’s PD effects to fully wash out – the necessary precondition for retained eGFR.

         286.    Defendants’ terminological switch in the Q2 2020 10-Q did not provide any

 corrective disclosure. It was so subtle as to remain practically invisible, and neither analysts nor

 the financial press noticed the change at the time. Reata continued to make materially false and/or

 misleading statements and omit material information. The significance of the Reata Defendants’

 turn of phrase relates only to their scienter, which it further indicates.

                 19.     The November 9, 2020 Statements

         287.    In September 2020, Reata and the FDA met again to discuss CARDINAL and a

 potential NDA filing for Bard. The FDA again reiterated to Reata its previously-expressed

 concerns with the adequacy of CARDINAL’s washout period and hence with the validity of


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 CARDINAL’s retained eGFR data. See ¶ 111, supra. Additionally, and as in the January 2020

 FDA Meeting, the FDA expressed further concern with the high level of Bard-treated patients in

 CARDINAL who discontinued treatment within the first year and with Bard’s effects on blood

 pressure and albuminuria. Id.

        288.    On November 9, 2020, Reata: (i) issued a press release announcing third-quarter

 2020 results (the “Q3 2020 Results Release”); (ii) issued a separate press release titled “Reata

 Announces Positive Results From Year 2 of the Pivotal Phase 3 CARDINAL Study of

 Bardoxolone Methyl in Patients with Alport Syndrome,” specifically focused on presenting the

 year-two results from CARDINAL (the “CARDINAL Year 2 Results Release”); (iii) filed with

 the SEC a Form 10-Q, signed by Defendants Huff and Soni, for the third quarter of 2020 (the “Q3

 2020 10-Q”); and (iv) at 8:00 a.m. EST, hosted a conference call with analysts and investors (the

 “Q3 2020 Conference Call”).

        289.    The CARDINAL Year 2 Results Release reported that CARDINAL year-two

 results successfully met their primary and key secondary endpoints (respectively, on-treatment

 benefit to eGFR at week 100, and off-treatment retained eGFR benefit at week 104, four weeks

 after treatment ceased) and that in light of these successes, Reata would file an NDA for Bard for

 Alport. In presenting these matters, the CARDINAL Year 2 Results Release asserted CARDINAL

 Retained eGFR Representations and Bard NDA Representations:

        Reata Announces Positive Results From Year 2 of the Pivotal Phase 3
        CARDINAL Study of Bardoxolone Methyl in Patients with Alport Syndrome

        BARDOXOLONE ACHIEVED THE YEAR 2 PRIMARY AND KEY SECONDARY
        ENDPOINTS WITH STATISTICALLY SIGNIFICANT IMPROVEMENTS IN EGFR
        AS COMPARED TO PLACEBO AT WEEK 100 AND WEEK 104 . . .

        Reata Pharmaceuticals, Inc. (Nasdaq:RETA) (“Reata” or the “Company,” or “we”),
        a clinical-stage biopharmaceutical company, today announced that the Phase 3
        CARDINAL study of bardoxolone methyl (“bardoxolone”) in patients with chronic
        kidney disease (“CKD”) caused by Alport syndrome met its primary and key


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       secondary endpoints at the end of Year 2. . . . At Week 104 (four weeks after last
       dose in second year of treatment), patients in the ITT population treated with
       bardoxolone had a statistically significant improvement compared to placebo in
       mean change from baseline in eGFR of 4.3 mL/min/1.73 m2 (p=0.023).
       Bardoxolone treatment was generally reported to be well-tolerated. . . . Based on
       these positive results and following a recently completed pre-NDA meeting with
       the U.S. Food and Drug Administration (“FDA”), we plan to proceed with the
       submission of an NDA for full marketing approval in the United States in the first
       quarter of 2021. We also plan to pursue marketing approval outside of the United
       States and work has commenced on preparations to file for marketing approval in
       Europe.

                                                ***

       “The two-year CARDINAL study, now complete, represents the first time that an
       investigational medicine has shown a significant clinical benefit in this disease, and
       it marks an important step toward making a treatment available for patients with
       Alport syndrome. We look forward to submitting our New Drug Application for
       bardoxolone in the first quarter of 2021. . . . ” said Warren Huff, Reata’s President
       and Chief Executive Officer.

       290.   The Q3 2020 Results Release contained similar CARDINAL Retained eGFR

 Representations and Bard NDA Representations:

       Clinical and Regulatory Update

       Bardoxolone Methyl (“Bardoxolone”) for Alport Syndrome

       In a separate press release issued today, we announced that the Phase 3
       CARDINAL study of bardoxolone in patients with chronic kidney disease (“CKD”)
       caused by Alport syndrome met its primary and key secondary endpoints at the end
       of Year 2. . . . At Week 104 (four-weeks after last dose in second year of treatment),
       patients in the ITT population treated with bardoxolone had a statistically
       significant improvement compared to placebo in mean change from baseline in
       eGFR of 4.3 mL/min/1.73 m2 (p=0.023). Bardoxolone treatment was generally
       reported to be well-tolerated. . . .

       Based on these positive results and following a recently completed pre-New Drug
       Application (“NDA”) meeting with the U.S. Food and Drug Administration
       (“FDA”), the Company plans to proceed with the submission of an NDA for full
       marketing approval in the United States in the first quarter of 2021. We will also
       continue preparations to file for marketing approval in Europe.

       291.   The Q3 2020 10-Q also contained similar CARDINAL Retained eGFR

 Representations and Bard NDA Representations, as well as Prior Study Retained eGFR



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 Representations:

        Recent Key Developments

        Bardoxolone for CKD Caused by Alport Syndrome

        On November 9, 2020, we announced that the Phase 3 CARDINAL study of
        bardoxolone in patients with CKD caused by Alport syndrome met its primary and
        key secondary endpoints at the end of Year 2. . . . At Week 104 (four weeks after
        last dose in second year of treatment), patients in the ITT population treated with
        bardoxolone had a statistically significant improvement compared to placebo in
        mean change from baseline in eGFR of 4.3 mL/min/1.73 m2 (p=0.023).
        Bardoxolone treatment was generally reported to be well-tolerated. Based on these
        positive results and following a recently completed pre-NDA meeting with the U.S.
        Food and Drug Administration (FDA), we plan to proceed with the submission of
        an NDA for full marketing approval in the United States in the first quarter of 2021.
        We also plan to pursue marketing approval outside of the United States and work
        has commenced on preparations to file for marketing approval in Europe.

                                                ***

        Bardoxolone in CKD Caused by Alport Syndrome . . .

        On November 9, 2020, we announced that the Phase 3 CARDINAL study of
        bardoxolone in patients with CKD caused by Alport syndrome met its primary and
        key secondary endpoints at the end of Year 2. . . . At Week 104 (four weeks after
        last dose in second year of treatment), patients in the ITT population treated with
        bardoxolone had a statistically significant improvement compared to placebo in
        mean change from baseline in eGFR of 4.3 mL/min/1.73 m2 (p=0.023).

                                                ***

        We recently completed the previously announced pre-NDA meeting with the FDA
        to discuss the NDA submission content and plans. Based on that meeting and the
        FDA’s responses and the subsequently announced positive results of the Year 2
        data of the CARDINAL Phase 3 study, we plan to proceed with an NDA filing for
        full marketing approval of bardoxolone in patients with CKD caused by Alport
        syndrome in the first quarter of 2021. We will also continue preparations to file for
        marketing approval in Europe.

                                                ***

        Historical Development of Bardoxolone

        Clinical trials enrolling over 2,000 patients exposed to bardoxolone have
        demonstrated consistent, clinically meaningful improvement in kidney function . .
        ..



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         . . . We believe these data, in addition to the CARDINAL Phase 3 Year 2 data,
        support the potential for bardoxolone to delay or prevent dialysis, kidney transplant,
        and death in patients with Alport syndrome and other forms of CKD.

        Additional observations from the prior clinical trials of bardoxolone include the
        following:

                       o     . . . Statistically significant improvement in eGFR during the
                            off-treatment period in BEAM, BEACON, the Phase 2 portion
                            of CARDINAL at Year 1, and the Phase 3 portion of
                            CARDINAL at Year 2. We believe the eGFR benefit during the
                            off-treatment period observed in these clinical trials
                            demonstrates that bardoxolone treatment improved the structure
                            of the kidney, modified the course of the disease, and may
                            prevent or delay kidney failure and the need for dialysis or a
                            kidney transplant.

 Q3 2020 10-Q at 17, 19-20, 21-22.

        292.   During the Q3 2020 Conference Call, Defendants Meyer and Huff both asserted

 CARDINAL Retained eGFR Representations:

        Colin Meyer . . .

        CARDINAL also successfully met its year-two key secondary endpoint of
        improvement in eGFR at Week- 104 after approximately two years of treatment,
        followed by a 4-week off treatment period. The ITT analysis demonstrates that
        patients treated with bardoxolone experienced a statistically significant
        improvement in eGFR of 4.3 mL per minute, compared to placebo, the p-value
        equal to 0.02. This difference is over three times as large as the treatment effect
        observed with tolvaptan in the REPRISE trial in patients with ADPKD, which is a
        more slowly progressive disease. . . .

        In summary, we believe these on-treatment results demonstrate a very clinically
        meaningful treatment effect in a population that is rapidly progressing to kidney
        failure. The maintenance of the off treatment effect at year two from year one
        provides evidence of potential disease modifying activity, which could result in a
        substantially slower loss of kidney function that leaves the need for dialysis or a
        kidney transplant.

                                                 ***
        A - Warren Huff: . . .

        [R]ecall that the mechanism of action of bardoxolone is to acutely increase GFR by
        improving the surface area in the filtration apparatus of the kidney that effect is
        reversible. And the purpose of the off-treatment effect is to understand if the drug



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        has a beneficial or harmful effect on the underlying structure. And so for that
        analysis, we require that the acute reversible effect is washed out and so the change
        from Week-100 to 104 or 48 to 52 is simply due to the reversal of these acute
        improvements in surface area that are not permanent.

        And so in both the Week-52 and 104 analyses, we demonstrated twice in the trial
        significant placebo-corrected separation in the off-treatment analysis, both were
        statistically significant, both were similar magnitude. They were not significantly
        different from each other and importantly that magnitude is three times larger than
        what supported approval of tolvaptan in ADPKD, which is a more slowly
        progressive disease. You obviously don’t see a similar change from Week-48 to 52
        and 100 to 104 in placebo patients because they were receiving (inaudible) placebo.
        There is no acute effect of placebo. And so we believe this persistence of the off-
        treatment effect shows twice and confirms that the drug is having a disease
        modifying effect and therefore, it would be beneficial over the long term and that’s
        consistent with the durability of the on-treatment effect just placebo in CARDINAL
        and the continued increase above baseline in the extension trial.

 Q3 2020 Conference Call, Bloomberg transcript at 5, 18.

        293.   The November 9, 2020 assertions of CARDINAL Retained eGFR Representations

 in the CARDINAL Year 2 Results Release, Q3 2020 Results Release, Q3 2020 10-Q, and Q3 2020

 Conference Call were materially false and/or misleading. Because PD effects remained for eight

 weeks after extended Bard treatment, the use of an inadequate four-week washout period for

 retained eGFR measurement meant that: (i) CARDINAL had not actually measured what was

 claimed (i.e., retained eGFR), and instead had measured PD effects; (ii) CARDINAL’s purported

 retained eGFR results neither constituted nor measured truly retained eGFR and thus provided no

 indication of disease-modifying effects; and (iii) CARDINAL’s retained eGFR results therefore

 would not and could not provide a basis for FDA approval. See Section IV.G.3, supra.

        294.   The Prior Study Retained eGFR Representations in the Q3 2020 10-Q were

 materially false and/or misleading. In truth, because BEAM and BEACON measured retained

 eGFR after an inadequate four-week washout period, they neither measured nor evidenced any

 retained eGFR benefit or disease-modifying effects for Bard. See Sections IV.G.2-3, supra.

        295.   The November 9, 2020 assertions of Bard NDA Representations in the


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 CARDINAL Year 2 Results Release, Q3 2020 Results Release, and Q3 2020 10-Q, though

 accurate in and of themselves, were still materially misleading because they omitted to disclose

 numerous facts then known by Defendants that were highly material to evaluation of the Bard

 NDA and that indicated far greater risks to its approval than publicly understood in light of

 Defendants’ other accumulated misstatements, including:

        A. that Bard’s PD effects did not wash out quickly (per the 10-14 Day Washout

            Representations) but instead required eight weeks for washout;

        B. that as a result, the purported retained eGFR results from CARDINAL, BEAM, and

            BEACON (constantly repeated via CARDINAL Retained eGFR Representations and

            Prior Study Retained eGFR Representations) neither measured nor evidenced truly

            retained eGFR, and thus could not and did not support FDA approval; and

        C. that the FDA had repeatedly warned Reata between December 2016 and September

            2020 that it did not concur with CARDINAL’s design, that the four-week washout

            period was inadequate and/or without basis, and that retained eGFR data predicated on

            such a washout period would be invalid and incapable of supporting FDA approval.

        296.    Additionally, as the capstone to his remarks in the Q3 2020 Conference Call,

 Defendant Meyer provided a forceful and extended assertion of the 10-14 Day Washout

 Representations, and the data purportedly serving as a basis for those representations, to conclude

 that CARDINAL’s retained eGFR measurements, predicated on a four-week washout period, were

 “appropriate to assess persisting effect of bardoxolone after resolution the acute increase in

 eGFR[]”:

        Colin Meyer . . .

        Lastly, we have evaluated the time to resolution of the acute increases in eGFR
        using our integrated summary of safety data set, which contains data from over
        3,000 patients and has off-treatment values that range from one day to many weeks


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        post discontinuation. It demonstrates gradual loss of eGFR within their first two
        weeks post discontinuation that plateaus beyond day 14. In our protocol, the target
        day to collect the off-treatment eGFR value was 28 days after the last dose. Due to
        operational considerations, some of these visits happened before. Now those
        occurred after day-28. Almost all early values occurred within a few days of day-
        28 and only one bardoxolone value was collected before day-21.

        Overall, the mean and median days off drug were 35 and 28 days, respectively.
        Therefore, the off-treatment data collected during CARDINAL are appropriate to
        assess persisting effect of bardoxolone after resolution the acute increase in eGFR.
        The overall conclusions of the trial are shown on the next slide. . . . All year one
        and year two primary and key secondary efficacy endpoints were met and
        demonstrated clinically meaningful improvements in eGFR.

 Q3 2020 Conference Call, Bloomberg transcript at 9.

        297.    Defendant Meyer’s assertion and defense of the 10-14 Day Washout

 Representations during the Q3 2020 Conference Call were materially false and/or misleading. In

 truth, extended Bard treatment, such as in CARDINAL, BEAM, and BEACON, required eight

 weeks to wash out: a period at least four times longer than the represented 14 days. See Section

 IV.G.2, supra. Furthermore, the data Defendant Meyer marshalled to support the 10-14 Day

 Washout Representations was, as the FDA later explained, an unconvincing mishmash of mostly

 irrelevant data that ignored the contrary findings of the most relevant data. Id.

        298.    Finally, at the end of the Q3 2020 Conference Call, Leerink analyst Joseph

 Schwartz directly queried Defendants Huff and Meyer as to whether the FDA still maintained the

 purported guidance that the Reata Defendants had ceaselessly proclaimed throughout the Class

 Period: that retained eGFR measured “after 4 weeks of withdrawal . . . could serve as the basis for

 approval[.]” Defendant Huff, in answering “Yes, that’s our impression[]” and “yes, there has been

 no indication that they are changing their approach to the endpoints[,]” affirmatively reiterated

 FDA Guidance Representations:

        Q - Joseph Schwartz [Leerink analyst]

        Great, thanks very much and congratulations as well. I was wondering, if you could


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        expound on the feedback you received from the FDA in your pre-NDA meeting,
        when you ask them questions regarding your submission plan for clinical data. And
        based on this feedback, do you have a sense of how much the new review team
        shares, the same crew [ph] as the prior one, which provided you with the written
        guidance same as the (technical difficulty) after 4 weeks of withdrawal that’s
        greater than 2.5 mL per min could serve as the basis for approval?

        A - Warren Huff . . .

        I didn’t -- I don’t think I understood the second part of the question about the review
        teams. Could you repeat that Joe?

        Q - Joseph Schwartz

        Yeah, well, sure. I guess, the prior update on the second quarter call, I think you
        alluded to a new review team or change in review team and I know that in the past,
        you had received written guidance from the FDA with the retained benefit construct
        essentially agreed to, so I was wondering if that still seems to be the case now that
        they view that construct as sufficient for approval essentially?

        A - Warren Huff

        Yes, that’s our impression. We had a new review team and that of course meant
        that the initial review team really didn’t have familiarity with the development
        background, the pharmacology of the drug and items of that type. But yes, there
        has been no indication that they are changing their approach to the endpoints.

 Q3 2020 Conference Call, Bloomberg transcript at 19.

        299.    Defendant Huff’s affirmation of the FDA Guidance Representations during the Q3

 2020 Conference Call was materially false and/or misleading. As Defendant Huff well knew, the

 FDA had spent the last four years repeatedly communicating to Reata – in the December 2016

 Advice Letter, again in September 2018 and February 2019 communications to Reata, and yet

 again in January 2020 and September 2020 meetings with Reata – that a four-week washout period

 was inadequate and/or without basis, and that retained eGFR data predicated on such a washout

 period would not provide adequate or acceptable evidence for FDA approval. See Section IV.G.1,

 supra. Defendant Huff’s representations were further misleading for failing to disclose that: (i) in

 September 2018 and February 2019, the FDA had requested an End-of-Phase 2 meeting, and




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 stressed the importance of such a meeting and of obtaining FDA concurrence on CARDINAL, but

 Reata ignored those requests; and (ii) in the January 2020 FDA Meeting and the September 2020

 FDA meeting, the FDA expressed additional concerns with the high level of Bard-treated patients

 in CARDINAL who discontinued treatment within the first year, and with Bard’s effects on blood

 pressure and albuminuria.

        300.   Analysts and the market viewed the November 9, 2020 disclosures very positively,

 given (i) their reaffirmation of the purported FDA guidance concerning CARDINAL’s design and

 success threshold, and (ii) their indication that year-two CARDINAL data had met that stated

 threshold. For example, in his November 9, 2020 report, Leerink analyst Joseph Schwartz wrote:

        3Q20 Recap: Pos. Two-Year CARDINAL Data, Potential for Two NDAs Next
        Year

        • Bottom Line: This morning RETA announced 3Q20 financial results and
        provided investors with a clinical update for bardoxolone methyl in Alport
        syndrome (AS) and omaveloxolone in Friedreich’s ataxia (FA). . . .

        • Two-year CARDINAL data demonstrates bardoxolone’s long-term benefit
        to patients, hitting both the primary and key secondary endpoints. . . .

        • RETA appears to have had a productive pre-NDA meeting for bardoxolone
        with the FDA, and the next major hurdle to clear will be an advisory
        committee meeting. Based on management’s response to our question on the
        conference call, we are encouraged that the new review team seems to share the
        same general views as the prior review team, which provided RETA with written
        guidance that a retained eGFR benefit greater than 2.5 mL/min could support
        approval. This is reassuring in the context of the positive two-year data reported
        today and one-year data reported last year, in our view.

 Joseph P. Schwartz, 3Q20 Recap: Pos. Two-Year CARDINAL Data, Potential for Two NDAs Next

 Year, SVB SECURITIES LLC, F/K/A SVB LEERINK LLC, 1, 2 (Nov. 9, 2020).

        301.   Reata’s November 9, 2020 disclosures caused an immediate and dramatic market

 re-evaluation of Reata’s worth. Reata shares rocketed up by $42.77 per share on November 9,

 2020, to close at $174.66 per share, a one-day increase of 32.4% from the prior trading day’s



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 closing price of $131.89 per share. November 9, 2020 trading volume of 1.33 million shares more

 than quadrupled Reata’s average daily trading volume (285,461 shares per day) during the Class

 Period.

                  20.     Statements Made in Connection with Reata’s
                          December 1, 2020 Secondary Public Offering

           302.   On December 1, 2020, taking advantage of the substantial appreciation in Reata’s

 share price following the November 9, 2020 disclosure of the CARDINAL Phase 3 year-two

 results, Reata announced a secondary stock offering of 2.0 million shares. That same day, Reata

 priced, issued, and sold 2.0 million Reata shares at $140.85 per share through a secondary stock

 offering underwritten by Barclays and Goldman (the “2020 Offering”). Net proceeds to Reata

 totaled $277.8 million, after payment of $3.82 million to the 2020 Offering Underwriter

 Defendants.

           303.   The 2020 Offering shares were registered, issued, and sold pursuant to: (i) the Shelf

 Registration Statement; and (ii) a December 1, 2020 prospectus supplement (the “2020 Offering

 ProSupp” and together with the Shelf Registration Statement and documents incorporated by

 reference, the “2020 Offering Documents”).

           304.   The    2020   Offering    ProSupp     contained   CARDINAL        Retained     eGFR

 Representations, Prior Study Retained eGFR Representations, and Bard NDA Representations:

           Recent Key Developments

           Bardoxolone for CKD Caused by Alport Syndrome

           On November 9, 2020, we announced that the Phase 3 CARDINAL study of
           bardoxolone in patients with CKD caused by Alport syndrome met its primary and
           key secondary endpoints at the end of Year 2. . . . At Week 104 (four weeks after
           last dose in second year of treatment), patients in the ITT population treated with
           bardoxolone had a statistically significant improvement compared to placebo in
           mean change from baseline in eGFR of 4.3 mL/min/1.73 m2 (p=0.023).
           Bardoxolone treatment was generally reported to be well-tolerated. Based on these
           positive results and following a recently completed pre-New Drug Application


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       (NDA) meeting with the U.S. Food and Drug Administration (FDA), we plan to
       proceed with the submission of an NDA for full marketing approval in the United
       States in the first quarter of 2021. We also plan to pursue marketing approval
       outside of the United States, and work has commenced on preparations to file for
       marketing approval in Europe.

                                                ***

       Bardoxolone in CKD Caused by Alport Syndrome . . .

       On November 9, 2020, we announced that the Phase 3 CARDINAL study of
       bardoxolone in patients with CKD caused by Alport syndrome met its primary and
       key secondary endpoints at the end of Year 2. . . . At Week 104 (four weeks after
       last dose in second year of treatment), patients in the ITT population treated with
       bardoxolone had a statistically significant improvement compared to placebo in
       mean change from baseline in eGFR of 4.3 mL/min/1.73 m2 (p=0.023). . . .

       We recently completed the previously announced pre-NDA meeting with the FDA
       to discuss the NDA submission content and plans. Based on that meeting and the
       FDA’s responses and the subsequently announced positive results of the Year 2
       data of the CARDINAL Phase 3 study, we plan to proceed with an NDA filing for
       full marketing approval of bardoxolone in patients with CKD caused by Alport
       syndrome in the first quarter of 2021. We will also continue preparations to file for
       marketing approval in Europe.

                                                ***

       Historical Development of Bardoxolone

       Clinical trials enrolling over 2,000 patients exposed to bardoxolone have
       demonstrated consistent, clinically meaningful improvement in kidney function . .
       ..

        . . . We believe these data, in addition to the CARDINAL Phase 3 Year 2 data,
       support the potential for bardoxolone to delay or prevent dialysis, kidney transplant,
       and death in patients with Alport syndrome and other forms of CKD.

       Additional observations from the prior clinical trials of bardoxolone include the
       following: . . .

              •   Statistically significant improvement in eGFR during the off-treatment
                  period in BEAM, BEACON, the Phase 2 portion of CARDINAL at
                  Year 1, and the Phase 3 portion of CARDINAL at Year 2. We believe
                  the eGFR benefit during the off-treatment period observed in these
                  clinical trials demonstrates that bardoxolone treatment improved the
                  structure of the kidney, modified the course of the disease, and may
                  prevent or delay kidney failure and the need for dialysis or a kidney
                  transplant.


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 2020 Offering ProSupp at S-1, S-4 – S-5, S-6 – S-7.

        305.    The CARDINAL Retained eGFR Representations in the 2020 Offering ProSupp

 were materially false and/or misleading. Because PD effects remained for eight weeks after

 extended Bard treatment, the use of an inadequate four-week washout period for retained eGFR

 measurement meant that: (i) CARDINAL had not actually measured what was claimed (i.e.,

 retained eGFR), and instead had measured PD effects; (ii) CARDINAL’s purported retained eGFR

 results neither constituted nor measured truly retained eGFR and thus provided no indication of

 disease-modifying effects; and (iii) CARDINAL’s retained eGFR results therefore would not and

 could not provide a basis for FDA approval. See Section IV.G.3, supra.

        306.    The Bard NDA Representations in the 2020 Offering ProSupp, though accurate in

 and of themselves, were still materially misleading because they omitted to disclose numerous

 facts then known by Defendants that were highly material to evaluation of the Bard NDA and that

 indicated far greater risks to its approval than publicly understood in light of Defendants’ other

 accumulated misstatements, including:

        A. that Bard’s PD effects did not wash out quickly (per the 10-14 Day Washout

            Representations) but instead required eight weeks for washout;

        B. that as a result, the purported retained eGFR results from CARDINAL, BEAM, and

            BEACON (constantly repeated via CARDINAL Retained eGFR Representations and

            Prior Study Retained eGFR Representations) neither measured nor evidenced truly

            retained eGFR, and thus could not and did not support FDA approval; and

        C. that the FDA had repeatedly warned Reata between December 2016 and September

            2020 that it did not concur with CARDINAL’s design, that the four (4)-week washout

            period was inadequate and/or without basis, and that retained eGFR data predicated on




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            such a washout period would be invalid and incapable of supporting FDA approval.

               21.     The March 1, 2021 Statements

        307.   On or about February 25, 2021, Reata submitted the Bard NDA to the FDA.

        308.   On March 1, 2021, Reata: (i) issued a press release announcing fourth-quarter and

 full-year 2020 results (the “Q4 2020 Results Release”); (ii) issued another press release, titled

 “Reata Pharmaceuticals, Inc. Submits NDA for Company’s Lead Program: Bardoxolone in Alport

 Syndrome,” reporting that Reata had filed the Bard NDA (the “Bard NDA Release”); (iii) filed

 with the SEC a Form 10-K, signed by Defendants Huff, Soni, McClellan, McGaughy, Nielsen,

 and Rose for 2020 (the “2020 10-K”); and (iv) at 8:30 a.m. EST, hosted a conference call with

 analysts and investors (the “Q4 2020 Conference Call”).

        309.   The Q4 2020 Results Release, as its first topic, and the Bard NDA Release, as its

 entire focus, announced that Reata had filed the Bard NDA, purportedly supported by the

 CARDINAL Phase 3 data – i.e., made Bard NDA Representations:

        Recent Company Highlights

        Chronic Kidney Disease

        Bardoxolone Methyl (“Bardoxolone”) in Alport Syndrome

        Reata has submitted a New Drug Application (“NDA”) for bardoxolone in Alport
        syndrome to the U.S. Food and Drug Administration (“FDA”). This NDA
        submission is based on the efficacy and safety data from the CARDINAL Phase 3
        clinical trial . . . .

 Q4 2020 Results Release.

        Reata Pharmaceuticals, Inc. Submits NDA for Company’s Lead Program:
        Bardoxolone in Alport Syndrome

        Reata . . . today announced that it has submitted a New Drug Application (“NDA”)
        for bardoxolone methyl (“bardoxolone”) for the treatment of chronic kidney disease
        (“CKD”) caused by Alport syndrome to the U.S. Food and Drug Administration
        (“FDA”).

        This NDA submission is based on the efficacy and safety data from the


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        CARDINAL Phase 3 clinical trial.

 Bard NDA Release.

        310.   The 2020 10-K contained Bard NDA Representations, FDA Guidance

 Representations, CARDINAL Retained eGFR Representations, and Prior Study Retained eGFR

 Representations:

        Bardoxolone for CKD Caused by Alport Syndrome . . .

        On November 9, 2020, we announced the results of Year 2 of the Phase 3
        CARDINAL study of bardoxolone in patients with CKD caused by Alport
        syndrome. The study met its primary and key secondary endpoints at the end of the
        study following two years of treatment (referred to as Year 2). . . . Together, these
        data suggest that bardoxolone treatment has beneficial long-term effects on kidney
        function in patients with Alport syndrome.

        Based on these positive results, and following a pre-NDA meeting with the FDA,
        we submitted a New Drug Application (NDA) with the FDA for full marketing
        approval in the United States. We also plan to pursue marketing approval outside
        of the United States, and work has commenced on preparations to file for marketing
        approval in Europe. We plan to submit a Marketing Authorization Application
        (MAA) with the European Medicines Agency (EMA) in the fourth quarter of 2021
        for marketing approval of bardoxolone for the treatment of CKD caused by Alport
        syndrome in Europe.

                                                ***

        Prior to our CARDINAL Phase 3 trial, clinical trials enrolling over 2,000 patients
        exposed to bardoxolone have demonstrated consistent, clinically meaningful
        improvement in kidney function . . . .

         . . . We believe these data, in addition to the CARDINAL Phase 3 data, support the
        potential for bardoxolone to delay or prevent GFR declines that cause the need for
        dialysis or kidney transplant, and eventually death in patients with Alport syndrome
        and other forms of CKD.

        Additional observations from the prior clinical trials of bardoxolone include the
        following: . . .

               •    Statistically significant improvement in eGFR above baseline or versus
                    placebo during the off-treatment period in BEAM, BEACON, the Phase
                    2 portion of CARDINAL at one year, and the Phase 3 portion of
                    CARDINAL at one and two years.

                       o The FDA has provided guidance to us and other sponsors that


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                          clinical trials with an eGFR benefit versus placebo during the
                          off-treatment period may support approval in certain rare forms
                          of CKD.

                      o We believe that the increase in off-treatment eGFR relative to
                        placebo shows that increases in eGFR due to bardoxolone over
                        longer durations do not have detrimental effects on kidney
                        function. Most importantly, the observed eGFR benefit versus
                        placebo during the off-treatment periods in these clinical trials
                        demonstrates that bardoxolone treatment may have resulted in
                        structural improvement, modifying the course of the disease, and
                        delaying the need for dialysis or kidney transplant.

       Bardoxolone in Patients with CKD Caused by Alport Syndrome . . .

       On November 9, 2020, we announced that the Phase 3 CARDINAL study met its
       primary and key secondary endpoints at the end of Year 2. . . .

       At Week 104 (four weeks after last dose in second year of treatment), patients in
       the ITT population treated with bardoxolone had a statistically significant
       improvement compared to placebo in mean change from baseline in eGFR of 4.3
       mL/min/1.73 m2 (p=0.023). . . .

       We submitted to the FDA our NDA filing for full marketing approval of
       bardoxolone in patients with CKD caused by Alport syndrome. In the fourth quarter
       of 2021, we plan to submit to the EMA an MAA filing for full approval of
       bardoxolone for the treatment of CKD caused by Alport syndrome.

       CARDINAL Year 1 results:

       The results of the Year 2 of the CARDINAL Phase 3 study are consistent with the
       results from Year 1. . . .

       The key secondary endpoint for the study was the change in eGFR at 52 weeks,
       after 48 weeks of treatment and four weeks of off-treatment period. At Week 52,
       patients treated with bardoxolone had a statistically significant improvement
       compared to placebo in mean eGFR of 5.14 mL/min/1.73 m2 (p=0.0012) during
       the off-treatment period. Patients treated with bardoxolone experienced a
       nonsignificant decline from baseline in mean eGFR of -0.96 mL/min/1.73 m2
       (p=0.45), while patients treated with placebo experienced a statistically significant
       decline from baseline in mean eGFR of -6.11 mL/min/1.73 m2 (p<0.0001) during
       the off-treatment period. Similar efficacy at Week 48 and Week 52 was observed
       across multiple subgroups, including among pediatric patients.




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 2020 10-K at 7, 15-16, 16-21.

        311.   During the Q4 2020 Conference Call, Defendant Meyer asserted at length that the

 data submitted by Reata in the Bard NDA, including the CARDINAL results and prior study

 results, supported FDA approval – and, in so doing, reiterated CARDINAL Retained eGFR

 Representations, Prior Study Retained eGFR Representations, and Bard NDA Representations:

                   Our NDA contains data from three separate Alport syndrome trials that
                   contain just under 200 unique patients, including the Phase 2 and Phase
                   3 CARDINAL studies, as well as the ongoing EAGLE open-label
                   extension study that is continuing to accumulate data. . . .

                   Next slide. Unlike most, where disease development programs that
                   contain a relatively small data sets, based on the extensive development
                   history our NDA concerns data from multiple clinical trials and disease
                   states that have enrolled over 3,000 patients . . . .

                    . . . Prior to our Alport syndrome trials, we have shown sustained
                   improvements in eGFR for a year and significant improvements and off-
                   treatment eGFR in two prior trials.

                                                     ***

                   As shown on the following slide and previously discussed CARDINAL
                   also met its key secondary off treatment endpoints. The persisting
                   significant increase in eGFR following washout observed twice in


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                    CARDINAL provides evidence that the on-treatment eGFR
                    improvement is consistent with a beneficial and not harmful profile.
                    While we believe the on-treatment effect represents the clinical benefits,
                    the off-treatment improvements demonstrate disease modification.

 Q4 2020 Conference Call, Bloomberg transcript at 3-4.

        312.    The March 1, 2021 assertions of Bard NDA Representations in the Bard NDA

 Release, the Q4 2020 Results Release, the 2020 10-K, and the Q4 2020 Conference Call were

 materially misleading because they omitted to disclose numerous facts then known by Defendants

 that were highly material to the evaluation of the Bard NDA and that indicated far greater risks to

 its approval than publicly understood in light of Defendants’ other misstatements, including:

        A. that Bard’s PD effects did not wash out quickly (per the 10-14 Day Washout

            Representations), but instead required eight weeks for washout;

        B. that as a result, the purported retained eGFR results from CARDINAL, BEAM, and

            BEACON (constantly repeated via CARDINAL Retained eGFR Representations and

            Prior Study Retained eGFR Representations) neither measured nor evidenced truly

            retained eGFR, and thus could not and did not support FDA approval; and

        C. that the FDA had repeatedly warned Reata between December 2016 and September

            2020 that it did not concur with CARDINAL’s design, that the four-week washout

            period was inadequate and/or without basis, and that retained eGFR data predicated on

            such a washout period would be invalid and incapable of supporting FDA approval.

        313.    The March 1, 2021 assertions of CARDINAL Retained eGFR Representations in

 the 2020 10-K and Q4 2020 Conference Call were materially false and/or misleading. Because PD

 effects remained for eight weeks after extended Bard treatment, the use of an inadequate four-

 week washout period for retained eGFR measurements meant that: (i) CARDINAL had not

 actually measured what was claimed (i.e., retained eGFR), and instead had measured PD effects;



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 (ii) CARDINAL’s purported retained eGFR results neither constituted nor measured truly retained

 eGFR and thus provided no indication of disease-modifying effects; and (iii) CARDINAL’s

 retained eGFR results therefore would not and could not provide a basis for FDA approval. See

 Section IV.G.3, supra.

        314.   The March 1, 2021 assertions of Prior Study Retained eGFR Representations in the

 2020 10-K and Q4 2020 Conference Call were materially false and/or misleading. In truth, because

 BEAM and BEACON measured retained eGFR after an inadequate four-week washout period,

 they neither measured nor evidenced any retained eGFR benefit or disease-modifying effects for

 Bard. See Sections IV.G.2-3, supra.

        315.   The FDA Guidance Representations in the 2020 10-K were materially false and/or

 misleading. Specifically, the claims of acting in accord with FDA “guidance” purportedly

 supporting (i) use of a four-week washout period and (ii) the resulting retained eGFR as a basis

 for FDA approval, were materially misleading for failing to disclose that Reata had not in fact

 obtained FDA concurrence on these matters. See Section IV.G.1, supra. Defendants failed to

 disclose that the FDA had repeatedly warned Reata – beginning with the FDA’s December 2016

 Advice Letter, again in February 2019, and yet again in the January 2020 FDA Meeting and a

 September 2020 FDA meeting – that it did not concur with CARDINAL’s design, that the four-

 week washout period was inadequate and/or without basis, and that retained eGFR data predicated

 on such a washout period would be invalid and incapable of supporting FDA approval. Id. The

 representations were further misleading for failing to disclose that: (i) in September 2018 and

 February 2019, the FDA had requested an End-of-Phase 2 meeting and stressed the importance of

 such a meeting and of obtaining FDA concurrence on CARDINAL, but Reata ignored those

 requests; and (ii) in the January 2020 FDA Meeting and the September 2020 FDA meeting, the




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 FDA expressed additional concerns with the high level of Bard-treated patients in CARDINAL

 who discontinued treatment within the first year, and with Bard’s effects on blood pressure and

 albuminuria.

        316.    Additionally, the 2020 10-K included a new subsection, titled “Potential Review

 Topics,” that focused on the Bard NDA and presented several “potential NDA review topics” with

 respect to the Bard NDA and “how [Reata] plan[ned] to respond” on each topic. See 2020 10-K at

 21-24. In this subsection, and under the topic identified as “Resolution of Acute Pharmacodynamic

 Effects,” the 2020 10-K explained that measuring truly retained eGFR required that the “acute

 increases in eGFR must be resolved” (i.e., Bard’s PD effects) prior to measurement (i.e., Bard

 must be washed out), “so that only the persisting, irreversible effect on kidney function is

 assessed.” Id. at 23. However, the 2020 10-K thereafter reiterated 10-14 Day Washout

 Representations to assert that this was the case for Bard and in CARDINAL (the “off-treatment

 window used in CARDINAL is sufficient for resolution of acute PD changes in eGFR[]”):

        Potential Review Topics

        Below is a discussion of potential NDA review topics and how we plan to respond.
        This list is not comprehensive, and other matters may arise during the NDA review
        process.

                                                 ***

        Resolution of Acute Pharmacodynamic Effects

        An off-treatment assessment was conducted after one and two years of treatment in
        the CARDINAL trial to characterize the impact of bardoxolone on the structure of
        the kidney. This assessment was intended to determine if bardoxolone improves the
        structure of the kidney, which would be consistent with disease-modifying activity.
        To perform this assessment, the acute increases in eGFR must be resolved so that
        only the persisting, irreversible effect on kidney function is assessed. In the clinical
        trial protocol, the target day for assessment of off-treatment eGFR was 28 days after
        the last dose, and the window in the Statistical Analysis Plan (SAP) allowed values
        as early as 14 days after the last dose to contribute to the analysis.

        The assessment of eGFR changes in the SAP after the last dose in CARDINAL


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         allowed for sufficient drug washout and resolution of acute pharmacodynamic
         effects. Based on the drug’s half-life of approximately 48 hours, 14 days represents
         seven half-lives, and by this time >99% of bardoxolone has been cleared, and there
         are no active metabolites. The time to resolution of the acute increases in eGFR was
         also evaluated using the integrated summary of safety (ISS) dataset, which contains
         data from over 3,000 patients and has off-treatment values that range from one day
         to many weeks post-discontinuation. Analyses of available serial off-treatment
         eGFR values in these patients demonstrate bardoxolone’s resolution of acute
         pharmacodynamic (PD) effect occurs during the initial 14-day post-dose period.
         The resolution of PD effects on eGFR within 14 days after the last dose was also
         supported by analyses using all off-treatment eGFR values in the ISS dataset
         (n=652) collected between one to <42 days after the last dose from all completed
         bardoxolone trials that were not terminated prematurely. The collective multiple
         lines of evidence, including clinical eGFR data, clinical PK data, clinical and
         nonclinical PD data, and robust population PK and exposure-response modeling,
         strongly support the conclusion that bardoxolone’s acute PD effects on eGFR are
         resolved within 14 days after stopping treatment. Consequently, for the purposes of
         evaluating bardoxolone’s effect on the irreversible loss of kidney function, the off-
         treatment window used in CARDINAL is sufficient for resolution of acute PD
         changes in eGFR.

 2020 10-K at 21, 23.

         317.    The 10-14 Day Washout Representations contained in the 2020 10-K were

 materially false and/or misleading. In truth, extended Bard treatment, such as in CARDINAL,

 BEAM, and BEACON, required eight weeks to wash out: a period at least four times longer than

 the represented 14 days. See Section IV.G.2, supra.

         318.    The 2020 10-K contained Risk Factor Disclosures that were: (i) substantively

 identical, in relevant part, to those in the 2016 10-K (see ¶ 177, supra); and (ii) inadequate and

 materially misleading. See 2020 10-K at 63-64, 85-86. They inaccurately described certain risks –

 specifically, that the FDA might not approve Bard due to “inadequate design or implementation

 of our clinical trials[,]” failure to demonstrate Bard’s “safety and efficacy . . .[] to the satisfaction

 of the relevant regulatory authorities[,]” and FDA disagreement “that our completed clinical trials

 provide adequate data on safety or efficacy[]” – as potential risks, stated in a generalized and

 hypothetical manner, while omitting to disclose material then-existing facts – such as the FDA’s



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 December 2016 Advice Letter, the FDA’s September 2018 and February 2019 communications,

 the January 2020 FDA Meeting and the September 2020 FDA meeting – indicating that these risks

 were actually materializing.

                  22.    The April 26, 2021 Statements

        319.      On April 26, 2021, Reata issued a press release announcing the FDA’s formal

 acceptance of the Bard NDA, and disclosing (i) that FDA review would proceed under a standard

 rather than a priority review timeline, and (ii) that the FDA planned to hold an Advisory Committee

 meeting in connection with its review of the Bard NDA. The April 26, 2021 press release contained

 Bard NDA Representations and CARDINAL Retained eGFR Representations, and stated in

 relevant part:

        About the CARDINAL Clinical Study . . .

        The key secondary endpoint for Year 2 of the study was the change from baseline
        in eGFR at Week 104 (four weeks after the last dose in second year of treatment).

        Results from CARDINAL demonstrated that patients treated with bardoxolone
        experienced a statistically significant improvement in kidney function as measured
        by eGFR at Week 100 and Week 104, compared to patients treated with placebo.
        Bardoxolone was generally reported to be well tolerated in this study . . . .

        320.      The Bard NDA Representations in the April 26, 2021 press release, though accurate

 in and of themselves, were still materially misleading because they omitted to disclose numerous

 facts then known by Defendants that were highly material to evaluation of the Bard NDA and that

 indicated far greater risks to its approval than publicly understood in light of Defendants’ other

 accumulated misstatements, including:

        A. that Bard’s PD effects did not wash out quickly (per the 10-14 Day Washout

            Representations), but instead required eight weeks for washout;

        B. that as a result, the purported retained eGFR results from CARDINAL, BEAM, and

            BEACON (constantly repeated via CARDINAL Retained eGFR Representations and


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            Prior Study Retained eGFR Representations) neither measured nor evidenced truly

            retained eGFR, and thus could not and did not support FDA approval; and

        C. that the FDA had repeatedly warned Reata between December 2016 and September

            2020 that it did not concur with CARDINAL’s design, that the four-week washout

            period was inadequate and/or without basis, and that retained eGFR data predicated on

            such a washout period would be invalid and incapable of supporting FDA approval.

        321.    The CARDINAL Retained eGFR Representations in the April 26, 2021 press

 release were materially false and/or misleading. Because PD effects remained for eight weeks after

 extended Bard treatment, the use of an inadequate four-week washout period for retained eGFR

 measurements meant that: (i) CARDINAL had not actually measured what was claimed (i.e.,

 retained eGFR), and instead had measured PD effects; (ii) CARDINAL’s purported retained eGFR

 results neither constituted nor measured truly retained eGFR and thus provided no indication of

 disease-modifying effects; and (iii) CARDINAL’s retained eGFR results therefore would not and

 could not provide a basis for FDA approval. See Section IV.G.3, supra.

        322.    Reata shares reacted positively to the April 26, 2021 statements, rising $11.66 per

 share from their prior closing of $88.41 per share on April 23, 2021 to close trading on April 26,

 2021 at $100.07 per share, representing a one-day increase of 13.2%.

                23.     The May 6, 2021 Statements

        323.    On May 6, 2021, Reata: (i) issued a press release announcing first-quarter 2021

 results (the “Q1 2021 Results Release”); (ii) filed with the SEC a Form 10-Q, signed by Defendants

 Huff and Soni, for the first quarter of 2021 (the “Q1 2021 10-Q”); and (iii) at 8:30 a.m. EST, hosted

 a conference call with analysts and investors (the “Q1 2021 Conference Call”).

        324.    The Q1 2021 Press Release contained Bard NDA Representations:




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       Recent Company Highlights

       Bardoxolone Methyl (“Bardoxolone”) in Patients with Alport Syndrome

       In April 2021, we announced that the U.S. Food and Drug Administration (“FDA”)
       accepted for filing Reata’s New Drug Application (“NDA”) for bardoxolone for the
       treatment of patients with chronic kidney disease (“CKD”) caused by Alport
       syndrome. The FDA will review the application under a Standard Review timeline.
       The Prescription Drug User Fee Act (“PDUFA”) date, the FDA action date for the
       application, is scheduled for February 25, 2022. The FDA also advised us that it is
       currently planning to hold an Advisory Committee meeting to discuss the
       application. If approved, bardoxolone may become the first therapy specifically
       indicated for the treatment of CKD caused by Alport syndrome.

       “We made significant progress during the first quarter of 2021 with the submission
       of our NDA for bardoxolone for the treatment of CKD caused by Alport syndrome
       coming less than four months after reporting positive results from Year 2 of our
       Phase 3 CARDINAL trial,” said Warren Huff, Reata’s President and Chief
       Executive Officer. “. . . We are pleased with the FDA’s recent decision to accept
       our application for filing and look forward to continuing to work with the FDA
       during its review of our application.”

       325.   The Q1 2021 10-Q contained Bard NDA Representations and CARDINAL

 Retained eGFR Representations:

       Recent Key Developments

       Bardoxolone in Patients with CKD Caused by Alport Syndrome

       On April 26, 2021, we announced that the U.S. Food and Drug Administration
       (FDA) accepted for filing the New Drug Application (NDA) for bardoxolone for
       the treatment of patients with CKD caused by Alport syndrome. The FDA will
       review the application under a Standard Review timeline. The Prescription Drug
       User Fee Act (PDUFA) date, the FDA action date for the application, is scheduled
       for February 25, 2022. The FDA also advised us that it is currently planning to hold
       an Advisory Committee meeting to discuss the application.

       Our NDA submission was based on the results of Year 2 of the Phase 3
       CARDINAL study of bardoxolone in patients with CKD caused by Alport
       syndrome announced in November 2020. The study met its primary and key
       secondary endpoints following two years of treatment (referred to as Year 2).
       Moreover, we also announced that patients who completed one year in the EAGLE
       long-term extension study and were treated with bardoxolone for a total of three
       years (n=14) showed a sustained and significant increase from baseline in estimated
       glomerular filtration rate (eGFR). Together, these data suggest that bardoxolone
       treatment has beneficial long-term effects on kidney function in patients with



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        Alport syndrome.

                                                ***

        On April 26, 2021, we announced that the FDA accepted for filing the NDA for
        bardoxolone for the treatment of patients with CKD caused by Alport syndrome.
        The FDA will review the application under a Standard Review timeline. The
        PDUFA date, the FDA action date for the application, is scheduled for February
        25, 2022. The FDA also advised us that it is currently planning to hold an Advisory
        Committee meeting to discuss the application. We also plan to pursue marketing
        approval outside of the United States. We plan to submit a MAA with the EMA in
        the fourth quarter of 2021 for marketing approval of bardoxolone for the treatment
        of CKD caused by Alport syndrome in the European Union.

 Q1 2021 10-Q at 16, 18-19.

        326.   The Q1 2021 10-Q also contained Prior Study Retained eGFR Representations and

 FDA Guidance Representations:

        Historical Development of Bardoxolone

        Prior to our CARDINAL Phase 3 trial, clinical trials enrolling over 2,000 patients
        exposed to bardoxolone have demonstrated consistent, clinically meaningful
        improvement in kidney function . . . .

         . . . We believe these data, in addition to the CARDINAL Phase 3 data, support the
        potential for bardoxolone to delay or prevent GFR declines that cause the need for
        dialysis or kidney transplant, and eventually death in patients with Alport syndrome
        ....

        Additional observations from the prior clinical trials of bardoxolone include the
        following: . . .

               •   Statistically significant improvement in eGFR above baseline or versus
                   placebo during the off-treatment period in BEAM, BEACON, the Phase
                   2 portion of CARDINAL at one year, and the Phase 3 portion of
                   CARDINAL at one and two years.

                       o The FDA has provided guidance to us and other sponsors that
                         clinical trials with an eGFR benefit versus placebo during the
                         off-treatment period may support approval in certain rare forms
                         of CKD.

                       o We believe that the increase in off-treatment eGFR relative to
                         placebo shows that increases in eGFR due to bardoxolone over
                         longer durations do not have detrimental effects on kidney
                         function. Most importantly, the observed eGFR benefit versus


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                            placebo during the off-treatment periods in these clinical trials
                            demonstrates that bardoxolone treatment may have resulted in
                            structural improvement, modifying the course of the disease, and
                            delaying the need for dialysis or kidney transplant.

 Q1 2021 10-Q at 21-22.

        327.   Defendant Huff began the Q1 2021 Conference Call with Bard NDA

 Representations, noting that he and other Reata executives had been “actively preparing for . . .

 the last several months” for the FDA’s AdCom Meeting and adding that such preparations and the

 AdCom Meeting would be a “key focus” for Reata executives during 2021:

        J. Warren Huff

        Good morning, everyone, and thank you for joining us today. We have a number
        of updates that we’re excited to share with you this morning. We’ll start on Slide
        4. First off, we’re pleased with the US Food and Drug Administration’s recent
        decision to accept our filing of our New Drug Application for bardoxolone for the
        treatment of patients with Chronic Kidney Disease caused by Alport syndrome. The
        FDA will review the application under Standard Review timeline and it assigned a
        PDUFA date for the application of February 25th, 2022. The FDA also advised us
        that it is planning to hold an Advisory Committee meeting to discuss the
        application. We’ve been actively preparing for this meeting the last several months,
        and it will be a key focus for our team during the year.

 Q1 2021 Conference Call, Bloomberg transcript at 2.

        328.   After Defendant Huff’s introductory remarks, Defendant Meyer then again

 presented Reata’s case for Bard and its approval, reiterating CARDINAL Retained eGFR

 Representations and Prior Study Retained eGFR Representations within his larger comments

 concerning Bard’s efficacy and safety:

        Colin Meyer . . .

        We have also demonstrated a persisting increase after withdrawing eGFR versus
        placebo after year 1 and year 2 in the Phase 3 CARDINAL trial. And we believe
        this increase is due to the anti-fibrotic effects of bardoxolone and is consistent with
        the disease modifying profile. These off treatment improvements also validate that
        the large durable on-treatment increases in eGFR are beneficial.

        When we analyze the off-treatment data using a longitudinal analysis to compute


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        off-treatment slopes, as opposed to calculating changes at discrete time points, we
        have demonstrated that there is a reduction in progression by approximately 50%
        in the bardoxolone treated patients compared to placebo treated patients. The data
        from the CARDINAL trial are also supported by data from the BEAM and
        BEACON diabetic CKD trials, that also demonstrated significant on and off-
        treatment improvements in eGFR relative to placebo. Overall, the clinical profile
        of bardoxolone is well-characterized and the on and off-treatment differences in
        eGFR observed in the pivotal Phase 3 CARDINAL trial, demonstrate a meaningful
        benefit in patients with one of the most rapidly progressive forms of CKD.

 Q1 2021 Conference Call, Bloomberg transcript at 4-6.

        329.    The May 6, 2021 assertions of CARDINAL Retained eGFR Representations in the

 Q1 2021 Results Release, Q1 2021 10-Q, and Q1 2021 Conference Call were materially false

 and/or misleading. Because PD effects remained for eight weeks after extended Bard treatment,

 the use of an inadequate four-week washout period for retained eGFR measurement meant that:

 (i) CARDINAL had not actually measured what was claimed (i.e., retained eGFR), and instead

 had measured PD effects; (ii) CARDINAL’s purported retained eGFR results neither constituted

 nor measured truly retained eGFR and thus provided no indication of disease-modifying effects;

 and (iii) CARDINAL’s retained eGFR results therefore would not and could not provide a basis

 for FDA approval. See Section IV.G.3, supra.

        330.    The May 6, 2021 assertions of Prior Study Retained eGFR Representations in the

 Q1 2021 10-Q and Q1 2021 Conference Call were materially false and/or misleading. In truth,

 because BEAM and BEACON measured retained eGFR after an inadequate four-week washout

 period, they neither measured nor evidenced any retained eGFR benefit or disease-modifying

 effects for Bard. See Sections IV.G.2-3, supra.

        331.    The May 6, 2021 assertions of Bard NDA Representations in the Q1 2021 Results

 Release, Q1 2021 10-Q, and Q1 2021 Conference Call, though accurate in and of themselves, were

 still materially misleading because they omitted to disclose numerous facts then known by

 Defendants that were highly material to evaluation of the Bard NDA and that indicated far greater


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 risks to its approval than publicly understood in light of Defendants’ other accumulated

 misstatements, including:

        A. that Bard’s PD effects did not wash out quickly (per the 10-14 Day Washout

            Representations), but instead required eight weeks for washout;

        B. that as a result, the purported retained eGFR results from CARDINAL, BEAM and

            BEACON (constantly repeated via CARDINAL Retained eGFR Representations and

            Prior Study Retained eGFR Representations) neither measured nor evidenced truly

            retained eGFR, and thus could not and did not support FDA approval; and

        C. that the FDA had repeatedly warned Reata between December 2016 and September

            2020 that it did not concur with CARDINAL’s design, that the four-week washout

            period was inadequate and/or without basis, and that retained eGFR data predicated on

            such a washout period would be invalid and incapable of supporting FDA approval.

        332.   The FDA Guidance Representations in the Q1 2021 10-Q were materially false

 and/or misleading. Specifically, the claims of acting in accord with FDA “guidance” purportedly

 supporting (i) use of a four-week washout period and (ii) the resulting retained eGFR as a basis

 for FDA approval, were materially misleading for failing to disclose that Reata had not obtained

 FDA concurrence on these matters. See Section IV.G.1, supra. Defendants failed to disclose that

 the FDA had repeatedly warned Reata – beginning with the FDA’s December 2016 Advice

 Letter, again in February 2019, and yet again in the January 2020 FDA Meeting and in a September

 2020 FDA meeting – that it did not concur with CARDINAL’s design, that the four-week washout

 period was inadequate and/or without basis, and that retained eGFR data predicated on such a

 washout period would be invalid and incapable of supporting FDA approval. Id. The

 representations were further misleading for failing to disclose that: (i) in September 2018 and




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 February 2019, the FDA had requested an End-of-Phase 2 meeting, and stressed the importance of

 such a meeting and of obtaining FDA concurrence on CARDINAL, but Reata ignored those

 requests; and (ii) in the January 2020 FDA Meeting and the September 2020 FDA meeting, the

 FDA expressed additional concerns with the high level of Bard-treated patients in CARDINAL

 who discontinued treatment within the first year, and with Bard’s effects on blood pressure and

 albuminuria.

        333.    Additionally, during the Q&A portion of the Q1 2021 Conference Call, the first

 analyst question requested Defendants Huff and/or Meyer to identify the key issues they believed

 they would face at the AdCom Meeting for the Bard NDA, and what responses Reata had prepared.

 In his somewhat confused response, Defendant Huff first suggested that Reata would face “just

 the known issues around our program[,]” then proposed something only marginally more concrete

 – the novelty of Bard’s theorized mechanism of action – and finally linked this novelty to

 CARDINAL’s initial study design and its retained eGFR endpoint:

        Q - Yigal Nochomovitz [Citigroup analyst]

        Hi Warren and team, good morning. Congrats on the NDA acceptance for the
        Alport syndrome, and thanks for taking the questions. So, you mentioned Warren
        in the prepared remarks that you’ve been actively preparing for the Adcom, over
        the past several months. So could you discuss what you believe will be the key
        issues you expect to be raised by the Advisory Committee regarding the
        bardoxolone clinical program in Alport and how you are preparing to address these
        issues? Thank you.

        A - J. Warren Huff

        Yes, sure, Yigal. Thanks for that. Yes, I think that the -- we’ve been, as I mentioned,
        in active preparation, with first class outside help in review and of course, have
        gotten food review of the data and program by many outside key opinion leaders,
        as well as the advisors that I mentioned. I think the issues that we anticipate are
        basically just the known issues around our program. Bardoxolone is a new
        molecular entity with a novel mechanism of action. It has a very different
        mechanism than the agents that have previously been approved in the CKD space,
        like blood pressure medications and the SGLT2 inhibitors. It directly treats the
        inflammatory processes. We see nice improvements in GFR that are, have not been


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         observed too frequently. Obviously, the effect of those was a key feature of the
         design at the clinical program, the off-treatment of key secondary analysis. I think
         that that -- that those issues will be kind of the key issues that will be explored in
         the -- in the -- in the review process, and at the Adcom.

 Q1 2021 Conference Call, Bloomberg transcript at 10-11.

         334.       Defendant Huff’s above-specified answer was materially false and/or misleading.

 In a somewhat stumbling fashion, it ultimately landed on CARDINAL’s retained eGFR results but

 presented those results positively (“nice improvements in GFR that are, have not been observed

 too frequently”) while omitting the fundamental and severe problems arising from CARDINAL’s

 inadequate four-week washout period, that rendered CARDINAL’s purported retained eGFR

 results invalid.

         335.       Relatedly, towards the close of the Q1 2021 Conference Call, another analyst

 proposed a concrete issue that “we along with most everyone else . . . expected . . . to be front and

 center at the AdCom[]” Meeting – the possibility that Bard was boosting eGFR through

 hyperfiltration – and asked Huff and Meyer how they could respond to the FDA on this issue.

 Defendant Huff, noting that Reata had spent the last decade working on decoding Bard’s

 mechanism of action and that he had discussed this issue “on many calls over the past few years,”

 provided a lengthy and forceful response. Reiterating the CARDINAL Retained eGFR

 Representations, Defendant Huff explained that the inclusion of a retained eGFR endpoint in

 CARDINAL was designed to test and evidence this very issue, and that CARDINAL’s retained

 eGFR results provided a conclusive answer demonstrating that Bard was beneficial, rather than

 harmful via any hyperfiltration:

         A - J. Warren Huff

         Yes. So, we obviously, as I talked about on many calls over the past few years,
         we’ve spent literally over a decade to characterize, since the novel profile of
         bardoxolone. . . .



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        And so, from our perspective, we’ve thoroughly characterized the specific
        mechanism of action in relevant animal models and there is actually no controversy
        about what the drug is doing. . . .

        And so, in FDA’s view and the view of the National Kidney Foundation’s working
        group with FDA and EMA, in settings where there is an acute effect of a drug, that
        either increases or decreases GFR, the way to appropriately assess for any disease
        modifying activity, is to withdraw the drug, which we’ve done twice in the Alport
        syndrome trial, and both times have demonstrated a persisting increase in GFR
        versus placebo, which not only [rules] out harm, but it validates that the on-
        treatment changes are beneficial and recall, that they’re sustained for two years
        versus placebo and three years in the ongoing extension study.

        The one known profile of hyperfiltration is with amlodipine, a specific type of
        calcium channel blocker, that in a study called ASK resulted in a very small
        transient increase in GFR that peaked at month-six and was lost after that. And so,
        the profile is very different, we observed sustained large increases for three years.
        And once again, the purpose of the off-treatment endpoint was to address this very
        question. And so once again, I think clinically, this is well described, yes
        hyperfiltration, they come up, but we think we have literally spent years to address
        this question both mechanistically and clinically.

        Q - Nick Rubino

        Great. That was a -- that was an awesome review. Thank you.

 Q1 2021 Conference Call, Bloomberg transcript at 13-14.

        336.   Defendant Huff’s above-identified reiteration of the CARDINAL Retained eGFR

 Representations was materially false and/or misleading. Because PD effects remained for eight

 weeks after extended Bard treatment, the use of an inadequate four-week washout period for

 retained eGFR measurement meant that: (i) CARDINAL had not actually measured what was

 claimed (i.e., retained eGFR), and instead had measured PD effects; (ii) CARDINAL’s purported

 retained eGFR results neither constituted nor measured truly retained eGFR and thus provided no

 indication of disease-modifying effects; and (iii) CARDINAL’s retained eGFR results therefore

 would not and could not provide a basis for FDA approval. See Section IV.G.3, supra.

        337.   Finally, the last question on the Q1 2021 Conference Call was from Leerink analyst

 Joseph Schwartz, who asked, with respect to the Bard NDA, whether Reata was still confident that


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 it was “on the same page” with the FDA with respect to the FDA’s purported guidance. In his

 affirmative response, Defendant Meyer reiterated FDA Guidance Representations, insisting: (i)

 that Reata had done exactly what the FDA had asked, and had designed CARDINAL in full accord

 with the FDA’s guidance; and (ii) that Reata had been “transparent” with respect to its discussions

 with the FDA concerning testing Bard as a treatment for Alport, going back all the way to the

 initial pre-IND meetings in 2016:

        Q - Joseph Schwartz [Leerink analyst]

        Hi, thanks and best wishes heading into a couple of very important FDA meetings
        soon. I was actually hoping to ask on both of them, for Bard and Omav. First on
        Bard, the FDA seems to be making life difficult for many sponsors lately by taking
        issue with things that seem to be taken for granted in the past. So, how confident
        are you that you’re on the same page with the division reviewing bardoxolone and
        that you follow their guidance to a T, because this increasingly seems like it would
        be required to bring any new markets -- drugs to market nowadays?

        A - Colin Meyer

        Joe, so I think that we’ve been transparent with our discussions with the agency
        dating back to our pre-IND meeting with Alport syndrome, which we had in 2016.
        They gave us the design for the Alport syndrome trial, which we’ve executed. . . .

        And so from our perspective, the design is what they told us to do. We’ve executed
        it. We don’t believe there is any discrepancies between what they told us to do and
        what we’ve executed. From an analysis perspective, we defined a statistical analysis
        plan. Of course, we have filed it with -- with FDA, being transparent in the way
        that we analyze the data.

        So, I think that we’ve done all that we can do to transparently conduct and analyze
        the trial and provide the data to FDA and I think it’s distinct from other -- so, I don’t
        think that -- I think the recent issues that you may be alluding to, are relevant to us.

 Q1 2021 Conference Call, Bloomberg transcript at 17.

        338.    Defendant Meyer’s above-identified response was materially false and/or

 misleading because:

        A. directly contrary to his insistence that Reata had been “transparent” concerning its

            discussions with the FDA since 2016, Reata had for many years omitted material


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            information concerning those very discussions, which went to the very heart of and

            threatened Bard’s FDA approvability;

        B. although he said that the FDA “gave us the design for the Alport syndrome trial, which

            we’ve executed,” the FDA, for the prior four years, had repeatedly advised Reata to

            modify CARDINAL’s inadequate four-week washout period, and Reata had

            consistently ignored that advice; and

        C. directly contrary to his insistence that there were no “discrepancies between what they

            told us to do and what we’ve executed[]” in CARDINAL, there were serious

            discrepancies between what the FDA had been requesting (retained eGFR data

            premised on an adequate and supported washout period) and what Reata had done (use

            an inadequate and unsupported washout period, which rendered CARDINAL’s

            resulting eGFR measurements invalid), which went to the very heart of and threatened

            Bard’s FDA approvability.

                24.     The August 9, 2021 Statements

        339.    After filing the Bard NDA on February 25, 2021, but prior to August 9, 2021, the

 FDA held a mid-review cycle meeting with Reata to discuss the Bard NDA. Mid-review cycle

 meetings provide the sponsor and the FDA with an opportunity to discuss the review status, key

 findings, and identify salient or open issues for the sponsor to address.

        340.    On August 9, 2021, Reata: (i) issued a press release announcing second-quarter

 2021 results (the “Q2 2021 Results Release”); (ii) filed with the SEC a Form 10-Q, signed by

 Defendants Huff and Soni, for the second quarter of 2021 (the “Q2 2021 10-Q”); (iii) at 4:30 p.m.

 EST, hosted a conference call with analysts and investors (the “Q2 2021 Conference Call”); and

 (iv) published on its website a presentation that Defendants Huff and Meyer utilized during the Q2

 2021 Conference Call (the “Q2 2021 Presentation”).


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         341.   Each of the above-identified August 9, 2021 disclosures contained Bard NDA

 Representations, and each focused primarily on (Reata’s) account of the mid-review cycle meeting

 for the Bard NDA. Each explained that, in the mid-review cycle meeting, the FDA “identified four

 significant clinical and statistical review issues for [Reata] to address” and that “each of these

 issues are addressable with additional data and analyses [that Reata would provide in] follow-up

 submissions to the NDA.” Q2 2021 Results Release; Q2 2021 10-Q at 17; see also Q2 2021

 Presentation at 5-6; see also Q2 2021 Conference Call at 2-3. Each of the August 9, 2021

 disclosures, apart from the Q2 2021 Results Release, contained extended discussions of each of

 the four issues. See Q2 2021 10-Q at 21-25; Q2 2021 Presentation at 9-13; Q2 2021 Conference

 Call at 3-8.

         342.   The third of these four FDA “issues” concerned CARDINAL’s washout period and

 the retained eGFR results based on it. See Q2 2021 10-Q at 24; Q2 2021 Presentation at 12; Q2

 2021 Conference Call at 7-8. 13 However, the FDA’s concerns with CARDINAL’s washout

 period, as described by the Reata Defendants on August 9, 2021, were not the concerns that

 the FDA (i) had privately communicated to Reata repeatedly between December 2016 and

 September 2020, and (ii) publicly disclosed on December 6-8, 2021 – namely, that a four-

 week washout period was inadequate and an eight-week washout period was required.

 Instead, the purported FDA washout concern disclosed on August 9, 2021 was that many of


 13
    The first FDA issue related to CARDINAL’s on-treatment eGFR results (i.e., not retained
 eGFR after treatment had ceased, but rather eGFR measures while treatment was ongoing), and
 what they signified. See Q2 2021 10-Q at 21-23; Q2 2021 Presentation at 10; Q2 2021 Conference
 Call, Bloomberg transcript at 5-6. The second centered on arcane statistical issues (specifically,
 the use of treatment duration as a covariate in statistical analyses of CARDINAL data) and whether
 Reata had followed its pre-specified statistical analysis plan (it had). See Q2 2021 10-Q at 23-24;
 Q2 2021 Presentation at 11; Q2 2021 Conference Call, Bloomberg transcript at 6. The fourth
 concerned COVID-19’s impact on CARDINAL. See Q2 2021 10-Q at 25; Q2 2021 Presentation
 at 13; Q2 2021 Conference Call, Bloomberg transcript at 8.


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 CARDINAL’s retained eGFR measurements had actually been taken less than four weeks after

 treatment cessation – specifically, at various times between two weeks and four weeks (which

 CARDINAL’s trial protocol had permitted). Importantly, this purported issue left the

 purported validity of a four-week washout period intact: per the August 9, 2021 statements,

 the FDA’s concern arose only where CARDINAL failed to employ the four-week washout

 period and instead used periods shorter than four weeks.

        343.    For example, the Q2 2021 10-Q stated:

        CARDINAL pre-specified the Year 2 off-treatment analysis window to include
        eGFR values obtained at least 14 days after last dose, which is supported by
        pharmacokinetic and extensive off-treatment data demonstrating that the resolution
        of acute eGFR increases occurs by 14 days after the last dose.

                                                 ***

        Two of the FDA’s other sensitivity analyses only included values collected ≥28
        days after last dose. These analyses excluded nearly one-half of the trial participants
        and violated randomization principles, which resulted in modeled estimates that
        meaningfully differed from observed Week 104 eGFR changes. We performed
        sensitivity analyses similar to those performed by the FDA that included more
        available off-treatment eGFR data by using a cutoff of at least 21 days after last
        dose. The results for these new analyses were similar to the primary Week 104
        analyses and will be provided to the FDA as a follow-up to this meeting.

 Q2 2021 10-Q at 24.

        344.    The representations in the Q2 2021 Presentation and Q2 2021 Conference Call were

 effectively identical:

        Turning to slide 12. In CARDINAL, we pre-specified the year 2 off-treatment
        analysis window to include EGFR values obtained at least 14 days after last dose,
        which is supported by pharmacokinetic and extensive off-treatment data
        demonstrating that the resolution of acute EGFR increases occurs by 14 days after
        the last dose.

                                                 ***

        [Two of] the FDA’s other sensitivity analyses, only included values collected at
        least 28 days after the last dose. These analyses excluded, nearly one-half the trial
        participants in violated randomization principles, which resulted in modeled


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        estimates that meaningfully differs from observed week 104 EGFR changes.

        However, the treatment effect in these analyses favor bardoxolone. We perform
        sensitivity analyses, similar to those performed by the FDA that included more
        available off-treatment EGFR data by using a cut-off of at least 21 days after the
        last dose. The results for these new analyses were similar to the primary week 104
        analyses and we provided to the FDA as a follow-up to this meeting.

 Q2 2021 Conference Call, Bloomberg transcript at 7-8; see also Q2 2021 Presentation at 12.

        345.   The Reata Defendants’ above-stated representations were materially false and/or

 misleading for two reasons.

        A. First, and as stated just above at ¶ 342, each of the August 9, 2021 statements materially

           mischaracterized and trivialized the FDA’s washout period concerns, by representing

           that those concerns related only to those instances where retained eGFR measurements

           were taken based on washout periods shorter than four weeks – which logically

           implied that a four-week washout period was valid. However, the FDA’s real washout

           period concern, which the FDA had repeatedly communicated to Reata between

           December 2016 and September 2020, and which the FDA publicly disclosed five

           months later on December 6, 2021, was that the four-week washout period was itself

           invalid and that an eight-week washout period was instead required.

        B. Second, each of the statements included 10-14 Day Washout Representations (the

           CARDINAL trial design allowing for collection of retained eGFR as soon as 14 days

           after the last dose was “supported by pharmacokinetic and extensive off-treatment data

           demonstrating that the resolution of acute EGFR increases occurs by 14 days after the

           last dose[]”). Q2 2021 Conference Call at 7. In truth, extended Bard treatment such as

           in CARDINAL required eight weeks to wash out: a period at least four times longer

           than the represented 14 days. See Section IV.G.2, supra.

        346.   Additionally, as Defendants’ August 9, 2021 statements contained extensive


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 representations, including those identified above, concerning the Bard NDA, they were materially

 misleading because they omitted to disclose numerous facts then known by Defendants that were

 highly material to evaluation of the Bard NDA and that indicated far greater risks to its approval

 than publicly understood in light of Defendants’ other accumulated misstatements, including:

        A. that Bard’s PD effects did not wash out quickly (per the 10-14 Day Washout

            Representations), but instead required eight weeks for washout;

        B. that as a result, the purported retained eGFR results from CARDINAL, BEAM, and

            BEACON (constantly repeated via CARDINAL Retained eGFR Representations and

            Prior Study Retained eGFR Representations) neither measured nor evidenced truly

            retained eGFR, and thus could not and did not support FDA approval; and

        C. that the FDA had repeatedly warned Reata between December 2016 and September

            2020 that it did not concur with CARDINAL’s design, that the four-week washout

            period was inadequate and/or without basis, and that retained eGFR data predicated on

            such a washout period would be invalid and incapable of supporting FDA approval.

        347.    Even though the Reata Defendants’ August 9, 2021 statements failed to disclose

 the FDA’s most fundamental concerns – namely, that CARDINAL’s retained eGFR data and

 results predicated on an inadequate four-week washout period rather than the required eight-week

 washout period, were not retained eGFR at all and thus provided no support for FDA approval –

 they revealed risks previously concealed by Defendants’ misstatements: specifically, FDA

 concerns with CARDINAL’s efficacy, data, and results, including concerns that at least some

 CARDINAL retained eGFR data was predicated on an inadequate washout period of less than four

 weeks. Following the August 9, 2021 materialization of these previously concealed risks, Reata

 shares fell $22.13 per share on August 10, 2021 to close at $100.00 per share (a one-day decline




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 of 18.1%).

        348.    Following the Reata Defendants’ August 9, 2021 disclosures, and in advance of the

 AdCom Meeting, Leerink analyst Joseph Schwartz published a lengthy analyst report on October

 21, 2021, titled “Where Will the FDA’s View of Bardoxolone Land? Waiting on Briefing Docs &

 AdCom,” in which he reviewed and synthesized years of prior Reata disclosures, including

 particularly the four FDA “issues” revealed on August 9, 2021. In his report’s executive summary,

 Mr. Schwartz concluded that the four FDA issues “appeared fairly benign and addressable” and

 pronounced himself “cautiously optimistic” about Bard’s chances, noting that: “although we must

 rely on management’s characterization of their interactions with the agency [the FDA], we see no

 smoking gun that should prevent approval of bardoxolone . . . .” 14 Later in his report, when

 focusing on CARDINAL’s design and its purported accord with FDA guidance, Mr. Schwartz

 took comfort from Reata executives’ recent re-affirmations that CARDINAL indeed followed

 FDA guidance, but still sounded a note of concern over “relying on the company’s interpretation

 of the guidance received[:]”

        As for the study design, when we previously asked management how well they
        have followed FDA guidance (Exhibit 13), the company noted that they have been
        transparent with their discussions with the agency dating back to the pre-IND
        meeting and the FDA provided RETA with the design for the AS trial, which the
        company has executed on. While RETA's messaging for the upcoming regulatory
        interactions seems to tell a straightforward story, we are relying on the company's
        interpretation of the guidance received. Furthermore, it remains unknown if there
        is any additional context around the guidance given, and we do not know if the
        FDA's viewpoint has changed . . . .

 October 21, 2021 Leerink Report at 9; see also id. at Exhibits 13-14.




 14
    Joseph P. Schwartz, Where Will the FDA's View of Bardoxolone Land? Waiting on Briefing
 Docs & Adcom, SVB SECURITIES LLC, F/K/A SVB LEERINK LLC, 1-2 (Oct. 21, 2021) (hereinafter,
 the “October 21, 2021 Leerink Report”).


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               25.     The November 8, 2021 Statements

        349.   On November 8, 2021, Reata: (i) issued a press release announcing third-quarter

 2021 results (the “Q3 2021 Results Release”); (ii) filed with the SEC a Form 10-Q, signed by

 Defendants Huff and Soni, for the third quarter of 2021 (the “Q3 2021 10-Q”); (iii) at 4:30 p.m.

 EST, hosted a conference call with analysts and investors (the “Q3 2021 Conference Call”); and

 (iv) published on its website a presentation, titled “Reata Pharmaceuticals Third Quarter 2021

 Financial Results and Update on Clinical Development Programs,” that Defendants Huff and

 Meyer utilized during the Q3 2021 Conference Call (the “Q3 2021 Presentation”).

        350.   The Q3 2021 10-Q contained Bard NDA Representations and CARDINAL

 Retained eGFR Representations:

        Bardoxolone in Patients with CKD Caused by Alport Syndrome . . .

        In November 2020, we announced that the Phase 3 CARDINAL study met its
        primary and key secondary endpoints at the end of Year 2. . . . At Week 104 (four
        weeks after last dose in second year of treatment), patients in the ITT population
        treated with bardoxolone had a statistically significant improvement compared to
        placebo in mean change from baseline in eGFR of 4.3 mL/min/1.73 m2 (p=0.023).
        ...

        We also completed a mid-cycle communication meeting with the FDA and were
        advised that an Advisory Committee meeting is scheduled for December 8, 2021.
        The PDUFA date, the FDA action date for the application, is scheduled for
        February 25, 2022.

 Q3 2021 10-Q at 17, 20-21.

        351.   The Q3 2021 Presentation included Bard NDA Representations providing further

 “color” on Reata’s preparations for the AdCom Meeting:




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 Q3 2021 Presentation at 6.

        352.   The November 8, 2021 assertions of Bard NDA Representations in the Q3 2021

 10-Q and Q3 2021 Presentation were materially misleading because they omitted to disclose

 numerous facts then known by Defendants that were highly material to evaluation of the Bard

 NDA and that indicated far greater risks to approval than publicly understood in light of

 Defendants’ other accumulated misstatements, including:

        A. that Bard’s PD effects did not wash out quickly (per the 10-14 Day Washout

            Representations), but instead required eight weeks for washout;

        B. that as a result, the purported retained eGFR results from CARDINAL, BEAM, and

            BEACON (constantly repeated via CARDINAL Retained eGFR Representations and

            Prior Study Retained eGFR Representations) neither measured nor evidenced truly

            retained eGFR, and thus could not and did not support FDA approval; and



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        C. that the FDA had repeatedly warned Reata between December 2016 and September

             2020 that it did not concur with CARDINAL’s design, that the four-week washout

             period was inadequate and/or without basis, and that “retained eGFR” data predicated

             on such a washout period would be invalid and incapable of supporting FDA approval.

        353.    The CARDINAL Retained eGFR Representations in the Q3 2021 10-Q were

 materially false and/or misleading. Because PD effects remained for eight weeks after extended

 Bard treatment, the use of an inadequate four-week washout period for retained eGFR

 measurement meant that: (i) CARDINAL had not actually measured what was claimed (i.e.,

 retained eGFR), and instead had measured PD effects; (ii) CARDINAL’s purported retained eGFR

 results neither constituted nor measured truly retained eGFR and thus provided no indication of

 disease-modifying effects; and (iii) CARDINAL’s retained eGFR results therefore would not and

 could not provide a basis for FDA approval. See Section IV.G.3, supra.

        B.      The Price of Reata Shares Deflates as Previously Concealed Risks Materialize,
                and Plunges After the FDA’s December 2021 Disclosures Correct Defendants’
                Prior Misstatements

        354.    FDA documents published on December 6, 2021, in connection with and in

 advance of the AdCom Meeting on December 8, 2021, together with the actual AdCom Meeting

 proceedings on December 8, 2021, served to correct Defendants’ prior Class Period misstatements.

 The December 6-8, 2021 corrective disclosures revealed material facts were evident and known to

 Defendants throughout the Class Period but that had been concealed from Lead Plaintiff and Class

 members by Defendants’ above-detailed misrepresentations, misleading statements, and

 omissions. Specifically, the December 6-8, 2021 corrective disclosures revealed that:

        A. contrary to the FDA Guidance Representations, Reata had not operated CARDINAL

             in accord with FDA guidance, and that the FDA, for nearly the entirety of the Class

             Period, and ever since December 2016, had repeatedly (i) warned Reata of the same,


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          and (ii) advised Reata to obtain FDA concurrence with respect to CARDINAL’s design

          and adequacy before proceeding with and/or completing CARDINAL Phase 3;

       B. contrary to the 10-14 Day Washout Representations, CARDINAL required a far longer

          period for washout of Bard’s PD effects – approximately eight weeks or 60 days, which

          was twice as long as the four-week washout period utilized in CARDINAL;

       C. contrary to the CARDINAL Design Representations, CARDINAL had not been

          adequately designed to measure retained eGFR;

       D. contrary to the CARDINAL retained eGFR Representations, and because resolution of

          Bard’s PD effects required a washout period far longer than the four-week period used

          in CARDINAL, CARDINAL’s purported retained eGFR results were:

              a)     not truly retained eGFR at all;

              b)     contaminated by the very thing they purported to be free of – Bard’s PD

                     effects; and thus

              c)     incapable of supporting Bard’s approval by the FDA, irrespective of any

                     apparent success with respect to stated endpoints;

       E. the Prior Study Retained eGFR Representations had been false and/or misleading for

          the same reasons as the CARDINAL Retained eGFR Representations;

       F. the Reata Defendants’ August 10, 2020 statements had materially mischaracterized the

          January 2020 FDA Meeting and the above-stated issues that arose therein;

       G. the Reata Defendants’ August 9, 2021 statements had materially mischaracterized and

          trivialized the FDA’s washout period concerns; and

       H. the Bard NDA Representations had omitted all the above-summarized adverse facts

          material to the Bard NDA.




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        355.       The December 6-8, 2021 disclosures led the market to an immediate and sharp re-

 valuation of Reata, which fell $29.77 per share on December 6, 2021 to close at $48.92 per share.

 After rising slightly on December 7, 2021 to close at $54.42 per share, and not trading at all on

 December 8, 2021 (because of a trading halt imposed during the all-day AdCom Meeting), Reata

 shares plunged anew on December 9, 2021 to close at $29.11 per share. All told, the December 6-

 8, 2021 disclosures caused Reata’s share price to fall by $49.58 per share, representing 63.0% of

 Reata’s equity value immediately prior to the disclosures.

        356.       Prior to the December 6-8, 2021 corrective disclosures, two other disclosures – on

 August 10, 2020 and August 9, 2021 – functioned to partially materialize risks previously

 concealed by Defendants’ misstatements, and thereby occasioned relevant, additional Reata share

 price declines.

        A. The Reata Defendants’ August 10, 2020 statements, disclosing inter alia FDA

            reluctance to entertain an immediate Bard NDA filing based on year-one CARDINAL

            data, while themselves materially false and misleading (see Section V.A.18, supra),

            nevertheless served as a first indication to the market that as-yet undisclosed stumbling

            blocks to FDA approval of Bard might exist. Reata shares therefore declined materially

            in response to the August 10, 2020 statements.

        B. One year later, the Reata Defendants’ August 9, 2021 statements disclosed four FDA

            concerns with CARDINAL data (see Section V.A.24, supra), constituting a further

            materialization of the risks previously concealed by Defendants’ misstatements and

            intuited by the market following the year-ago August 10, 2020 disclosures. The August

            9, 2021 statements, the first disclosure of concrete FDA concerns with the CARDINAL

            data, thus occasioned significant Reata share price declines. However, as set forth




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            above (see Section V.A.24, supra), this first disclosure was materially incomplete and

            therefore itself materially misleading, as it failed to disclose the FDA’s fundamental

            concerns with CARDINAL’s washout period and the (in)validity of CARDINAL’s

            ensuing retained eGFR results.

               1.      The August 10, 2020 Disclosures

        357.   The August 10, 2020 disclosures, as detailed in Section V.A.18, supra, marked an

 end to the radio silence on FDA interactions during Reata’s prior two quarterly disclosures

 (February 19, 2020 and May 11, 2020) after the January 2020 FDA Meeting. In their August 10,

 2020 disclosures, the Reata Defendants discussed at length – and materially mischaracterized – a

 recent “Type C” meeting with the FDA (in fact, the January 2020 FDA Meeting). Per the Reata

 Defendants’ account of that meeting, while Reata wished to file an NDA for Bard immediately,

 based on CARDINAL’s year-one data and for accelerated FDA approval, the FDA appeared to

 think that Reata should wait for CARDINAL year-two data before filing any NDA.

        358.   The market intuited from this disclosure the existence of potential stumbling blocks

 to FDA approval of Bard. Given the uninterrupted string of uniformly positive CARDINAL Phase

 2/3 results reported during the prior two years, and the Reata Defendants’ preference for an

 immediate NDA filing and accelerated FDA approval, the FDA’s reluctance to accept such an

 NDA appeared inexplicable – and thus concerning. Therefore, the August 10, 2020 statements led

 the market to suspect the existence of yet-undisclosed problems with the CARDINAL data that

 could make FDA approval more fraught than previously understood. For example, in his August

 10, 2020 analyst report on Reata, Leerink analyst Joseph Schwartz wrote:

        2Q20 Corporate Update Raises Questions on Bard/Omav Regulatory Paths

        Bottom Line: Management provided investors with updates on their two key
        programs, bardoxolone and omaveloxolone, on their 2Q20 conference call this
        morning, which increase the uncertainty on the regulatory paths forward for these


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        key programs. RETA still expects to file an NDA for bardoxolone in 4Q20,
        however, it is unclear whether the FDA’s ‘questions and comments’ about 1-year
        data indicate that the FDA is apprehensive about approving the drug on the basis
        of the CARDINAL trial. 15

        359.    Reata shares therefore fell sharply on August 10, 2020 trading to close at $104.41

 per share – a one-day decline of $51.79 per share (or 33.2%) from the prior closing price of $156.20

 per share. August 10, 2020 trading volume of approximately 4.05 million Reata shares – more than

 14 times Reata’s average daily trading volume during the Class Period (285,461 shares per day) –

 was the fourth most active trading day in Reata’s existence, exceeded only by trading following

 the December 6 and 8, 2021 corrective disclosures (detailed immediately below at Section V.B.3,

 infra), and by the trading that followed Reata’s initial disclosure of positive retained eGFR results

 from CARDINAL on July 23, 2018 (detailed above at Section V.A.10, supra).

        360.    However, the August 10, 2020 statements did not constitute anything close to full,

 corrective disclosure and were themselves materially false and/or misleading. As explained above,

 they mischaracterized the January 2020 FDA Meeting disputes as primarily procedural, rather than

 deeply substantive. 16 According to Defendants’ August 10, 2020 statements, the disputes

 concerned little more than timing: whether Reata should file an NDA immediately, based on year-

 one CARDINAL data, for accelerated approval, or wait a little bit longer for CARDINAL year-

 two data and then file for full approval. Analysts following Reata took away exactly this message.

 For example, in his August 10, 2020 report, Jefferies analyst Maury Raycroft wrote:




 15
  Joseph P. Schwartz, 2Q20 Corporate Update Raises Questions on Bard/Omav Regulatory Paths,
 SVB SECURITIES LLC, F/K/A SVB LEERINK LLC, 1 (Aug. 10, 2020).
 16
    Yet, according to the FDA’s December 6, 2021 account of the same meeting, the January 2020
 FDA Meeting disputes concerned matters of fundamental substance: the validity of CARDINAL’s
 retained eGFR data; whether, given the four-week washout period, they were retained eGFR at all;
 and thus, whether they provided any support for FDA approval. See ¶¶ 106-13, supra.


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        2Q: Reg Clarity Debunks Bear-Case View; Stock Overreaction Creates
        Buying Oppty

        RETA provided clarity on reg filings, which we believe puts bear-case speculation
        to rest. Notably, we are encouraged by the Alport update . . . .

         . . . [I]t seems like there was no discussion around 1-yr data being sufficient, but
        FDA just thinks RETA might as well include all of the 2-yr data, since that part of
        the study is almost complete. . . . Notably, RETA believes the recommendation to
        file w/ the 2-yr data is primarily due to FDA’s assumption that there would not be
        much delay in NDA submission by waiting for the 2-yr data -- RETA noted 2-yr
        data is on track for top-line readout 4Q20 . . . . These details and the fact that FDA
        still granted the pre-NDA mtg and is still enabling RETA to move forward as
        planned, gives us confidence FDA and RETA do not see anything unattainable w/
        RETA's Alport path. 17

                2.      The August 9, 2021 Disclosures

        361.    Reata’s August 9, 2021 statements disclosed four issues that the FDA had identified

 in the CARDINAL data supporting the Bard NDA. See Section V.A.25, supra. However, and as

 also detailed above, the four FDA issues disclosed on August 9, 2021 failed to include the FDA’s

 most fundamental concerns with CARDINAL: CARDINAL’s design, specifically the adequacy

 of CARDINAL’s four-week washout period, and the validity of the retained eGFR data based on

 and resulting from that washout period. Id.

        362.    As Reata’s August 9, 2021 disclosures revealed, for the first time, FDA concerns

 with CARDINAL data, they constituted a materialization of risks previously concealed by

 Defendants (risks whose existence the market had first intuited from the year-ago August 10, 2020

 statements). Therefore, and in reaction to the August 9, 2021 disclosures, Reata shares fell sharply

 on August 10, 2021 to close at $100.00 per share – a one-day decline of $22.13 per share (18.1%)

 from the August 9, 2021 closing price of $122.13 per share. Trading volume on August 10, 2021,

 more than 2.56 million Reata shares, was extremely high: approximately nine times greater than


 17
  Maury Raycroft, 2Q: Reg Clarity Debunks Bear-Case View; Stock Overreaction Creates Buying
 Oppty, JEFFERIES LLC, 1 (Aug. 10, 2020).


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 Reata’s Class Period daily average (285,461 shares per day).

        363.    However, and insofar as Reata’s August 9, 2021 disclosures failed to disclose the

 FDA’s central and most substantive concerns with CARDINAL, which were then and long known

 to the Reata Defendants but remained publicly undisclosed until December 6-8, 2021, they did not

 constitute or provide full corrective disclosure.

                3.      The December 6-8, 2021 Disclosures

        364.    The FDA Cardiovascular and Renal Drugs Advisory Committee (“AdCom”) was

 scheduled to meet on December 8, 2021, between 9:30 am and 5:00 pm EST, to review Reata’s

 Bard NDA for Alport – the AdCom Meeting.

        365.    Three days in advance of the AdCom Meeting, on the morning of December 6,

 2021, the FDA, per typical custom and practice, published to its website and made publicly

 available certain documents to be used during the AdCom Meeting, including an FDA-authored

 96-page    “briefing    book”     containing    the       FDA’s   assessments,   evaluations,   and

 recommendations/conclusions concerning the Bard NDA – the FDA Briefing Book – as well as

 an accompanying 46-page presentation – the FDA AdCom Slides, and together with the FDA

 Briefing Book, the “AdCom Advance Materials.”

        366.    The AdCom Advance Materials published on December 6, 2021 provided the initial

 correction of Defendants’ Class Period misstatements, and the AdCom Meeting itself, which

 occurred two days later on December 8, 2021, provided further correction.

                        a.       The December 6, 2021 AdCom Advance Materials Correct
                                 Defendants’ Class Period Misstatements and Indicate Likely
                                 FDA Rejection of the Bard NDA

        367.    The FDA Briefing Book, noting that the Bard NDA was supported by CARDINAL

 and that CARDINAL had met its prespecified primary and key secondary endpoints (respectively,

 on-treatment and retained eGFR), nevertheless concluded that CARDINAL failed to “demonstrate


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 that bardoxolone is effective in slowing the loss of kidney function in patients with AS and

 reducing the risk of progression to kidney failure.” See FDA Briefing Book at 11, 37.

        368.     As the FDA Briefing Book made clear, the FDA found CARDINAL’s efficacy

 failures to stem from an inadequate study design – specifically, the four-week washout period for

 measurement of retained eGFR, when FDA analysis indicated that washout required a period

 approximately twice as long: 60 days or eight weeks. See FDA Briefing Book at 8-11, 18-20, 22-

 23, 35-37, 44-61. CARDINAL’s inadequate washout period: (i) invalidated CARDINAL’s

 retained eGFR data and findings; (ii) made it impossible to differentiate Bard’s PD effects from

 its disease-modifying effects (if any); and (iii) thus provided no support for FDA approval of the

 Bard NDA. Id.

        369.     As the FDA Briefing Book explained:

        If the duration of the washout was long enough to eliminate the reversible PD effect
        on eGFR, then changes in eGFR compared with placebo at the end of the Year-2
        washout period could indicate bardoxolone’s effect on slowing disease progression.
        A key issue was to determine if the study’s 4-week washout was long enough for
        the reversible PD effect on eGFR to have resolved.

        The Applicant has justified the 4-week washout in CARDINAL Phase 3 based on:
        various pooled analyses of patients across studies with eGFR measurements
        collected up to 42 days off-treatment; off-treatment eGFR measurements from
        studies in patients with CKD with treatment duration ≤8 weeks; the
        pharmacokinetic (PK) profile of bardoxolone; exposure-response modeling; and
        time to return to baseline of other PD markers, such as liver enzymes. The FDA has
        not found these justifications compelling to support the adequacy of a 4-week
        washout in patients with AS, as described in Appendix 6.4.

                                                ***

        The FDA developed a fit-for-purpose PK/PD model with the primary objective to
        address the adequacy of the 4-week washout period in CARDINAL Phase 3. . . .

        Based on the PK/PD model, it is predicted that at the Week 104 visit, 28% of the
        reversible PD effect on eGFR remains, and that the time to resolution of the
        reversible PD effect is 60 days (based on a PD half- life of 15 days, Table 20). This
        analysis suggests that the duration of the 4-week washout in CARDINAL Phase 3
        is insufficient to resolve the reversible PD effect of bardoxolone.


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                                                 ***

        The design of CARDINAL Phase 3 with a 4-week washout does not allow for the
        evaluation of the potential of bardoxolone to slow disease progression. The eGFR
        values collected 4 weeks after treatment cessation at Week 52 or Week 104 still
        represent the reversible PD effect of bardoxolone based on the PK/PD model
        developed by the FDA and the exposure-response model developed by the
        Applicant, and neither model suggests that bardoxolone slows the progression of
        decline in kidney function.

 FDA Briefing Book at 19-20, 22-23, 61-62.

        370.   Perhaps the only thing more surprising than the FDA Briefing Book’s criticisms of

 CARDINAL’s design, specifically with respect to the washout period, and consequently

 CARDINAL’s evidentiary adequacy and/or validity, was that – as the FDA Briefing Book further

 revealed – these criticisms should not have been a surprise at all. In fact, as the FDA Briefing

 Book made clear, the FDA had long and repeatedly communicated to Reata these very criticisms

 (i.e., concerning CARDINAL’s design and specifically its four-week washout period):

        During the course of development, the FDA voiced concern about the design of
        CARDINAL Phase 3 and specifically the ability of the trial, as designed, to
        differentiate bardoxolone’s pharmacodynamic effect on kidney function from its
        effect on disease progression. For further discussion of this issue and other concerns
        raised by the Agency, see Appendix 6.1.

                                                 ***

        6. APPENDICES

        6.1. Regulatory History

        Discussions with the Applicant centered around the issues highlighted below. The
        Applicant declined an end-of-phase 2 meeting with the Agency; nevertheless, the
        Agency encouraged the Applicant to obtain Agency concurrence on the adequacy
        and acceptability of the study to support a marketing application.2

        • Bardoxolone’s pharmacodynamic effect on eGFR and assessing for effects on
        disease progression: At a pre[-]IND meeting held in October 2016, the Division
        indicated that because of bardoxolone’s pharmacodynamic effect on kidney
        function, on-treatment assessments of kidney function would be difficult to
        interpret as a drug effect on disease progression. As such, a post-treatment
        assessment of creatinine should be used to assess bardoxolone’s efficacy in treating



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        the disease. Following submission of the IND in 2016, the Agency repeatedly
        voiced concerns about the time-course for resolution of bardoxolone’s
        pharmacodynamic effect on creatinine/eGFR following discontinuation of
        treatment and whether the off-treatment values collected in CARDINAL Phase 3
        were in fact capturing an effect on disease progression. The Agency ultimately
        recommended that the Applicant conduct a separate study to characterize the time
        course for resolution of bardoxolone’s pharmacodynamic effect or modify
        CARDINAL Phase 3 to obtain the information (i.e., revise the protocol to include
        additional off-treatment eGFR measurements).

        • Accelerated Approval: In January and September 2020, the Applicant met with
        Agency to discuss submission of an NDA for bardoxolone under the accelerated
        approval pathway based primarily on the Year 1 data on eGFR from CARDINAL
        Phase 3. The Division did not agree with the proposed approach, voicing concerns
        about the interpretability of the eGFR findings given the available information on
        the time course for resolution of bardoxolone’s pharmacodynamic effect, as well as
        the amount of missing data in the bardoxolone arm and lack of clarity on how
        patients with missing data were handled in key analyses intended to disentangle the
        drug’s pharmacodynamic effect on kidney function from its effect on the
        irreversible loss of kidney function.
        2
          FDA provided extensive written feedback on the Applicant’s phase 2/3 trial of
        bardoxolone in patients with Alport Syndrome in December 2016. In September
        2018, FDA encouraged the Applicant to request an end-of-phase 2 meeting to
        discuss the development program and ensure alignment. The Applicant declined,
        noting that they were running a phase 2/3 trial and were “not seeking input from
        the Division on the program at this time.” In follow-up correspondence sent in
        February 2019, the Division emphasized the importance of obtaining FDA
        concurrence that a study intended to support a marketing application was adequate
        and acceptable for this purpose. The FDA also encouraged the Applicant to submit
        a written response to the comments in the FDA’s December 2016 advice letter and
        reiterated its offer to meet with the Applicant to discuss the development program
        and a path forward.

 FDA Briefing Book at 10-11, 39.

        371.    The FDA Briefing Book, as summarized above, thus provided corrective disclosure

 with respect to:

        A. the FDA Guidance Representations, by revealing that the FDA, far from being in

            accord with or having “guided” CARDINAL’s design, had, in fact, from December

            2016 onwards, expressed repeated concerns with CARDINAL’s design, and

            specifically with CARDINAL’s four-week washout period;


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       B. the 10-14 Day Washout Representations, by revealing that Bard’s PD effects required

          an eight-week washout period in CARDINAL;

       C. the CARDINAL Design Representations, by revealing that CARDINAL had not

          measured retained eGFR;

       D. the CARDINAL Retained eGFR Representations, by revealing that CARDINAL’s

          retained eGFR data/results were not truly retained eGFR at all, but instead, by virtue

          of CARDINAL’s inadequate four-week washout period, were substantially

          contaminated by the very matter they were supposed to exclude – Bard’s PD effects,

          and thus provided no support for FDA approval;

       E. the Prior Study Retained eGFR Representations, for identical reasons to the

          CARDINAL Retained eGFR Representations, given the similar four-week washout

          periods utilized in those prior studies;

       F. the Reata Defendants’ August 10, 2020 statements, by accurately revealing the issues

          discussed in the January 2020 FDA Meeting, which the Reata Defendants’ August 10,

          2020 statements materially mischaracterized;

       G. the Bard NDA Representations, which had omitted all the foregoing material adverse

          facts concerning, inter alia: the FDA’s repeated warnings to Reata that concurrence

          and/or alignment with respect to CARDINAL’s design had not been obtained; the

          FDA’s repeated warnings to Reata that CARDINAL’s four-week washout period was

          inadequate and that determination of an adequate washout period was necessary; the

          resulting invalidity of CARDINAL and prior study (BEAM/BEACON) retained eGFR

          data; and the January 2020 FDA Meeting at which all the above issues were raised.

       372.   For these reasons, Reata’s share price immediately plummeted following




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 publication of the FDA Briefing Book on the morning of Monday, December 6, 2021. After having

 last closed trading on Friday, December 3, 2021 at $78.69 per share, Reata shares fell sharply on

 December 6, 2021 to close at $48.92 per share – a one-day decline of $29.77 per share (37.8%).

 December 6, 2021’s trading volume of 5.5 million shares – more than 19 times Reata’s average

 daily trading volume during the Class Period (285,461 shares per day) – marked it as the second

 most active trading day in Reata’s existence, and was exceeded just once, three days later, by

 trading on December 9, 2021 following the AdCom Meeting.

                       b.     The December 8, 2021 AdCom Meeting Further Confirms the
                              CARDINAL and Bard NDA Deficiencies Identified on
                              December 6, 2021, and AdCom’s Unanimous Vote Against Bard
                              NDA Approval Indicates All but Certain FDA Rejection

         373.    Although the CARDINAL and Bard NDA deficiencies identified in the December

 6, 2021 FDA Briefing Book were devastating, AdCom’s expert and independent stance on those

 deficiencies was, until the actual December 8, 2021 AdCom Meeting, still unknown. As analysts

 noted, the AdCom members could conceivably dispute, discredit, and/or look past the FDA

 Briefing Book’s critiques and recommend approval of the Bard NDA. For example, in their

 December 6, 2021 report on Reata titled “Correction: Bard’ Adcom Briefing Docs Leave a Sour

 Taste Re FDA Interactions, but May Still Result in Approvability,” Cantor analysts Charles

 Duncan and Peter Stavropoulos concluded that while the FDA Briefing Book indicated that FDA

 approval would likely be “an uphill battle,” FDA “rejection of bard’ [wa]s not yet set in stone”

 and they “continue[d] to believe there is a realistic possibility bard’ will be approved for

 [Alport].” 18



 18
   Charles C. Duncan, Ph.D. & Pete Stavropoulos, Ph.D., Correction: Bard’ Adcom Briefing Docs
 Leave a Sour Taste Re FDA Interactions, but May Still Result in Approvability, CANTOR
 FITZGERALD & CO., 1-2 (Dec. 6, 2021).


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        374.    The December 8, 2021 AdCom Meeting demonstrated conclusively that the

 independent and expert AdCom members agreed with the FDA critiques expressed two days

 earlier in the December 6, 2021 FDA Briefing Book. 19 For example, during the final stage of the

 AdCom Meeting in which AdCom members stated their views and votes, AdCom member Dr.

 Paul Palevsky expressed “concerns about . . . aspects of the design [of CARDINAL], and in

 particular, the fact that it was only a 4-week washout period,” and premised his vote to recommend

 against Bard approval on that issue (“I voted no. . . . [W]e need to have data with a larger time off

 of treatment to be able to see the sustained effect of the medication after the acute

 pharmacodynamic effect has worn off.”). See AdCom Meeting transcript at 278, 321. AdCom

 member Dr. Thomas Cook identified the same issue as his “biggest” concern, suggesting that Reata

 should have measured off-treatment eGFR “at several time points during their post-treatment

 period . . . because then we could get a much better sense of when the pharmacodynamic effect

 goes away . . . because given what we’ve seen and from the FDA, it’s not clear to me that they

 ever actually reached that point, and I think that’s a pretty crucial analysis that we would need to

 see to really definitively nail this things down.” Id. at 285. Similarly, AdCom member Dr. Susan

 Mendley found “the concerns about the adequacy of the washout phase at 28 days truly compelling,

 considering the gene expression augmentation that’s postulated.” Id. at 295. At the close of the

 AdCom Meeting, AdCom members voted unanimously that the evidence proffered in support of

 the Bard NDA (i.e., the CARDINAL results) did not demonstrate that Bard was effective in


 19
    The FDA’s Center for Drug Evaluation and Research provided a live webcast of the AdCom
 Meeting, enabling the public to listen in, in real time, to the entire meeting. After the AdCom
 Meeting concluded, the FDA prepared and made publicly available thereafter: (i) an audio
 recording of the AdCom Meeting, accompanied by the slides used by each presenter; and (ii) a
 transcript of the AdCom Meeting. The meeting recording can be viewed at:
 https://collaboration.fda.gov/p9hmmfaqmy3l/. The transcript is available from the FDA’s website
 at: https://www.fda.gov/media/155463/download (hereinafter, the “AdCom Meeting transcript”).


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 slowing the progression of Alport and, relatedly, did not demonstrate that Bard’s benefits

 outweighed its risks. See AdCom Meeting Transcript at 319-32.

        375.   Following the December 8, 2021 AdCom Meeting, Reata shares, which had last

 closed trading on December 7, 2021 at $54.42 per share (and which did not trade on December 8,

 2021), 20 fell sharply on December 9, 2021 to close at $29.11 per share – a one-day decline of

 $25.31 per share, or 46.5% of Reata’s remaining value. Trading volume was extreme: more than

 9.8 million Reata shares traded hands, more than on any other day in Reata’s existence, and 34

 times Reata’s average daily trading volume during the Class Period.

               4.      Following and Consistent with the December 6-8, 2021 AdCom
                       Disclosures, the FDA Formally Rejects Reata’s Bard NDA on or
                       About February 25, 2022

        376.   After the close of trading on February 25, 2022, Reata issued a press release titled

 “Reata Pharmaceuticals Receives Complete Response Letter from The FDA for Bardoxolone for

 the Treatment of Patients with Chronic Kidney Disease Caused by Alport Syndrome,” disclosing

 that the FDA had issued a CRL rejecting Reata’s Bard NDA “in its present form” based on the

 concerns expressed in the FDA Briefing Book and in the AdCom Meeting:

        [T]he FDA concluded that it does not believe the submitted data demonstrates that
        bardoxolone is effective in slowing the loss of kidney function in patients with
        Alport syndrome and reducing the risk of progression to kidney failure and has
        requested additional data to support the efficacy and safety of bardoxolone. Their
        conclusion was based on efficacy and safety concerns primarily set forth in the
        FDA’s briefing book and discussed at the Cardiovascular and Renal Drugs
        Advisory Committee meeting held on December 8, 2021.

        The FDA stated that the issues could be resolved by providing evidence of
        effectiveness that includes evidence from an adequate and well-controlled study
        showing a clinically relevant effect on the rate of loss of kidney function in patients
        with Alport syndrome or, alternatively, an effect on a clinical outcome (i.e., an
        endpoint that captures how patients with Alport syndrome feel, function, or

 20
   In recognition of the AdCom Meeting’s materiality to Reata, Nasdaq halted trading of Reata’s
 shares for the entire day of December 8, 2021.


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        survive). In addition, the FDA stated that we would need to address whether
        bardoxolone has a clinically relevant effect on the QT interval and show that the
        demonstrated clinical benefits of bardoxolone outweigh its risks.

        377.    Defendant Huff, quoted in the February 25, 2022 press release, termed the FDA’s

 decision a “significant disappointment for our company . . . .” 21

        C.      Additional Allegations Regarding the Individual Defendants’ Scienter

        378.    As alleged herein, Defendants acted with scienter since Defendants knew that the

 public documents and statements issued or disseminated in the name of the Company were

 materially false and/or misleading; knew that such statements or documents would be issued or

 disseminated to the investing public; and knowingly and substantially participated or acquiesced

 in the issuance or dissemination of such statements or documents as primary violations of the

 federal securities laws. As set forth elsewhere herein in detail, the Individual Defendants, by virtue

 of their receipt of information reflecting the true facts regarding Reata, their control over, and/or

 receipt and/or modification of, Reata’s allegedly materially misleading misstatements, and/or their

 associations with the Company which made them privy to confidential, proprietary information

 concerning Reata, participated in the fraudulent scheme alleged herein.




 21
    The FDA’s formal rejection of the Bard NDA had been a foregone conclusion after the
 December 8, 2021 AdCom Meeting, and had already been incorporated by the market in Reata’s
 share price immediately after the AdCom Meeting. Reata’s share price increase following the
 February 25, 2022 press release (on February 28, 2022, when Reata shares rose $6.61 per share
 from their prior closing price of $26.13 per share to close at $32.74 per share) was: (i) therefore
 entirely unrelated to the FDA’s rejection of the Bard NDA; and (ii) instead, a reflection of
 contrasting, positive FDA developments concerning an NDA for Reata’s other major product,
 Omav, which Reata disclosed on the morning of February 28, 2022 in its 2021 results
 announcements.


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                1.     The FDA Briefing Book, Which Describes What the FDA Told Reata
                       and When, Supports Scienter

        379.    The FDA Briefing Book revealed that the FDA had repeatedly warned Reata, in

 December 2016, September 2018, February 2019, and January and September 2020, that Reata

 had not obtained FDA concurrence on the adequacy and acceptability of CARDINAL. See

 Sections IV.G.1 and V.B.3.a, supra.

        380.    One of the FDA’s primary concerns with CARDINAL was its inadequate four-

 week washout period, upon which the accuracy and validity of CARDINAL’s key secondary

 endpoint – retained eGFR – was based. The FDA Briefing Book makes clear that the FDA

 communicated this particular concern to Reata no later than January 2020. See FDA Briefing Book

 at 39 (“In January and September 2020, the Applicant met with Agency to discuss submission of

 an NDA for bardoxolone under the accelerated approval pathway based primarily on the Year 1

 data on eGFR from CARDINAL Phase 3. The Division did not agree with the proposed approach,

 voicing concerns about the interpretability of the eGFR findings given the available information

 on the time course for resolution of bardoxolone’s pharmacodynamic effect . . . .”).

        381.    This, together with the additional facts pled below, most particularly in Sections

 V.C.6-7, infra (Defendants Huff’s and Meyer’s dramatic change in tone immediately after the

 January 2020 FDA meeting; and the erasure of retained eGFR terminology from SEC filings

 following the January 2020 FDA Meeting), gives rise to an effectively airtight inference of

 scienter from January 2020 onwards.

        382.    Additionally, the most plausible inference from the FDA’s disclosures in the FDA

 Briefing Book is that the FDA communicated its concerns to Reata over CARDINAL’s washout

 period, and the validity of retained eGFR data predicated on that washout period, before the

 January 2020 FDA Meeting: in February 2019 or December 2016.



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        383.    The FDA Briefing Book informed that the FDA “ultimately recommended that the

 Applicant conduct a separate study to characterize the time course for resolution of bardoxolone’s

 pharmacodynamic effect or modify CARDINAL Phase 3 to obtain the information (i.e., revise the

 protocol to include additional off-treatment eGFR measurements).” FDA Briefing Book at 39.

 While the FDA’s terminology (“ultimately”) creates some uncertainty as to when exactly the FDA

 made these investigations to Reata, simple logic dispels some of this uncertainty and yields further

 clarity as to the timing of these recommendations. Specifically, given that the FDA’s

 recommendation was to “modify” CARDINAL Phase 3 to provide for additional eGFR

 measurements more than four weeks after cessation of Bard treatment, such modification was only

 possible before the time when the recommended additional measurements would have taken

 place – i.e., prior to CARDINAL Phase 3 patients reaching one year of Bard treatment. According

 to Reata’s own disclosures, it had begun enrolling Phase 3 patients in August 2017, had completed

 Phase 3 enrollment in the second half of 2018, and therefore expected to and did report one-year

 results in the second half of 2019. See ¶¶ 191 and 238, supra. Therefore, modification of

 CARDINAL to accord with the FDA’s suggestions was only possible prior to the second half

 of 2019 – i.e., prior to July 2019 – when most CARDINAL Phase 3 patients began to complete or

 near their completion of one year of Bard treatment. This indicates that the FDA must have

 communicated specific concerns to Reata regarding the adequacy of CARDINAL’s washout

 period in at least one of the FDA’s February 2019, September 2018, or December 2016

 communications to Reata.

        384.    Therefore, the most plausible inference to be drawn from the FDA Briefing Book’s

 information as to the timeline of FDA communications with Reata is that the FDA communicated

 specific concerns to Reata concerning the adequacy of CARDINAL’s four-week washout period,




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 and the retained eGFR data predicated on it, no later than February 2019.

               2.      Bard was Reata’s Lead Product, Greatest Source of Value, and a
                       “Core Operation”

        385.   At all relevant times, Bard was a “core operation” for Reata. Consequently,

 knowledge of the fraud may be imputed to the Individual Defendants.

        386.   At all relevant times, and in all its Class Period Form 10-Q and 10-K filings, Reata

 described itself as having two lead product candidates: Bard and Omav. See, e.g., 2016 10-K at 3;

 2017 10-K at 3; 2018 10-K at 5; 2019 10-K at 5; 2020 10-K at 3, 7.

        387.   More particularly, Bard was, at all relevant times, Reata’s single most important

 product candidate.

        A. This is evident facially in Reata’s SEC filings, which (i) ordered their discussions of

            Reata’s drug development programs in descending order of importance, and (ii)

            uniformly described Bard developments first and Omav second. See, e.g., 2016 10-K

            at 3-24; 2017 10-K at 3-19; 2018 10-K at 5-25; 2019 10-K at 5-23; 2020 10-K at 7-34.

        B. This is evident substantively, as Bard was both (i) being developed for more indications

            than Omav (i.e., not just Alport, but also multiple other CKD etiologies with aggregate

            patient populations approximately 10-20 times that of Alport alone), and (ii) farther

            along in development and closer to commercial introduction.

        C. This is evident practically, as, at all times, analysts ascribed the largest part of their

            valuations of Reata to Bard.

        388.   Because no Reata products were approved for sale during the Class Period, the

 centrality of Bard to Reata cannot be traced via comparative product revenues. However, and as

 mentioned above, examination of Reata’s R&D expenses provides alternative indication of Bard’s

 relative importance. During the Class Period, Bard was Reata’s single-largest R&D expenditure,



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 accounting for 37% of total R&D expenses and outweighing Omav (which accounted for 15%).

        389.    For and/or consistent with the above reasons, Reata’s Class Period SEC filings

 themselves asserted and warned that Reata was “substantially dependent on . . . our lead product

 candidates” Bard and Omav. See, e.g., 2016 10-K at 46; 2017 10-K at 39; 2018 10-K at 52; 2019

 10-K at 51; 2020 10-K at 3, 63.

                3.          Reata’s Small Size Supports the “Core Operations” Inference

        390.    Reata was, at all relevant times, a very small company, with less than 100

 employees until 2018 and less than 300 employees at all times until 2021:

                                Reata Full-Time Employees (year-end)

                                   R&D             Other*                 Total
                     2016           49               26                    75
                     2017           62               31                    93
                     2018           80               43                   123
                     2019          145               75                   220
                     2020          187               74                   261
                     2021          241              105                   346

 * Other includes business development, finance, information technology, human resources,
 administrative, legal, and facilities functions.

 See 2016 10-K at 41; 2017 10-K at 34; 2018 10-K at 46; 2019 10-K at 44; 2020 10-K at 56; 2021

 10-K at 53.

        391.    Reata’s very small size intensifies the logic and functioning of the “core operations”

 inference. The larger the organization, the less likely and/or possible it is for individual executives

 to have detailed knowledge into every corner of consolidated operations. Conversely, the smaller

 the company, the more likely and/or possible it is for individual executives to have full information

 concerning all company operations.




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                4.     Reata’s Exclusive Rights to Bard, and Defendants Huff’s and Meyer’s
                       Long Tenures at Reata, Provided Them with Better Information on
                       Bard than Anyone Else

        392.    In 2004, shortly after Reata’s 2003 founding, Reata obtained “exclusive”

 worldwide rights to manufacture, use, and sell Bard. See, e.g., 2021 10-K at 51-52. In 2009, Reata

 agreed to a strategic collaboration with Kyowa Kirin, in which Kyowa Kirin was granted a sub-

 license to develop and commercialize Bard in Asia.

        393.    Reata’s exclusive rights with respect to Bard, since 2004, indicate that Reata is

 more familiar with Bard than any other person or organization. For nearly the past 20 years, Reata

 has effectively controlled the ability to study, develop, and commercialize Bard. Reata-employed

 scientists have conducted dozens of studies of Bard and published dozens of scientific reports on

 it. Consequently, no one has more or better data on Bard than Reata. Reata’s unparalleled

 knowledge concerning Bard further supports scienter.

        394.    Furthermore, Defendants Huff and Meyer have been with Reata since its inception.

 Defendant Huff is Reata’s founder and has been its sole CEO and Chairman from 2002 onwards.

 Defendant Meyer was one of Reata’s first employees: after joining Reata in 2003, he became the

 Vice President of Product Development from 2007 to 2013, Chief Medical Officer between 2013

 and July 2020, Chief R&D Officer between July 2020 and January 2022, and Chief Innovation

 Officer from February 2022 onwards.

        395.    Defendants Huff and Meyer have worked at Reata for the entire time that Reata had

 exclusive Bard rights (acquired in 2004). During that time, Defendant Huff has been Reata’s top

 officer and Chairman, while Defendant Meyer, for nearly all of that time, has been one of Reata’s

 top medical and/or development executives. Their long tenures and particular roles at Reata, during

 the entire time that Reata has owned exclusive rights to Bard, indicate that Defendants Huff and

 Meyer have extensive, long-standing familiarity with and knowledge of Bard – and arguably, more


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 extensive knowledge and familiarity than any other persons.

                   5.     Defendants Huff’s and Meyer’s Evident Mastery of Bard Details and
                          FDA Interactions, in Class Period Conference Calls, Further Indicates
                          Their Scienter

            396.   During Class Period conference calls, Defendants Huff and Meyer frequently chose

 to, and/or were asked to, speak about Bard. Their performances during these calls confirm in

 practice what their tenures and positions indicated in theory: fluent mastery with respect to all Bard

 details.

            397.   During all Class Period conference calls, Defendant Meyer was tasked with the

 most technical and detailed work: presenting the results of different Bard studies, such as

 CARDINAL; and answering analyst questions indicating that he was fully conversant with Bard’s

 safety, efficacy, and mechanism of action, etc. Defendant Meyer frequently presented on these

 matters at length and in breadth. See e.g., ¶ 213 (CARDINAL Phase 2 Results Conference Call);

 ¶ 213 (Q3 2018 Conference Call); ¶ 296 (Q3 2020 Conference Call); ¶ 311 (Q4 2020 Conference

 Call).

            398.   With Defendant Meyer functioning as the medical/data expert during Reata’s

 conference calls, Defendant Huff was free to assume a “big picture” role and focus on wider

 strategic framing and perspective. Yet Defendant Huff demonstrated broad and deep fluency with

 respect to Bard, often choosing to answer analyst questions that required a detailed understanding

 of Bard and Bard data, and often supplemented Defendant Meyer’s answers to make additional,

 more detailed/technical points during the Q&A portion of the calls. See e.g., ¶ 292 (Q3 2020

 Conference Call), ¶ 335 (Q1 2021 Conference Call).

            399.   Likewise, Defendants Huff and Meyer often spoke during the same conference calls

 about Reata’s interactions with the FDA. Their accounts appear to be first-hand: i.e., accounts of

 interactions in which they directly participated.


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        400.   In sum, the performance of Defendants Huff and Meyer during Reata’s Class Period

 conference calls demonstrates broad and deep mastery of information with respect to Bard and the

 FDA, which further supports their scienter.

               6.      Defendants Huff’s and Meyer’s Dramatic Change in Tone
                       Immediately Following the January 2020 FDA Meeting Confirms
                       Their Scienter

        401.   Defendants Huff and Meyer, in Reata’s two quarterly conference calls immediately

 following the January 2020 FDA Meeting (i.e., the Q4 2019 Conference Call on February 19,

 2020, and the Q1 2020 Conference Call on May 11, 2020), exhibited a then-inexplicable, dramatic

 change in disclosure content and tone by suddenly refusing to provide any commentary on, or

 answer any analyst questions concerning, Reata’s interactions with the FDA.

        402.   For example, at the outset of the Q4 2019 Conference Call, Defendant Huff warned

 that he and other Reata executives would refuse to make any comments, in their introductory

 remarks and in the ensuing Q&A, concerning Reata’s interactions with the FDA:

        Warren Huff . . .

        The lead indication in our CKD franchise is Alport syndrome, which is a rare,
        hereditary and severe form of CKD affecting approximately 30,000 to 60,000
        patients in the United States. The ongoing Phase 3 portion of CARDINAL is the
        largest global interventional study ever conducted in Alport syndrome. Secondary
        endpoint for CARDINAL is the off treatment analysis at week 52 and in this
        analysis, patients treated with bardoxolone demonstrated a statistically significant
        placebo-corrected 5.14 milliliter per minute improvement compared to placebo
        with a p-value of 0.0012.

        Based on these positive results and of course, subject to discussions with regulatory
        authorities, we plan to proceed with the submission of regulatory filings this year
        for marketing approval in the United States. We will not be commenting in the call
        or Q&A on our ongoing interactions with the regulatory agencies.

 Q4 2019 Conference Call, Bloomberg transcript at 3.

        403.   During the Q&A portion of the Q4 2019 Conference Call, Defendants Huff and

 Meyer repeatedly asserted their new refusal to comment on Reata’s interactions with the FDA (or


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 ongoing Bard trials such as CARDINAL):

        Q - Maury Raycroft [Jefferies analyst]

        Hi everyone. Thanks for taking my questions. So, I guess you can comment on
        ongoing interactions with the regulatory agencies, but can you comment on timing
        for when you could file for bard and omav. And then whether you’ll provide an
        update to the street post pre-NDA meetings?

        A - Colin Meyer

        Sure, Maury. So as Warren noted in his prepared remarks, we’re planning to file
        the NDAs in U.S. for bardoxolone in Alport syndrome and omav in FA this year.
        We will not comment on ongoing the regulatory interactions other than that.

        Q - Maury Raycroft

        Okay. And then also, as you approach to the filing for bardoxolone in Alport
        syndrome, do you have a better sense of how much two-year data or how many
        patients you will have two-year data on for when you file?

        A - Colin Meyer

        We’re not going to comment on the two-year data.

 Q4 2019 Conference Call, Bloomberg transcript at 7.

        404.    Similarly, during the Q1 2020 Conference Call, Defendant Huff began with a

 warning that no commentary would be made on such matters:

        J. Warren Huff . . .

        Regarding our regulatory paths for bardoxolone and omav, our policy is to
        comment only when we have a major event to announce and so as in our earlier
        calls, we will not be answering questions regarding regulatory activities on this call.
        Having said that, I will take this opportunity to reiterate that our plan is to file NDAs
        for each of bardoxolone and omav this year of course subject to ongoing discussions
        with the FDA.

 Q1 2020 Conference Call, Bloomberg transcript at 3.

        405.    During the Q&A portion of the Q1 2020 Conference Call, Defendant Meyer

 likewise asserted the new refusal to comment on Reata’s interactions with the FDA:

        Q - Maurice Thomas Raycroft [Jefferies analyst]



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        Hi, everyone. Thanks for taking my questions. I think in the prepared remarks, you
        said 75% have completed the Phase 3 Alport study. Just wondering if you can speak
        to the merits of potentially waiting to hit stats a difference on two-year data and
        filing to get full approval and if this could be one reason why you’re waiting to file
        for approval in Alport syndrome?

        A - Colin John Meyer

        Yeah. So first of all, we’re not going to comment beyond what we have about the
        regulatory status and as Warren said we’re planning to file the NDA for Alport
        syndrome this year. I think secondly, to clarify, about half of patients have
        completed their full two-year treatment duration of treatment period in
        CARDINAL.

 Q1 2020 Conference Call, Bloomberg transcript at 10.

        406.    With the benefit of the “Regulatory History” disclosures contained in the FDA

 Briefing Book published on December 6, 2021, the explanation for Defendants’ sudden and

 dramatic shift in disclosure content and tone is now clear. The FDA met with Reata in January

 2020 “to discuss submission of an NDA for bardoxolone under the accelerated approval pathway

 based primarily on the Year 1 data on eGFR from CARDINAL Phase 3.” FDA Briefing Book at

 39. Accelerated approval was Reata’s preference and first choice (see ¶ 279, supra), but at the

 January 2020 meeting, the FDA “did not agree with the proposed approach . . . .” FDA Briefing

 Book at 39. As the FDA Briefing Book makes clear, the FDA’s disagreement was not rooted in

 matters of procedure or timing (as the Reata Defendants would later represent in their August 10,

 2020 disclosures), but in the FDA’s fundamental and substantive doubts that Reata’s retained

 eGFR results from CARDINAL actually constituted retained eGFR at all. Id. As the FDA

 explained on December 6, 2021, at the January 2020 FDA Meeting, the FDA had “voic[ed]

 concerns about the interpretability of the eGFR findings given the available information on the

 time course for resolution of bardoxolone’s pharmacodynamic effect . . . .” Id.

        407.    Defendant Huff’s and Meyer’s newfound refusal to speak about FDA-related

 matters in the Q4 2019 Conference Call – the first conference call postdating the January 2020


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 FDA Meeting – and in the Q1 2020 Conference Call indicates their awareness of how troubling

 the matters raised by the FDA in the January 2020 FDA Meeting were. After years of telling

 investors that they had designed the protocol with the FDA’s guidance while failing to meet with

 the FDA to obtain its advice and concurrence and rejecting the FDA’s warnings, the Defendants

 now fully understood CARDINAL’s washout period would likely not be accepted, crystalizing the

 threat to Bard’s approval.

         408.    Defendants Huff’s and Meyer’s contemporaneous representations in February and

 May 2020 that their newfound refusals to disclose were rooted in purportedly long-standing

 Company policies (namely, to provide disclosure only for major FDA interactions) are not

 credible. First, such policies had never been cited or evident before and to the extent they ever

 existed, had been more honored in their breach than in their observance. Second, the real issue was

 not that there was no major FDA interaction to disclose – to the contrary, the January 2020 FDA

 Meeting was just such a major event – but, rather, that the Reata Defendants wished to avoid

 disclosing that interaction and the issues it raised.

                 7.      Defendants’ Erasure of the Retained eGFR Term from SEC Filings
                         Following the January 2020 FDA Meeting Further Indicates Scienter

         409.    Relatedly, and also shortly after the January 2020 FDA Meeting, Reata changed the

 terminology used in its SEC filings by eliminating references to or discussions of retained eGFR.

 See ¶¶ 285-86, supra. What previously had been referred to as “retained eGFR” was renamed,

 beginning in the Q2 2020 10-Q, as the “eGFR benefit during the off-treatment period.” Id.

         410.    The nature and timing of this change further support an inference of scienter.

         411.    “Retained eGFR” communicates a more powerful claim than “eGFR benefit during

 the off-treatment period.” The “retained” part of retained eGFR implies an adequate washout, after

 which the eGFR is retained. The new terminology, more anodyne, does not contain a similar



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 implication of eGFR retained after washout but instead merely describes an eGFR level

 measured at some, or any, time after cessation of treatment.

        412.    This disclosure change was so slight that there was no contemporaneous public

 notice of it. Even if it were a slightly less misleading disclosure than prior references to retained

 eGFR, it was not in any sense a corrective disclosure.

        413.    In the scienter context, the disclosure change is most important for the manner in

 which it further indicates Defendants’ state of mind: their awareness, following the January 2020

 FDA Meeting, that CARDINAL’s retained eGFR results might not be retained eGFR at all.

                8.      Reata’s Four Class Period Secondary Stock Offerings Provided
                        Defendants with Motive and Opportunity

        414.    As Reata had no approved products throughout the Class Period, it could not fund

 itself through product sales and instead required capital markets funding to continue operating.

        415.    Reata secured such funding in spades – through four secondary stock offerings that

 provided Reata with aggregate net proceeds exceeding $1.1 billion, as summarized below:

                        Reata’s Class Period Secondary Stock Offerings


                                       Share      Net Proceeds    Connection to CARDINAL
   Offering Date      Shares Sold      Price        to Reata               Disclosures
   July 26, 2017        3,737,500       $31.00     $108,900,000 2 days after the July 24, 2017
                                                                disclosure of positive
                                                                CARDINAL Phase 2 eGFR
                                                                results, occasioning a 14.1%
                                                                share price rise on July 24,
                                                                2017
   July 25, 2018         3,450,000      $72.00     $233,500,000 2 days after the July 23, 2018
                                                                disclosure of positive
                                                                CARDINAL Phase 2 one-year
                                                                retained eGFR results,
                                                                occasioning a 65% share price
                                                                rise on July 23, 2018 from
                                                                $46.40 to $76.55




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   November 14,         2,760,000     $183.00   $491,900,000 2 days after the November 11-
      2019                                                   12, 2019 disclosure of positive
                                                             CARDINAL Phase 3 one-year
                                                             retained eGFR results
    December 1,         2,000,000     $140.85   $277,800,000 3 weeks after the November 9,
       2020                                                  2020 disclosure of positive
                                                             CARDINAL Phase 3 year-two
                                                             retained eGFR results,
                                                             occasioning a 32.4% share
                                                             price rise on November 9,
                                                             2020 from $131.89 to $174.66
       Total          11,947,500              $1,112,100,000


        416.    Reata’s reliance on capital markets for funding, and the four above-identified Class

 Period secondary stock offerings through which Defendants secured such funding, provided

 Defendants with both motive and opportunity for the here-alleged misconduct.

        417.    Moreover, as the above table further indicates, Defendants themselves tied each of

 the four Class Period secondary stock offerings to their CARDINAL-related disclosures by

 launching each of the four offerings shortly – and most often, immediately – after announcing

 positive CARDINAL results. The positive CARDINAL results disclosures that preceded the

 secondary stock offerings generated material – and in two of the four instances, eye-popping –

 increases in Reata’s share price, thereby allowing Defendants to materially increase the prices at

 which they sold Reata’s shares in the offerings and Reata’s net proceeds therefrom.

        418.    Defendants thus not only had motive and opportunity to inflate offering proceeds

 through CARDINAL-related misstatements, but, as the above table illustrates, made it their

 standard operating procedure.

                9.     Insider Selling Provided Defendants Huff and Meyer, and other Reata
                       Officers, with Motive and Opportunity

        419.    During the Class Period, Defendants Huff and Meyer, together with further below-

 identified Reata officers, sold substantial amounts of the Reata shares they held (the “Insider


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 Sales”). The nature and timing of the Insider Sales further support scienter.

        420.    During the Class Period, Defendant Meyer sold 110,000 Reata shares, for total

 proceeds of $17,169,054, as summarized in the table below.

                          Defendant Meyer's Class Period Insider Sales
       Transaction         Transaction         Shares        Average           Sale Proceeds
         Date(s)              Type             Traded         Price
       6/14-15/2021            sale            60,000         $142.58            $8,554,906
      11/16-17/2020            sale            25,000         $169.57            $4,239,148
          11/9/20              sale            25,000         $175.00            $4,375,000
           Total                              110,000                            $17,169,054


        421.    Defendant Meyer’s Insider Sales were suspicious in timing and amount.

        422.    With respect to timing, Defendant Meyer had never previously sold any Reata

 shares: neither at any prior time during the Class Period, nor indeed at any time at all during Reata’s

 entire existence as a publicly traded company. Yet, shortly after the above-detailed January 2020

 FDA Meeting and the September 2020 FDA meetings, at which the FDA reiterated its long-

 standing and previously-stated concerns with CARDINAL’s washout period, and hence with the

 validity of CARDINAL’s results, and immediately after the Reata Defendants’ misleading

 November 9, 2020 disclosures of CARDINAL phase 3 year-two results, which caused Reata’s

 share price to appreciate 32.4%, from $131.89 to $174.66 on that day, Defendant Meyer turned

 into a significant seller of Reata stock. All of Defendant Meyer’s Insider Sales occurred during the

 approximate nine-month window between (i) the Reata Defendants’ November 9, 2020

 disclosures, and (ii) the Reata Defendants’ partial corrective disclosures of August 9, 2021, during

 which time Reata shares traded at inflated prices that neared their Class Period highs. Defendant

 Meyer’s Insider Sales benefitted from share price levels ($140.00 to $175.00) that approximately

 quintupled Reata’s share price after the AdCom Meeting corrective disclosures of December 6-


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 8, 2021 (i.e., Reata’s $29.11 per share closing price on December 9, 2021).

        423.    With respect to amount, Defendant Meyer’s Insider Sales – 110,000 shares sold

 between November 9, 2020 and June 15, 2021 – constituted a substantial portion of Defendant

 Meyer’s total Reata holdings. As of April 16, 2020, Defendant Meyer reported beneficial

 ownership of 433,712 Reata shares (an amount including shares actually held and shares issuable

 pursuant to exercisable options or warrants). The 110,000 shares Defendant Meyer thereafter sold

 constituted 25.4% of his total Reata holdings.

        424.    Lastly, although Defendant Meyer’s first Class Period sale (25,000 shares at

 $175.00 on November 9, 2020) was purportedly made under a 10b5-1 trading plan that Defendant

 Meyer had purportedly adopted on November 19, 2019, there is no indication that any such plan

 was operative. For example, although the 10b5-1 trading plan was purportedly adopted on

 November 19, 2019, there were no transactions made under that plan until nearly one year later –

 Defendant Meyer’s November 9, 2020 sale. Moreover, the only transaction ever made pursuant to

 that purported plan was Defendant Meyer’s November 9, 2020 sale. Defendant Meyer’s November

 9, 2020 sale therefore does not appear to be part of a series of pre-planned transactions, but rather

 appears to coincide with and constitute part of Defendant Meyer’s elective, concentrated, and

 suspiciously timed Insider Sales.

        425.    Similarly, Defendant Huff sold 81,657 Reata shares during the Class Period, for

 total proceeds of approximately $14,290,976, as summarized in the table below:

                           Defendant Huff's Class Period Insider Sales

       Transaction        Transaction         Shares        Average          Sale Proceeds
         Date(s)             Type             Traded         Price
        11/10/2020             sale           64,970        $175.00            $11,369,750
         11/9/2020             sale           16,687        $175.06             $2,921,226
           Total                              81,657                           $14,290,976



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        426.    Defendant Huff’s Insider Sales exhibited suspicious timing identical to Defendant

 Meyer’s. Just as with Defendant Meyer, Defendant Huff, prior to November 9, 2020, had not sold

 any Reata shares during the Class Period or during Reata’s entire existence as a publicly traded

 company. Yet, shortly after Reata’s meetings with the FDA in January and September 2020, and

 immediately after the Reata Defendants’ November 9, 2020 disclosures, Defendant Huff, like

 Defendant Meyer, turned into a substantial seller of Reata stock. Just as with Defendant Meyer,

 Defendant Huff’s Insider Sales occurred when Reata shares traded near their highest-ever prices,

 and prior to corrective disclosures in August and December 2021 that left Reata shares at prices

 less than one-fifth of the prices Defendant Huff realized in his Insider Sales. Additionally, and just

 as with Defendant Meyer, although Defendant Huff’s November 9-10, 2020 Insider Sales were

 purportedly made pursuant to a 10b5-1 trading plan purportedly adopted one year earlier, on

 November 19, 2019, the only transaction ever made pursuant to that purported plan was Defendant

 Huff’s November 9-10, 2020 sales. Those sales thus do not appear to be part of a series of pre-

 planned transactions, but rather appear to be one-off, elective, and suspiciously timed Insider Sales.

        427.    Other Reata officers also became sizable sellers of Reata shares at the same

 suspicious time and in the same suspicious manner as Defendants Meyer and Huff. For example,

 on November 9, 2020, Reata’s Chief Commercial Officer, Bir Dawn Carter, sold 60,000 Reata

 shares (25.2% of her total Reata holdings reported as of April 16, 2020) at an average price of

 $162.51, for total proceeds of $9,750,300. Similarly, on November 11, 2020, Reata’s Chief Legal

 Officer, Michael Wortley, sold 51,429 Reata shares (32.4% of his total Reata holdings reported as

 of April 16, 2020) at an average price of $179.37 per share, for total proceeds of $9,224,669.




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        D.      Additional Allegations Regarding Loss Causation

        428.    Defendants’ wrongful conduct as alleged herein directly and proximately caused

 the economic loss suffered by Lead Plaintiff and the Class.

        429.    Defendants’ misstatements concerning Bard, CARDINAL, and the FDA were

 material. As each of Reata’s Class Period Forms 10-K explained: (i) Reata and its “near-term

 prospects” were “substantially dependent” on its two “lead product candidates,” Bard and Omav;

 and (ii) consequently, Reata’s share price could be expected to move materially “in response to,”

 inter alia, the “results of clinical trials of our product candidates, including [Bard] and [Omav],”

 and “the timing of the release of results of and regulatory updates regarding our clinical trials[.]”

 See 2016 10-K at 46, 69; 2017 10-K at 39, 62; 2018 10-K at 52, 82; 2019 10-K at 51,82; 2020 10-

 K at 63, 94; 2021 10-K at 61, 92.

        430.    And in fact, Reata’s share price did move in response to such disclosures, providing

 a concrete, real-world demonstration of the materiality, particularly of disclosures concerning Bard

 as a treatment for Alport (including disclosures concerning CARDINAL’s purported FDA

 guidance, design, and results, and the Bard NDA). When Defendants issued positive news on these

 matters, Reata’s share price rose sharply and immediately, including: (i) the 14.1% share price

 increase on July 24, 2017 following the announcement of positive CARDINAL Phase 2 eGFR

 results; (ii) the 65% share price increase on July 23, 2018 (from $46.40 to $76.55) following the

 announcement of positive CARDINAL Phase 2 one-year retained eGFR results; and (iii) the

 32.4% share price increase on November 9, 2020 (from $131.89 to $174.66) following the

 announcement of positive CARDINAL Phase 3 year-two retained eGFR results. Conversely, bad

 news on these matters – such as the August 10, 2020 and August 9, 2021 disclosures revealing the

 existence of previously-concealed risks, and the December 6-8, 2021 corrective disclosures –

 caused Reata’s share price to plunge. See Section V.B.1-3, supra.


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        431.    Additionally, Defendants’ statements concerning the development of Bard as a

 treatment for Alport were material to the market, and caused significant movements in Reata’s

 share price, because: (i) from late 2018 onwards, development of Bard for Alport had advanced

 further in the regulatory approval process than any other Reata development program, making

 Bard for Alport Reata’s most immediate prospect; (ii) Defendants’ representations indicated not

 only the specific evidence that the FDA needed for approval of Bard (namely, a retained eGFR

 benefit) but also that CARDINAL appeared to generate that very evidence (i.e., the

 CARDINAL Retained eGFR Representations); and (iii) the FDA’s “orphan drug” designation for

 Bard for Alport, which, in the event of Bard approval, would provide Reata with seven years of

 “market exclusivity” during which Bard would be the sole treatment for Alport, and which analysts

 estimated would allow Reata’s annual revenues from Bard for Alport to exceed $1 billion per year.

        432.    During the Class Period, Lead Plaintiff and the Class purchased Reata securities at

 prices artificially inflated by Defendants’ misstatements and were damaged thereby. The price of

 the Company’s securities significantly declined when the misrepresentations made to the market,

 and/or the information alleged herein to have been concealed from the market, and/or the effects

 thereof, were revealed or materialized, causing investors’ losses.

        433.    Artificial inflation in Reata’s stock price was removed when concealed risks

 materialized and/or the truth about the material misrepresentations and omissions was partially

 revealed to the public on August 10, 2020 and August 9, 2021, and entirely revealed on December

 6 and 8, 2021. As more particularly described above (see Sections V.B.1-3, supra), these

 disclosures reduced the amount of inflation in the price of Reata’s publicly traded securities,

 causing economic injury to Lead Plaintiff and other members of the Class.




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        E.         Presumption of Reliance

                   1.     General Allegations

        434.       The market for Reata securities was open, well developed, and efficient at all

 relevant times.

        435.       As a result of the materially false and/or misleading statements and/or failures to

 disclose, Reata securities traded at artificially inflated prices during the Class Period. Buoyed by

 the misstatements complained of, Reata’s share price rose ten-fold during the Class Period, from

 approximately $20-$30 per share, where Reata shares traded from November 2016 through April

 2018, to above $200 per share between November 2019 and February 2020, when Reata shares

 peaked at a Class Period high of $247.74 per share on February 4, 2020. Subsequent corrective

 disclosures thereafter – on August 10, 2020, August 9, 2021, and December 6 and 8, 2021 – caused

 Reata’s share price to sink back below $30 per share and return to the levels at which Reata shares

 had traded prior to Defendants’ Class Period misstatements and/or omissions.

        436.       Lead Plaintiff and other members of the Class purchased or otherwise acquired the

 Company’s securities relying upon the integrity of the market price of Reata securities and market

 information relating to Reata and have been damaged thereby.

        437.       During the Class Period, the artificial inflation of Reata’s shares was caused by the

 material misrepresentations and/or omissions particularized in this Complaint, causing the

 damages sustained by Lead Plaintiff and other members of the Class. As described herein, during

 the Class Period, Defendants made or caused to be made a series of materially false and/or

 misleading statements about Reata’s business, operations, and prospects. These material

 misstatements and/or omissions created an unrealistically positive assessment of Reata and its

 business, operations, and prospects, thus causing the price of the Company’s securities to be

 artificially inflated at all relevant times, and when disclosed, negatively affected the value of the


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 Company’s shares. Defendants’ materially false and/or misleading statements during the Class

 Period resulted in Lead Plaintiff and other members of the Class purchasing the Company’s

 securities at such artificially inflated prices, and each of them has been damaged as a result.

        438.    At all relevant times, the market for Reata’s securities was an efficient market for

 the following reasons, among others:

                (a)     Reata shares met the requirements for listing, and were listed and actively

 traded on the NASDAQ, a highly efficient and automated market, with an average daily trading

 volume of 285,461 shares during the Class Period;

                (b)     As a regulated issuer, Reata filed periodic public reports with the SEC

 and/or the NASDAQ;

                (c)     Reata regularly communicated with public investors via established market

 communication mechanisms, including through regular dissemination of press releases on the

 national circuits of major newswire services and through other wide-ranging public disclosures,

 such as communications with the financial press and other similar reporting services; and/or

                (d)     Reata was followed by securities analysts employed by brokerage firms

 including Citigroup, Barclays, Jefferies, Leerink, Stifel, Baird, Cantor, and LT&Co, who wrote

 reports about the Company, and these reports were distributed to the sales force and certain

 customers of their respective brokerage firms. Each of these reports was publicly available and

 entered the public marketplace.

        439.    As a result of the foregoing, the market for Reata’s securities promptly digested

 current information regarding Reata from all publicly available sources and reflected such

 information in Reata’s share price. Under these circumstances, all purchasers of Reata’s securities

 during the Class Period suffered similar injury through their purchase of Reata’s securities at




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 artificially inflated prices and a presumption of reliance applies.

        440.    A Class-wide presumption of reliance is also appropriate in this action under the

 Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128 (1972),

 because the Class’s claims are, in large part, grounded on Defendants’ material misstatements

 and/or omissions. Because this action involves Defendants’ failure to disclose material adverse

 information regarding the Company’s business, operations, and financial prospects—information

 that Defendants were obligated to disclose—positive proof of reliance is not a prerequisite to

 recovery. All that is necessary is that the facts withheld be material in the sense that a reasonable

 investor might have considered them important in making investment decisions. Given the

 importance of the Class Period material misstatements and omissions set forth above, that

 requirement is satisfied here.

                2.      Class Period Analyst Reports Reflected and Transmitted Defendants’
                        Misstatements

        441.    Defendants’ misstatements concerning the FDA, CARDINAL, Bard, and retained

 eGFR were considered and relied upon by securities analysts and featured in their Class Period

 published reports on Reata. After each of the Reata Defendants’ quarterly results disclosures, and

 most of their ad hoc disclosures concerning CARDINAL or related matters, several analyst reports

 would immediately issue, reflecting Defendants’ misstatements. Illustrative examples include: (i)

 the Leerink and Jefferies analyst reports following the July 23, 2018 statements (¶ 218, supra); (ii)

 the Leerink report following the November 11-12, 2019 statements (¶ 258, supra); (iii) the Leerink

 and Jefferies analyst reports following the August 10, 2020 statements (¶ 358, supra); (iv) the

 Leerink report following the November 9, 2020 statements (¶ 300, supra); and (v) the October 21,

 2021 report following the Reata Defendants’ accumulated misstatements and shortly preceding the

 AdCom Meeting (¶ 348, supra).



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        F.      Inapplicability of the Statutory Safe Harbor and the Bespeaks Caution
                Doctrine

        442.    The statutory safe harbor provided for forward-looking statements under certain

 circumstances does not apply to any of the allegedly false statements pleaded in this Complaint.

 The statements alleged to be false and misleading herein all relate to then-existing facts and

 conditions. In addition, to the extent certain of the statements alleged to be false may be

 characterized as forward looking, they were not identified as “forward-looking statements” when

 made and there were no meaningful cautionary statements identifying important factors that could

 cause actual results to differ materially from those in the purportedly forward-looking statements.

 In the alternative, to the extent that the statutory safe harbor is determined to apply to any forward-

 looking statements pleaded herein, Defendants are liable for those false forward-looking

 statements because at the time each of those forward-looking statements was made, the speaker

 had actual knowledge that the forward-looking statement was materially false or misleading,

 and/or that the forward-looking statement was authorized or approved by an executive officer of

 the Company who knew that the statement was false when made.

 VI.    CLASS ACTION ALLEGATIONS

        443.    Lead Plaintiff brings this action as a class action pursuant to Fed. R. Civ. P. 23(a)

 and (b)(3) on behalf of the following Class: all persons and entities who purchased or otherwise

 acquired the publicly-traded common stock of Reata during the period between November 14,

 2016 and December 8, 2021, inclusive (the “Class Period”), and were damaged thereby, including

 all persons or entities who purchased or otherwise acquired Reata common stock pursuant and/or

 traceable to Reata’s 2019 Offering and/or December 2020 Offering during the Class Period, and

 were damaged thereby (the “Offerings Subclass”). Excluded from the Class are: (i) Defendants;

 (ii) members of the immediate family of any Defendant who is an individual; (iii) any person who



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 was an officer or director of Reata during the Class Period; (iv) any firm, trust, corporation, or

 other entity in which any Defendant has or had a controlling interest; and (v) the legal

 representatives, affiliates, heirs, successors-in-interest, or assigns of any such excluded person.

         444.    The members of the Class and the Offerings Subclass are so numerous that joinder

 of all members is impracticable. Throughout the Class Period, Reata’s common shares actively

 traded on the NASDAQ. While the exact number of Class members is unknown to Lead Plaintiff

 at this time and can only be ascertained through appropriate discovery, Lead Plaintiff believes that

 there are at least hundreds or thousands of members in the proposed Class. Defendants issued and

 sold at least 10.65 million shares of Reata common stock during the Class Period via four

 secondary public stock offerings (including 4.76 million shares in the 2019 Offering and 2020

 Offering), and millions of shares of Reata common stock were traded publicly during the Class

 Period on the NASDAQ. As of February 23, 2022, Reata had 31,484,670 shares of Class A

 common stock outstanding. Record owners and other members of the Class may be identified from

 records maintained by Reata or its transfer agent and may be notified of the pendency of this action

 by mail, using the form of notice similar to that customarily used in securities class actions.

         445.    Lead Plaintiff’s claims are typical of the claims of the members of the Class and

 the Offerings Subclass, as all members of the Class and the Offerings Subclass sustained damages

 from Defendants’ wrongful conduct alleged herein.

         446.    Lead Plaintiff will fairly and adequately protect the interests of the members of the

 Class, including the Offerings Subclass, and has retained counsel competent and experienced in

 class and securities litigation.

         447.    Common questions of law and fact exist as to all members of the Class and

 predominate over any questions solely affecting individual members of the Class. Among the




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 questions of law and fact common to the Class are:

         A. whether the federal securities laws were violated by Defendants’ acts as alleged herein;

         B. whether statements made by Defendants to the investing public during the Class Period,

             including in the 2019 Offering Documents and the 2020 Offering Documents, omitted

             and/or misrepresented material facts about the Company’s business, operations, and

             prospects;

         C. whether Defendants made false and/or misleading statements;

         D. whether Defendants’ statements omitted material facts necessary to make the

             statements made, in light of circumstances under which they were made, not

             misleading; and

         E. to what extent the members of the Class, including the Offerings Subclass, have

             sustained damages and the proper measure of such damages.

         448.    A class action is superior to all other available methods for the fair and efficient

 adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

 damages suffered by individual Class members may be relatively small, the expense and burden

 of individual litigation makes it impossible for members of the Class to individually redress the

 wrongs done to them. There will be no difficulty in the management of this action as a class action.

 VII.    CLAIMS FOR RELIEF UNDER THE EXCHANGE ACT

                                            FIRST CLAIM
                          Violation of Section 10(b) of the Exchange Act and
                                 Rule 10b-5 Promulgated Thereunder
                              Against Reata and the Officer Defendants

         449.    Lead Plaintiff repeats and re-alleges each and every allegation contained above as

 if fully set forth herein.

         450.    During the Class Period, Reata and the Officer Defendants carried out a plan,



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 scheme, and course of conduct which was intended to and, throughout the Class Period, did: (i)

 deceive the investing public, including Lead Plaintiff and other Class members, as alleged herein;

 and (ii) cause Lead Plaintiff and other members of the Class to purchase Reata’s securities at

 artificially inflated prices. In furtherance of this unlawful scheme, plan, and course of conduct,

 Reata and the Officer Defendants took the actions set forth herein.

        451.    Reata and the Officer Defendants: (i) employed devices, schemes, and artifices to

 defraud; (ii) made untrue statements of material fact and/or omitted to state material facts necessary

 to make the statements not misleading; and (iii) engaged in acts, practices, and a course of business

 which operated as a fraud and deceit upon the purchasers of the Company’s securities in an effort

 to maintain artificially high market prices for Reata’s securities in violation of Section 10(b) of the

 Exchange Act and Rule 10b-5 promulgated thereunder. Reata and the Officer Defendants are sued

 either as primary participants in the wrongful and illegal conduct charged herein or as controlling

 persons as alleged below.

        452.    Reata and the Officer Defendants, individually and in concert, directly and

 indirectly, by the use, means, or instrumentalities of interstate commerce and/or of the mails,

 engaged and participated in a continuous course of conduct to conceal adverse material

 information about Reata’s financial well-being and prospects, as specified herein.

        453.    Reata and the Officer Defendants: (i) employed devices, schemes, and artifices to

 defraud, while in possession of material adverse non-public information; (ii) engaged in acts,

 practices, and a course of conduct as alleged herein in an effort to assure investors of Reata’s value,

 which included the making of, or the participation in the making of, untrue statements of material

 facts and/or omitting to state material facts necessary to make the statements made about Reata

 and its business, operations, and future prospects in light of the circumstances under which they




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 were made, not misleading, as set forth more particularly herein; and (iii) engaged in transactions,

 practices, and a course of business which operated as a fraud and deceit upon the purchasers of the

 Company’s securities during the Class Period.

        454.    Each of the Officer Defendants’ primary liability and controlling person liability

 arises from the following facts: (i) the Officer Defendants were high-level executives and/or

 directors at the Company during the Class Period and members of the Company’s management

 team or had control thereof; (ii) each of the Officer Defendants, by virtue of their responsibilities

 and activities as a senior officer and/or director of the Company, was privy to and participated in

 the creation, development, and reporting of the Company’s internal budgets, plans, projections,

 and/or reports; (iii) each of the Officer Defendants enjoyed significant personal contact and

 familiarity with the other defendants and was advised of, and had access to, other members of the

 Company’s management team, internal reports, and other data and information about the

 Company’s finances, operations, and sales at all relevant times; and (iv) each of the Officer

 Defendants was aware of the Company’s dissemination of information to the investing public,

 which they knew and/or recklessly disregarded was materially false and misleading.

        455.    Reata and the Officer Defendants had actual knowledge of the misrepresentations

 and/or omissions of material facts set forth herein or acted with reckless disregard for the truth in

 that they failed to ascertain and disclose such facts, even though such facts were available to them.

 Such defendants’ material misrepresentations and/or omissions were done knowingly or recklessly

 and for the purpose and effect of concealing Reata’s financial well-being and prospects from the

 investing public and supporting the artificially inflated price of its securities. As demonstrated by

 their overstatements and/or misstatements of the Company’s business, operations, financial well-

 being, and prospects throughout the Class Period, Reata and the Officer Defendants, if they did




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 not have actual knowledge of the misrepresentations and/or omissions alleged, were reckless in

 failing to obtain such knowledge by deliberately refraining from taking those steps necessary to

 discover whether those statements were false or misleading.

        456.    As a result of the dissemination of the materially false and/or misleading

 information and/or failure to disclose material facts, as set forth above, the market price of Reata’s

 securities was artificially inflated during the Class Period. In ignorance of the fact that market

 prices of the Company’s securities were artificially inflated, and relying directly or indirectly on

 the false and misleading statements made by Reata and the Officer Defendants, or upon the

 integrity of the market in which the securities trades, and/or in the absence of material adverse

 information that was known to or recklessly disregarded by Reata and the Officer Defendants, but

 not disclosed in public statements by them during the Class Period, Lead Plaintiff and the other

 members of the Class acquired Reata’s securities during the Class Period at artificially high prices

 and were damaged thereby.

        457.    At the time of said misrepresentations and/or omissions, Lead Plaintiff and other

 members of the Class were ignorant of their falsity and believed them to be true. Had Lead Plaintiff

 and the other members of the Class and the marketplace known the truth regarding the problems

 that Reata was experiencing, which were not disclosed by Reata and the Officer Defendants, Lead

 Plaintiff and other members of the Class would not have purchased or otherwise acquired their

 Reata securities, or, if they had acquired such securities during the Class Period, they would not

 have done so at the artificially inflated prices which they paid.

        458.    By virtue of the foregoing, Reata and the Officer Defendants violated Section 10(b)

 of the Exchange Act and Rule 10b-5 promulgated thereunder.

        459.    As a direct and proximate result of Reata and the Officer Defendants’ wrongful




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 conduct, Lead Plaintiff and the other members of the Class suffered damages in connection with

 their respective purchases and sales of the Company’s securities during the Class Period.

                                            SECOND CLAIM
                              Violation of Section 20(a) of the Exchange Act
                                      Against the Officer Defendants

         460.    Lead Plaintiff repeats and re-alleges each and every allegation contained above as

 if fully set forth herein.

         461.    The Officer Defendants acted as controlling persons of Reata within the meaning

 of Section 20(a) of the Exchange Act as alleged herein. By virtue of their high-level positions and

 their ownership and contractual rights, participation in, and/or awareness of the Company’s

 operations and intimate knowledge of the false financial statements filed by the Company with the

 SEC and disseminated to the investing public, the Officer Defendants had the power to influence

 and control, and did influence and control, directly or indirectly, the decision making of the

 Company, including the content and dissemination of the various statements which Lead Plaintiff

 contends are false and misleading. The Officer Defendants were provided with or had unlimited

 access to copies of the Company’s reports, press releases, public filings, and other statements

 alleged by Lead Plaintiff to be misleading prior to and/or shortly after these statements were issued

 and had the ability to prevent the issuance of the statements or cause the statements to be corrected.

         462.    In particular, the Officer Defendants had direct and supervisory involvement in the

 day-to-day operations of the Company and, therefore, had the power to control or influence the

 particular transactions giving rise to the securities violations as alleged herein and exercised the

 same.

         463.    As set forth above, Reata and the Officer Defendants each violated Section 10(b)

 and Rule 10b-5 by their acts and omissions as alleged in this Complaint. By virtue of their position




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 as controlling persons, the Officer Defendants are liable pursuant to Section 20(a) of the Exchange

 Act. As a direct and proximate result of the Officer Defendants’ wrongful conduct, Lead Plaintiff

 and other members of the Class suffered damages in connection with their purchases of the

 Company’s securities during the Class Period.

 VIII. DEFENDANTS’ VIOLATIONS OF THE SECURITIES ACT

        464.    Lead Plaintiff’s claims under the Securities Act do not sound in fraud and Lead

 Plaintiff expressly disavows and disclaims any allegations of fraud, scheme, or intentional conduct

 as part of its claims under the Securities Act. Any allegations of fraud, fraudulent conduct, or

 motive are specifically disclaimed from the following allegations for the purpose of Lead

 Plaintiff’s claims under the Securities Act, which do not have scienter, fraudulent intent, or motive

 as required elements. To the extent that these allegations incorporate factual allegations pled

 elsewhere in this Complaint, those allegations are incorporated only to the extent that such

 allegations do not allege fraud, scienter, or the intent of Defendants to defraud Lead Plaintiff or

 members of the Class.

        465.    As alleged below, Reata, together with the Officer, Director, and Underwriter

 Defendants, made materially untrue statements and omissions of material facts in:

        A. the 2019 Offering Documents, in connection with the 2019 Offering of 2.76 million

             shares of Reata Class A common stock at $183.00 per share; and

        B. the 2020 Offering Documents, in connection with the 2020 Offering of 2.0 million

             shares of Reata Class A common stock at $140.85 per share.

        A.      The 2019 Offering

        466.    On or about November 14, 2019, the below-specified Defendants registered, issued,

 and sold to Lead Plaintiff and other Class members 2.76 million Reata shares at $183.00 per share

 in a secondary public offering underwritten by Defendants Citigroup, Jefferies, Leerink, Stifel,


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 Baird, Cantor, and LT&Co. The 2019 Offering Underwriter Defendants received approximately

 $12.6 million in fees, paid by Reata from gross offering proceeds of $505.1 million, for their

 willingness and efforts to underwrite the 2019 Offering and market and sell the 2.76 million Reata

 shares offered therein. Net proceeds to Reata from the 2019 Offering were $491.9 million.

                1.     The 2019 Offering Documents

        467.    The 2019 Offering was made pursuant to: (i) an automatically effective “shelf”

 registration statement filed with the SEC on Form S-3 on July 23, 2018, which included a

 prospectus (the “Shelf Registration Statement”), signed by Defendants Huff, Bass, McClellan,

 McGaughy, Nielsen, and Rose; and (ii) a final prospectus supplement filed with the SEC on Form

 424B5 and dated November 13, 2019 (the “2019 Offering ProSupp”).

        468.    The 2019 Offering ProSupp also “incorporated by reference” certain documents

 that Reata had previously filed with the SEC, which thereby became part of the 2019 Offering

 ProSupp. See 2019 Offering ProSupp at S-30. Among the documents so incorporated were:

        A. the 2018 10-K;

        B. the Q1 2019 Form 10-Q, Q2 2019 Form 10-Q, and Q3 2019 Form 10-Q; and

        C. a Reata Form 8-K filed with the SEC on November 12, 2019, which included as an

            exhibit the CARDINAL Phase 3 Results Release. See 2019 Offering ProSupp at S-30.

        469.    The above-specified documents are referred to herein as the “2019 Offering

 Incorporated Documents.” The Shelf Registration Statement, 2019 Offering ProSupp, and 2019

 Offering Incorporated Documents are referred to herein as the “2019 Offering Documents.”

                2.     Defendants’ Preparation of the 2019 Offering Documents

        470.    Reata, each of the Individual Defendants, and the 2019 Offering Underwriter

 Defendants prepared the 2019 Offering Documents.

        471.    Defendant Huff, together with Director Defendants McGaughy, Nielsen, Rose,


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 McClellan, and Bass, signed the Shelf Registration Statement.

        472.    Director Defendants McGaughy, Nielsen, Rose, McClellan, and Bass, and Officer

 Defendants Huff and Meyer, were, respectively, directors and officers of Reata at the time the

 Shelf Registration Statement was filed with the SEC, and reviewed, edited, approved, and/or

 authorized the Shelf Registration Statement.

        473.    Director Defendants McGaughy, Nielsen, Rose, McClellan, and Bass, and Officer

 Defendants Huff, Meyer, and Soni, were, respectively, directors and officers of Reata at the time

 the 2019 Offering ProSupp was filed with the SEC, and reviewed, edited, approved, and/or

 authorized the 2019 Offering ProSupp.

        474.    The 2019 Offering Underwriter Defendants helped to prepare the 2019 Offering

 ProSupp and the disclosures to investors therein. To do so, the 2019 Offering Underwriter

 Defendants:

        A. undertook a “due diligence” investigation into Reata, and in so doing, had continual

            access to confidential information concerning Reata’s operations and prospects;

        B. met with Reata’s management, including certain of the Officer Defendants and Director

            Defendants, to discuss and reach an agreement on, inter alia: (i) the strategy to best

            accomplish the 2019 Offering; (ii) the terms of the 2019 Offering, including the price

            at which Reata shares would be sold; and (iii) the disclosures to be made about Reata

            and the language to be used in the 2019 Offering ProSupp; and

        C. drafted, reviewed, edited, and/or approved the 2019 Offering ProSupp prior to its filing.

                3.     The 2019 Offering Documents Omitted and/or Misstated Material
                       Facts

        475.    The 2019 Offering Documents were negligently prepared and, as a result, contained

 untrue statements of material facts and/or omitted to state facts necessary to make the statements



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 made therein not misleading, and failed to make adequate disclosures required under the rules and

 regulations governing their preparation.

        476.    The 2019 Offering ProSupp contained FDA Guidance Representations and

 CARDINAL Retained eGFR Representations:

        Company Overview . . .

        On November 11, 2019, we announced that the Phase 3 portion of the CARDINAL
        study of bardoxolone in patients with CKD caused by Alport syndrome met its
        primary and key secondary Year 1 endpoints. . . . After 48 weeks of treatment and
        a four-week withdrawal period, patients treated with bardoxolone had a statistically
        significant improvement compared to placebo in mean retained eGFR of 5.14
        mL/min/1.73 m2 (p=0.0012). Bardoxolone treatment was generally reported to be
        well-tolerated and showed a similar safety profile to the Phase 2 portion of the
        CARDINAL study. Based on these positive results, and subject to discussions with
        regulatory authorities, we plan to proceed with the submission of regulatory filings
        for marketing approval in the United States and internationally.

                                                ***

        Bardoxolone in CKD Caused by Alport Syndrome . . .

        On November 11, 2019, we announced the topline, Year 1 results from the Phase 3
        portion of CARDINAL studying bardoxolone in Alport syndrome patients. . . . The
        FDA has provided us with written guidance that, in patients with CKD caused by
        Alport syndrome, an analysis of retained eGFR demonstrating an improvement
        versus placebo after one year of bardoxolone treatment may support a New Drug
        Application (NDA) submission for accelerated approval and an improvement
        versus placebo after two years of treatment may support full approval. . . .

        Patients’ retained eGFR was also assessed at Week 52, after 48 weeks of treatment
        and withdrawal of drug for four weeks. At Week 52, patients treated with
        bardoxolone had a statistically significant improvement compared to placebo in
        mean retained eGFR of 5.14 mL/min/1.73 m2 (p=0.0012).

 2019 Offering ProSupp at S-1, S-2 – S-3.

        477.    The FDA Guidance Representations in the 2019 Offering ProSupp – i.e., the

 representation that the FDA had provided Reata with “written guidance that, in patients with CKD

 caused by Alport syndrome, an analysis of retained eGFR demonstrating an improvement versus

 placebo after one year of bardoxolone treatment may support a New Drug Application (NDA)


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 submission for accelerated approval and an improvement versus placebo after two years of

 treatment may support full approval” – were materially misleading, and omitted to state additional

 facts necessary to make them not misleading, for two principal reasons. Id. at S-3.

        A. First, although the 2019 Offering ProSupp referenced the FDA guidance received in

            October 2016 concerning adequate CARDINAL design and data, it omitted to make

            any mention of the FDA’s subsequent communications – in December 2016,

            September 2018, and February 2019 – informing Reata that (i) Reata had not obtained

            FDA concurrence on adequate CARDINAL design and data, and (ii) that

            CARDINAL’s design and data – and specifically, its utilization of a four-week washout

            period, and the resulting retained eGFR data generated on the basis of that four-week

            washout period – had strayed from and did not accord with FDA guidance.

        B. Second, although the 2019 Offering ProSupp correctly informed that FDA approval

            could be based on demonstration of a retained eGFR benefit for Bard, it omitted to state

            that the purported retained eGFR data and results produced by CARDINAL were

            neither the retained eGFR described by the FDA nor in fact retained eGFR at all.

            Because CARDINAL utilized an inadequate four-week washout period insufficient to

            extinguish Bard’s PD effects, the eGFR results it measured and labeled as retained

            eGFR were not in fact valid retained eGFR but were contaminated by the very thing

            retained eGFR was supposed to exclude: PD effects.

        478.    The CARDINAL Retained eGFR Representations in the 2019 Offering ProSupp –

 i.e., the related representations that “[a]t Week 52, patients treated with bardoxolone had a

 statistically significant improvement compared to placebo in mean retained eGFR of 5.14

 mL/min/1.73 m2[,]” and that this statistically significant improvement in retained eGFR meant




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 that “CARDINAL . . . met its . . . key secondary Year 1 endpoints” – were materially false and/or

 misleading, and omitted to state additional facts necessary to make them not misleading.

         479.    First, the 2019 Offering ProSupp mischaracterized CARDINAL’s week 52 results

 as retained eGFR when in fact they were not. In fact, and as a result of CARDINAL’s inadequate

 four-week washout period, some substantial portion and/or all of the “statistically significant

 improvement compared to placebo in mean retained eGFR of 5.14 mL/min/1.73 m2” was not in

 fact truly retained eGFR, but the very thing that retained eGFR was supposed to be free of: PD

 effects remaining from treatment. In truth and put simply, due to its inadequate washout period,

 CARDINAL did not show a 5.14-point improvement in retained eGFR from Bard. In fact, it did

 not generate any evidence of any retained eGFR benefit from Bard at all.

         480.    Second, the related representation that “CARDINAL . . . met its . . . key secondary

 Year 1 endpoints” was materially false and/or misleading for the same reasons. CARDINAL’s

 “key secondary Year 1 endpoint” was retained eGFR (specifically, change in eGFR over baseline

 versus placebo). This endpoint was purportedly “met” by the above-discussed represented result:

 a “statistically significant improvement compared to placebo in mean retained eGFR of 5.14

 mL/min/1.73 m2.” But, due to CARDINAL’s inadequate four-week washout period,

 CARDINAL’s actual results were not as represented: they were neither a 5.14-point improvement

 in retained eGFR nor retained eGFR at all. In truth and put simply, the representation that

 CARDINAL results succeeded on the key secondary endpoint of retained eGFR was illusory, as

 CARDINAL had not in fact generated any evidence of any retained eGFR benefit from Bard.

         481.    The 2019 Offering ProSupp – and specifically the above-identified CARDINAL

 Retained eGFR Representations and FDA Guidance Representations therein – omitted to disclose

 the material facts that:




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        A. valid measurement of retained eGFR in CARDINAL required a washout period of eight

            weeks – twice as long as the four-week washout period actually utilized;

        B. CARDINAL, with a washout period insufficient and inadequate to extinguish Bard’s

            PD effects, was not generating accurate or valid measurements of retained eGFR;

        C. as CARDINAL’s retained eGFR results were not actually retained eGFR at all, they

            were incapable of supporting or serving as a basis for FDA approval; and

        D. the FDA had repeatedly warned Reata of the foregoing in its December 2016 Advice

            Letter and September 2018 and February 2019 communications to Reata.

        482.    The 2019 Offering ProSupp, additionally, contained further material misstatements

 incorporated by reference.

        483.    The 2019 Offering ProSupp contained 10-14 Day Washout Representations,

 representing that Bard was fully “washed out” within 14 days after cessation of treatment, and/or

 that all PD effects of Bard treatment had resolved, or ceased, within 14 days after cessation of

 treatment, via its incorporation of such representations in the 2018 10-K (see ¶ 240, supra).

        484.    The 10-14 Day Washout Representations incorporated into the 2019 Offering

 Documents were materially false and/or misleading. In fact, after extended Bard treatment such as

 in CARDINAL, Bard did not wash out within 14 days, but instead continued to be active and exert

 PD effects for as long as eight weeks.

        485.    This untruth was material, and served as a requisite predicate for many of the other

 alleged misstatements. An eight-week washout period – four times longer than Defendants had

 represented in the 10-14 Day Washout Representations, and twice as long as the washout period

 employed in Reata’s CARDINAL, BEAM, and BEACON studies – meant:

        A. that CARDINAL was not adequately designed to measure, or generate evidence




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            concerning, retained eGFR, as measurement of eGFR at only four weeks following

            Bard discontinuation would actually still measure Bard’s PD effects, rather than, as

            represented, eGFR benefits retained after Bard’s PD effects had fully resolved;

        B. that the purported retained eGFR benefits purportedly evidenced by CARDINAL’s

            data and results were no such thing, but rather were contaminated by the very thing

            Defendants represented them to be free of – Bard’s PD effects; and

        C. that the same was the case for the purported retained eGFR benefits purportedly

            evidenced in Reata’s prior BEAM and BEACON studies, which utilized similarly

            inadequate four-week washout periods.

        486.      The 2019 Offering ProSupp contained CARDINAL Design Representations –

 representations that CARDINAL was designed to measure, and was measuring, retained eGFR –

 via its incorporation of such representations in the CARDINAL Phase 3 Results Release (see

 ¶ 249, supra).

        487.      The CARDINAL Design Representations incorporated into the 2019 Offering

 Documents were materially false and/or misleading. The CARDINAL measurements and data that

 Defendants represented to be retained eGFR were not in fact retained eGFR. Because the extended

 Bard treatment in CARDINAL required eight weeks to wash out, CARDINAL’s measurement of

 eGFR after a washout of only four weeks would actually measure some substantial portion of

 Bard’s PD effects that still remained after four weeks, rather than, as Defendants represented,

 purported eGFR benefits retained after PD effects had resolved.

        488.      The   2019   Offering   ProSupp    contained     CARDINAL      Retained     eGFR

 Representations – representations that CARDINAL data/results had in fact demonstrated a

 statistically significant retained eGFR benefit for Bard (four weeks after treatment




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 discontinuation), and thereby purportedly succeeded in meeting CARDINAL’s key secondary

 endpoint – via its incorporation of such representations in the 2018 10-K (see ¶¶239-40, supra),

 the Q3 2019 10-Q (see ¶¶ 250-51, supra), and the CARDINAL Phase 3 Results Release (see ¶ 249,

 supra).

           489.   The CARDINAL Retained eGFR Representations incorporated into the 2019

 Offering Documents were materially false and/or misleading. Extended treatment with Bard, as in

 CARDINAL, required eight weeks to wash out – as indicated inter alia by the TSUBAKI study –

 before a true, valid, and accurate retained eGFR measure could be made. CARDINAL’s retained

 eGFR measurements, however, were made only four weeks after cessation of treatment with Bard:

 i.e., only halfway through, rather than following the end of, the requisite washout period.

 Consequently, the purported retained eGFR benefits purportedly evidenced in CARDINAL’s

 results were no such thing, but rather were contaminated and elevated by the very thing Defendants

 represented them to be free of – Bard’s PD effects. This contamination made them not only

 inaccurate (i.e., not the 5.14-point retained eGFR benefit claimed), but fundamentally invalid, and

 not retained eGFR at all (i.e., no evidence of any retained eGFR benefit). Defendants’ claims that

 CARDINAL had succeeded on its key secondary endpoint (retained eGFR benefit) were therefore

 illusory and materially misleading.

           490.   The 2019 Offering ProSupp contained Prior Study Retained eGFR Representations

 – representing that Reata’s prior BEAM and BEACON Bard studies also demonstrated statistically

 significant retained eGFR benefits for Bard (four weeks after treatment discontinuation) – via its

 incorporation of such representations in the 2018 10-K (see ¶ 240, supra) and the Q3 2019 10-Q

 (see ¶ 251, supra).

           491.   The Prior Study Retained eGFR Representations incorporated into the 2019




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 Offering Documents were materially false and/or misleading for the same reasons that the

 CARDINAL Retained eGFR Representations were. BEAM and BEACON’s retained eGFR

 measurements, just like CARDINAL’s, were made only four weeks after treatment cessation: i.e.,

 only halfway through, rather than following the end of, the requisite washout period indicated inter

 alia by TSUBAKI. Consequently, the purported retained eGFR benefits purportedly evidenced in

 the BEAM and BEACON results were no such thing, but rather were contaminated and elevated

 by the very thing Defendants represented them to be free of – Bard’s PD effects.

        492.    Finally, the 2019 Offering ProSupp contained additional FDA Guidance

 Representations, over and above the above-identified statements made directly in the 2019

 Offering ProSupp (see ¶ 476, supra), via its incorporation of such representations in the 2018 Form

 10-K (see ¶¶ 239-40, supra), the Q3 2019 10-Q (see ¶¶ 250-51, supra), and the CARDINAL Phase

 3 Results Release (see ¶ 249, supra).

        493.    The FDA Guidance Representations incorporated by reference into the 2019

 Offering ProSupp were materially misleading for the same reasons that the FDA Guidance

 Representations made directly in the 2019 Offering ProSupp were, as set forth in ¶ 477, supra.

        494.    Additionally, the 2019 Offering ProSupp purported to provide requisite “risk

 factor” disclosures by incorporating by reference the Risk Factor Disclosures contained in the 2018

 10-K. See 2019 Offering ProSupp at S-13. 22 The 2018 10-K’s Risk Factor Disclosures were,

 however, inadequate and materially misleading. See 2018 10-K at 52-53, 73-74. They inaccurately

 described certain risks – specifically, that the FDA might not approve Bard due to “inadequate

 design or implementation of our clinical trials[,]” failure to demonstrate Bard’s “safety and


 22
   The 2019 Offering ProSupp also incorporated by reference the single, here-irrelevant risk factor
 contained in Reata’s Q2 2019 10-Q (the risk of computer system failures or security breaches).
 See 2019 Offering ProSupp at S-13; Q2 2019 10-Q at 32-33.


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 efficacy . . . to the satisfaction of the relevant regulatory authorities[,]” and FDA disagreement

 “that our completed clinical trials provide adequate data on safety or efficacy[]” – as potential

 risks, stated in a generalized and hypothetical manner, while omitting to disclose material, then-

 existing facts – such as the FDA’s December 2016 Advice Letter, and the FDA’s September 2018

 and February 2019 communications – indicating that these risks were actually materializing.

        B.      The 2020 Offering

        495.    On or about December 1, 2020, the below-specified Defendants registered, issued,

 and sold to Lead Plaintiff and other Class members 2.0 million Reata shares at $140.85 per share,

 in a secondary public offering underwritten by Defendants Barclays and Goldman (the “2020

 Offering Underwriter Defendants”). The 2020 Offering Underwriter Defendants received $3.8

 million in fees, paid by Reata from 2020 Offering gross proceeds of $281.7 million, for their

 willingness and efforts to underwrite the 2020 Offering and to market and sell the 2.0 million Reata

 shares offered therein. Net proceeds to Reata were approximately $277.5 million.

                1.      The 2020 Offering Documents

        496.    The 2020 Offering was made pursuant to: (i) the Shelf Registration Statement; and

 (ii) a final prospectus supplement filed with the SEC on Form 424B5 and dated December 1, 2020

 (the “2020 Offering ProSupp”).

        497.    The 2020 Offering ProSupp also “incorporated by reference” certain documents

 that Reata had previously filed with the SEC, which thereby became part of the 2020 Offering

 ProSupp. See 2020 Offering ProSupp at S-30. Among the documents incorporated were:

        A. the 2019 10-K;

        B. the Q1 2020 Form 10-Q, Q2 2020 Form 10-Q, and Q3 2020 Form 10-Q; and

        C. a Reata Form 8-K filed on November 9, 2020, which included as an exhibit the

             CARDINAL Year 2 Results Release.


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 2020 Offering ProSupp at S-30.

        498.    The above-specified documents are referred to herein as the “2020 Offering

 Incorporated Documents.” The Shelf Registration Statement, 2020 Offering ProSupp, and 2020

 Offering Incorporated Documents are referred to herein as the “2020 Offering Documents.”

                2.      Defendants’ Preparation of the 2020 Offering Documents

        499.    Reata, the Individual Defendants, and the 2020 Offering Underwriter Defendants

 prepared the 2020 Offering Documents.

        500.    Defendant Huff, together with Director Defendants McGaughy, Nielsen, Rose,

 McClellan, and Bass, signed the Shelf Registration Statement. Director Defendants McGaughy,

 Nielsen, Rose, McClellan, and Bass, and Officer Defendants Huff and Meyer, were, respectively,

 directors and officers of Reata at the time the Shelf Registration Statement was filed with the SEC,

 and reviewed, edited, approved, and/or authorized the Shelf Registration Statement.

        501.    Director Defendants McGaughy, Nielsen, Rose, and McClellan, and Officer

 Defendants Huff, Meyer, and Soni, were, respectively, directors and officers of Reata at the time

 the 2020 Offering ProSupp was filed with the SEC, and reviewed, edited, approved, and/or

 authorized the 2020 Offering ProSupp.

        502.    The 2020 Offering Underwriter Defendants helped to prepare the 2020 Offering

 ProSupp and the disclosures made therein. To do so, the 2020 Offering Underwriter Defendants:

        A. undertook a “due diligence” investigation into Reata, and in so doing, had continual

            access to confidential information concerning Reata’s operations and prospects;

        B. met with Reata’s management, including certain of the Officer Defendants and

            Directors Defendants, to discuss and reach agreement on, inter alia: (i) the strategy to

            best accomplish the 2020 Offering; (ii) the terms of the 2020 Offering, including the

            price at which Reata shares would be sold; and (iii) the disclosures to be made and the


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            language to be used in the 2020 Offering ProSupp; and

        C. drafted, reviewed, edited, and/or approved the 2020 Offering ProSupp prior to its filing.

                3.     The 2020 Offering Documents Omitted and/or Misstated Material
                       Facts

        503.    The 2020 Offering Documents were negligently prepared and, as a result, contained

 untrue statements of material facts and/or omitted to state facts necessary to make the statements

 made therein not misleading, and failed to make adequate disclosures required under the rules and

 regulations governing their preparation.

        504.    The   2020    Offering      ProSupp    contained   CARDINAL       Retained    eGFR

 Representations:

        Recent Key Developments . . .

        On November 9, 2020, we announced that the Phase 3 CARDINAL study of
        bardoxolone in patients with CKD caused by Alport syndrome met its primary and
        key secondary endpoints at the end of Year 2. . . . At Week 104 (four weeks after
        last dose in second year of treatment), patients in the ITT population treated with
        bardoxolone had a statistically significant improvement compared to placebo in
        mean change from baseline in eGFR of 4.3 mL/min/1.73 m2 (p=0.023).
        Bardoxolone treatment was generally reported to be well-tolerated. Based on these
        positive results and following a recently completed pre-New Drug Application
        (NDA) meeting with the U.S. Food and Drug Administration (FDA), we plan to
        proceed with the submission of an NDA for full marketing approval in the United
        States in the first quarter of 2021.

                                                 ***

        Bardoxolone in CKD Caused by Alport Syndrome . . .

        On November 9, 2020, we announced that the Phase 3 CARDINAL study of
        bardoxolone in patients with CKD caused by Alport syndrome met its primary and
        key secondary endpoints at the end of Year 2. . . . At Week 104 (four weeks after
        last dose in second year of treatment), patients in the ITT population treated with
        bardoxolone had a statistically significant improvement compared to placebo in
        mean change from baseline in eGFR of 4.3 mL/min/1.73 m2 (p=0.023).

 2020 Offering ProSupp at S-1 – S-2, S-4.

        505.    The CARDINAL Retained eGFR Representations in the 2020 Offering ProSupp –


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 i.e., the related representations that “[a]t Week 104 (four weeks after last dose in second year of

 treatment), patients . . . treated with bardoxolone had a statistically significant improvement

 compared to placebo in mean change from baseline in eGFR of 4.3 mL/min/1.73 m2” and that this

 statistically significant improvement in retained eGFR meant that “CARDINAL . . . met its . . .

 key secondary endpoints at the end of Year 2” – were materially false and/or misleading and

 omitted to state additional facts necessary to make them not misleading. Id. at S-4.

         506.   First, the 2020 Offering ProSupp mischaracterized CARDINAL’s week 104 results

 as retained eGFR when in fact they were not. In fact, and as a result of CARDINAL’s inadequate

 four-week washout period, some substantial portion and/or all of the purported 4.3 mL/min/1.73

 m2 retained eGFR benefit was not in fact truly retained eGFR, but the very thing that retained

 eGFR was supposed to be free of: PD effects remaining from treatment. In truth and put simply,

 due to its inadequate washout period, CARDINAL did not show a 4.3-point improvement in

 retained eGFR from Bard and did not generate any evidence of any retained eGFR benefit from

 Bard at all.

         507.   Second, the related representation that “CARDINAL . . . met its . . . key secondary

 endpoints at the end of Year 2” was materially false and/or misleading for the same reasons.

 CARDINAL’s “key secondary endpoint” was retained eGFR. This endpoint was purportedly

 “met” by the above-discussed represented result: a “statistically significant improvement

 compared to placebo in mean change from baseline in eGFR of 4.3 mL/min/1.73 m2.” But, due to

 CARDINAL’s inadequate four-week washout period, CARDINAL’s actual results were not as

 represented: they were neither a 4.3-point improvement in retained eGFR nor retained eGFR at

 all. In truth and put simply, the representation that CARDINAL results succeeded on the key

 secondary endpoint of retained eGFR was illusory, as CARDINAL had not in fact generated any




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 evidence of any retained eGFR benefit from Bard at all.

        508.    The 2020 Offering ProSupp contained Prior Study Retained eGFR Representations:

        Historical Development of Bardoxolone

        Clinical trials enrolling over 2,000 patients exposed to bardoxolone have
        demonstrated consistent, clinically meaningful improvement in kidney function
        across several disease states as measured by eGFR . . . .

         . . . We believe these data, in addition to the CARDINAL Phase 3 Year 2 data,
        support the potential for bardoxolone to delay or prevent dialysis, kidney transplant,
        and death in patients with Alport syndrome and other forms of CKD.

        Additional observations from the prior clinical trials of bardoxolone include the
        following: . . .

        • Statistically significant improvement in eGFR during the off-treatment period in
        BEAM, BEACON, the Phase 2 portion of CARDINAL at Year 1, and the Phase 3
        portion of CARDINAL at Year 2. We believe the eGFR benefit during the off-
        treatment period observed in these clinical trials demonstrates that bardoxolone
        treatment improved the structure of the kidney, modified the course of the disease,
        and may prevent or delay kidney failure and the need for dialysis or a kidney
        transplant.

 2020 Offering ProSupp at S-6 – S-7.

        509.    The Prior Study Retained eGFR Representations in the 2020 Offering ProSupp

 were materially false and/or misleading for the same reasons that the CARDINAL Retained eGFR

 Representations were false and/or misleading. BEAM and BEACON’s retained eGFR

 measurements, just like CARDINAL’s, were made only four weeks after treatment cessation: i.e.,

 only halfway through, rather than following the end of, the requisite washout period indicated inter

 alia by TSUBAKI. Consequently, the “eGFR benefit during the off-treatment period” purportedly

 evidenced in BEAM and BEACON were not retained eGFR at all, but rather were contaminated

 and elevated by the very thing Defendants represented them to be free of – Bard’s PD effects.

        510.    The 2020 Offering ProSupp contained Bard NDA Representations:




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        Recent Key Developments . . .

        On November 9, 2020, we announced that the Phase 3 CARDINAL study of
        bardoxolone in patients with CKD caused by Alport syndrome met its primary and
        key secondary endpoints at the end of Year 2. . . . At Week 104 (four weeks after
        last dose in second year of treatment), patients in the ITT population treated with
        bardoxolone had a statistically significant improvement compared to placebo in
        mean change from baseline in eGFR of 4.3 mL/min/1.73 m2 (p=0.023).
        Bardoxolone treatment was generally reported to be well-tolerated. Based on these
        positive results and following a recently completed pre-New Drug Application
        (NDA) meeting with the U.S. Food and Drug Administration (FDA), we plan to
        proceed with the submission of an NDA for full marketing approval in the United
        States in the first quarter of 2021.

                                                ***

        We recently completed the previously announced pre-NDA meeting with the FDA
        to discuss the NDA submission content and plans. Based on that meeting and the
        FDA’s responses and the subsequently announced positive results of the Year 2
        data of the CARDINAL Phase 3 study, we plan to proceed with an NDA filing for
        full marketing approval of bardoxolone in patients with CKD caused by Alport
        syndrome in the first quarter of 2021. We will also continue preparations to file for
        marketing approval in Europe.

 2020 Offering ProSupp at S-1 – S-2, S-5.

        511.    The Bard NDA Representations in the 2020 Offering ProSupp were materially

 misleading because they omitted to disclose numerous facts then known by Defendants that were

 highly material to evaluation of the Bard NDA and that indicated far greater risks to its approval

 than publicly understood in light of Defendants’ other accumulated misstatements, including:

        A. that Bard’s PD effects did not wash out quickly (per the 10-14 Day Washout

            Representations), but instead required eight weeks for washout;

        B. that as a result, the purported retained eGFR results from CARDINAL, BEAM, and

            BEACON (constantly repeated via CARDINAL Retained eGFR Representations and

            Prior Study Retained eGFR Representations) neither measured nor evidenced truly

            retained eGFR, and thus could not and did not support FDA approval; and

        C. that the FDA had repeatedly warned Reata between December 2016 and September


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            2020 that it did not concur with CARDINAL’s design, that the four-week washout

            period was inadequate and/or without basis, and that retained eGFR data predicated on

            such a washout period would be invalid and incapable of supporting FDA approval.

        512.    These omissions meant that Defendants, on the one hand, and Lead Plaintiff and

 other Class members on the other hand, had substantially different sets of information for

 understanding the Bard NDA’s merits and likelihood of FDA approval. Defendants were privy to

 the FDA’s concerns that the washout period used in CARDINAL was too short to measure true

 retained eGFR, that the purported retained eGFR data from CARDINAL might not constitute or

 evidence retained eGFR at all, and hence that key efficacy data supporting the Bard NDA’s

 approvability, and purporting to indicate that Bard evidenced disease-modifying effects rather than

 simply PD effects, was a hollow simulacrum.

        513.    On the other hand, and as a result of Defendants’ above-summarized material

 misrepresentations and omissions, Lead Plaintiff and Class members were aware of none of this.

 In the world created by Defendants’ disclosures:

        A. Bard washed out quickly (per the 10-14 Day Washout Representations), which

            supported the apparent validity of the retained eGFR results from CARDINAL, BEAM,

            and BEACON (as constantly repeated via the CARDINAL Retained eGFR

            Representations and Prior Study Retained eGFR Representations); and

        B. the FDA had always supported – rather than long questioned – the validity of retained

            eGFR data produced and adduced by Reata (per the FDA Guidance Representations).

        514.    Lead Plaintiff and Class members were thereby led to a far more sanguine – and

 materially incomplete and inaccurate – view of Reata’s prospects and the prospects for FDA

 approval of the Bard NDA.




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        515.    The 2020 Offering ProSupp – and specifically the above-identified CARDINAL

 Retained eGFR Representations, Prior Study Retained eGFR Representations, and Bard NDA

 Representations therein – omitted to disclose the material facts that:

        A. valid measurement of retained eGFR in CARDINAL required a washout period of eight

            weeks – twice as long as the four-week washout period actually utilized;

        B. CARDINAL, with a washout period insufficient and inadequate to extinguish Bard’s

            PD effects, was not generating accurate or valid measurements of retained eGFR;

        C. as CARDINAL’s retained eGFR results were not actually retained eGFR at all, they

            were incapable of supporting or serving as a basis for FDA approval; and

        D. the FDA had repeatedly warned Reata of the foregoing in its December 2016 Advice

            Letter, its September 2018 and February 2019 communications to Reata, and its

            January 2020 and September 2020 meetings with Reata.

        516.    The 2020 Offering ProSupp, additionally, contained further material misstatements

 incorporated by reference.

        517.    The 2020 Offering ProSupp contained FDA Guidance Representations –

 representing that (i) CARDINAL, including its four-week washout period for retained eGFR, had

 been designed pursuant to and in accordance with FDA guidance, and (ii) successful retained

 eGFR results from CARDINAL would support FDA approval – via its incorporation of such

 representations in the 2019 10-K (see ¶ 268, supra), the Q1 2020 10-Q (see ¶ 275, supra), and the

 Q2 2020 10-Q (see ¶ 282, supra).

        518.    The FDA Guidance Representations, incorporated by reference into the 2020

 Offering ProSupp, were materially misleading and omitted to state additional facts necessary to

 make them not misleading, for two principal reasons.




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        A. First, although the 2020 Offering ProSupp’s incorporated statements referenced the

           FDA guidance received in October 2016 concerning adequate CARDINAL design and

           data, they omitted to make any mention of the FDA’s subsequent communications – in

           December 2016, September 2018, February 2019, January 2020, and September 2020

           – informing Reata that (i) Reata had not obtained FDA concurrence on adequate

           CARDINAL design and data, and (ii) CARDINAL’s design and data – and specifically,

           utilization of a four-week washout period, and the resulting retained eGFR data

           generated based on that four-week washout period – had strayed from and did not

           accord with FDA guidance.

        B. Second, although the 2020 Offering ProSupp’s incorporated statements correctly

           informed that FDA approval could be based on demonstration of a retained eGFR

           benefit for Bard, they omitted to state that the purported retained eGFR data and results

           produced by CARDINAL were neither the retained eGFR described by the FDA

           nor in fact retained eGFR at all. Because CARDINAL utilized an inadequate four-

           week washout period insufficient to extinguish Bard’s PD effects, the eGFR results it

           measured and labeled as retained eGFR were not valid retained eGFR but were

           contaminated by the very thing retained eGFR was supposed to exclude: PD effects.

        519.   The 2020 Offering ProSupp contained additional CARDINAL Retained eGFR

 Representations – over and above those made directly in the 2020 Offering ProSupp – via its

 incorporation of such representations in the 2019 10-K (see ¶ 268, supra), Q1 2020 10-Q (see ¶

 275, supra), Q2 2020 10-Q (see ¶ 282, supra), Q3 2020 10-Q (see ¶ 291, supra) and the

 CARDINAL Year 2 Results Release (see ¶ 289, supra).

        520.   The CARDINAL Retained eGFR Representations incorporated into the 2020




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 Offering Documents were materially false and/or misleading for the same reasons that the

 CARDINAL Retained eGFR Representations made directly in the 2020 Offering ProSupp were,

 as set forth at ¶¶ 504-07, supra.

        521.    The 2020 Offering ProSupp contained additional Prior Study Retained eGFR

 Representations – over and above those made directly in the 2020 Offering ProSupp – via its

 incorporation of such representations in the 2019 10-K (see ¶ 268, supra), Q1 2020 10-Q (see ¶

 275, supra), Q2 2020 10-Q (see ¶ 282, supra) and Q3 2020 10-Q (see ¶ 291, supra).

        522.    The Prior Study Retained eGFR Representations incorporated into the 2020

 Offering Documents were materially false and/or misleading for the same reasons that the Prior

 Study Retained eGFR Representations made directly in the 2020 Offering ProSupp were, as set

 forth at ¶¶ 508-09, supra.

        523.    The 2020 Offering ProSupp contained additional Bard NDA Representations – over

 and above those made directly in the 2020 Offering ProSupp – via its incorporation of such

 representations in the Q3 2020 10-Q (see ¶ 291, supra) and the CARDINAL Year 2 Two Results

 Release (see ¶ 289, supra).

        524.    The Bard NDA Representations incorporated into the 2020 Offering Documents

 were materially false and/or misleading for the same reasons that the Bard NDA Representations

 made directly in the 2020 Offering ProSupp were, as set forth at ¶¶ 510-15, supra.

        525.    Additionally, the 2020 Offering ProSupp purported to provide requisite “risk

 factor” disclosures by incorporating by reference the Risk Factor Disclosures contained in the 2019

 10-K. See 2020 Offering ProSupp at S-13. 23 The 2019 10-K’s Risk Factor Disclosures were,


 23
   The 2020 Offering ProSupp also incorporated by reference the single, here-irrelevant risk factor
 contained in the Q1 2020 10-Q (the risk that COVID-19 presented to business operations and
 results). See 2020 Offering ProSupp at S-13; Q1 2020 10-Q at 29.


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 however, inadequate and materially misleading. See 2019 10-K at 51-52, 73-74. They inaccurately

 described certain risks – specifically, that the FDA might not approve Bard due to “inadequate

 design or implementation of our clinical trials[,]” failure to demonstrate Bard’s “safety and

 efficacy . . . to the satisfaction of the relevant regulatory authorities[,]” and FDA disagreement

 “that our completed clinical trials provide adequate data on safety or efficacy[]” – as potential

 risks, stated in a generalized and hypothetical manner, while omitting to disclose material, then-

 existing facts – such as the FDA’s December 2016 Advice Letter, the FDA’s September 2018 and

 February 2019 communications, and the January 2020 FDA Meeting and September 2020 FDA

 meeting – indicating that these risks were actually materializing.

        C.      Post-Secondary Public Offering Events

        526.    On December 20, 2021, when the initial complaint in this action was filed, Reata

 shares closed trading at $29.12 per share. This price represented a decline of: (i) $153.88 per share,

 or 84.1%, from the 2019 Offering price ($183.00); and (ii) $111.73 per share, or 79.3%, from the

 2020 Offering price ($140.85).

 IX.    CLAIMS FOR RELIEF UNDER THE SECURITIES ACT

                                       THIRD CLAIM
                         Violation of Section 11 of the Securities Act
             Against Reata, Defendants Huff and Meyer, the Director Defendants,
                            and the 2019 Underwriter Defendants
                               (Relating to the 2019 Offering)

        527.    Lead Plaintiff repeats and realleges the allegations in ¶¶ 19-93, 464-94 and 526 as

 if alleged fully in this claim, but only to the extent that such allegations do not allege fraud,

 scienter, or the intents of the Defendants named in this claim to defraud Lead Plaintiff or other

 Class members within the scope of this cause of action.

        528.    This claim is brought by Lead Plaintiff pursuant to Section 11 of the Securities Act,

 15 U.S.C. § 77k, on behalf of all members of the Class who purchased or otherwise acquired Reata


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 common stock pursuant or traceable to the 2019 Offering and were damaged thereby.

        529.    This claim expressly excludes and disclaims any allegation of fraud or intentional

 or reckless conduct, as this claim is solely based upon claims of strict liability and/or negligence

 under the Securities Act. For purposes of asserting this claim, Lead Plaintiff does not allege that

 Defendants acted with scienter or fraudulent intent, which are not elements of a Section 11 claim.

        530.    The 2019 Offering Documents were false and/or misleading, contained untrue

 statements of material facts, omitted to state facts necessary to make the statements not misleading,

 and omitted material facts required to be stated therein.

        531.    Reata is the registrant and issuer of the common stock offered pursuant to the 2019

 Offering Documents in the 2019 Offering. As such, Reata is strictly liable under Section 11 of the

 Securities Act to Lead Plaintiff and to relevant Class members for the materially inaccurate

 statements contained in the 2019 Offering Documents, and the failure of 2019 Offering Documents

 to be complete and accurate.

        532.    None of the Defendants named in this cause of action made a reasonable

 investigation or possessed reasonable grounds for the belief that the statements contained in the

 2019 Offering Documents were true, without omissions of any material facts, and not misleading.

        533.    The Officer and Director Defendants caused the issuance of the 2019 Offering.

 Defendant Huff and the Director Defendants signed the Shelf Registration Statement, and together

 with Defendant Meyer, were Reata officers or directors at the time of the 2019 Offering.

 Defendants Huff and Meyer, and each of the Director Defendants, are therefore statutorily liable

 under Section 11 of the Securities Act.

        534.    Defendants Huff and Meyer, and the Director Defendants, each had a duty to make

 a reasonable and diligent investigation into the truthfulness and accuracy of the statements




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 contained in the 2019 Offering Documents. They each had a duty to ensure that such statements

 were true and accurate and that there were no omissions of material fact that would make the

 statements misleading. By virtue of these Defendants’ failures to exercise reasonable care, the

 2019 Offering Documents contained misstatements of material facts and omissions of material

 facts. As such, each of these Defendants is liable under Section 11 of the Securities Act to Lead

 Plaintiff and to relevant members of the Class within the scope of this cause of action.

        535.    The 2019 Offering Underwriter Defendants served as the underwriters for the 2019

 Offering and qualify as such according to the definition contained in Section 2(a)(11) of the

 Securities Act. As such, the 2019 Offering Underwriter Defendants participated in the solicitation,

 offering, and sale of the securities to the investing public pursuant to the 2019 Offering Documents.

 As such, the 2019 Offering Underwriter Defendants had a duty to make a reasonable and diligent

 investigation of the truthfulness and accuracy of the statements contained in the 2019 Offering

 Documents. The 2019 Offering Underwriter Defendants had a duty to ensure that such statements

 were true and that there were no omissions of material fact that would make the statements

 misleading. By virtue of the 2019 Offering Underwriter Defendants’ failure to exercise reasonable

 care, the 2019 Offering Documents contained misstatements of material facts and omissions of

 material facts necessary to make the statements therein not misleading. As such, the 2019 Offering

 Underwriter Defendants are liable under Section 11 of the Securities Act to Lead Plaintiff and

 relevant Class members within the scope of this cause of action.

        536.    None of the untrue statements or omissions of material fact in the 2019 Offering

 Documents alleged herein were forward-looking statements. Rather, each statement concerned

 existing facts. Moreover, the 2019 Offering Documents did not properly identify any of the untrue

 statements as forward-looking statements and did not disclose information that undermined the




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 putative validity of those statements.

         537.      Each of the Defendants named in this cause of action issued, caused to be issued,

 and participated in the issuance of materially false and misleading written statements to the

 investing public contained in the 2019 Offering Documents, which misstated and failed to disclose,

 inter alia, the facts set forth above.

         538.      By reason of the foregoing, each of the Defendants named in this claim are each

 jointly and severally liable for violations of Section 11 of the Securities Act to Lead Plaintiff and

 the Class members within the scope of this cause of action pursuant to Section 11(f) of the

 Securities Act.

         539.      Lead Plaintiff and other members of the Class within the scope of this cause of

 action purchased Reata shares in the 2019 Offering and/or traceable to the defective 2019 Offering

 Documents.

         540.      Lead Plaintiff and Class members within the scope of this cause of action have

 sustained damages. The value of Reata common stock has declined substantially subsequent to,

 and due to, the violations by Defendants named in this cause of action.

         541.      At the time Lead Plaintiff and other members of the Class within the scope of this

 cause of action purchased Reata stock, they were without knowledge of the facts concerning the

 wrongful conduct alleged herein, and could not have reasonably discovered those facts prior to the

 disclosures specified herein.

         542.      Less than one year elapsed between the time that Lead Plaintiff discovered, or could

 have reasonably discovered, the facts upon which this Complaint is based and the filing of the

 initial complaint in this action. Less than three years has elapsed since the time that the securities

 at issue in this Complaint were bona fide offered to the public.




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                                     FOURTH CLAIM
                      Violation of Section 12(a)(2) of the Securities Act
        Against the Reata Defendants and the 2019 Offering Underwriter Defendants
                               (Relating to the 2019 Offering)

        543.    Lead Plaintiff repeats and realleges the allegations in ¶¶ 19-93, 464-94, and 526-42

 as if alleged fully in this claim, but only to the extent that such allegations do not allege fraud,

 scienter, or the intents of the Defendants named in this claim to defraud Lead Plaintiff or other

 Class members within the scope of this cause of action.

        544.    This claim is brought by Lead Plaintiff pursuant to Section 12(a)(2) of the Securities

 Act, 15 U.S.C. § 77l(a)(2), on behalf of itself and all members of the Class who purchased or

 otherwise acquired Reata common stock in and/or traceable to the 2019 Offering and who were

 damaged thereby, against Reata, each of the Officer Defendants and Director Defendants, and the

 2019 Offering Underwriter Defendants.

        545.    This claim expressly excludes and disclaims any allegation that could be construed

 as alleging fraud or intentional or reckless conduct, as this claim is solely based on claims of strict

 liability and/or negligence under the Securities Act. For purposes of asserting this claim, Lead

 Plaintiff does not allege that any of these Defendants acted with scienter or fraudulent intent, which

 are not elements of a Section 12(a)(2) claim.

        546.    Each of the Defendants named in this claim were sellers, offerors, and/or solicitors

 of purchasers of Reata stock pursuant to the defective 2019 Offering ProSupp. The actions of

 solicitation by the Defendants named in this claim included participating in the preparation of the

 false and misleading 2019 Offering ProSupp, a part of the Shelf Registration Statement, and

 marketing the 2019 Offering to investors, such as Lead Plaintiff and the other members of the

 Class within the scope of this cause of action. By means of the 2019 Offering Documents,

 Defendants sold approximately 2.76 million Reata shares in the 2019 Offering to Lead Plaintiff



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 and other members of the Class within the scope of this cause of action.

         547.    The 2019 Offering Documents contained untrue statements of material fact and

 omitted other facts necessary to make the statements not misleading, and failed to disclose material

 facts, as set forth herein.

         548.    Each of the Defendants named in this cause of action owed, to Lead Plaintiff and

 other members of the Class within the scope of this cause of action, the duty to make a reasonable

 and diligent investigation of the statements contained in the 2019 Offering ProSupp, to ensure that

 such statements were true and that there was no omission to state a material fact required to be

 stated to make the statements contained therein not misleading. By virtue of each of these

 Defendants’ failure to exercise reasonable care, the 2019 Offering ProSupp contained

 misstatements of material facts and omissions of material facts necessary to make the statements

 therein not misleading.

         549.    Lead Plaintiff and other members of the Class within the scope of this cause of

 action purchased Reata stock pursuant to and/or traceable to the defective 2019 Offering ProSupp.

         550.    Lead Plaintiff did not know, nor in the exercise of reasonable diligence could Lead

 Plaintiff have known, of the untruths and omissions contained in the 2019 Offering ProSupp at the

 time Lead Plaintiff acquired Reata shares in the 2019 Offering.

         551.    By reason of the conduct alleged herein, the Defendants named in this cause of

 action violated and/or controlled a person who violated Section 12(a)(2) of the Securities Act, and

 are each jointly and severally liable for violations of Section 12(a)(2) of the Securities Act to Lead

 Plaintiff and the other members of the Class.

         552.    As a direct and proximate result of such violations, Lead Plaintiff and other Class

 members within the scope of this cause of action who acquired Reata shares pursuant to the 2019




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 Offering Documents sustained damages. Accordingly, Lead Plaintiff and the other members of the

 Class within the scope of this cause of action who hold shares issued pursuant to the Shelf

 Registration Statement have the right to rescind and recover the consideration paid for their shares

 with interest thereon or damages as allowed by law or in equity. Class members within the scope

 of this cause of action who have sold their shares seek damages to the extent permitted by law.

        553.    This cause of action is brought within one year of when Lead Plaintiff discovered

 or reasonably could have discovered the untrue statements and omissions in the 2019 Offering

 ProSupp, and within three years of the 2019 Offering ProSupp’s effective date.

                                         FIFTH CLAIM
                           Violation of Section 15 of the Securities Act
                               Against the Individual Defendants
                                 (Relating to the 2019 Offering)

        554.    Lead Plaintiff repeats and realleges the allegations in ¶¶ 19-93, 464-94, and 526-53

 as if alleged fully in this claim, but only to the extent that such allegations do not allege fraud,

 scienter, or the intents of the Defendants named in this claim to defraud Lead Plaintiff or other

 Class members within the scope of this cause of action.

        555.    This claim is brought by Lead Plaintiff pursuant to Section 15 of the Securities Act,

 15 U.S.C. § 77o, on behalf of itself and relevant members of the Class within the scope of this

 cause of action, against each of the Officer Defendants and Director Defendants.

        556.    This claim does not sound in fraud. For purposes of asserting this claim under the

 Securities Act, Lead Plaintiff does not allege that any of these Defendants acted with scienter or

 fraudulent intent, which are not elements of a Section 15 claim.

        557.    Each of the Defendants named in this cause of action participated in the preparation

 and dissemination of the 2019 Offering Documents, and otherwise participated in the process

 necessary to conduct the 2019 Offering.



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        558.    At all relevant times, each of the Officer Defendants and Director Defendants

 named in this cause of action were controlling persons of Reata within the meaning of Section 15

 of the Securities Act. As set forth herein, because of their positions at Reata and/or because of their

 positions on Reata’s Board, each of these Defendants had the requisite power to directly or

 indirectly control or influence the decision making of the Company and the conduct of Reata’s

 business, including the wrongful conduct complained of herein.

        559.    In their capacities as senior corporate officers of the Company, and as more fully

 described above, the Officer Defendants had direct involvement in the day-to-day operations of

 the Company, and therefore are presumed to have had the power to control or influence the

 particular transactions giving rise to the securities law violations as alleged herein. They were also

 directly involved in providing false information and certifying and/or approving the false and/or

 misleading statements disseminated by Reata during the Class Period, including the 2019 Offering

 Documents which contained materially untrue information or omitted material information

 required to be disclosed to prevent the statements made therein from being misleading. As a result

 of the foregoing, the Officer Defendants, as a group and individually, were controlling persons of

 Reata within the meaning of Section 15 of the Securities Act.

        560.    The Officer Defendants named in this cause of action each signed the Shelf

 Registration Statement and/or controlled the contents and dissemination of the 2019 Offering

 Documents.

        561.    Similarly, each of the Director Defendants named in this cause of action, and

 Defendant Huff, served on Reata’s Board of Directors at the time the 2019 Offering was conducted

 and at the time that the Shelf Registration Statement was signed. As directors of a publicly owned

 company, these defendants had a duty to disseminate accurate and truthful information with




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 respect to Reata’s financial condition and operations. The Director Defendants named in this cause

 of action, and Defendant Huff, each signed the Shelf Registration Statement and controlled the

 contents and dissemination of the 2019 Offering Documents.

        562.    Each of the Officer and Director Defendants were culpable participants in the

 violations of Sections 11 and 12(a)(2) of the Securities Act alleged above, based on having signed

 the Shelf Registration Statement and/or having otherwise participated in the process that allowed

 the 2019 Offering to be completed.

        563.    As control persons of Reata, each of the Officer and Director Defendants are liable

 jointly and severally, under Section 15 of the Securities Act, with and to the same extent as Reata

 for its violations of Sections 11 and 12(a)(2) of the Securities Act.

        564.    As a direct and proximate result of the conduct of these Defendants, Lead Plaintiff

 and other members of the Class within the scope of this cause of action have suffered damages.

                                       SIXTH CLAIM
                         Violation of Section 11 of the Securities Act
             Against Reata, Defendants Huff and Meyer, the Director Defendants,
                            and the 2020 Underwriter Defendants
                               (Relating to the 2020 Offering)

        565.    Lead Plaintiff repeats and realleges the allegations in ¶¶ 19-93, 464-65 and 495-

 526 as if alleged fully in this claim, but only to the extent that such allegations do not allege fraud,

 scienter, or the intents of the Defendants named in this claim to defraud Lead Plaintiff or other

 Class members within the scope of this cause of action.

        566.    This claim is brought by Lead Plaintiff pursuant to Section 11 of the Securities Act,

 15 U.S.C. § 77k, on behalf of all members of the Class who purchased or otherwise acquired Reata

 common stock pursuant or traceable to the 2020 Offering and were damaged thereby.

        567.    This claim expressly excludes and disclaims any allegation of fraud or intentional




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 or reckless conduct, as this claim is solely based on claims of strict liability and/or negligence

 under the Securities Act. For purposes of asserting this claim, Lead Plaintiff does not allege that

 Defendants acted with scienter or fraudulent intent, which are not elements of a Section 11 claim.

        568.    The 2020 Offering Documents were false and/or misleading, contained untrue

 statements of material facts, omitted to state facts necessary to make the statements not misleading,

 and omitted material facts required to be stated therein.

        569.    Reata is the registrant and issuer of the common stock offered pursuant to the 2020

 Offering Documents in the 2020 Offering. As such, Reata is strictly liable under Section 11 of the

 Securities Act to Lead Plaintiff and to relevant Class members for the materially inaccurate

 statements contained in the 2020 Offering Documents, and the failure of the 2020 Offering

 Documents to be complete and accurate.

        570.    None of the Defendants named in this cause of action made a reasonable

 investigation or possessed reasonable grounds for the belief that the statements contained in the

 2020 Offering Documents were true, without omissions of any material facts, and not misleading.

        571.    The Officer and Director Defendants caused the issuance of the 2020 Offering.

 Defendant Huff and the Director Defendants signed the Shelf Registration Statement, and together

 with Defendant Meyer, were Reata officers or directors at the time of the 2020 Offering (excepting

 Defendant Bass). Defendants Huff and Meyer, and each of the Director Defendants, are therefore

 statutorily liable under Section 11 of the Securities Act.

        572.    Defendants Huff and Meyer, and the Director Defendants, each had a duty to make

 a reasonable and diligent investigation of the truthfulness and accuracy of the statements contained

 in the 2020 Offering Documents. They each had a duty to ensure that such statements were true

 and accurate and that there were no omissions of material fact that would make the statements




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 misleading. By virtue of these Defendants’ failures to exercise reasonable care, the 2020 Offering

 Documents contained misstatements of material facts and omissions of material facts. As such,

 each of these Defendants is liable under Section 11 of the Securities Act to Lead Plaintiff and to

 relevant members of the Class within the scope of this cause of action.

        573.    The 2020 Offering Underwriter Defendants served as the underwriters for the 2020

 Offering and qualify as such according to the definition contained in Section 2(a)(11) of the

 Securities Act. As such, the 2020 Offering Underwriter Defendants participated in the solicitation,

 offering, and sale of the securities to the investing public pursuant to the 2020 Offering Documents.

 As such, the 2020 Offering Underwriter Defendants had a duty to make a reasonable and diligent

 investigation of the truthfulness and accuracy of the statements contained in the 2020 Offering

 Documents. The 2020 Offering Underwriter Defendants had a duty to ensure that such statements

 were true and that there were no omissions of material fact that would make the statements

 misleading. By virtue of the 2020 Offering Underwriter Defendants’ failure to exercise reasonable

 care, the 2020 Offering Documents contained misstatements of material facts and omissions of

 material facts necessary to make the statements therein not misleading. As such, the 2020 Offering

 Underwriter Defendants are liable under Section 11 of the Securities Act to Lead Plaintiff and

 relevant Class members within the scope of this cause of action.

        574.    None of the untrue statements or omissions of material fact in the 2020 Offering

 Documents alleged herein were forward-looking statements. Rather, each statement concerned

 existing facts. Moreover, the 2020 Offering Documents did not properly identify any of the untrue

 statements as forward-looking statements and did not disclose information that undermined the

 putative validity of those statements.

        575.    Each of the Defendants named in this cause of action issued, caused to be issued,




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 and participated in the issuance of materially false and misleading written statements to the

 investing public contained in the 2020 Offering Documents, which misstated and failed to disclose,

 inter alia, the facts set forth above.

         576.      By reason of the foregoing, each of the Defendants named in this claim are each

 jointly and severally liable for violations of Section 11 of the Securities Act to Lead Plaintiff and

 the Class members within the scope of this cause of action pursuant to Section 11(f) of the

 Securities Act.

         577.      Lead Plaintiff and other members of the Class within the scope of this cause of

 action purchased Reata shares in the 2020 Offering and/or traceable to the defective 2020 Offering

 Documents.

         578.      Lead Plaintiff and Class members within the scope of this cause of action have

 sustained damages. The value of Reata common stock has declined substantially subsequent to,

 and due to, the violations by Defendants named in this cause of action.

         579.      At the time Lead Plaintiff and other members of the Class within the scope of this

 cause of action purchased Reata stock, they were without knowledge of the facts concerning the

 wrongful conduct alleged herein, and could not have reasonably discovered those facts prior to the

 disclosures specified herein.

         580.      Less than one year elapsed between the time that Lead Plaintiff discovered, or could

 have reasonably discovered, the facts upon which this Complaint is based and the initial complaint

 in this action was filed. Less than three years has elapsed since the time that the securities at issue

 in this Complaint were bona fide offered to the public.




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                                     SEVENTH CLAIM
                      Violation of Section 12(a)(2) of the Securities Act
        Against the Reata Defendants and the 2020 Offering Underwriter Defendants
                               (Relating to the 2020 Offering)

         581.    Lead Plaintiff repeats and realleges the allegations in ¶¶ 19-93, 464-65, 495-526

 and 565-80 as if alleged fully in this claim, but only to the extent that such allegations do not allege

 fraud, scienter, or the intents of the Defendants named in this claim to defraud Lead Plaintiff or

 other Class members within the scope of this cause of action.

         582.    This claim is brought by Lead Plaintiff pursuant to Section 12(a)(2) of the Securities

 Act, 15 U.S.C. § 77l(a)(2), on behalf of itself and all members of the Class who purchased or

 otherwise acquired Reata common stock in and/or traceable to the 2020 Offering and who were

 damaged thereby, against Reata, each of the Officer Defendants and Director Defendants, and the

 2020 Offering Underwriter Defendants.

         583.    This claim expressly excludes and disclaims any allegation that could be construed

 as alleging fraud or intentional or reckless conduct, as this claim is solely based on claims of strict

 liability and/or negligence under the Securities Act. For purposes of asserting this claim, Lead

 Plaintiff does not allege that any of these Defendants acted with scienter or fraudulent intent, which

 are not elements of a Section 12(a)(2) claim.

         584.    Each of the Defendants named in this claim were sellers, offerors, and/or solicitors

 of purchasers of Reata stock pursuant to the defective 2020 Offering ProSupp. The actions of

 solicitation by the Defendants named in this claim included participating in the preparation of the

 false and misleading 2020 Offering ProSupp, a part of the Shelf Registration Statement, and

 marketing the 2020 Offering to investors, such as Lead Plaintiff and the other members of the

 Class within the scope of this cause of action. By means of the 2020 Offering Documents,

 Defendants sold approximately 2.0 million Reata shares in the 2020 Offering to Lead Plaintiff and



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 other members of the Class within the scope of this cause of action.

         585.    The 2020 Offering Documents contained untrue statements of material fact and

 omitted other facts necessary to make the statements not misleading, and failed to disclose material

 facts, as set forth herein.

         586.    Each of the Defendants named in this cause of action owed, to Lead Plaintiff and

 other members of the Class within the scope of this cause of action, the duty to make a reasonable

 and diligent investigation of the statements contained in the 2020 Offering ProSupp, to ensure that

 such statements were true and that there was no omission to state a material fact required to be

 stated to make the statements contained therein not misleading. By virtue of each of these

 Defendants’ failure to exercise reasonable care, the 2020 Offering ProSupp contained

 misstatements of material facts and omissions of material facts necessary to make the statements

 therein not misleading.

         587.    Lead Plaintiff and other members of the Class within the scope of this cause of

 action purchased Reata stock pursuant to and/or traceable to the defective 2020 Offering ProSupp.

         588.    Lead Plaintiff did not know, nor in the exercise of reasonable diligence could Lead

 Plaintiff have known, of the untruths and omissions contained in the 2020 Offering ProSupp at the

 time Lead Plaintiff acquired Reata shares in the 2020 Offering.

         589.    By reason of the conduct alleged herein, the Defendants named in this cause of

 action violated and/or controlled a person who violated Section 12(a)(2) of the Securities Act, and

 are each jointly and severally liable for violations of Section 12(a)(2) of the Securities Act to Lead

 Plaintiff and the other members of the Class.

         590.    As a direct and proximate result of such violations, Lead Plaintiff and other Class

 members within the scope of this cause of action who acquired Reata shares pursuant to the 2020




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 Offering Documents sustained damages. Accordingly, Lead Plaintiff and the other members of the

 Class within the scope of this cause of action who hold shares issued pursuant to the Shelf

 Registration Statement have the right to rescind and recover the consideration paid for their shares

 with interest thereon or damages as allowed by law or in equity. Class members within the scope

 of this cause of action who have sold their shares seek damages to the extent permitted by law.

         591.    This cause of action is brought within one year of when Lead Plaintiff discovered

 or reasonably could have discovered the untrue statements and omissions in the 2020 Offering

 ProSupp, and within three years of the 2020 Offering ProSupp’s effective date.

                                         EIGHTH CLAIM
                            Violation of Section 15 of the Securities Act
                                Against the Individual Defendants
                                  (Relating to the 2020 Offering)

         592.    Lead Plaintiff repeats and realleges the allegations in ¶¶ 19-93, 464-65, 495-526

 and 565-91 as if alleged fully in this claim, but only to the extent that such allegations do not allege

 fraud, scienter, or the intents of the Defendants named in this claim to defraud Lead Plaintiff or

 other Class members within the scope of this cause of action.

         593.    This claim is brought by Lead Plaintiff pursuant to Section 15 of the Securities Act,

 15 U.S.C. § 77o, on behalf of itself and relevant members of the Class within the scope of this

 cause of action, against each of the Officer Defendants and Director Defendants.

         594.    This claim does not sound in fraud. For purposes of asserting this claim under the

 Securities Act, Lead Plaintiff does not allege that any of these Defendants acted with scienter or

 fraudulent intent, which are not elements of a Section 15 claim.

         595.    Each of the Defendants named in this cause of action participated in the preparation

 and dissemination of the 2020 Offering Documents, and otherwise participated in the process

 necessary to conduct the 2020 Offering.



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        596.    At all relevant times, each of the Officer Defendants and Director Defendants

 named in this cause of action were controlling persons of Reata within the meaning of Section 15

 of the Securities Act. As set forth herein, because of their positions at Reata and/or because of their

 positions on Reata’s Board, each of these Defendants had the requisite power to directly or

 indirectly control or influence the decision making of the Company and the conduct of Reata’s

 business, including the wrongful conduct complained of herein.

        597.    In their capacities as senior corporate officers of the Company, and as more fully

 described above, the Officer Defendants had direct involvement in the day-to-day operations of

 the Company, and therefore are presumed to have had the power to control or influence the

 particular transactions giving rise to the securities law violations as alleged herein. They were also

 directly involved in providing false information and certifying and/or approving the false and/or

 misleading statements disseminated by Reata during the Class Period, including the 2020 Offering

 Documents which contained materially untrue information or omitted material information

 required to be disclosed to prevent the statements made therein from being misleading. As a result

 of the foregoing, the Officer Defendants, as a group and individually, were controlling persons of

 Reata within the meaning of Section 15 of the Securities Act.

        598.    The Officer Defendants named in this cause of action each signed the Shelf

 Registration Statement and/or controlled the contents and dissemination of the 2020 Offering

 Documents.

        599.    Similarly, each of the Director Defendants named in this cause of action, and

 Defendant Huff, served on Reata’s Board of Directors at the time the 2020 Offering was conducted

 and/or at the time that the Shelf Registration Statement was signed. As directors of a publicly

 owned company, these defendants had a duty to disseminate accurate and truthful information with




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 respect to Reata’s financial condition and operations. The Director Defendants named in this cause

 of action, and Defendant Huff, each signed the Shelf Registration Statement and controlled the

 contents and dissemination of the 2020 Offering Documents.

        600.    Each of the Officer and Director Defendants were culpable participants in the

 violations of Sections 11 and 12(a)(2) of the Securities Act alleged above, based on having signed

 the Shelf Registration Statement and/or having otherwise participated in the process that allowed

 the 2019 Offering to be completed.

        601.    As control persons of Reata, each of the Officer and Director Defendants are liable

 jointly and severally, under Section 15 of the Securities Act, with and to the same extent as Reata

 for its violations of Sections 11 and 12(a)(2) of the Securities Act.

        602.    As a direct and proximate result of the conduct of these Defendants, Lead Plaintiff

 and other members of the Class within the scope of this cause of action have suffered damages.

 X.     PRAYER FOR RELIEF

        WHEREFORE, Lead Plaintiff prays for relief and judgment, as follows:

        (a)     determining that this action is a proper class action under Rule 23 of the Federal

 Rules of Civil Procedure;

        (b)     awarding compensatory damages in favor of Lead Plaintiff and the other Class

 members against all Defendants, jointly and severally, for all damages sustained as a result of

 Defendants’ wrongdoing, in an amount to be proven at trial, including interest thereon;

        (c)     awarding Lead Plaintiff and the Class their reasonable costs and expenses incurred

 in this action, including counsel fees and expert fees; and

        (d)     such other and further relief as the Court may deem just and proper.

 XI.    JURY TRIAL DEMANDED

        Lead Plaintiff hereby demands a trial by jury.


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 Dated: June 21, 2022              Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 21st day of June 2022, a true and correct copy of the foregoing

 document was served by CM/ECF to the parties registered to the Court’s CM/ECF system.


                                                      /s/ Bruce W. Steckler
                                                      Bruce W. Steckler




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